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                        Name                                 Attention                              Address 1                                 Address 2                            Address 3                    City         State        Zip         Country
    045 WASTE INDUSTRIES                                                           PO BOX 580027                                                                                               CHARLOTTE               NC            28258-0027
    0828 REAL ESTATE LIMITED PARTNERSHIP      C O MARTELLO PROPERTY SERVICES INC   305 THE FINANCIAL BUILDING             10621 100TH AVE                                                      EDMONTON                AB            T5J 0B3      CANADA
    1 HOUR SIGNS                                                                   2125 LASALLE BLVD E                                                                                         SUDBURY                 ONTARIO       P3A 2A3      CANADA
    10520 GR LLC                                                                   4311 W LOVERS LN                       STE 200                                                              DALLAS                  TX            75209
    1060582 ONTARIO LTD                                                            105 HEATHCOTE AVE                                                                                           NORTH YORK              ON            M2L 2X5      CANADA
    1099 PRO INC                                                                   23901 CALABASAS RD                     STE 2080                                                             CALABASAS               CA            91302-4104
    112 45 LLC                                                                     102 10 METROPOLITAN AVE                STE 200                                                              FOREST HILLS            NY            11375
    1137751 ALBERTA INC                       O A SMALL BUSINESS SPECIALISTS       UNIT 17 1215 LAKE SYLVAN DR S                                                                               CALGARY                 AB            T2J 3Z5      CANADA
    115214 CANADA LTEE AND LUCIO DORIO AND
    ASSOC                                                                          7856 SIMONNE                                                                                                LA SALLE                QC            H8P 1W2      CANADA
    117 GUY R BREWER REALTY LLC                                                    102 10 METROPLITAN AVE STE 200                                                                              FOREST HILLS            NY            11375
    118 01 LLC                                                                     102 10 METROPOLITAN AVE                STE 200                                                              FOREST HILLS            NY            11375
                                                                                                                          C O KESSINGER HUNTER AND COMPANY
    11908 BLUE RIDGE PARTNERS LLC                                                  2600 GRAMD BLVD STE 700                LC                                                                   KANSAS CITY             MO            64108
    1191 BOSTON ROAD CROP                                                          12 LAWRENCE AVE                                                                                             BROOKLYN                NY            11230
    120 SUTPHIN LLC DO NOT USE                                                     102 10 METROPOLITAN AVE                STE 200                                                              FOREST HILLS            NY            11375
    122 ONONDAGA LLC                                                               PO BOX 102                                                                                                  PELLA                   IA            50219-0102
    123 COMPUTER GROUP                                                             855 MATHESON BLVD E UNIT 2                                                                                  MISSISSAUGA             ON            L4W 4L6      CANADA
    123HIRECOM                                                                     13777 BALLANTYNE CORPORATE PL          STE 250                                                              CHARLOTTE               NC            28277
    123HIRECOM                                                                     13950 BALLANTYNE CORPORATE PL          STE 300                                                              CHARLOTTE               NC            28277
    1255560 ONTARIO INC                                                            41 COMMERCE PARK DR                    UNIT C                                                               BARRIE                  ON            L4N 8X1      CANADA
    1289935 ONTARIO LTD                                                            PARK PLZ HOTEL                         5807 FERRY ST                                                        NIAGARA FALLS           ON            L2G 1S8      CANADA
    13 ASSOCIATES LLC                                                              181 S FRANKLIN AVE                     STE 607                                                              VALLEY STREAM           NY            11581
    1305 VETERANS PARKWAY LLC                                                      WATERFRONT PARK PL STE 401             222 E WITHERSPOON ST                                                 LOUISVILLE              KY            40202
    1310984 ONTARIO INC                                                            42 DALBEATTIE AVE                                                                                           TORONTO                 ON            M9N 2Y7      CANADA
    1460 LYELL LLC                                                                 259 ALEXANDER ST                                                                                            ROCHESTER               NY            14607
    1489494 ONTARIO INC                       O A MAGNETSIGNS BARRIE               842 PENETANGUISHENE RD                                                                                      SPRINGWATER             ON            L9X 1Z1      CANADA
    1499570 ONTARIO INC                                                            430 WICKSTEAD AVE                                                                                           NORTH BAY               ON            P1A 3H1      CANADA
    1500 WABASH ASSOCIATES LLC                                                     ONE LAWRENCE SQUARE                                                                                         SPRINGFIELD             IL            62704
    1511 LEXINGTON AVENUE HDFC                                                     1511 LEXINGTON AVE APT 8                                                                                    NEW YORK                NY            10029
    1652185 ONTARIO INC                                                            267 B10 800 STEELES AVE W                                                                                   THORNHILL               ON            L4J7L2       CANADA
    1662632 ONTARIO INC                                                            5133 PERENNIAL DR                                                                                           MISSISSAUGA             ON            L5M 7T6      CANADA
    1678 NOSTRAND AVENUE BROOKLYN NY 11226                                         PO BOX 230 323                                                                                              BROOKLYN                NY            11223
    1679772 ONTARIO INC                                                            4 5004 TIMBERLEA BLVD                                                                                       MISSISSUAGA             ON            L4W5C5       CANADA
    1681940 ONTARIO INC                                                            GOLDMANCO                              ATTN ZACH WOOD                               1989 LESLIE ST          TORONTO                 ON            M3B 2M3      CANADA
    1693377 ONTARIO INC                                                            2756 PENETANGUISHENE RD                                                                                     SPRINGWATER             ON            L9Z 1Z6      CANADA
    17 N STATE LLC                                                                 55 E JACKSON 500                                                                                            CHICAGO                 IL            60604
    1702 LP                                                                        1103 N BROADWAY                                                                                             SANTA ANA               CA            92701
    1733 UNICO LLC                                                                 PO BOX 222118                                                                                               GREAT NECK              NY            11022
    1749 ASSOCIATES                                                                2050 CTR AVE                           STE 400                                                              FORT LEE                NJ            07024
    1789173 ONTARIO LTD                                                            158 DUNLOP ST E                        STE 201                                                              BARRIE                  ON            L4M 1B1      CANADA
    1890305 ONTARIO LTD                                                            1670 CAROLYN RD                                                                                             MISSISSAUGA             ONTARIO       L5M 2E1      CANADA
    1924923 ONTARIO INC                                                            291 LAKEWOOD DR                                                                                             AMHERSTBURG             ON            N9V 2Y8      CANADA
                                              DBA COVERALL HEALTH BASED CLEANING
    1COVERALL NORTH AMERICA INC               SYSTEM                               2955 MOMENTUM PL                                                                                            CHICAGO                 IL            60689
    1RWM FLP                                                                       PO BOX 758                                                                                                  SHERMAN                 TX            75091
    1ST CAPITAL VENTURES INC DBA BRIDGELINE
    FINANCIAL                                                                      5055 CANYON CREST DR                   STE 116                                                              RIVERSIDE               CA            92504
    1ST COMMERCIAL BANK OF FLORIDA                                                 3505 W LAKEMARY BLVD                                                                                        LAKE MARY               FL            32746
    1ST FINANCIAL BANK                                                             PO BOX 1100                                                                                                 NORTH SIOUX CITY        SD            57049
    1ST IN ENTERTAINMENT                                                           1528 21 AVE NW                                                                                              CALGARY                 AB            T2M 1L8      CANADA
    1ST INDEPENDENT LEASING INC                                                    3800 SW CEDAR HILL BLVD                STE 165                                                              BEAVERTON               OR            97005
    1ST MONEY CENTER                                                               500 GRAPEVINE HWY STE 375                                                                                   HURST                   TX            76054
    1ST MONEY CENTER ESCROW                                                        500 GRAPEVINE HWY STE 375                                                                                   HURST                   TX            76054
    1ST SHIELD INC                                                                 21 29 41ST ST 16                                                                                            ASTORIA                 NY            11105
    1STPAGECOM                                                                     PO BOX 1742                                                                                                 LODI                    CA            95241-1742
    2 GUYS GLASS INC                                                               6100 MAIN ST 16 110 RIVIERA DR                                                                              MARKHAM                 ON            L3R 5M1      CANADA
    200 EAST FRONT LLC ET AL                                                       PO BOX 8685                                                                                                 ELIZABETH               NJ            07208
    201 EAST 116TH ST REALTY CORP             C O SILVER STAR PROPERTIES           350 5TH AVE STE 6908                                                                                        NEW YORK                NY            10118
    201 EAST 116TH ST REALTY CORP             C O SILVER STAR PROPERTIES           ONE PENN PLZ STE 5305                                                                                       NEW YORK                NY            10119
    201 MARKETING AND MEDIA                                                        935 WOODLAND AVE                                                                                            ORADELL                 NJ            07649-1333
    2012 USP HOLDING INC                      DBA IDEAL CORPORATE MARKETING        237 W 35TH ST STE 802                                                                                       NEW YORK                NY            10001
    2013 FTA E FILE SYMPOSIUM                                                      444 N CAPITOL ST NW                    STE 348                                                              WASHINGTON              DC            20001
    2014 CHARLOTTE ST PATRICKS PARADE                                              PO BOX 471322                                                                                               CHARLOTTE               NC            28247
    2020 ACHIEVEMENTS INC APOLLO EMEKA        C O APOLLO EMEKA                     517 KING ST                                                                                                 MONROVIA                CA            91016
    2020585 ONTARIO LTD                                                            80 TORRAN RD                                                                                                WOODBRIDGE              ON            L4L 2Y7      CANADA
    2030621 ONTARIO LIMITED                                                        43 TOWNWOOD DR                                                                                              RICHMONDHILL            ON            L4E 4S9      CANADA
    2056938 ONTARIO LTD                                                            30 BREWSLAND CRES                                                                                           THORNHILL               ON            L3T 7G7      CANADA
    210 RIVINGTON REALTY HOLDINS LLC                                               17 STANTON ST 2                                                                                             NEW YORK                NY            10002
    2116782 ONTARIO INC                       C O SUNG JE PARK                     1925 CEDARHOLLOW BLVD                                                                                       LONDON                  ON            N5X 0C3      CANADA
    2122999 ONTARIO INC                                                            2228 NIAGARA STONE RD                  PO BOX 941                                                           NIAGARA ON THE LAKE     ON            L0S 1J0      CANADA
    2123579 ONTARIO INC                                                            291 MAIN ST                            UNIT 2 STE 313                                                       WASAGA BEACH            ON            L9Z 0E8      CANADA
    21252549 ONTARIO LTD                                                           7575 OAK SCHOOL RD                     ATTN KEN WORDEN                                                      ORONO                   ON            L0B 1M3      CANADA
    215 BANDERA ASSOCIATES LLC                                                     1723 N LOOP 1604 E                     STE 204                                                              SAN ANTONIO             TX            78232
    21ST CENTURY TAX CONSULTANTS INC                                               PO BOX 2359                                                                                                 DAYTON                  NV            89403
    2201 CHARLES LLC                                                               PO BOX 648                                                                                                  RIDERWOOD               MD            21139
    2207848 ONATARIO INC                                                           12 LA ROSE CPIRT                                                                                            BRAMPTON                ON            L6Z 2T8      CANADA
    2212235 ONTARIO INC                                                            4460 ANDIRON CT                                                                                             MISSISSAUGA             ON            L5V1C8       CANADA
    222 CAMP WISDOM LP                        C O FRANKS REAL ESTATE               8100 LOMO ALTO STE 235                                                                                      DALLAS                  TX            75225
    2263264 ONTARIO INC                                                            22 KELWAYS CIR                                                                                              BRAMPTON                ON            L6T 0G6      CANADA
    2300 2310 ACP OWNER LLC                                                        1465 A FLATBUSH AVE                                                                                         BROOKLYN                NY            11210
    2355849 ONTARIO LIMITED                                                        PO BOX 982                                                                                                  BARRIE                  ON            L4M 5E1      CANADA
    2366667 ONTARIO INC                       C O BRAN BRUNTON                     465 CENTRAL AVE                                                                                             FORT ERIE               ON            L2A 3T8      CANADA
    2390635 ONTARIO LIMITED                                                        39 STARGELL DR                                                                                              WHITBY                  ON            L1N 7X4      CANADA
    24 OUTDOORCOM                                                                  1707 SUMMIT AVE                        STE 202                                                              RICHMOND                VA            23230
    2404 SHR LLC DO NOT USE                                                        2404 STOCKTON HILL RD                  STE A                                                                KINGMAN                 AZ            86401
    247 LINKS CORPORATION                                                          PO BOX 266                                                                                                  ALBERNI                 BC            V9Y 7M7      CANADA
    2644 RIVER ROAD PROPERTIES LLC                                                 2644 RIVER RD STE 5                                                                                         EUGENE                  OR            97404
    26685594 ONTARIO LIMITED                                                       4555 DONNEGAL DR                                                                                            MISSISAUGA              ON            L5M 4H3      CANADA


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    275A OWNER LLC DBA SEED MONEY                                                    3447 MILBURN AVE                                                                                          BALDWIN                   NY           11510
    2945 DUNDAS STREET INC                                                           1379 CLEARWATER CREST                                                                                     OAKVILLE                  ON           L6H 7J7      CANADA
    2M AND 3D LTD DBA TWIN FOUNTAIN PLAZA                                            PO BOX 91973                                                                                              AUSTIN                    TX           78709
    3 CLICK VENTURES INC DBA AVENUE LINK                                             10975 GRANDVIEW DR                    STE 330                                                             OVERLAND PARK             KS           66210
    3 LITTLE BIRDS 4 LIFE                                                            PO BOX 187                                                                                                COLLINSVILLE              IL           62234
    300251 ALBERTA LTD                          ATTN MAY WONG                        PO BOX 11876 MAIN STATION                                                                                 EDMONTON                  AB           T5J 3L1      CANADA
    301 W BALTIMORE PIKE LLC                    C O CJL PROPERTIES                   PO BOX 83                                                                                                 CHADDS FORD               PA           19317
    3188825 CANADA INC                          ATTN LEIGH DUSSAULT                  5575 DE LA VERENDRYE                                                                                      MONTREAL                  QC           H4E 3R6      CANADA
    320 EAST 204 LLC                                                                 232 BROADWAY ST                       STE 400                                                             BROOKLYN                  NY           11211
    3201 GENTILLY LLC                                                                2015 MAGAZINE ST                                                                                          NEW ORLEANS               LA           70130
    3202 CHURCH LLC                                                                  PO BOX 230 323                                                                                            BROOKLYN                  NY           11223
    3440 LLC                                                                         PO BOX 57                                                                                                 BRONXVILLE                NY           10708
    351 AUDOBON LLC                                                                  RETTNER BLDG MGMT CORP                30 CHURCH ST STE 4                                                  NEW ROCHELLE              NY           10801
    358909 ONTARIO LIMITED                      C 0 NORASH INVESTMENT LTD            149 KING ST 2ND FL                                                                                        LONDON                    ON           N6A 1C3      CANADA

    360PARTNERS HOLDINGS LP DBA 360CONNECT LP                                        5926 BALCONES DR                      STE 130                                                             AUSTIN                    TX           78731
    369 PENINSULA BLVD CORP                                                          369 PENINSULA BLVD                                                                                        HEMPSTEAD                 NY           11550
    3829 BROADWAY LLC                           C O CHARLES DUNN RES INC             800 W 6TH ST STE 600                                                                                      LOS ANGELES               CA           90017
    39495 YUKON INC                                                                  BOX 21185                                                                                                 WHITEHORSE                YT           Y1A 6R1      CANADA
    3G TAX CORP                                                                      35 ROGERS CIR                                                                                             BRAINTREE                 MA           02184
    3Q DIGITAL INC                                                                   25 E WASHINGTON ST                    STE 420                                                             CHICAGO                   IL           60602
    4 PILLAR CONSULTING LLC                                                          689 STARK TERRACE                                                                                         BALLSTON SPA              NY           12020
    4 STATES ADVERTISING                                                             2660 E 32ND ST STE 101                                                                                    JOPLIN                    MO           64804
    401 MAIN LLC                                                                     619 BROADWAY ST                                                                                           SEASIDE                   OR           97138
    401BZ INC                                                                        UNIT 32 145 ROYAL CRESCENT CT                                                                             MARKHAM                   ON           L3R 9Z4      CANADA
    407ETR                                                                           PO BOX 407 STATION D                                                                                      SCARBOROUGH               ON           M1R 5J8      CANADA
    4119 SYRACUSE HOLDINGS LLC                                                       1274 49 ST 302                                                                                            BROOKLYN                  NY           11219
    416 ST PAUL STREET INC                                                           100 ALEXANDER ST                                                                                          ROCHESTER                 NY           14620
    4187415 CANADA INC                                                               3200 HWY 7                                                                                                VAUGHAN                   ON           L4K 5Z5      CANADA
    4187415 CANADA INC                                                               700 APPLEWOOD CRESCENT                                                                                    VAUGHAN                   ON           L4K 5X3      CANADA
    4310 4328 MAIN STREET LLC                   C O LEN SCLAFANI                     8 TALMADGE LN                                                                                             STAMFORD                  CT           06905
    4343 N RANCHO DR LLC                        C O THE EQUITY GROUP                 6018 S DURANGO DR STE 110                                                                                 LAS VEGAS                 NV           89113
    4344 MAIN STREET BRIDGEPORT CORP                                                 C O 25 CRAIG LN                                                                                           TRUMBULL                  CT           06611
    4344 MAIN STREET BRIDGEPORT CORPORATION     ATTN JOHN DIMARCO                    25 CRAIG LN                                                                                               TRUMBULL                  CT           06611
    4353 LLC                                                                         PO BOX 65037                                                                                              FRESH MEADOWS             NY           11365
    44 MANAGEMENT INC                                                                1626 MELROSE PKWY                                                                                         NORFOLK                   VA           23508
    446342 ONTARIO LIMITED                      HPI REALTY MANAGEMENT INC            21 ST CLAIR AVE E STE 1201                                                                                TORONTO                   ON           M4T 1L9      CANADA
    4761 BROADWAY ASSOCIATES LLC                                                     145 HUGUENOT ST RM 503                                                                                    NEW ROCHELLE              NY           10801
    48 HOUR CAPITAL LLC                                                              800 ROUTE 146                         STE 175                                                             CLIFTON PARK              NY           12065
    4IMPRINT INC                                                                     25303 NEWTWORK PL                                                                                         CHICAGO                   IL           60673-1253
    5 0 AIRPORT EXPRESS AND LIMOUSINE SERVICE                                        16 MITCHELL ST                                                                                            ST CATHARINES             ON           L2R 3W4      CANADA
    5 TALENTS INCDBA                                                                 626 HWY 126                                                                                               BRISTOL                   TN           37620
    501 B BOURBON LLC                                                                503 BOURBON ST                                                                                            NEW ORLEANS               LA           70130
    502 E JED REALTY CORP                                                            226 HOWE AVE                                                                                              BRONX                     NY           10473
    530360 ONTARIO LIMITED                      C O MONREAL PROPERTY MANAGEMENT      4721 HWY 7 E                                                                                              UNIONVILLE                ON           L3R 0M9      CANADA
    531968 ONTARIO LTD OSHAWA                                                        7575 OAK SCHOOL RD                                                                                        ORONO                     ON           L0M 1B0      CANADA
    56 EXPRESSWAY LLC                           C O NAI SULLIVAN GROUP               PO BOX 248855                                                                                             OKLAHOMA CITY             OK           73124-8855
    565 WEST SIDE LLC                                                                365 EGE AVE                                                                                               JERSEY CITY               NJ           07304
    58 MISSISSAUGA STREET INC                                                        1018 EGLINTON AVE E                   UNIT 5                                                              MISSISSAUGA               ON           L4W 1K3      CANADA
    585562 BC LTD                               C O SEVENOAKS SHOPPING CENTRE        32900 S FRASER WAY                    STE 201                                                             ABBOTSFORD                BC           V2S 5A1      CANADA
    5909 15TH NW ASSOC LLP                                                           PEVCO                                 14234 207TH PL NE                                                   WOODINVILLE               WA           98077
    5TH AVENUE LEADS                                                                 1288 VERDE DR STE 3                                                                                       NAPLES                    FL           34104
    615 MUSIC                                                                        1030 16TH AVE S                                                                                           NASHVILLE                 TN           37212
    615636 SASKATCHEWAN LTD                                                          910 294 PORTAGE AVE                                                                                       WINNIPEG                  MB           R3C 0B9      CANADA
    651047 BC LTD                                                                    3406 RIVERVIEW RD                                                                                         PRINCE GEORGE             BC           V2K 4Y8      CANADA
    651047 BC LTD WESTWOOD PLAZA                                                     3406 RIVERVIEW RD                                                                                         PRINCE GEORGE             BC           V2K 4K8      CANADA
    651407 BC LTD                               ATTN SAM MANHAS                      100 S TABOR BLVD                                                                                          PRINCE GEORGE             BC           V2M 5T4      CANADA
    6603310 MANITOBA LTD                        O A TWO SMALL MEN WITH BIG HEARTS    275 GORDON AVE                                                                                            WINNIPEG                  MANITOBA     R2L 0L7      CANADA
    665741 NB INC                                                                    85 THREE BROOKS LN                                                                                        ANFIELD                   NB           E7G 3Z6      CANADA
    674658 ONTARIO LIMITED                                                           6 HAMILTON CT                                                                                             COBOURG                   ON           K9A 1B1      CANADA
    676 GRAND STREET LLC                                                             31 BUSHWICK AVE                                                                                           BROOKLYN                  NY           11211
    687830 BC LTD                                                                    ROYAL LEPAGE FRASER                   27233 FRASER HWY                                                    ALDERGROVE                BC           V4W 3P9      CANADA
    69TH STREET LTD                             DBA MGM PROPERTIES                   5080 SHOREHAM PL STE 202                                                                                  SAN DIEGO                 CA           92122
    705 ELECTRIC                                                                     369 ESSA RD 7                                                                                             BARRIE                    ON           L4N 9C8      CANADA
    720 CHURCH STREET LLC                       C O PAUL PECK                        PO BOX 2394                                                                                               NORFOLK                   VA           23501
    7506473 CANADA INC                                                               3200 HWY 7                                                                                                VAUGHN                    ON           L4K 5Z5      CANADA
    7775 BAYMEADOWS WAY                                                              1105 SCHROCK RD STE 204                                                                                   COLUMBUS                  OH           43229
    786458 ALBERTA INC                                                               GLENMORE COMMERCE CT                  727 6TH AVE SW                                                      CALGARY                   ALBERTA      T2P 0V1      CANADA
    796 GRAND ST LLC                                                                 99 45 62ND DR                                                                                             REGO PARK                 NY           11374
    798 TREMONT HOLDING LLC                                                          410 E 138TH ST                                                                                            BRONX                     NY           10454
    804 SIGNS LLC                                                                    10978 RICHARDSON RD                   STE B                                                               ASHLAND                   VA           23005
    823981 ONTARIO LTD                          ATTN ROB COLAROSSI                   941 PARENT AVE                                                                                            WINDSOR                   ON           N9A 2E2      CANADA
    8312 BURNET ROAD LLC                                                             109 E 10TH ST STE 300                 THE WOOTEN BLDG                                                     AUSTIN                    TX           78701
    8400 BEECHMONT AVE LLC KFM PROPERTIES LLC   C O COLLIERS INTERNATIONAL GREATER
    AND MIDWAY CENTER LLC                       CINCINNATI                           425 WALNUT ST STE 1200                                                                                    CINCINNATI                OH           45202
    9238 6606 QUEBEC INC                                                             135 ST BERLIOZ 1M                                                                                         VILLE VERDUN              QC           H3E 1G6      CANADA
    9269 5147 QUEBEC INC                                                             4389 RUE STE ANNE                                                                                         PIERREFONDS               QUEBEC       H9H 2Z5      CANADA
    93 OCTANE                                                                        23 W BROAD ST                         STE 303                                                             RICHMOND                  VA           23220
    947 STAR FM Q COUNTRY 915FM                                                      624 14TH ST E                                                                                             BRANDON                   MB           R7A 7E1      CANADA
    9GLOBAL INC                                                                      1318 UNIVERSITY DR                                                                                        MENLO PARK                CA           94025
    A 1 BACKFLOW LLC                                                                 PO BOX 456                                                                                                BRADFORD                  AR           72020
    A 1 BROADCAST LLC                                                                2030 POWERS FERRY RD                  STE 400                                                             ATLANTA                   GA           30339
    A 1 NATIONAL LOCK AND ALARM                                                      2515 NOTRE DAME                                                                                           LACHINE                   QUEBEC       H8S 2G8      CANADA
    A 1 PLUMBING OF BALTIMORE INC                                                    714 REDWOOD DR                                                                                            WESTMINSTER               MD           21157
    A 1 SIGNS                                                                        3950 METROPOLITAN ST                                                                                      NEW ORLEANS               LA           70126
    A AND A CONTRACT CUSTOMS BROKERS LTD                                             120 176TH ST STE 101                                                                                      SURREY                    BC           V3S 9S2      CANADA
    A AND B MARKET LLC                          ATTN BILL MUNACO                     13240 E MCNICHOLS RD                                                                                      DETROIT                   MI           48205
    A AND B PROPERTIES INC                      ATTN JACQUELYN PHILLIPS              33 LONO AVE STE 295                                                                                       KAHULUI                   HI           96732
    A AND E SIGNS AND LIGHTING LLC                                                   PO BOX 76460                                                                                              HIGHLAND HEIGHTS          KY           41076


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    A AND J SPECIALTY SERVICES LLC             DBA A AND J PROPERTY RESTORATION   720 LITTLE POTATO WAY                                                                                         DEFOREST                WI           53532
    A AND M GREEN FAMILY PTNR                  DBA MECCA MGMT                     1045 N MAIN ST 7B                                                                                             BOWLING GREEN           OH           43402
    A AND M TAX SERVICES CORP                                                     288 ISLAND POINTE DR                                                                                          MEDFORD                 OR           97504
    A AND M TAX SERVICES CORP                  DBA ANNETTE HOLMAN                 3268 SKY WAY                                                                                                  MEDFORD                 OR           97504
    A AND N ELECTRIC COOPERATIVE                                                  PO BOX 290                                                                                                    TASLEY                  VA           23441-0290
    A AND R ENTERPRISES LLC                                                       PO BOX 2014                                                                                                   KIMBALL                 TN           37347
    A BOOKS MIND LLC                                                              PO BOX 272847                                                                                                 FORT COLLINS            CO           80527
    A CHANCE TO LEARN                                                             PO BOX 820423                                                                                                 NORTH RICHLAND HILLS    TX           76182

    A CLEAN BAY PLUMBING AND DRAIN CLEANING INC                                   3300 ELMHURST LN                                                                                              PORTSMOUTH              VA           23701
    A DRIECT CONNECTION                                                           2248 M DABNEY RD                                                                                              RICHMOND                VA           23230
    A KID AGAIN INC                                                               3012 GLENMORE AVE                         STE 14                                                              CINCINNATI              OH           45238
    A L HOFAKER INC INSURANCE                                                     80 WOLF RD                                                                                                    ALBANY                  NY           12205-2671
    A MAGIC MOVER                                                                 5052 SOUTHERN BLVD                                                                                            VIRGINIA BEACH          VA
    A MILLION THANKS                            C O ORANGE LUTHERAN HIGH SCH      2222 N SANTIAGO BLVD                                                                                          ORANGE                  CA           92867
    A PLUS PERSONNEL                                                              6095 INDIAN RIVER RD                      STE 200 A                                                           VIRGINIA BEACH          VA           23464
    A PRO                                                                         5505 CONNECTICUT AVE NW 254                                                                                   WASHINGTON              DC           20015
    A PROFESSIONAL PROCESS SERVICE                                                1 SAN JOSE PL                             STE 4                                                               JACKSONVILLE            FL           32257
    A ROY L TRIBUTE PRODUCTIONS                                                   6 HENRY ST                                                                                                    ST THOMAS               ON           N5R 3L4      CANADA
    A SMITH PLUMBING COMPANY                                                      808 THE CAPE BLVD                                                                                             WILMINGTON              NC           28412
    A STUDENT STAFFING INC                                                        4235 W LOVERS LN                                                                                              DALLAS                  TX           75209
    A TAX INC                                                                     904 VALLEY DR                                                                                                 WATERTOWN               WI           53098
    A THRU Z SUMMONS INC                        C O MR KEN MYREE                  155 W CONGRESS STE 608                                                                                        DETROIT                 MI           48226
    A Z SUMMONS BILLING                                                           155 W CONGRESS                            STE 608                                                             DETROIT                 MI           48226
    A1 SHREDDING AND RECYCLING                                                    1791 W OAK PKWY                           STE 2                                                               MARIETTA                GA           30062
    A4D LLC                                                                       6965 EL CAMINO REAL 105 441                                                                                   CARLSBAD                CA           92009
    AA OPTIMAL TAX                              ATTN GONGSHU HUANG                289 LAKESHORE RD E                                                                                            MISSISSAUGA             ON           L5G 1H3      CANADA
    AAA INTEGRITY PROPERTY MANAGEMENT LLC       ATTN SHERI BERND                  5512 E VISTA DEL AMIGO                                                                                        ANAHEIM                 CA           92807
    AARON ADAM HOLDINGS INC                                                       90 RIVIERA DR                                                                                                 MARKHAM                 ON           L3R 5W1      CANADA
    AARON C GARRETT                                                               ADDRESS ON FILE
    AARON INVESTIGATIONS AND RESEARCH                                             5410 E EXSCONDIDO CIR                                                                                         MESA                    AR           85206
    AARON KIOUS                                                                   ADDRESS ON FILE
    AARON Y STRAUSS                                                               ADDRESS ON FILE
    AARONS LOCK AND KEY INC                                                       30870 JOHN R RD                                                                                               MADISON HEIGHTS         MI           48071
    AARONS RENTS VA                                                               3517 VIRGINIA BEACH BLVD                                                                                      VIRGINIA BEACH          VA           23452
    AARROW ADVERTISING                                                            91 COUGARTOWN CLOSE SW                                                                                        CALGARY                 AB           T3H 0B3      CANADA
    AARSHAW ELECTIRC                                                              4841 CULLEN RD                                                                                                VIRGINIA BEACH          VA           23455
    AASEN PUBLISHING DBA QUICK QUARTER                                            11 MAIN ST                                                                                                    RAPID CITY              SD           57701
    AB CONTRACTING                                                                189 S OXFORD DR                                                                                               NEWARK                  DE           19702
    AB INVESTIGATIONS INC                                                         1007 NE 26 AVE                                                                                                HALLANDALE BEACH        FL           33009
    ABA JAX                                     DBA JACKSONVILLE GIANTS           1010 E ADAMS STREETSUITE 112                                                                                  JACKSONVILLE            FL           32202
    ABACUS IT                                                                     2 QUEENS LN                                                                                                   MEDFORD                 NJ           08055
    ABACUS OF HAMPTON ROADS MANAGE                                                5620 VIRGINIA BEACH BLVD                                                                                      VIRGINIA BEACH          VA           23462
    ABC FIRE AND SAFETY EQUIPMENT LTD                                             UNIT 9 846 MARION ST                                                                                          WINNIPEG                MB           R2J 0K4      CANADA
    ABC FIRE AND SAFETY INC                                                       PO BOX 922                                                                                                    BELOIT                  WI           53512-0922
    ABC FIRE SAFETY                                                               4113C 44 AVE                                                                                                  CAMROSE                 AB           T4V 5H2      CANADA
    ABC GLOBAL SERVICES LLC                                                       156 BARRETT ST                                                                                                SCHENECTADY             NY           12305
    ABC LEGAL SERVICES                                                            633 YESLER WAY                                                                                                SEATTLE                 WA           98104
    ABC PLUMBING INC                                                              128 MCDONALD DR                                                                                               HINESVILLE              GA           31313
    ABCO                                                                          2480 LAWRENCE AVE E                                                                                           TORONTO                 ON           M1P 2R7      CANADA
    ABDON HORTA                                                                   ADDRESS ON FILE
    ABDULAZEEZ AL AMAIR                                                           ADDRESS ON FILE
    ABDULQAWI ABBADI                                                              ADDRESS ON FILE
    ABE INVESTIGATIONS                                                            156 OLD NAZARETH PIKE E                                                                                       BETHLEHEM               PA           18020
    ABEL VARGAS                                                                   ADDRESS ON FILE
    ABELL PEST CONTROL                                                            200 TIFFIELD RD                           UNIT 107                                                            SCARBOROUGH             ON           M1V 5J1      CANADA
    ABIGAIL GREUBEL                                                               ADDRESS ON FILE
    ABINGDON VIRGINIAN                                                            ADDRESS ON FILE
    ABISTAR GROUP LLC                           DBA FRANCHISE BUSINESS REVIEW     125 BREWERY LN STE 5                                                                                          PORTSMOUTH              NH           03801
    ABLA HAMZA                                                                    ADDRESS ON FILE
    ABLER COMMUNICATIONS                                                          PO BOX 5744                                                                                                   VIRGINIA BEACH          VA           23471
    ABOINGO SERVICESS                                                             981 RIDDER PARK DR                                                                                            SAN JOSE                CA           95131
    ABRAHAM COHEN DBA COLLINS CASH INC                                            601 OCEAN PKWY 86                                                                                             BROOKLYN                NY           11218
    ABRAHAM MISSION STREET LLC                  ATTN CHARLES ABRAHAM              431 S CAPITOL AVE                                                                                             LANSING                 MI           48933
    ABRAHAM ROBERT                                                                ADDRESS ON FILE
    ABRAMS AND BAYLISS LLP                                                        20 MONTCHANIN RD STE 200                                                                                      WILMINGTON              DE           19807
    ABS SCHOOL OF REAL ESTATE LLC                                                 217 B CHESTNUT ST                                                                                             NEWARK                  NJ           07105
    ABSOLUTE SOLUTIONS                                                            201 E ARMY TRAIL RD STE                                                                                       BLOOMINGDALE            IL           60108
    ABSOPURE WATER COMPANY                                                        DEPT 932522                               PO BOX 701760                                                       PLYMOUTH                MI           48170
    AC3 REAL ESTATE INC                                                           704 MIRA MONTE PL                                                                                             PASADENA                CA           91101
    ACAC INC                                                                      PO BOX 2038                                                                                                   CLEVELAND               TN           37320-2038
    ACADEMAP LLC                                DBA PHOSTER TECH                  445 E CARMEL ST STE B                                                                                         SAN MARCOS              CA           92078
    ACADEMY MOVING SERVICES                                                       71 BURNETT AVE                                                                                                WINNIPEG                MB           R2G 1C2      CANADA
    ACADIA MCB HOLDING COMPANY II LLC           DBA AMCB EDEN SQUARE LLC          411 THEODORE FREMD AVE STE 300                                                                                RYE                     NY           10580
    ACADIA WOODS PARTNERS LLC                                                     77 BEDFORD RD                                                                                                 KATONAH                 NY           10536-2141
    ACB ELECTRICAL AND WELDING                                                    1038 STAINES ST                                                                                               FENWICK                 ON           L0S 1C0      CANADA
    ACC BUSINESS                                                                  PO BOX 13136                                                                                                  NEWARK                  NJ           07101-5636
    ACCE                                                                          CMP EVENTS REGISTRATION                   600 HARRISON ST 6TH FLR                                             SAN FRANCISCO           CA           94107
    ACCEL CAPITAL INC                                                             65 W 36TH ST                                                                                                  NEW YORK                NY           10018
    ACCELERATION SHREDDING                                                        10095 85 AVE                              PO BOX 6866                                                         FORT ST JOHN            BC           V1J 4J3      CANADA
    ACCENT GRAPHICS                                                               523 E ROCK ISLAND                                                                                             GRAND PRAIRIE           TX           75050
    ACCESS DEVELOPMENT                                                            1012 W BEARDSLEY PL                                                                                           SALT LAKE CITY          UT           84119
    ACCESSIBLE360 LLC                                                             1422 W LAKE ST                            STE 314                                                             MINNEAPOLIS             MN           55408
    ACCOUNTABILIT LLC                                                             8660 E HARTFORD DR STE 110                                                                                    SCOTTSDALE              AZ           85255
    ACCOUNTANTS MEDIA GROUP                                                       PO BOX 71633                                                                                                  CHICAGO                 IL           60694-3900
    ACCOUNTANTS ON CALL                                                           PO BOX 7777                                                                                                   PHILADELPHIA            PA           19175-0155
    ACCOUNTEMPS                                                                   PO BOX 70207                              STATION A                                                           TORONTO                 ON           M5W 2X5      CANADA
    ACCOUNTEMPS CAROL STREAM                                                      PO BOX 6248                                                                                                   CAROL STREAM            IL           60197-6248



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                        Name                                     Attention                     Address 1                                    Address 2                           Address 3                      City        State       Zip          Country
    ACCOUNTING STORE THE                                                        4575 BONNEY RD                                                                                              VIRGINIA BEACH            VA           23462
    ACCOUNTING TODAY                                                            PO BOX 530                                                                                                  CONGERS                   NY           10920-0530
    ACCOUNTWARE                                 ATTN CARLA                      PO BOX 43230                                                                                                CINCINNATI                OH           45243-0230
    ACCRA LOCK AND SAFE CO LTD                                                  565 13TH ST E                                                                                               PRINCE ALBERT             SK           S6V 1E5      CANADA
    ACCREDITED BUSINESS SOLUTIONS LLC                                           131 SUNNYSIDE BLVD                      STE 108                                                             PLAINVIEW                 NY           11803
    ACCRESCENT FINANCIAL LTD                    ATTN WAYNE BLACKMERE            5 FIRST ST                                                                                                  ORANGEVILLE               ON           L9W 2C5      CANADA
    ACCS MAKETING LLC                                                           2429 W BROAD ST                                                                                             COLUMBUS                  OH           43204
    ACCUITY INC                                                                 PO BOX 9519                                                                                                 NEW YORK                  NY           10087-4519
    ACCURATE CONTROL EQUIPMENT INC                                              PO BOX 533                                                                                                  FAIRHOPE                  AL           36533
    ACCURATE DOCUMENT DESTRUCTION               A WASTE CONNECTIONS COMPANY     PO BOX 535233                                                                                               PITTSBURGH                PA           15253-5233
    ACCURATE INSTALLATIONS AND MOVING
    SERVICES                                                                    1124 B KINGWOOD AVE                                                                                         NORFOLK                   VA           23502
    ACCURATE INVESTIGATIONS SERVICES            C O TOM FIELDS                  1650 MARKET ST STE 12                                                                                       AKRON                     OH           44313
    ACCUSTAFF                                                                   PO BOX 7247 8190                                                                                            PHILADELPHIA              PA           19170-8190
    ACE CASH EXPRESS                                                            1231 GREENWAY DR                        STE 600                                                             IRVING                    TX           75038
    ACE CASH EXPRESS                            ATTN ASHAR HAKIM                1231 GREENWAY DR STE 600                                                                                    IRVING                    TX           75038
    ACE CASH EXPRESS                            ATTN KAREY CRUMP                1231 GREENWAY DR 600                                                                                        IRVING                    TX           75038
    ACE CHAIR RENTAL AND SALES LTD                                              1730 HALL AVE                                                                                               WINDSOR                   ON           N8W 2L4      CANADA
    ACE FIRE SYSTEMS INC                                                        1062 SO MAIN ST                                                                                             LAS VEGAS                 NV           89101
    ACE OFFICE SOLUTIONS INC                                                    545 KING ST W                                                                                               TORONTO                   ON           M5V 1M1      CANADA
    ACE SIGN AND SERVICE LTD                                                    1430 CHURCH AVE                                                                                             WINNIPEG                  MANITOBA     R2X 1G4      CANADA
    ACERRA FERDINANDO                                                           3285 DALY ST                                                                                                DALZELL                   SC           29040
    ACF LLC                                                                     955 DEEP VALLEY DR                      STE 2673                                                            PALOS VERDES              CA           90274
    ACF PROPERTITY MANAGMENT INC                                                12411 VENTURE BLVD                                                                                          NORTH HOLLYWOOD           CA           91604
    ACHDP LLC                                                                   2202 N WESTSHORE BLVD                   STE 200                                                             TAMPA                     FL           33607

    ACHIEVE YOUR DREAMS FRANCHISE CONSULTING TIFFANY DODSON                     3576 SUMMERFIELD LN                                                                                         WINSTON SALEM             NC           27106
    ACHILLES GUARD INC                       DBA CRITICAL WATCH                 4201 SPRING VALLEY RD STE 1400                                                                              DALLAS                    TX
    ACI PAYMENTS INC                                                            PO BOX 418410                                                                                               BOSTON                    MA           02241
    ACKER FAMILY 2012 GIFT TRUST             C O ADAM BLANK                     1 BROMLEY CT                                                                                                SYOSSET                   NY           11791-4640
    ACKERLEY MEDIA GROUP INC                                                    351 ELLIOT AVE W                                                                                            SEATTLE                   WA
    ACM MANAGEMENT SERVICES LTD                                                 210 1140 HOMER ST                                                                                           VANCOUVER                 BC           V6B 2X6      CANADA
    ACME SIGN COMPANY                                                           1136 FLETCHER ST                                                                                            DALLAS                    TX           75223
    ACORN                                                                       1024 ELYSIAN FIELDS AVE                                                                                     NEW ORLEANS               LA           70177
    ACORN NOTARY SUPPLY                                                         1506 TOMLYNN ST                         PO BOX 6971                                                         RICHMOND                  VA           23230

    ACP FUNDINGS DBA HAL HOLDINGS WORLDWIDE                                     223 WALL ST 375                                                                                             HUNTINGTON                NY           11743
    ACQUIRE CROWD                                                               4041 MACARTHUR BLVD                                                                                         NEWPORT BEACH             CA           92660
    ACQUIRED INFORMATION                                                        804 WALTON GREEN WAY NW                                                                                     KENNESAW                  GA           30144
    ACT 1 TEMPORARIES INC                                                       1395 E DUBLIN GRANVILLE RD              STE 111                                                             COLUMBUS                  OH           43229
    ACT CERTIFIED CONSULTANTS OF VIRGINIA INC                                   3117 W CLAY ST                          STE 14                                                              RICHMOND                  VA           23230
    ACT COMPUTER CONSULTING CO                                                  12 800 DENISON ST                                                                                           MARKHAM                   ON           L3R 5M9      CANADA
    ACT DEVELOPMENT                                                             7903 MANSLICK RD                                                                                            LOUISVILLE                KY           40214
    ACT ON SOFTWARE INC                                                         DEPT LA 24026                                                                                               PASADENA                  CA           91185-4026
    ACTION INVESTIGATORS                        ATTN RICHARD COOPER             1509 S SMITH RD 25                                                                                          CHATTANOOGA               TN           37412
    ACTION LOCK                                                                 2 1232 MOSLEY ST                                                                                            WASAGA BEACH              ON           L9Z 2E5      CANADA
    ACTION PAVING AND CONSTRUCTION INC                                          2500 ENGAGEMENT CT                      STE 102                                                             VIRGINIA BEACH            VA           23453
    ACTION PLUS SIGN CO                                                         6955 146TH ST                                                                                               APPLE VALLEY              MN           55124
    ACTION PROCESS SERVICE LLC                                                  PO BOX 5383                                                                                                 WENATCHEE                 WA           96807
    ACTION REMODELING                           ATTN JERROLD S GORDON           3456 TIGARD AVE                                                                                             BILLINGS                  MT           59101
    ACTIVE INSIGHTS LLC                                                         1919 S SUSAN ST                                                                                             SANTA ANA                 CA           92704
    ACTIVECAMPAIGN LLC                                                          1 N DEARBORN                            5TH FL                                                              CHICAGO                   IL           60602
    ACTIVEPROSPECT INC                                                          4203 GUADALUPE ST                                                                                           AUSTIN                    TX           78751
    ACUMEN DATA SYSTEMS INC                                                     2223 WESTFIELD ST                                                                                           WEST SPRINGFILED          MA           01089
    AD ELECTRIC                                                                 6549 W 28TH ST                                                                                              BERWYN                    IL           60402
    AD NATIONAL                                                                 5565 STERRETT PL                        4TH FL                                                              COLUMBIA                  MD           21044
    AD PRACTITIONERS LLC                                                        BANCO POPULAR DE PUERTO RICO            ATTN N CLAUDIOPO BOX 362708                                         SAN JUAN                  PR           00936-2708
    AD SAVE INC                                                                 91 CIRCLEWOOD DR                                                                                            ST THOMAS                 ON           N5P 0B2      CANADA
    AD SLATER                                                                   8651 WESTMINISTER HWY 327                                                                                   RICHMOND                  BC           V7E 6J3      CANADA
    AD SOLUTIONS                                                                653 W MICHIGAN ST                                                                                           ORLANDO                   FL           32805
    ADAIR BILL                                                                  ADDRESS ON FILE
    ADALBERTO ALBA                                                              ADDRESS ON FILE
    ADAM BLANK                                                                  ADDRESS ON FILE
    ADAM DAYAN LIVING TRUST                                                     701 N FT LAUDERDALE BLVD 602                                                                                FT LAUDERDALE             FL           33304
    ADAM MYERS PLUMBING INC                                                     1329 HARPERS RD                         STE 106                                                             VIRGINIA BEACH            VA           23454
    ADAM SIMPSON                                                                ADDRESS ON FILE
    ADAM WINES DBA ADAM WINES CONSULTING                                        125 REMOUNT RD                          STE C1 1035                                                         CHARLOTTE                 NC           28203
    ADAMS HARRIS REPORTING INC                                                  PO BOX 2867                                                                                                 VIRGINIA BEACH            VA           23450-2867
    ADAMS INVESTORS HOLDING CORP DBA FYP
    FUNDING                                                                     2020 E 53RD ST                          STE 2B                                                              BROOKLYN                  NY           11234
    ADAMS KATHY                                                                 ADDRESS ON FILE
    ADAMS KRISTINE                                                              ADDRESS ON FILE
    ADAMS OUTDOOR ADVERTISING                                                   1134 N GRAHAM ST                                                                                            CHARLOTTE                 NC           28206
    ADAMS OUTDOOR ADVERTISING LP                DBA ADAMS OUTDOOR ADERVTISING   5547 E VIRGINIA BEACH BLVD                                                                                  NORFOLK                   VA           23502
    ADAMS SERVICES                                                              808 AVATAR DR                                                                                               VIRGINIA BEACH            VA           23454
    ADAMS SIGN SERVICE AND REPAIR LLC                                           625 N PARK AVE                          PO BOX 379                                                          BURLINGTON                NC           27217
    ADAMS STORAGE VILLAGE                                                       1 ADAMS PL                                                                                                  VICTORIA                  BC           V9B 6P6      CANADA
    ADCO ADVERTISING LTD                                                        101 3811 EDMONTON TRAIL NE                                                                                  CALGARY                   AB           T2E 3P5      CANADA
    ADCO SIGNS INC                                                              165 MARKET ST STE 6                                                                                         ONANCOCK                  VA           23417
    ADD COMMUNICATIONS INC                                                      500 COCHRANE DR                         STE 2                                                               MARKHAM                   ONTARIO      L3R 8E2      CANADA
    ADDLEASE MCAP                                                               5575 N SERVICE RD                       STE 300                                                             BURLINGTON                ON           L7L 6M1      CANADA
    ADECCO EMPLOYEMENT SERVICE LIMITED                                          LOCKBOX T46033                          PO BOX 46033                                 POSTAL STATION A       TORONTO                   ONTARIO      M5W 4K9      CANADA
    ADELPHIA BUSINESS SOLUTIONS                                                 PO BOX 931843                                                                                               ATLANTA                   GA           31193-1843
    ADELPHIA MEDIA SERVICES                                                     CENTRAL REGION                          19 MIDDLEBROOK AVE                                                  STAUNTON                  VA           24401
    ADENYO USA INC                                                              130 SPADINA AVE 6TH FL                                                                                      TORONTO                   ON           M5V 2L4      CANADA
    ADGENICS LLC                                                                95 NE 4TH AVE                           UNIT 100                                                            DELRAY BEACH              FL           33483
    ADGEO INC                                                                   PO BOX 410077                                                                                               ST LOUIS                  MO           63141
    ADGOOROO LLC                                                                730 W RANDOLPH STE 100                                                                                      CHICAGO                   IL           60661
    ADI COMPLIANCE CONSULTING INC                                               3919 OLD LEE HWY                        STE 81 A                                                            FAIRFAX                   VA           22030


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                                                                                                                              Served via First-Class Mail




                        Name                                 Attention                          Address 1                                  Address 2                           Address 3                     City        State       Zip          Country
    ADISA SELIMOVIC                                                             11301 HALIFAX DR                                                                                           LOUISVILLE               KY           40241
    ADIVISE CAPITAL LLC                                                         557 VISTA GRANDE                                                                                           NEWPORT BEACH            CA           92660
    ADMIIN INC                                DBA PARO INC                      343 W ERIE 600                                                                                             CHICAGO                  IL           60654
    ADNET INC                                                                   1100 GLENDON AVE                       STE 1200                                                            LOS ANGELES              CA           90024
    ADNOMIC LLC DBA MY BUSINESS FUNDED                                          1133 COLUMBIA ST                       STE 105                                                             SAN DIEGO                CA           92101
    ADOBE SYSTEMS INC                                                           345 PARK AVE                                                                                               SAN JOSE                 CA           95110
    ADOBE SYSTEMS INCORPORATED                                                  75 REMITTANCE DR                       STE 1025                                                            CHICAGO                  IL           60675-1025
    ADP HOLDINGS INC                                                            1429 HUNNINGDON WOODS BLVD                                                                                 CHESAPEAKE               VA           23320
    ADP INC 842875                                                              PO BOX 842875                                                                                              BOSTON                   MA           02284-2875
    ADP LLC                                                                     PO BOX 31001 1874                                                                                          PASADENA                 CA           91110-1874
    ADP PAYROLL                               ADP CHESAPEAK EP                  8094 SAND PIPER CIR STE A                                                                                  WHITE MARSH              MD           21236
    ADP SCREENING AND SELECTION SERVICES                                        PO BOX 645177                                                                                              CINCINNATI               OH           45264-5177
    ADP SCREENING AND SELECTION SERVICESINC                                     PO BOX 645177                                                                                              CINCINNATI               OH           45264-5177
    ADRAGNA PETER                                                               ADDRESS ON FILE
    ADRIAN ISALGUE DBA LOCAL COMMUNITY LENDER
    LLC                                                                         3511 NW 18TH ST                                                                                            MIAMI                    FL           33125

    ADRIAN MATHAI DBA MYSTIC WEB SYSTEMS LLC                                    16655 VANOWEN ST 11                                                                                        VAN NUYS                 CA           91406
    ADROLL INC                                                                  2300 HARRISON ST                       2ND FL                                                              SAN FRANCISCO            CA           94110
    ADS ADVERTISING DELIVERY SER                                                PO BOX 62605                                                                                               VIRGINIA BEACH           VA           23466
    ADS INTERNATIONAL INC                                                       252 E 760 S                                                                                                WELLSVILLE               UT           84339
    ADT SECURITY SERVICES 371878                                                PO BOX 371878                                                                                              PITSBURGH                PA           15250-7878
    ADT SECURITY SERVICES CANADA INC                                            615 18TH ST SE                                                                                             CALGARY                  AB           T2E 6J5      CANADA
    ADT SECURITY SERVICES CANADA INC 8481                                       8481 LANGELIER                                                                                             MONTREAL                 QC           H1P 2C3      CANADA
    ADT SECURITY SERVICES INC 371956                                            PO BOX 371956                                                                                              PITTSBURGH               PA           15250-7953
    ADT SECURITY SYSTEMS                                                        PO BOX 371967                                                                                              PITTSBURGH               PA           15250-7967
    ADVANCE BUSINESS SYSTEMS WINDSOR INC                                        3290 JEFFERSON BLVD                                                                                        WINDSOR                  ON           N8T 2W8      CANADA
    ADVANCE CREDIT FUNDING CORPORATION                                          721 CORNELL RD                                                                                             YPSILANTI                MI           48197
    ADVANCE DESIGNS                                                             11415 SUNRISE GOLD CIR                 STE 4                                                               RANCHO CORDOVA           CA           95742
    ADVANCE DISTRIBUTION HERES THE SCOOP                                        BAY 402 2903 KINGSVIEW BLVD                                                                                AIRDRIE                  AB           T4A 0C4      CANADA
    ADVANCE ELECTRIC                                                            2544 SPRINGHAVEN DR                                                                                        VIRGINIA BEACH           VA           23456
    ADVANCE FUNDS NETWORK                                                       464 KINGS HWY                          2ND FL                                                              BROOKLYN                 NY           11223
    ADVANCE SMART LLC                                                           2264 SILAS DEANE HWY                                                                                       ROCKY HILL               CT           06067
    ADVANCE SOLAR SOLUTIONS                                                     411 BELLE ISLE VIEW BLVD                                                                                   WINDSOR                  ON           N8S 3G2      CANADA
    ADVANCE SURVEILLANCE GROUP INC                                              40 MACOMB PL                           STE 201                                                             MT CLEMENS               MI           48043
    ADVANCED ATTORNEY SERVICES INC                                              3500 FIFTH AVE                         STE 202                                                             SAN DIEGO                CA           92103
    ADVANCED CAPITAL RESOURCE INC                                               11264 IRONWOOD RD                                                                                          SAN DIEGO                CA           92131
    ADVANCED CAPITAL VENTURES LLC                                               4 BROWER AVE                                                                                               WOODMERE                 NY           11598
    ADVANCED DELIVERY SERVICE INC                                               3413 MAZUR DR                                                                                              MELBOURNE                FL           32901
    ADVANCED DISPOSAL STATELINE PD                                              PO BOX 743019                                                                                              ATLANTA                  GA           30374-3019
    ADVANCED DOCUMENT DESTRUCTION LLC                                           529 32ND ST SE                                                                                             GRAND RAPIDS             MI           49548
    ADVANCED FINANCIAL SERVICES INC                                             34008 9TH AVES                         STE B 100                                                           FEDERAL WAY              WA           98003
    ADVANCED INVESTIGATIVE SOLUTIONS INC                                        PO BOX 6                                                                                                   SIMPSONVILLE             KY           40067
    ADVANCED LOCK AND SECURITY LTD                                              87 CONSTABLE CT                                                                                            LONDON                   ON           N6G 3N7      CANADA
    ADVANCED MOVING AND TRANSPORT LTD                                           PO BOX 723 ADELAIDE STATION                                                                                TORONTO                  ONTARIO      M5C 2J8      CANADA
    ADVANCED TELCOM GROUP INC                                                   PO BOX 12039                                                                                               SALEM                    OR           97309
    ADVANTAGE BUSINESS SYSTEMS                                                  4653 MACLEOD TRAIL SW                                                                                      CALGARY                  AB           T2G 0A6      CANADA
    ADVANTAGE CONFERENCE AND EXPO                                               3956 TOWN CTR BLVD                     STE 540                                                             ORLANDO                  FL           32837
    ADVANTAGE CONFERENCE AND EXPO LLC                                           5187 RAYNOR AVE                                                                                            LINTHICUM                MD           21090
    ADVANTAGE RELOCATION SYSTEMS                                                1005 SPINNEY DR                                                                                            DAWSON CREEK             BC           V1G 1S6      CANADA
    ADVANTAX INC                                                                200 W RIVER DR                                                                                             ST CHARLES               IL           60174
    ADVANTEDGE CORP                                                             710 AVE U                                                                                                  BROOKLYN                 NY           11223
    ADVENTNET                                                                   5200 FRANKLIN DR                       STE 115                                                             PLEASANTON               CA           94588
    ADVENTURE 545                                                               223 TRIFUNOV CR                                                                                            REGINA                   SK           S4R 7C8      CANADA
    ADVERTISING BALLOON COMPANY LLC                                             PO BOX 549                                                                                                 ROSHARON                 TX           77583-0549
    ADVERTISING ETC                                                             2315 N WOODLAWN AVE STE 100                                                                                METAIRE                  LA           70002
    ADVERTISING INC                                                             4730 S FORT APACHE RD                  STE 300                                                             LAS VEGAS                NV           89147
    ADVERTISING VISUALS INC                                                     847 SEAHAWK CIR 101                                                                                        VIRGINIA BEACH           VA           23452
    ADVO INC                                                                    A3848 COLLECTION CTR DR                                                                                    CHICAGO                  IL           60698
    ADVOCATE SERVICES                                                           3101 OAKES AVE                                                                                             EVERETT                  WA           98201
    ADVOCATES LLP                                                               16TH FL ONE LONDON PL                  255 QUEENS AVE                                                      LONDON                   ON           N6A 5R8      CANADA
    AECERO INC                                                                  2463 W LA PALMA AVE                    STE 200                                                             ANAHEIM                  CA           92801
    AEGIS LOCKSMITHS                                                            8045 ARGYLL RD                                                                                             EDMONTON                 ALBERTA      T6C 4A9      CANADA
    AEROTEK INC                                                                 PO BOX 198531                                                                                              ATLANTA                  GA           30384-8531

    AEROTEK PROFESSIONAL SERVICES DO NOT USE                                    3689 COLLECTION CTR DR                                                                                     CHICAGO                  IL           60693

    AEROTEK PROFESSIONAL SERVICES DO NOT USE                                    7301 PKWY DR                                                                                               HANOVER                  MD           21076

    AEROTEK PROFESSIONAL SERVICES IL DONT USE                                   3689 COLLECTION CTR DR                                                                                     CHICAGO                  IL           60693
    AFCO CREDIT CORP                                                            4501 COLLEGE BLVD                      STE 320                                                             LEAWOOD                  KS           66211
    AFCO CREDIT CORPORATION                                                     5600 N RIVER RD                        STE 400                                                             ROSEMONT                 IL           60018
    AFFILIATE ROI LLC                                                           7300 W 110TH ST                        STE 925                                                             OVERLAND PARK            KS           66210
    AFFINITY CONSULTANTS LTD DBA AFFINITY
    MEMBER SEVICES                                                              8 WET MAINT ST                         SUIT 5                                                              PATCHOGUE                NY           11772
    AFFINITY MERCHANT SERVICES INC                                              70 E SUNRISE HWY                       STE 500                                                             VALLEY STREAM            NY           11581
    AFFIRM                                                                      PO BOX 720                                                                                                 SAN FRANCISCO            CA           94104
    AFFORDABLE ADVERTISING                                                      328 720 6TH ST                                                                                             NEW WESTMINSTER          BC           V3L 3C5      CANADA
    AFFORDABLE BRICK REPAIR LLC                 ATTN GRADY JEREMY JACKSON       1609 TUFTS CT                                                                                              VIRGINIA BEACH           VA           23456
    AFFORDABLE FLOORS INC                                                       5788 WARD CT                                                                                               VIRGINIA BEACH           VA           23455
    AFFORDABLE FLOORS SALES AND SERVICE INC                                     5741 BAYSIDE RD 108                                                                                        VIRGINIA BEACH           VA           23455
    AFFORDABLE OFFICE AND HOME SERVICES         ATTN JEFFREY HUBBARD            PO BOX 23355                                                                                               JACKSONVILLE             FL           32241
    AFFORDABLE SEPTIC SOLUTIONS INC                                             PO BOX 676                                                                                                 MELFA                    VA           23410-0676
    AFG FUNDING LLC                                                             2140 DIXIE HWY 207                                                                                         MIAMI                    FL           33133
    AFL DISPLAY GROUP                                                           4 89 CONNIE CRESCENT                                                                                       CONCORD                  ON           L4K 1L3      CANADA
    AFMK HOLDINGS INC                           ATTN ACCOUNTS RECEIVABLE DEPT   321 W 84TH AVE STE A                                                                                       THORNTON                 CO           80260
    AFNI INC                                                                    PO BOX 3517                                                                                                BLOOMINGTON              IL           61702-3517
    AFOAKWA RICHARD                                                             ADDRESS ON FILE
    AFTON ASSOCIATES LLC                                                        244 MUSTANG TRAIL STE 6                                                                                    VIRGINIA BEACH           VA           23452


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                       Name                                  Attention                                Address 1                                   Address 2                           Address 3                    City        State       Zip          Country
    AGARI DATA INC                                                                    950 TOWER LN                            STE 2000                                                            FOSTER CITY             CA           94404
    AGAVE ADVANTAGE LLC                                                               15806 N 38TH PL                                                                                             PHOENIX                 AZ           85028
    AGAZI TSEGAI DBA GAZAROTTI GROUP LLC                                              431 E 154TH ST                                                                                              BRONX                   NY           10455
    AGE GRAPHICS                                                                      52231 STATE ROUTE 248                                                                                       LONG BOTTOM             OH           45743
    AGENT MEDIA CORPORATION                                                           1255 CLEVELAND ST                       STE 200                                                             CLEARWATER              FL           33755-4910
    AGENT PINPOINT                                                                    1497 MAIN ST STE 246                                                                                        DUNEDIN                 FL           34698
    AGM NEVADA LLC                            DBA KABG FMKLVO FMKKSS FMKIOT FM        KKRG FM KJFA AM KJFA FM                 PO BOX 2700                                                         BAKERSFIELD             CA           93303
    AGORA LEASING AND MANAGEMENT LLC                                                  PO BOX 734                                                                                                  PLAINFIELD              IN           46168
    AHLUWALIA BROTHERS HOLDING INC                                                    4460 ANDIRON CT                                                                                             MISSISSAUGA             ON           L5V 1C8      CANADA
    AHR COMMUNICATIONS INC                    DBA ADMOBILE HAMPTON ROADS              2901 S LYNNHAVEN RD STE 180                                                                                 VIRGINIA BEACH          VA           23452
    AHR PROPERTIES LP                                                                 1390 CHAIN BRIDGE RD 170                                                                                    MCLEAN                  VA           22101
    AHS SECURITY SYSTEMS INC                                                          185 FROBISHER DR UNIT 2A                                                                                    WATERLOO                ON           N2V 2E6      CANADA
    AI MEDIA GROUP                                                                    483 10TH AVE STE 415                                                                                        NEW YORK                NY           10018
    AIA SERVICES LLC                                                                  8148 SOLUTIONS CTR                                                                                          CHICAGO                 IL           60677-8001

    AIA SERVICES LLC                          D B A P3 PERILLI PROMOTIONAL PRODUCTS   8148 SOLUTIONS CTR                                                                                          CHICAGO                 IL           60677-8001
    AIELLO GENERAL CONTRACTING                                                        2214 BROWNSVILLE RD                                                                                         PITTSBURGH              PA           15210
    AIG SPECIALITY INSURANCE COMPANY                                                  500 W MADISON ST                        STE 3000                                                            CHICAGO                 IL           60661
    AIM MEDIA TEXAS OPERATING LLC             DBA AIM MEDIA TEXAS                     PO BOX 3267                                                                                                 MCALLEN                 TX           78502-3267
    AIMEE FRANKHOUSE TRUST                                                            799 LAURELES GRADE                      TRACY N MILLER TRUSTEE                                              CARMEL VALLEY           CA           93924
    AINEEAMO INC                                                                      9509 NIGHTFALL DR                                                                                           FRISCO                  TX           75035
    AINOR SIGNS INC                                                                   5443 STATIONERS WAY                                                                                         SACRAMENTO              CA           95842
    AIR AD PROMOTIONS                                                                 PO BOX 202066                                                                                               ARLINGTON               TX           76006
    AIR ADVANTAGE                                                                     470 MCCORMICK BLVD                                                                                          COLUMBUS                OH           43213
    AIRBORNE EXPRESS                                                                  PO BOX 91001                                                                                                SEATTLE                 WA           98111
    AIRDRIE ECHO                                                                      112 1ST AVE NE                                                                                              AIRDRIE                 AB           T4B 0R6      CANADA
    AIRGAS RETAIL SOLUTIONS                                                           7401 114TH AVE N                        STE 501                                                             LARGO                   FL           33773
    AIRGAS USA LLC                                                                    PO BOX 676015                                                                                               DALLAS                  TX           75267-6015
    AIRLINE SHOPPING CENTER PARTNERSHIP                                               1200 S CLEARVIEW PKWY SUIT 1166                                                                             HARAHAN                 LA           70123
    AIRPORT EXPRESS                                                                   3455 AZALEA GARDEN RD                                                                                       NORFOLK                 VA           25313
    AIRQUIP INC                                                                       830 LINDEN AVE                                                                                              ROCHESTER               NY           14625
    AIRTIME MEDIA                                                                     PO BOX 844656                                                                                               BOSTON                  MA           02284
    AIRTOUCH CELLULAR                                                                 PO BOX 660108                                                                                               DALLAS                  TX           75266-0108
    AJ CONNECTION                                                                     1455 FERRELL RD                                                                                             MONROEVILLE             NJ           08343-2812
    AJD DATA SERVICES INC                                                             10 ALLSTATE PKWY                                                                                            MARKHAM                 ON           L3R 5P8      CANADA
    AJJMD REALTY CORPORATION                                                          EMORY PARK PEOPLE S BANK                102 N PRINCE ST                                                     AMERICUS                GA           31709
    AJMD MACON LLC                                                                    706 NOSTRAND AVE                                                                                            BROOKLYN                NY           11216
    AKERMAN LLP                                                                       PO BOX 4906                                                                                                 ORLANDO                 FL           32802
    AKERMAN SENTERFITT                                                                PO BOX 4906                                                                                                 ORLANDO                 FL           32802
    AKITA OFFICE FURNITURE                                                            603 DENISON ST                                                                                              MARKHAM                 ON           L3R 1B8      CANADA
    AKL LIMITED PARTNERSHIP                   ATTN ACCOUNTS PAYABLE                   8 ERB ST W 2ND FL                                                                                           WATERLOO                ON           N2L 1S7      CANADA
    AKSYS                                                                             PO BOX 15719                                                                                                COLORADO SPRINGS        CO           80935-5719
    AL AZHAR SHRINE CIRCUS                                                            105 4014 MACLEOD TRAIL SOUH                                                                                 CALGARY                 AB           T2G 2R7      CANADA
    ALABAMA DEPARTMENT OF REVENUE                                                     50 N RIPLEY ST                                                                                              MONTGOMERY              AL           36130
    ALABAMA DEPARTMENT OF REVENUE                                                     PO BOX 327320                                                                                               MONTGOMERY              AL           36132-7320
    ALABAMA DEPARTMENT OF REVENUE                                                     PO BOX 327790                                                                                               MONTGOMERY              AL           36132-7790
    ALABAMA DEPARTMENT OF REVENUE             BUSINESS PRIVILEGE TAX SECTION          PO BOX 327320                                                                                               MONTGOMERY              AL           36132-7320
    ALABAMA POWER                                                                     PO BOX 368                                                                                                  GARDENDALE              AL           35071
    ALAMEDA COUNTY SHERIFF DEPARTMENT                                                 1225 FALLON ST                          RM 104                                                              OAKLAND                 CA           94612
    ALAN ELEY                                                                         ADDRESS ON FILE
    ALAN WILLIAMS                                                                     ADDRESS ON FILE
    ALARM MASTERS MONITORING GROUP                                                    900 102ND AVE                           STE 101                                                             DAWSON CREEK            BC           V1G 2B7      CANADA
    ALARMFORCE                                                                        675 GRAYRAY DR                                                                                              TORONTO                 ON           M9L 1R2      CANADA
    ALASKA ACES LLC                                                                   724 E 15TH AVE                                                                                              ANCHORAGE               AK           99501
    ALASKA COMMUNICATIONS                                                             PO BOX 196666                                                                                               ANCHORAGE               AK           99519-6666
    ALASKA DEPARTMENT OF LABOR AND
    WORKFORCE DEVELOPMENT                                                             11312 KENAI SPUR HWY                    STE 2                                                               KENAI                   AK           99611
    ALASKA DEPARTMENT OF REVENUE UCP          UNCLAIMED PROPERTY PROGRAM              333 WILLOUGHBY AVE                      11TH FL                                                             JUNEAU                  AK           99801
    ALASKA DEPT OF REVENUE TAX DIVISION                                               PO BOX 110420                                                                                               JUNEAU                  AL           99811-0420
    ALASKA INVESTIGATION AGENCY                                                       PO BOX 240732                                                                                               ANCHORAGE               AK           99524
    ALASKA WASTE ANCHORAGE                                                            PO BOX 196097                                                                                               ANCHORAGE               AK           99519-6097
    ALBA SPECTRUM CORPORATION                                                         1715 W WABANSIA AVE                                                                                         CHICAGO                 IL           60622
    ALBANY BROADCASTING CO                                                            6 JOHNSON RD                                                                                                LATHAM                  NY           12110
    ALBANY TIMES UNION                                                                PO BOX 26850                                                                                                LEIGH VALLEY            PA           18002-6850
    ALBANY UTILITIES                                                                  PO BOX 1788                                                                                                 ALBANY                  GA           31702-1788
    ALBERT FISHER SR                          DBA VALPAK OF SOUTHERN VIRGINIA         PO BOX 5572                                                                                                 VIRGINIA BEACH          VA           23477
    ALBERT LEE                                                                        ADDRESS ON FILE
    ALBERT PRUDEAUX DBA PEERPOINT CAPITAL
    GROUP INC                                                                         73 W MONROE ST                                                                                              CHICAGO                 IL           60603
    ALBERTA RADIO GROUP                                                               600 5241 CALGARY TRAIL S                                                                                    EDMONTON                AB           T6H 5G8      CANADA
    ALBERTA TREASURY BOARD AND FINANCE        TAX AND REVENUE ADMINISTRATION          9811 109 ST                                                                                                 EDMONTON                AL           T5K 2L5
    ALBERTA WEEKLY NEWSPAPERS ASSOCIATION                                             800 4445 CALGARY TRAIL S                                                                                    EDMONTON                AB           T6H 5R7      CANADA
    ALBERTH CHRIS                                                                     ADDRESS ON FILE
    ALBERTO RUVALCABA DBA IMPERIAL BUSINESS
    SOLUTIONS                                                                         823 ANCHORAGE PL                        47                                                                  CHULA VISTA             CA           91914
    ALBINA GEREMONTE                                                                  ADDRESS ON FILE
    ALBRANSCO LLC                                                                     817 WINCHESTER RD                       STE 150                                                             LEXINGTON               KY           40505
    ALCIDES SERRANO                                                                   ADDRESS ON FILE
    ALD HOPE LLC                                                                      11603 ALDINE WESTFIELD RD                                                                                   HOUSTON                 TX           77093
    ALDEN SERVICES LLC                        DBA MRHANDYMAN OF VIRGINIA BEACH        800 SEAHAWK CIR                         STE 122 A                                                           VIRGINIA BEACH          VA           23452
    ALDRIDGE ELVIRA M                                                                 ADDRESS ON FILE
    ALECTRA UTILITIES CORPORATION                                                     PO BOX 3700                                                                                                 CONCORD                 ON           L4K 5N2      CANADA
    ALEJANDRA ROMERO                                                                  ADDRESS ON FILE
    ALEKS MOVING CO                                                                   974 RENDEZVOUS E                                                                                            WINDSOR                 ON           N8P 1K5      CANADA
    ALERT LOGIC INC                                                                   1776 YORKTOWN ST                        7TH FL                                                              HOUSTON                 TX           77056
    ALESCO                                                                            4575 VIA ROYALE                                                                                             FORT MYERS              FL           33919
    ALEX CAMACHO                                                                      ADDRESS ON FILE
    ALEXANDER KAY                                                                     ADDRESS ON FILE



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    ALEXANDER KOSWENER DBA VANTAGE CAPITAL
    GROUP                                                                              12 MEADOW CT                                                                                                 MONTVILLE               NJ           07045
    ALEXANDER POOLE AND COMPANY INC                                                    11 N PEARL ST                            PO BOX 69                                                           ALBANY                  NY           12207
    ALEXANDERS ON THE BAY                                                              4536 OCEAN VIEW AVE                                                                                          VIRGINIA BEACH          VA           23455
    ALFRED AND FABRIS STUDIOS INC                                                      6 ROGERS BROOK E                                                                                             ANDOVER                 MA           01810
    ALFRED BERNARD III                                                                 ADDRESS ON FILE
    ALFRED WILLIAMS II DBA BRIDGE GAP FUNDING                                          23016 LAKE FOREST DR                                                                                         LAGUNA HILLS            CA           92653
    ALIANZA POR AMISTAD DE SAN ANTONIO                                                 5239 STORMY SKIES                                                                                            SAN ANTONIO             TX           78247
    ALIBABA INVESTMENTS LLC                                                            PO BOX 151465                                                                                                ARLINGTON               TX           76015
    ALICE MAGIERSKI RECEIVER OF TAXES                                                  3301 BROADWAY ST                                                                                             CHEEKTOWAGA             NY           14227
    ALICE P QUARTERMAN                                                                 ADDRESS ON FILE
    ALICIA MORGA                                                                       ADDRESS ON FILE
    ALICKSMITH GENERAL CONTRACTING                                                     220 E LAWN RD                            STE 10                                                              NAZARETH                PA           18064
    ALIEN VAULT INC                                                                    DEPT LA 24613                                                                                                PASADENA                CA           91185-4613
    ALIGN EXECUTIVE SEARCH                                                             31601 COAST HWY                          STE 100                                                             LAGUNA BEACH            CA           92651
    ALISHA DILLION                                                                     ADDRESS ON FILE
    ALITHYA FINANCIAL SOLUTIONS INC           DBA ALITHYA RANZAL LLC                   PO BOX 845183                                                                                                BOSTON                  MA           02284-5183
    ALIXPARTNERS LLP                                                                   2000 TOWN CTR                            STE 2400                                                            SOUTHFIELD              MI           48075
    ALK VENTURES LLC DBA BYRON FUNDING                                                 10275 COLLINS AVE                        APT 1132                                                            BAL HARBOUR             FL           33154
    ALL AMERICAN CALENDARS LLC                                                         2348 W ANDREW JACKSON HWY 498                                                                                MORRISTOWN              TN           37814
    ALL AROUND SIGN CO                                                                 291 STROOD AVE                                                                                               WINNIPEG                MB           R2G 1A8      CANADA
    ALL BRITE SIGNS 2003 LTD                                                           5212 55 ST                                                                                                   BONNYVILLE              AB           T9N 2K7      CANADA
    ALL BUSINESSCOM                                                                    75 REMITTANCE DR                         STE 6393                                                            CHICAGO                 IL           60675-6393
    ALL COMFORT HEATING AND COOLING                                                    89 SOVEREIGNS GALE                                                                                           BARRIE                  ON           L4N 0Y9      CANADA
    ALL CREDIT FUNDING LLC                                                             4301 S FLAMINGO RD 106123                                                                                    DAVIE                   FL           33330
    ALL GLASS AND MIRROR SERVICES LTD                                                  487 WESTNEY RD S                         UNIT 4                                                              AJAX                    ON           L1S 6W7      CANADA
    ALL LANGUAGES LTD                                                                  421 BLOOR ST E                           STE 306                                                             TORONTO                 ON           M4W 3T1      CANADA
    ALL OUT SPORTS ACADEMY II                                                          5837 JACQULYN DR                                                                                             ZELLWOOD                FL           32798
    ALL PRO PLUMBING AND HEATING                                                       1904 S QUINN ST                                                                                              PRINCE GEORGE           BC           V2N 1X5      CANADA
    ALL SEASON WINDOW CLEANING                                                         130 CORAL SPRINGS CIR NE                                                                                     CALGARY                 AB           T3J 3P5      CANADA
    ALL SOURCE FUNDING LLC                                                             6143 JERICHO TURNPIKE                    STE 207                                                             COMMACK                 NY           11725-2809
    ALL SOUTH ELECTRICAL CONSTRUCTORS INC                                              150 KELLI CLARK CT STE A                                                                                     CARTERSVILLE            GA           30121
    ALL STAR FIRE SAFETY LLC                                                           1131 W RENO AVE                                                                                              OKLAHOMA CITY           OK           73106
    ALL STAR GLASS AND MIRROR INC                                                      341 VILLAGE RD                                                                                               VIRGINIA BEACH          VA           23454
    ALL STAR SIGNS                                                                     5113 55TH AVE                                                                                                STONEY PINE             AB           T721B8       CANADA
    ALL THAT IS CERTAIN LLC                   DBA LIBERTY TAX SERVICE                  832 S ONEIDA ST                                                                                              GREEN BAY               WI           54304
    ALLAN BORESS                                                                       ADDRESS ON FILE
    ALLAN BOYNTON MARKETING GROUP                                                      6 SCHRODER CRES                                                                                              GUELPH                  ON           N1E 7B1      CANADA
    ALLEGHENY POWER                                                                    PO BOX 1458                                                                                                  HAGERSTOWN              MD           21741-1458
    ALLEGIS GROUP DOLDINGS INC DBA TEKSYSTEMS
    INC                                                                                7437 RACE RD                                                                                                 HANOVER                 MD           21076
    ALLEGIS GROUP HOLDING INC                                                          7301 PKWY DR                             DBA ASTON CARTER INC                                                HANOVER                 MD           21076
    ALLEGIS GROUP HOLDINGS INC                DBA AEROTEK INC                          7301 PKWY DR                                                                                                 HANOVER                 MD           21076
    ALLEGIS GROUP HOLDINGS INC DBA
    MAJORLINDSEY AND AFRICA LLC                                                        15208 COLLECTIONS CTR DR                                                                                     CHICAGO                 IL           60693-5208
    ALLEN AME HOUSING CORPORATION                                                      110 42 MERRICK BLVD                                                                                          JAMAICA                 NY           11433
    ALLEN HYMAN                                                                        ADDRESS ON FILE
    ALLEN INVESTIGATIVE SERVICES                                                       PO BOX 543                                                                                                   ELIZABETH CITY          NC           27909
    ALLEN RYAN                                                                         ADDRESS ON FILE
    ALLIANCE BENEFIT GROUP                                                             3501 MASONS MILL RD                      STE 505                                                             HUNTINGDON VALLEY       PA           19006
    ALLIANCE COMMUNICATIONS INC                                                        6100 N CICERO AVE                                                                                            CHICAGO                 IL           60646
    ALLIANCE FOR LUPUS RESEARCH                                                        28 W 44TH ST                             STE 501                                                             NEW YORK                NY           10036

    ALLIANCE WORLDWIDE INVESTIGATIVE GROUP INC                                         4 HALFMOON EXECUTIVE PARK DR                                                                                 CLIFTON PARK            NY           12065
    ALLIANT CAPITAL MANAGEMENT LLC                                                     1965 SHERIDAN DR                         STE 100                                                             BUFFAO                  NY           14223
    ALLIED CAPITAL GROUP LLC                                                           4590 MAC ARTHUR BLVD                     STE 500                                                             NEWPORT BEACH           CA           92660
    ALLIED CAPITAL SERVICES                                                            808 CANEY ST                                                                                                 CEDAR VALE              KS           67024
    ALLIED NATIONAL INC                        HQ AND CENTRAL OPERATIONS               440 REGENCY PKWY STE 134                                                                                     OMAHA                   NE           68114
    ALLINSON CONSULTING                                                                500 EMERY ST E                                                                                               LONDON                  ON           N6C 2G1      CANADA
    ALLLIANCE AVIATION GROUP LLC                                                       637 PALM DR                                                                                                  OCOEE                   FL           34761
    ALLMOVE MOBILE SHREDDING                                                           170 EAGLE DR                                                                                                 WINNIPEG                MB           R2R 1V5      CANADA
    ALLOWAY INNOVATIONS                                                                905 6TH ST SW                            612B                                                                WASHINGTON              DC           20024
    ALLPOINTS FIRE PROTECTION LTD                                                      2133 S OGILVIE ST                                                                                            PRINCE GEORGE           BC           V2N 1X2      CANADA
    ALLPOINTS INC                                                                      909 LUNT AVE                                                                                                 SCHAUMBURG              IL           60193
    ALLPRO ASSOCIATES LLC                                                              4411 BEE RIDGE RD 232                                                                                        SARASOTA                FL           34233
    ALLSTAR KIA POMONA                                                                 8 RIO RANCHO RD                                                                                              POMONA                  CA           91766
                                               ATTN AMERICAN HERITAGE LIFE INSURANCE
    ALLSTATE BENEFITS                          CO                                      PO BOX 650514                                                                                                DALLAS                  TX           75265
    ALLSTATE FINANCIAL COMPANY                 ATTN HAROLD WAINER                      321 VETERANS MEMORIAL BLVD 201                                                                               METAIRIE                LA           70005
    ALLSTREAM CORP                             C O T4622                               PO BOX 4622 STN A                                                                                            TORONTO                 ON           M5W 0J9      CANADA
    ALLTEL                                                                             PO BOX 94255                                                                                                 PALATINE                IL           60094-4255
    ALLTEL 9001908                                                                     PO BOX 9001908                                                                                               LOUISVILLE              KY           40290-1908
    ALLTEX STAFFING AND CONSULTING LLC DBA
    ABBA STAFFING AND CONSULTING                                                       2350 AIRPORT FWY STE 130                                                                                     BEDFORD                 TX           76022
    ALLURING ADVERTISING                                                               16240 SALLY LN                                                                                               RIVERSIDE               CA           92504
    ALLYSON WOODRUFF                                                                   ADDRESS ON FILE
    ALM MEDIA LLC                                                                      PO BOX 782028                                                                                                PHILADELPHIA            PA           19178-2028
    ALM MEDIA LLC                              DBA NATIONAL UNDERWRITER COMPANY        120 BROADWAY 5TH FL                                                                                          NEW YORK                NY           10271
    ALMADEN NW LLC                                                                     PO BOX 5898                                                                                                  BELLINGHAM              WA           98227
    ALMOHAJER ALJADEED NEWSPAPER                                                       737 OULETTE AVE STE 3                                                                                        WINDSOR                 ON           N9A 6T2      CANADA
    ALPAUGH PLUMBING AND SUPPLY INC                                                    9002 N NEBRASKA AVE                                                                                          TAMPA                   FL           33604

    ALPHA AND OMEGA BUILDING MAINTENANCE INC                                           4570 RHODES DR UNIT 200                                                                                      WINDSOR                 ON           N8W 5C2      CANADA
    ALPHA BUSINESS SERVICES LLC                 DBA AMERICAN COURIER EXPRESS           7610 INDUSTRIAL LN 2                                                                                         TAMPA                   FL           33637

    ALPHA BUSINESS SERVICES LLC AMERICAN COUR   DBA AMERICAN COURIER EXPRESS           PO BOX 291084                                                                                                TAMPA                   FL           33687-1084
    ALPHA GRAPHICS AND SIGNS                                                           151 ST DAVID ST N                                                                                            FERGUS                  ON           N1M 2J5      CANADA
    ALPHA PRODUCTION INC                                                               PO BOX 452994                                                                                                KISSIMMEE               FL           34745
    ALPHA SYSTEMS INTERNATIONAL                                                        PO BOX 40601                                                                                                 GRAND JUNCTION          CO           81504


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    ALPHAKOR COMPUTERS INC                                                           5957 WYANDOTTE ST E                                                                                       WINDSOR                 ON            N8S 1M9      CANADA
    ALPINE PROPERTIES                                                                4336 COVINGTIN HWY STE 101                                                                                DECATUR                 GA            30035
    ALS BIN RENTALS LTD                                                              1891 COUNTY RD 42                                                                                         BELLE RIVER             ONTARIO       N0R 1A0      CANADA
    ALS NEW YORK CAFE                                                                1673 IRVINE AVE                                                                                           COSTA MESA              CA            92627
    ALSOP LAMAR                                                                      ADDRESS ON FILE
    ALSTON AND BIRD LLP                                                              PO BOX 933124                                                                                             ATLANTA                 GA            31193-3124
    ALSUP TIM                                                                        ADDRESS ON FILE
    ALTAIR ENGINEERING INC                                                           1820 E BIG BEAVER RD                                                                                      TROY                    MI            48083
    ALTAR LLC                                                                        1100 BROADWAY                                                                                             BUFFALO                 NY            14212
    ALTERNA MARKETING CONSULTANTS LLC                                                1050 G ST                                                                                                 SAN DIEGO               CA            92101
    ALTERNA TEK COMPUTER SERVICES INC                                                101 1755 WOODWARD DR                                                                                      OTTAWA                  ON            K2C 0P9      CANADA
    ALTERNATIVE COMMERCIAL FUNDING LLC                                               1812 FRONT ST                                                                                             SCOTCH PLAINS           NJ            07076
    ALTERNATIVE DELIVERY SOLUTIONS INC                                               15265 CAPITAL PORT                    STE 100                                                             SAN ANTONIO             TX            78249
    ALTEXELECTRONICS LTD                                                             11342 IH 35 N                                                                                             SAN ANTONIO             TX            78233
    ALTHERR DOUGLAS H                                                                403 BARBERTON DR                                                                                          VIRGINIA BEACH          VA            23451
    ALTITUDE MEDIA INC                                                               4111 W ALAMEDA AVE                    STE 505                                                             BURBANK                 CA            91505
    ALTOBELLI KEITH                                                                  ADDRESS ON FILE
    ALTOVA INC                                                                       900 CUMMINGS CTR                      STE 314 T                                                           BEVERLY                 MA            01915-6181
    ALUM CLIFF INDUSTRIES                                                            510 OXFORD STATE RD                                                                                       MIDDLETOWN              OH            45044
    ALUM CLIFF INDUSTRIES LLC                                                        510 OXFORD STATE RD                                                                                       MIDDLETOWN              OH            45044

    ALVAREZ AND MARSAL VALUATION SERVICES LLC                                        1111 THIRD AVE                        STE 2450                                                            SEATTLE                 WA            98101

    ALVAREZ AND MARSAL VALUATION SERVICES LLC                                        600 MADISON AVE                       8TH FL                                                              NEW YORK                NY            10022
    ALVAREZ LINO                                                                     4623 W 118TH ST                                                                                           HAWTHORNE               CA            90250
    ALVESAMI HOLDINGS INC AND 1288844 ONTARIO
    INC                                         C O LARLYN PROPERTY MANAGEMENT LTD   540 WHARNCLIFFE RD S                                                                                      LONDON                  ONTARIO       N6J 2N4      CANADA
    ALVEYS SIGN CO INC                                                               13100 HWY 57N                                                                                             EVANSVILLE              IN            47725
    ALVIN DAVIS                                                                      ADDRESS ON FILE
    ALVIN TRUE                                                                       ADDRESS ON FILE
    ALVIN TRUE                                                                       ADDRESS ON FILE
    ALWAN PRINTING                                                                   7825 S ROBERTS RD                                                                                         BRIDGEVIEW              IL            60455
    ALYSSA BREWER                                                                    ADDRESS ON FILE
    AMADOR MAURO                                                                     ADDRESS ON FILE
    AMANDA DECKER                                                                    ADDRESS ON FILE
    AMANDA DISOTELL                                                                  ADDRESS ON FILE
    AMANDA ERICHSEN                                                                  ADDRESS ON FILE
    AMANDA N JOHNSON                                                                 ADDRESS ON FILE
    AMAR INTERIORS INC                                                               1515 WESTBANK EXPRESSWAY              POBOX 308                                                           WESTWEGO                LA            70094-0308
    AMARA OMOREGIE DBA AMARAREPS                                                     235 E BROADWAY 800                                                                                        LONG BEACH              CA            90802
    AMARIELY DE LA CRUZ DBA AM MARKETING
    GROUP LLC                                                                        6553 NW 170 TERRACE                                                                                       HIALEAH                 FL            33015
    AMAZON CAPITAL GROUP CORP                                                        2360 CORPORATE CIRC                   STE 400                                                             HENDERSON               NV            89074
    AMAZON CAPITAL SERVICES INC                                                      PO BOX 035184                                                                                             SEATTLE                 WA            98124-5184
    AMAZON MEDIA GROUP LLC                                                           PO BOX 24651                                                                                              SEATTLE                 WA            98124-0651
    AMAZONCOM HEADQUARTERS                                                           1200 12TH AVE STE 1200                                                                                    SEATTLE                 WA            98144
    AMBASSADOR COFFEE SERVICE                                                        9 1415 BONHILL RD                                                                                         MISSISSAUGA             ON            L5T 1R2      CANADA
    AMBER BRADLEY                                                                    ADDRESS ON FILE
    AMBER M ORORK                                                                    ADDRESS ON FILE
    AMBERLIGHT PLAZA LLC                                                             900 WILSHIRE BLVD STE 440                                                                                 SANTA MONICA            CA            90401
    AMBERMAN BEATRIZ                                                                 ADDRESS ON FILE
    AMBERMAN GEORGE H                                                                ADDRESS ON FILE
    AMBROGI TIM                                                                      ADDRESS ON FILE
    AMBROSE PLUMBING AND HEATING LTD                                                 1227 TALBOT ST                                                                                            ST THOMAS               ON            N5P 1G8      CANADA
    AMC DELANCEY HAMILTON PARTNERS LP           C O METRO COMMERCIAL MGMT SVC        303 FELLOWSHIP RD STE 202                                                                                 MT LAUREL               NJ            08054
    AMEDIUS LLC                                                                      8001 CENTERVIEW PKWY                  STE 203                                                             CORDOVA                 TN            38018
    AMEGY BANK OF TEXAS                                                              PO BOX 27459                                                                                              HOUSTON                 TX            77227-7459
    AMEN INVESTMENT ENTERPRISES INC                                                  7439 LA PALMA AVE                     STE 557                                                             BUENA PARK              CA            90620
    AMEREN ILLINOIS                                                                  PO BOX 88034                                                                                              CHICAGO                 IL            60680-1034
    AMEREN MISSOURI                                                                  PO BOX 88068                                                                                              CHICAGO                 IL            60680-1068
    AMERI DREAM REALTY LLC                      ATTN KATHY HUANG                     4875 NEVSO DR                                                                                             LAS VEGAS               NV            89103
    AMERICA WEST AIRLINES INC                                                        PO BOX 29655                                                                                              PHOENIX                 AR            85038-9655
    AMERICAN AIRLINES CREDIT CARD                                                    PO BOX 9001006                                                                                            LOUISVILLE              KY            40290
    AMERICAN ARBITRATION ASSOCIATION                                                 120 BROADWAY                          21ST FL                                                             NEW YORK                NY            10271
    AMERICAN ARBITRATION ASSOCIATION                                                 1301 ATWOOD AVE                       STE 211N                                                            JOHNSTON                RI            02919
    AMERICAN ARBITRATION ASSOCIATION                                                 2200 CENTURY PKWY                     STE 300                                                             ATLANTA                 GA            30345
    AMERICAN ARBITRATION ASSOCITATION                                                13727 NOEL RD                         STE 700                                                             DALLAS                  TX            75240
    AMERICAN BANK NOTE COMPANY                                                       PO BOX 1931                                                                                               COLUMBIA                TN            38402
    AMERICAN BAR ASSOCIATION                                                         YOUNG LAWYERS DIVISION                321 N CLARK ST                                                      CHICAGO                 IL            60654
    AMERICAN CANCER SOCIETY                                                          8400 SILVER XING                                                                                          OKLAHOMA CITY           OK            73132-3379
    AMERICAN CLASSIFIEDS TYLER                                                       PO BOX 8104                                                                                               TYLER                   TX            75711
    AMERICAN COALITION FOR TAXPAYER RIGHTS                                           600 13TH ST NW                                                                                            WASHINGTON              DC            20005
    AMERICAN DEBT SETTLEMENT LLC                                                     5345 E MCLELLAN RD                    22                                                                  MESA                    AZ            85205
    AMERICAN DETECTIVE BUREAU INC                                                    5951 NW 151 ST STE 206                                                                                    MIAMI LAKES             FL            33014
    AMERICAN DIABETES ASSOCIATION                                                    870 GREENBRIER CIR                    STE 404                                                             CHESTERFIELD            VA            23320
    AMERICAN DREAM                                                                   1109 SYCAMORE                                                                                             DEKALB                  IL            60115
    AMERICAN ELECTRIC POWER                                                          PO BOX 24418                                                                                              CANTON                  OH            44701-4418
    AMERICAN ELECTRIC POWER 371496                                                   PO BOX 371496                                                                                             PITTSBURGH              PA            15250-7496
    AMERICAN ENDOWMENT FOUNDATION FBO
    ROBERT AND THEA MITZMAN CHARITABLE FUND                                          5700 DARROW RD STE 118                                                                                    HUDSON                  OH            44236-5026
    AMERICAN EXPRESS                                                                 PO BOX 0001                                                                                               LOS ANGELES             CA            90096-8000
    AMERICAN EXPRESS                                                                 PO BOX 1270                                                                                               NEWARK                  NJ            07101-1270
    AMERICAN EXPRESS BRIGITTE                                                        PO BOX 1270                                                                                               NEWARK                  NJ            07101-1270
    AMERICAN EXPRESS JOHNS                                                           PO BOX 530001                                                                                             ATLANTA                 GA            30353-0001
    AMERICAN EXPRESS MARTHA                                                          PO BOX 1270                                                                                               NEWARK                  NJ            07101-1270
    AMERICAN EXPRESS MASTER                                                          PO BOX 1270                                                                                               NEWARK                  NJ            07101-1270
    AMERICAN EXPRESS RORY                                                            PO BOX 1270                                                                                               NEWARK                  NJ            07101-1270
    AMERICAN EXPRESS STEVEN                                                          PO BOX 1270                                                                                               NEWARK                  NJ            07101-1270
    AMERICAN FAMILY INSURANCE                                                        1846 W 95TH ST                                                                                            CHICAGO                 IL            60643


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                      Name                                        Attention                      Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    AMERICAN FREIGHT OUTLET STORES LLC                                          2387 LIBERTY WAY                                                                                          VIRGINIA BEACH          VA           23456
    AMERICAN FREIGHTWAYS                                                        PO BOX 910150                                                                                             DALLAS                  TX           75391-0150
    AMERICAN FUNDING NOW LLC                                                    7610 SN 103 PL                                                                                            MIAMI                   FL           33173
    AMERICAN FUNDS                             VPC GROUP                        500 BIRDNECK RD                                                                                           VIRGINIA BEACH          VA           23451
    AMERICAN GENERAL FIN SERVICES              NORFOLK GENERAL DISTRICT COURT   811 E CITY HALL AVE RM 167                                                                                NORFOLK                 VA           23510
    AMERICAN HEART ASSOCIATION                                                  PO BOX 5216                                                                                               GLEN ALLEN              VA           23058-5216

    AMERICAN HERITAGE LIFE INSURANCE COMPANY                                    PO BOX 650514                                                                                             DALLAS                  TX           75265-0514
    AMERICAN INDUSTRIES INC                                                     1750 NW NAITO PKWY 106                                                                                    PORTLAND                OR           97209
    AMERICAN INSTITUTE OF CERTIFIED PUBLIC
    ACCOUNTANTS                                                                 PO BOX 37048                                                                                              BOONE                   IA           50037-0048
    AMERICAN LAND COMPANY LTD                  AIEA COMMERICAL CO               PO BOX 31000                                                                                              HONOLULU                HI           96849
    AMERICAN LIGHTING AND SIGN SERVICE                                          307 BRANCH ST                                                                                             PITTSBURGH              PA           15106
    AMERICAN MANAGEMENT ASSOCIATION                                             GPOPO BOX 27327                                                                                           NEW YORK                NY           10087-7327
    AMERICAN MICROLOAN LLC                                                      2125 CTR AVE                           STE 308                                                            FORT LEE                NJ           07024
    AMERICAN OFFICE                                                             5701 CLEVELAND ST                                                                                         VIRGINIA BEACH          VA           23462
    AMERICAN PAYROLL ASSOCIATION                                                660 N MAIN AVE                         STE 100                                                            SAN ANTONIO             TX           78205-1217
    AMERICAN RED CROSS                                                          PO BOX 37839                                                                                              BOONE                   IA           50037-0839
    AMERICAN REGISTRY FOR INTERNET NUMBERS                                      PO BOX 79010                                                                                              BALTIMORE               MD           21279-0010
    AMERICAN REGISTRY LLC                                                       1040 HOLLAND DR                                                                                           BOCA RATON              FL           33487
    AMERICAN RELOCATION AND LOGISTICS                                           13565 LARWIN CR                                                                                           SANTA FE SPRINGS        CA           90670
    AMERICAN RETAIL MANAGMENT LLC              ATTN TODD BODEAU                 622 GEORGE WASHINGTON HWY                                                                                 LINCOLN                 RI           02865
    AMERICAN SHEET METAL CORP                                                   2713 COLLEY AVE                                                                                           NORFOLK                 VA           23517
    AMERICAN SMALL BUSINESS CONSULTING LLC                                      1433 HOOPER AVE                        STE 212                                                            TOMS RIVER              NJ           08753
    AMERICAN STAFFING GROUP                                                     3226 PARKSIDE CTR CIR                                                                                     TAMPA                   FL           33619
    AMERICAN STORAGE                                                            6740 VINCENT DR                                                                                           COLORADO SPRINGS        CO           80918
    AMERICAN TAX SERVICES INC                                                   706 TABB LAKES DR                                                                                         YORKTOWN                VA           23693
    AMERICAN TELESALES                                                          11080 OLD ROSWELL RD STE 222                                                                              ALPHARETTA              GA           30004
    AMERICAN WATER AND ENERGY SAVERS                                            4431 N DIXIE HWY                                                                                          BOCA RATON              FL           33431
    AMERICAN WEB LOAN INC                                                       PO BOX 688                                                                                                WEATHERFORD             OK           73096
    AMERICAS BEST FRANCHISES                                                    5795 S FULTON WAY                                                                                         GREENWOOD VILLAGE       CO           80111
    AMERICAS CASH EXPRESS                      ATTN WILNA TSUI                  1231 GREENWAY DR                                                                                          IRVING                  TX           75038
    AMERICAS COMPUTER TRAINING SOURCE INC                                       3333 VIRGINIA BEACH BLVD               STE 28                                                             VIRGINIA BEACH          VA           23452
    AMERICAS GENERATOR INC                                                      8511 NW 61ST ST                                                                                           MIAMI                   FL           33166
    AMERIFI CAPITAL GROUP LLC                                                   3901 NW 79TH AVE                       STE 245 2490                                                       MIAMI                   FL           33166
    AMERIFIRST HOME IMPROVEMENT FINANCE                                         11171 MILL VALLEY RD                                                                                      OMAHA                   NE           68154
    AMERITAS LIFE INSURANCE CORP                                                PO BOX 650730                                                                                             DALLAS                  TX           75265
    AMERITAS LIFE INSURANCE CORP                                                PO BOX 81889                                                                                              LINCOLN                 NE           68501
    AMERITECH CAROL STREAM                                                      PO BOX 4520                                                                                               CAROL STREAM            IL           60197-4520
    AMERITECH CHICAGO                                                           BILL PAYMENT CTR                                                                                          CHICAGO                 IL           60663-0001
    AMETHYST WRIGHT                                                             8344 MEARS CRES                                                                                           NIAGARA FALLS           ON           L2G 6Y2      CANADA
    AMEX CC                                                                     PO BOX 650448                                                                                             DALLAS                  TX           75265-0448
    AMFM RADIO LICENSES LLC CLEAR CHANNEL                                       5486 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    AMIGO PROMOTIONS                                                            4007 MCCULLOUGH AVE 114                                                                                   SAN ANTONIO             TX           78212
    AMIGOS EN CRISTO INC                                                        25999 OLD 41 RD                                                                                           BONITA SPRINGS          FL           34135
    AMITA MANAGEMENT                                                            101 E OLD SETTLERS BLVD                STE 190                                                            ROUND ROCK              TX           75664
    AMITY LOCK AND SAVE INC                                                     6521 3 RIDGE RD                                                                                           PORT RICHEY             FL           34668
    AMJ CAMPBELL                                                                2710 STEVENAGE DR                                                                                         OTTAWA                  ON           K1G 5N2      CANADA
    AMJ SHREDDING                                                               6140 VIPOND DR                                                                                            MISSISSAUGA             ON           L5T 2B2      CANADA
    AMOBEE INC                                                                  PO BOX 894409                                                                                             LOS ANGELES             CA           90189-4409
    AMONE CORP                                                                  12331 SW 3RD ST                        STE 700                                                            FORT LAUDERDALE         FL           33325
    AMPLIFY FUNDING                                                             PO BOX 542                                                                                                LAC DU FLAMBEAU         WI           54538
    AMR DEVELOPMENT LLC                                                         4193 RAINBOW DR                                                                                           VIRGINIA BEACH          VA           23456
    AMS FUNDING INC                                                             345 US 9 STE 335                                                                                          MANALAPAN               NJ           07726
    AMSAN                                                                       804 E GATE DR                          STE 100                                                            MT LAUREL               NJ           08054
    AMY M ANDREWS                                                               ADDRESS ON FILE
    AMY WELLS                                                                   ADDRESS ON FILE
    AN ELEGANT TOUCH                                                            9123 WHISPERING DR                                                                                        TOANO                   VA           23168
    ANA ABEJON                                                                  ADDRESS ON FILE
    ANA LETICIA HERRERA                                                         ADDRESS ON FILE
    ANA PAULA P CONSUL                                                          ADDRESS ON FILE
    ANA SZAWRONSKI                                                              ADDRESS ON FILE
    ANAND JUDISTIR SAVITA JUDISTIR                                              95 15 97TH AVE                                                                                            OZONE PARK              NY           11416
    ANASTACIA LEBEL                                                             1 1423 37ST SW                                                                                            CALGARY                 AB           T3C 1S6      CANADA
    ANAXA LLC                                  DBA CRANSTON CENTER              75 E GAY ST STE 100                                                                                       COLUMBUS                OH           43215
    ANCHOR CANTEEN REFRESHEMENT SERVICES                                        914 CAVALIER BLVD                                                                                         CHESAPEAKE              VA           23323
    ANCHOR DAYTON LLC                          C O BRIAN S HALE                 3035 RHEA COUNTY HWY STE 150                                                                              DAYTON                  TN           37321
    ANCHOR EQUITIES                                                             3839 BEE CAVES RD                      STE 203                                                            AUSTIN                  TX           78746
    ANCHOR MANAGEMENT                                                           STE 220 1110 CENTRE ST N                                                                                  CALGARY                 AB           T2B 2S2      CANADA
    ANCHOR MEDIA                                                                PO BOX 127                                                                                                CHESTERMERE             AB           T1X 1K8      CANADA
    ANCHORAGE MEDIA GROUP                                                       301 ARTIC SLOPE AVE STE 200                                                                               ANCHORAGE               AK           99519
    ANDANTE CONSULTING LLC                                                      75 MADISON CT                                                                                             TINTON FLLS             NJ           07712
    ANDERS COMPANY                                                              823 LAKE SHORE DR                                                                                         ESCANABA                MI           49829
    ANDERSON RHONDA                                                             ADDRESS ON FILE
    ANDERSON WINDOW AND GUTTER CLEANING                                         213 GEORGETOWN PKWY                                                                                       FENTON                  MI           48430
    ANDRE CAMPBELL                                                              ADDRESS ON FILE
    ANDRE DUNCAN DBA WERKWALLET                                                 20 CHURCH ST                                                                                              HARTFORD                CT           06103
    ANDRE LAMONT HAYNES DBA ALL VERTICAL
    FUNDING                                                                     3801 S ROSS ST APT C                                                                                      SANTA ANA               CA           92707
    ANDRE ST DAVID                                                              ADDRESS ON FILE
    ANDRE VALENZUELA                                                            ADDRESS ON FILE
    ANDREA MCCANN SUCHOWER                                                      ADDRESS ON FILE
    ANDREA ZANK                                                                 ADDRESS ON FILE
    ANDRES AYMAT                                                                ADDRESS ON FILE
    ANDRES SCHONVIESNER DBA ESSENTIAL
    BUSINESS CAPITAL                                                            3410 S MAIN ST E8                                                                                         SANTA ANA               CA           92707
    ANDRESEN PLAZA SPE LLC                                                      PO BOX 908                                                                                                VANCOUVER               WA           98666-0908
    ANDREW B NEUBERGER EXEMPT FAMILY TRUST U
    A D 1 17 2020                                                               44 OLD ROARING BROOK RD                                                                                   MOUNT KISCO             NY           10549-3714


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    ANDREW F BANKER                                                           ADDRESS ON FILE
    ANDREW HANLIN                                                             ADDRESS ON FILE
    ANDREW LAURENCE                                                           ADDRESS ON FILE
    ANDREW NEUBERGER                                                          ADDRESS ON FILE
    ANDREW SNOW                                                               ADDRESS ON FILE
    ANDREW STRICKLER                                                          ADDRESS ON FILE
    ANDREW STRITTMATTER DBA IDEAL FUNDING                                     333 PRINCETON CT                                                                                        SHREWSBURY                NJ           07702
    ANDREW SUOZZI                                                             ADDRESS ON FILE
    ANDREW SUOZZI                                                             ADDRESS ON FILE
    ANDREW W JACKSON                                                          ADDRESS ON FILE
    ANGEL FUNDING GROUP LLC                                                   835 W WARNER RD                      STE 101 427                                                        GILBERT                   AZ           85233
    ANGELA CURTIS                                                             ADDRESS ON FILE
    ANGELA DAVIS COLLINS                                                      ADDRESS ON FILE
    ANGELA JACKSON                                                            ADDRESS ON FILE
    ANGELA LOVELADY                                                           ADDRESS ON FILE
    ANGELA STIPE DBA KEYSTONE EXPANSION
    ADVISORS LLC                                                              604 N 3RD ST                                                                                            HARRISBURG                PA           17101
    ANGELS MOVING AUTOS                                                       16269 PLATEAU CR                                                                                        REDDING                   CA           96001
    ANGIE ECONOMU                                                             ADDRESS ON FILE
    ANGOSS SOFTWARE COPORATION                                                BOX 83231                                                                                               WOBURN                    MA           01813-3231
    ANH TUYET THI VO                                                          ADDRESS ON FILE
    ANIMAL WELFARE LEAGUE OF TRUMBULL COUNTY
    INC                                                                       PO BOX 66                                                                                               VIENNA                    OH           44473
    ANKCORN LAW FIRM PLLC                                                     1060 WOODCOSK RD                     STE 128                                                            ORLANDO                   FL           32803
    ANN HARRIS BENNETT TAX ASSESSOR
    COLLECTOR                                                                 PO BOX 4622                                                                                             HOUSTON                   TX           77210-4622
    ANN MARIE KILMER                                                          ADDRESS ON FILE
    ANN OF NC INC                                                             3010 BARRYMORE ST                    UNIT 101                                                           RALEIGH                   NC           27603
    ANN W FOERSTER                                                            ADDRESS ON FILE
    ANNA PETE STATHOS                                                         ADDRESS ON FILE
    ANNE ARUNDEL COMMUNITY COLLEGE                                            101 COLLEGE PKWY                                                                                        ARNOLD                    MD           21012
    ANNE TISDALE AND ASSOC INC                                                8845 ORCHARD TREE LN                                                                                    TOWSON                    MD           21286
    ANNETTE SHRADER                                                           ADDRESS ON FILE
    ANNEX CAPITAL AND CONSULTING LLC                                          3614 CANDLEWYCK CLUB DR              UNIT F                                                             FLORISSANT                MO           63034
    ANNEX FUNDING                                                             20301 BIRCH ST                       STE 202                                                            NEWPORT BEACH             CA           92660
    ANSLEIGH GARLIN                                                           ADDRESS ON FILE
    ANSON RECORD THE                                                          PO BOX 959                                                                                              WADESBORO                 NC           28170
    ANTHEM BLUE CROSS                                                         PO BOX 511300                                                                                           LOS ANGELES               CA           90051-7855
    ANTHEM BLUE CROSS AND BLUE SHIELD                                         PO BOX 580494                                                                                           CHARLOTTE                 NC           28258-0494
    ANTHEM BLUE CROSS BLUE SHIELD                                             PO BOX 580494                                                                                           CHARLOTTE                 NC           28258-0494
    ANTHEM BLUE CROSS DENTAL PPO                                              PO BOX 202837                        DEPT 83711                                                         DALLAS                    TX           75320-2837
    ANTHEM COBRA PPO                                                          PO BOX 580494                                                                                           CHARLOTTE                 NC           28258-0494
    ANTHEM DENTAL A000                                                        PO BOX 758987                                                                                           BALTIMORE                 MD           21275-8987
    ANTHEM DENTAL T000                                                        PO BOX 758987                                                                                           BALTIMORE                 MD           21275-8987
    ANTHEM DENTAL T001                                                        PO BOX 758987                                                                                           BALTIMORE                 MD           21275-8987
    ANTHEM EAP                                                                MAILSTOP OH3403 A265                 3075 VANDERCAR WAY                                                 CINCINNATI                OH           45209
    ANTHEM HRA                                                                PO BOX 580494                                                                                           CHARLOTTE                 NC           28258-0494
    ANTHEM PPO                                                                PO BOX 580494                                                                                           CHARLOTTE                 NC           28258-0494
    ANTHEM SOUTHEAST DENTAL A001                                              PO BOX 758987                                                                                           BALTIMORE                 MD           21275-8987
    ANTHONY BLOCKER                                                           ADDRESS ON FILE
    ANTHONY D POWELL                                                          ADDRESS ON FILE
    ANTHONY LOPEZ DBA EVANGELIST CAPITAL LLC                                  32 N LONG BEACH RD                                                                                      ROCKVILLE CENTRE          NY           11570
    ANTHONY MARCO                                                             ADDRESS ON FILE
    ANTHONY P GENTRY                                                          ADDRESS ON FILE

    ANTHONY PATTERSON DBA PATTERSON ELECTRIC                                  265 MOTLEY DR                                                                                           LAFAYETTE                 GA           30728
    ANTONIO VANN                                                              ADDRESS ON FILE
    ANYWHERE IN AMERICA                                                       1524 VALLEY CREST ST                                                                                    LAS VEGAS                 NV           89108
    AOL TIME WARNER BOOK GROUP                                                PO BOX 8828                                                                                             BOSTON                    MA           02114-8828
    AON RISK INSURANCE SERVICES WEST INC                                      PO BOX 849832                                                                                           LOS ANGELES               CA           90084-9832
    AON RISK SERVICES NORTHEAST INC          DBA AON RISK SERVICES INC        PO BOX 7247 7376                                                                                        PHILADELPHIA              PA           19170-7376
    APEX DEVELOPMENT INC                                                      2000 CLEMSON RD                      STE 14                                                             COLUMBIA                  SC           29229
    APEX GLASS AND MIRROR                                                     35 HARDWOOD AVE S                                                                                       AJAX                      ON           L1S 2B8      CANADA
    APEX LLC                                                                  PO BOX 797                                                                                              SPEARFISH                 SD           57783
    APEX SYSTEMS INC                                                          3750 COLLECTIONS CTR DR                                                                                 CHICAGO                   IL           60693
    APEX TECHNOLOGIES                                                         820 GREENBRIER CIR                   STE 32                                                             CHESAPEAKE                VA           23320
    API VIRGINIA BEACH                                                        113 S FIRST COLONIAL RD              STE 228A                                                           VIRGINIA BEACH            VA           23454
    APPALACHIAN FAIR ASSOCIATION INC                                          PO BOX 8218                                                                                             GRAY                      TN           37615
    APPALACHIAN POWER                                                         PO BOX 24401                                                                                            CANTON                    OH           44701-4407
    APPALACHIAN POWER                                                         PO BOX 371496                                                                                           PITTSBURG                 PA           15250-7496
    APPDYNAMICS INC                                                           DEPT 317                             PO BOX 123179                                                      DALLAS                    TX           75312-3179
    APPEXTREMESLLC DBA CONGA                                                  PO BOX 7839                                                                                             BROOMFIELD                CO           80021
    APPLE RECOVERY LLC                                                        11489 W BEAR CREEK DR                                                                                   LAKEWOOD                  CO           80227
    APPLE VALLEY TRANSFER AND STORAGE INC    DBA SHREDYOURDOCSCOM             21284 CORWIN RD                                                                                         APPLE VALLEY              CA           92307
    APPLIED MIND INC                                                          237 WESTBURY DR                                                                                         COPPELL                   TX           75019
    APPROVED FUNDING GROUP LLC                                                10 FAIRWAY DR                        STE 204                                                            DEERFIELD BEACH           FL           33441
    APR POPERTIES LP                                                          1390 CHAIN BRIDGE RD                 170                                                                MCLEAN                    VA           22101
    APR PROPERTIES LP                                                         1390 CHAIN BRIDGE RD 170                                                                                MCLEAN                    VA           22101
    APRIL J ALLEN                                                             ADDRESS ON FILE
    APRIL MCCULLOUGH                                                          ADDRESS ON FILE
    APRIL WILLIAMS                                                            ADDRESS ON FILE
    AQUA COOL VIRGINIA BEACH                                                  PO BOX 15599                                                                                            WORCESTER                 MA           01615-0599
    AQUATAINA ELLA LLC                                                        3270 SUL ROSS ST                                                                                        HOUSTON                   TX           77098
    AQUENT LLC                                                                501 BOYLSTON ST                      3RD FL                                                             BOSTON                    MA           02116
    AR ANDERSON SOUTHWAY CORPORATION                                          122 S PHILLIPS AVE                   STE 100                                                            SIOUX FALLS               SD           57104
    AR CAPE HORN SQUARE LLC                                                   11155 RED RUN BLVD                   STE 320                                                            OWINGS MILLS              MD           21117
    ARABELLA ENTERPRISES                     C O WRIGHT PROPERTY MANAGEMENT   3719 N CROATAN HWY                                                                                      KITTY HAWK                NC           27949
    ARACELI BRENEZ                                                            ADDRESS ON FILE
    ARAM SKC CORPORATION                                                      1146 N CENTRAL AVE 295                                                                                  GLENDALE                  CA           91202


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    ARAMARK CAMPUS SERVICES                     OLD DOMINION UNIV DINING SVCS         CATERING DEPARTMENT                    1200 WEBB CTR                                                      NORFOLK                 VA           23529
    ARAMARK CORPORATION THE VA AQUARIUM                                               717 GENERAL BOOTH BLVD                                                                                    VIRGINIA BEACH          VA           23451
    ARAMARK REFRESHMENT SERVICES                                                      1301 OLIVER HILL WAY                                                                                      RICHMOND                VA           23219
    ARAMARK REFRESHMENT SERVICES                                                      PO BOX 21971                                                                                              NEW YORK                NY           10087-1971
    ARANOV REALTY MANAGEMENT INC                                                      500 GATE CITY HWY                                                                                         BRISTOL                 VA           23201
    ARAPAHOE COUNTY TREASURER                                                         5334 S PRINCE ST                                                                                          LITTLETON               CO           80120-1136
    ARC CONSULTING DBA ARC CALL PERFORMANCE
    SOL                                                                               820 COLUMBIA ST                                                                                           ORANGE                  CT           06477
    ARCADIA REAL ESTATE LLC                                                           PMI MIDWEST                            7275 N SHADELAND AVE 2                                             INDIANAPOLIS            IN           46250
    ARCE LUIS                                                                         ADDRESS ON FILE
    ARCENEAUX DAVID                                                                   5143 FRANKLIN AVE                                                                                         NEW ORLEANS             LA           70122-6234
    ARCET EQUIPMENT COMPANY                                                           5055 EUCLID RD                                                                                            VIRGINIA BEACH          VA           23462
    ARCHANA NAIK                                                                      3 NARURE PATHWAY                                                                                          TORONTO                 ON           M1B 4S9      CANADA
    ARCHBELL SIGNS INC                                                                1572 JUNIPER ST                                                                                           NORFOLK                 VA           23502
    ARCHER HEATHER                                                                    ADDRESS ON FILE
    ARCHINAL ERIC                                                                     561 CEDAR GLENN DR                                                                                        NORTH HUNTINGDON        PA           15642-1742
    ARCITERRA MICHIGAN RD INDIANAPOLIS LLC      C O ARCITERRA GROUP LLC               2720 E CAMELBACK RD 220                                                                                   PHOENIX                 AZ           85016
    ARCOM CULPEPPER CITIZEN                                                           PO BOX 631                                                                                                WARRENTON               VA           20188
    ARCSPRING MANAGEMENT PARTNERS LLC                                                 TERMINUS 100 3280 PEACHTREE RD         STE 2325                                                           ATLANTA                 GA           30305
    ARCTIC SIGNS                                                                      79 SELKIRK AVE                                                                                            THOMPSON                MB           R9N 0M5      CANADA
    ARCTURUS REALTY                                                                   15D 3806 ALBERT ST                                                                                        REGINA                  SK           S4S 3R2      CANADA
    ARCTURUS REALTY CORPORATION                 C O WHEATLAND MALL                    1150 CENTRAL AVE                                                                                          SWIFT CURRENT           SK           S9H 0G1      CANADA
    ARDENT FINANCING CORP                                                             23 CORPORATE PLZ                       150                                                                NEWPORT BEACH           CA           92660
    ARDENT INC                                                                        95 LEGGETT ST                                                                                             EAST HARTFORD           CT           06108
    AREA WIDE 147TH AND CICERO INC                                                    7000 W 111TH ST                        STE 205                                                            WORTH                   IL           60482
    AREIA INC                                                                         9602 BRADSTREET COMMONS WAY                                                                               CHAROLOTTE              NC           28215
    ARELY ANTUNEZ                                                                     EDIFICIO PARAMERO CALLE CHERNA C8                                                                         CANCUN                               77500        MEXICO
    ARENA FINANCIAL CONSULTING LLC                                                    362 APPLEBROOK DR                                                                                         MALVERN                 PA           19355
    ARG BUSINESS LOANS LLC                                                            18201 VON KARMAN AVE                   STE 330                                                            IRVINE                  CA           92612
    ARGO WOODBURN LLC                                                                 101 LARKSPUR LANDING CIR               STE 120                                                            LARKSPUR                CA           94939
    ARGUS LEADER                                                                      200 S MINNESOTA AVE                                                                                       SIOUX FALLS             SD           57104
    ARIF GIPSON RIGHT CHOICE CAPITAL INC                                              5051 PEACHTREE CORNERS CIR             STE 200                                                            NORCROSS                GA           30092
    ARILEX TROPICANA ASSOCIATES LLC             ATTN MDL GROUP ARILEX 3335 D JTHTAX   3065 S JONES BLVD STE 201                                                                                 LAS VEGAS               NV           89146
    ARIZONA CREATIVE EVENTS                                                           20875 N PIMA RD C4 157                                                                                    SCOTTSDALE              AZ           85255
    ARIZONA DEPARTMENT OF REVENUE                                                     PO BOX 29085                                                                                              PHOENIX                 AZ           85038-9085
    ARIZONA DEPARTMENT OF REVENUE UNCLAIM
    PROP                                        UNCLAIMED PROPERTY UNIT               1600 W MONROE DIVISION CODE 10                                                                            PHOENIX                 AZ           85007
    ARIZONA DEPARTMENT OF REVENUE UNCLAIMED
    PROPERTY UNIT                               UNCLAIMED PROPERTY SECTION            1600 W MONROE ST DIVISION CODE 10                                                                         PHOENIX                 AZ           85007
    ARIZONA DEPT OF FINANCIAL INSTITUTIONS                                            100 N 15TH AVE                         STE 261                                                            PHOENIX                 AZ           85007
    ARIZONA DEPT OF REVENUE                                                           PO BOX 29085                                                                                              PHOENIX                 AZ           85038-9085
    ARIZONA LOTUS COMMUNICATIONS                                                      3871 N COMMERCE DR                                                                                        TUCSON                  AZ           85705
    ARJIT BRAR                                                                        25 240 BACK RD                                                                                            COURTENAY               BC           V9N 3W6      CANADA
    ARKANSAS DEMOCRAT GAZETTE INC                                                     117 S MARKET ST STE 220                                                                                   BENTON                  AR           72015
    ARKANSAS DEPT OF FINANCE AND
    ADMINISTRATION                              CORPORATION INCOME TAX SECTION        PO BOX 919                                                                                                LITTLE ROCK             AR           72203-0919
    ARKANSAS SECRETARY OF STATE                                                       1401 WL CAPITOL STE 250                                                                                   LITTLE ROCK             AR           72201
    ARKANSAS STATE AUDITOR OFFICE               UNCLAIMED PROPERTY DIVISION           1401 W CAPITAL AVE                     STE 5200                                                           LITTLE ROCK             AR           72201
    ARLENE PITAWANKWAT                                                                139 MAPLE HEIGHTS                                                                                         BIRCH ISLAND            ON           P0P 1A0      CANADA
    ARLINGTON SQUARE LP                                                               5850 CANOGA AVE STE 650                C O NEWMARK MERRILL COMPANIES                                      WOODLAND HILLS          CA           91367
    ARMANDO ARRIETA                                                                   ADDRESS ON FILE
    ARMANI KHOURY DBA EORGANIC LENDING                                                305 E MILL PLAIN BLVD                  206                                                                VANCOUVER               WA           98660
    ARMINDA HANNA                                                                     ADDRESS ON FILE
    ARMSTRONG BUSINESS SOLUTIONS                                                      PO BOX 37749                                                                                              PHILADELPHIA            PA           19101-5049
    ARMSTRONG CHAD                                                                    ADDRESS ON FILE
    ARMSTRONG SCOTT                                                                   ADDRESS ON FILE
    ARMSTRONG TEASDALE LLP                      DEPARTMENT 478150                     PO BOX 790100                                                                                             ST LOUIS                MO           63179-9933
    ARMY TIMES PUBLISHING COMPANY                                                     6883 COMMERCIAL DR                                                                                        SPRINGFIELD             VA           22159
    ARNOLD M JONES DETECTIVE AGENCY                                                   2460 LEMOINE AVE                                                                                          FORT LEE                NJ           07024
    ARNOT REALTY CORPORATION                    DBA ARNOT MALL                        3300 CHAMBERS RD                       STE 5127                                                           HORSEHEADS              NY           14845
    ARONSON LLC                                 DBA ARONSON CAPITAL PARTNERS          805 KING FARM BLVD STE 300                                                                                ROCKVILLE               MD           20850
    ARROW ENTERPRISES INC                                                             3104 GREEN LEVEL RD                                                                                       SCOTTSBURG              VA           24589
    ARROW EXTERMINATORS INC                                                           808 HUFFMAN ST                         DBA STARK EXTERMINATORS                                            GREENSBORO              NC           27405
    ARROW SIGNS AND OUTDOOR ADVERTISING INC                                           PO BOX 163                                                                                                GODFREY                 IL           62035
    ARROWASTE INC                                                                     PO BOX 828                                                                                                JENSON                  MI           49429
    ARTHUR HALL                                                                       ADDRESS ON FILE
    ARTISAN SIGN STUDIO                         BOB FURLANI                           2625 HIDDEN MEADOW DR                                                                                     PUQUAY VARINA           NC           27526
    ARTLITE SIGN COMPANY INC                                                          PO BOX 5431                                                                                               CHESAPEAKE              VA           23324
    ARTS COLLECTIVE THEATRE                                                           8480 MIDDLE SIDE RD                                                                                       MCGREGOR                ON           N0R 1J0      CANADA
    ARTS ELECTRIC                                                                     1 3120 COAST MERIDIAN RD                                                                                  PORT COQUILTAM          BC           V3B 5K1      CANADA
    ARTUR REALTY INC                                                                  6203 FRANKFORD AVE                                                                                        PHILADELPHIA            PA           19135
    ARTURUS ITF RETROCOM REIT ONTARIO           C O 7724934 CANADA INC                1 YORKGATE BLVD UNIT 210                                                                                  TORONTO                 ON           M3N 3A1      CANADA
    ARVADA SQUARE ASSOCIATES LP                                                       PO BOX 912618                                                                                             DENVER                  CO           80291-2618
    ARYA INVESTMENTS CORP                                                             220 DUNCAN MILL RD STE 401                                                                                TORONTO                 ON           M3B 3J5      CANADA
    AS PROPERTIES INC                                                                 18 COLLIER ST                                                                                             BARRIE                  ON           L4M 1G6      CANADA
                                                C O STRATEGIC ASSET MANAGEMENT
    ASCANDAR BROTHERS LLC                       GROUP                                 13520 EVENING CREEK DR N STE 400B                                                                         SAN DIEGO               CA           92128
    ASCENDANCY CORP DBA SHIELDFUNDING                                                 2 SHERRI LN                                                                                               SPRING VALLEY           NY           10977
    ASCENDANT MEDIA INC                                                               810 DOMINCAN DR                                                                                           NASHVILLE               TN           37228-1906

    ASGN INCORPORTAED DBA CREATIVE CIRCLE LLC                                         PO BOX 74008799                                                                                           CHICAGO                 IL           60674-8799
    ASH AND PHARR INVESTIGATIONS LLC                                                  1795 FRY RD 287                                                                                           KATY                    TX           77449
    ASH INVESTIGATIONS                                                                20407 CHADBURY PARK DR                                                                                    KATY                    TX           77450-6626
    ASH SUSANNE V                                                                     ADDRESS ON FILE
    ASHCREST LLC                                                                      31 N PROVIDENCE RD                                                                                        NORTH CHESTERFIELD      VA           23235
    ASHLAND PLACE PLAZA LLC                                                           PO BOX 64                                                                                                 COLUMBIANA              OH           44408
    ASHLEY DEVONE                                                                     ADDRESS ON FILE
    ASHLEY MURILLO                                                                    ADDRESS ON FILE
    ASHLEY SCHOOT                                                                     ADDRESS ON FILE


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                         Name                                 Attention                          Address 1                                Address 2                           Address 3                    City         State        Zip         Country
    ASHLEY SQUARE PROPERTIES LLC                                                 2851 LAKEWOOD VILLAGE DR                                                                                 NORTH LITTLE ROCK       AR            72116
    ASHLEY SQUARE PROPERTIES LLC DO NOT USE                                      2851 LAKEWOOD VILLAGE DR                                                                                 NORTH LITTLE ROCK       AR            72116
    ASKCOM                                                                       555 12TH ST                           STE 500                                                            OAKLAND                 CA            94607
    ASMX CAPITAL LLC                                                             4640 ADMIRALTY WAY                    STE 423                                                            MARINA DEL REY          CA            90292
    ASOCIACION DE EMPRESARIOS MEXICANOS                                          40 NE LOOP 410 STE 630                                                                                   SAN ANTONIO             TX            78216
    ASPEN PUBLISHERS INC                       ACCOUNTS RECEIVABLE DEPARTMENT    PO BOX 64054                                                                                             BALTIMORE               MD            21264-4054
    ASSET COMMERCIAL CREDIT                                                      STE 143                                                                                                  ROCKLIN                 CA            95765-3770
    ASSET DYNAMICS CORP                                                          4545 CTR BLVD                         STE 1919                                                           LONG ISLAND CITY        NY            11109
    ASSOCIATED INVESTIGATIONS LTD                                                13 15 S ST                                                                                               COLLINSVILLE            CT            06019
    ASSOCIATION FOR FINANCIAL PROFESSIONALS                                      PO BOX 64714 D                                                                                           BALTIMORE               MD            21264
    ASSOCIATION OF CHINESE CANADIAN ENT                                          395014TH AVE STE 502                                                                                     MARKHAM                 ON            L3R 0A9      CANADA
    ASSOCIATION OF CORPORATE COUNSEL                                             PO BOX 824274                                                                                            PHILADEPHIA             PA            19182-4274
    ASSURANCE RETIREMENT GROUP LLC                                               PO BOX 214                                                                                               GREER                   SC            29652
    ASTD                                                                         1640 KING ST                          BOX 1443                                                           ALEXANDRIA              VA            22313-1443
    ASTRAL RADIO                                                                 100 18520 STONY PLAIN RD                                                                                 EDMONTON                AB            T5S 2E2      CANADA
    ASTRAL RADIO                                                                 360 ROSS ST                                                                                              SALMON ARM              BC            V1E 4N2      CANADA
    ASTRID J AMAZAN                                                              1969 OAKMERE DR                                                                                          BALDWIN                 NY            11510
    ASTRO ENTERTAINMENT INC                                                      1115 INDEPENDENCE BLVD                STE 203                                                            VIRGINIA BEACH          VA            23455
    ASTRO MARKETING                                                              1641 LANGSTAFF RD                     UNIT 5                                                             CONCORD                 ON            L4K 5X8      CANADA
    ASTROCON CONSTRUCTION LIMITED                                                8640 SNAKE LN                                                                                            WINDSOR                 ONTARIO       N9A 6Z6      CANADA
    ASURE SOFTWARE INC                                                           110 WILD BASIN RD                     STE 100                                                            AUSTIN                  TX            78746
    AT AND T                                                                     PO BOX 5001                                                                                              CAROL STREAM            IL            60197
    AT AND T 105068 ATLANTA                                                      PO BOX 105068                                                                                            ATLANTA                 GA            30348-5068
    AT AND T 105262                                                              PO BOX 105262                                                                                            ATLANTA                 GA            30348-5262
    AT AND T 5001                                                                PO BOX 5001                                                                                              CAROL STREAM            IL            60197-5001
    AT AND T 5014                                                                PO BOX 5014                                                                                              CAROL STREAM            IL            60197
    AT AND T 5025                                                                PO BOX 5025                                                                                              CAROL STREAM            IL            60197-5025
    AT AND T 5080                                                                PO BOX 5080                                                                                              CAROL STREAM            IL            60197-5080
    AT AND T 630047 DALLAS                                                       PO BOX 630047                                                                                            DALLAS                  TX            75263
    AT AND T 8100                                                                PO BOX 8100                                                                                              AURORA                  IL            60507-8100
    AT AND T AURORA IL                                                           PO BOX 8212                                                                                              AURORA                  IL            60572-8212
    AT AND T CORP                              DBA ACC BUSINESS                  PO BOX 5077                                                                                              CAROL STREAM            IL            60197-5077
    AT AND T LOUISVILE 9001310                                                   PO BOX 9001310                                                                                           LOUISVILLE              KY            40290-1310
    AT AND T LOUISVILLE 9001309                                                  PO BOX 9001309                                                                                           LOUISVILLE              KY            40290-1309
    AT AND T MEDIA SERVICES                                                      5001 SPRING VALLEY RD                                                                                    DALLAS                  TX            75244
    AT AND T MOBILITY                                                            PO BOX 536216                                                                                            ATLANTA                 GA            30353-6216
    AT AND T NEWARK 10226                                                        PO BOX 10226                                                                                             NEWARK                  NJ            07193-0226
    AT AND T PHOENIX 78152                                                       PO BOX 78152                                                                                             PHOENIX                 AZ            85062-8152
    AT AND T PHOENIX 78225                                                       PO BOX 78225                                                                                             PHOENIX                 AZ            85062
    AT AND T PHOENIX 78522                                                       PO BOX 78522                                                                                             PHOENIX                 AZ            85062-8522
    AT AND T TELECONFERENCE SERVICES           DEPARTMENT 0830                   PO BOX 55000                                                                                             DETROIT                 MI            48255-0830
    ATANASOV IVAN                                                                PO BOX 25571                                                                                             SEATTLE                 WA            98165-1071
    ATARZA CD DIMENSIONS                                                         490 INDUSTRIAL PARK RD                                                                                   DEEP RIVER              CT            06417
    ATASCOCITA CENTER LP                       DBA WFC ATASCOCITA LLC            11440 SAN VICENTE BLVE 200                                                                               LOS ANGELES             CA            90049
    ATCO ENERGY                                                                  PO BOX 1240 STN MAIN                                                                                     EDMONTON                AB            T5J 2M4      CANADA
    ATCO GAS                                                                     PO BOX 2409                                                                                              EDMONTON                ALBERTA       T5J 2S3      CANADA
    ATCS                                                                         1239 JUNGERMANN RD                                                                                       ST PETERS               MO            63376
    ATD AUTO TRIM DESIGN OF CHILLIWACK LTD                                       10164 WEDGEWOOD DR                                                                                       CHILLIWACK              BC            V2P 6B9      CANADA
    ATHT INC                                   DBA AMARILLO BULLS HOCKEY CLUB    301 S POLK STE 101                                                                                       AMARILLO                TX            79101
    ATIEH MURAD                                                                  ADDRESS ON FILE
    ATKINSON BAKER INC                                                           500 N BRAND BLVD                      3RD FL                                                             GLENDALE                CA            91203-4725
    ATKINSON JOHN T                                                              ADDRESS ON FILE
    ATLANTA BUSINESS CONSULTING CAPITAL DBA
    FINANCE STORE                                                                600 FAIRMOUNT AVE                     SUIT 206                                                           TOWSON                  MD            21286
    ATLANTA GAS LIGHT COMPANY                                                    89 ANNEX                                                                                                 ATLANTA                 GA            30389-0005
    ATLANTA GROUP SYSTEMS INC                  DBA AGSI                          3343 PEACHTREE RD NESUITE 510                                                                            ATLANTA                 GA            30326
    ATLANTA LEGAL SERVICES INC                                                   3070 PRESIDENTIAL DR                  STE 148                                                            ATLANTA                 GA            30340
    ATLANTIC AUDIO VISUAL                                                        230 CLEARFIELD AVE                                                                                       VIRGINIA BEACH          VA            23462
    ATLANTIC BLUERIDGE ELEVATOR COMPANY                                          2505 S MILITARY HWY STE C                                                                                CHESAPEAKE              VA            23320
    ATLANTIC BUSINESS CONSULTING AND CAPITAL
    LLC DBA FINANCE FACTORY                                                      600 FAIRMONT AVE                      STE 206                                                            TOWSON                  MD            21286
    ATLANTIC GLASS AND MIRROR CO                                                 1720 VA BEACH BLVD                                                                                       VA BEACH                VA            23454
    ATLANTIC GLASS AND MIRROR CO INC                                             1720 VIRGINIA BEACH BLVD                                                                                 VIRGINIA BEACH          VA            23454
    ATLANTIC HEATING AND COOLING SERVICE INC                                     553 CENTRAL DR                                                                                           VIRGINIA BEACH          VA            23454
    ATLANTIC LIMOUSINE SERVICE INC                                               500 CENTRAL DR                        STE 107B                                                           VIRGINIA BEACH          VA            23454
    ATLANTIC MOVING AND STORAGE INC            DBA ATLANTIC RELOCATION SYSTEMS   1314 CHATTAHOOCHEE AVE NW                                                                                ATLANTA                 GA            30318
    ATLANTIC NEON CO INC                       BOB FINLEYSON                     2717 CARRIE ST                                                                                           BRUNSWICK               GA            31520
    ATLANTIC RELOCATION SYSTEMS                                                  PO BOX 403650                                                                                            ATLANTA                 GA            30384-3650
    ATLANTIC UNION                                                               PETER STRAUSS                         999 WATERSIDE DR STE 900                                           NORFOLK                 VA            23510
    ATLANTIS REALTY SERVICES INC BROKERAGE                                       895 DON MILLS RD                      TOWER 2 STE 405                                                    TORONTO                 ON            M3C 1W3      CANADA
    ATLAS PRO SERVICE AND ASSOCIATES                                             10107 KIRKDALE DR                                                                                        HOUSTON                 TX            77089
    ATLAS ROOFING                                                                10415 BIRCHWOOD PIKE                                                                                     HARRISON                TN            37341
    ATLAS SAVINGS LP                                                             5620 BROADWAY 200                                                                                        CLEVELAND               OH            44127
    ATLAS VAN LINES INC                                                          PO BOX 982340                                                                                            ST LOUIS                MO            63195-2340
    ATMOS ENERGY                                                                 PO BOX 78108                                                                                             PHOENIX                 AZ            85062
    ATMOS ENERGY 740353                                                          PO BOX 740353                                                                                            CINCINNATI              OH            45274-0353
    ATOMIC FI INC                                                                2890 E COTTONWOOD PKWY STE 400                                                                           SALT LAKE CITY          UT            84121
    ATOMIC PLUMBING HEATING AND ELECTRICAL
    CORP                                                                         1377 LONDON BRIDGE RD                                                                                    VIRGINIA BEACH          VA            23453
    ATRILOGY SOLUTIONS GROUP INC                                                 9085 E MINERAL CIR                    STE 340                                                            CENTENNIAL              CO            80112
    ATRIUS                                                                       101 N LYNNHAVEN RD                    STE 100                                                            VIRGINIA BEACH          VA            23452
    ATS NORTHGATE LLC                          C O CREST REALTY COMPANY INC      PO BOX 56855                                                                                             JACKSONVILLE            FL            32241-6855
    ATT PROPERTY MAINTENANCE                                                     1005 NO 1 SIDEROAD                                                                                       BURLINGTON              ON            L7P 0R7      CANADA
    ATTENDED EVENTS LLC                                                          5912 CHIVALRY CT                                                                                         RALEIGH                 NC            27612
    ATTORNEY GENERAL OF THE STATE OF
    CALIFORNIA                                                                   455 GOLDEN GATE AVE                   STE 11000                                                          SAN FRANCISCO           CA            94102-7004
    ATTORNEY SERVICES INTL INC                                                   5825 GLENRIDGE DR                     BLDG 1 STE 209                                                     ATLANTA                 GA            30328-5387
    ATX                                                                          PO BOX 1040                                                                                              CARIBOU                 ME            04736-9961
    ATX II LLC                                                                   PO BOX 9407                                                                                              GAITHERSBURG            MD            20898-9407


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                       Name                                   Attention                         Address 1                                  Address 2                           Address 3                      City           State       Zip          Country
    AUDIO FIDELITY COMMUNICATIONS CORP         DBA WHITLOCK                      12820 W CREEK PKWY STE M                                                                                  RICHMOND                  VA              23238

    AUDIO FIDELITY COMMUNICATIONS CORPORATION D B A WHITLOCK                     12820 W CREEK PKWY STE M                                                                                  RICHMOND                  VA              23238-1111
    AUDIO VISUAL VENTURES INC                                                    200 EVANS AVE UNIT 7                                                                                      TORONTO                   ONTARIO         M8Z 1J7      CANADA
    AUDIT DETECTIVE LLC                                                          2081 SHADY REST RD                                                                                        HAVANA                    FL              32333
    AUDREE WILKERSON                                                             ADDRESS ON FILE
    AUGONE MIKE                                                                  ADDRESS ON FILE
    AUGUST COMMUNICATIONS                                                        1150 8TH AVE                                                                                              REGINA                    SK              S4R 1C9      CANADA
    AUM SAI SHIV LLC RACINE                   C O R AND D KATZ REAL ESTATE LLC   8 BRANDYWINE RD                                                                                           SOUTH BARRINGTON          IL              60010
    AURA FINANCIAL                                                               303 2ND ST                             STE 550                                                            SAN FRANCISCO             CA              94107
    AURNOU MICHAEL                                                               ADDRESS ON FILE
    AURORIS MEDIA INC                                                            PO BOX 11123                                                                                              NORFOLK                   VA              23517
    AUSTIN AMERICAN STATESMAN                                                    PO BOX 670                                                                                                AUSTIN                    TX              78767
    AUSTIN BURNETTE                                                              ADDRESS ON FILE
    AUSTRING FENDRICK FAIRMAN AND PARKKARI    THE DRURY BUILDING                 3081 THIRD AVE                                                                                            WHITEHORSE                YUKON           Y1A 4Z7      CANADA
    AUTHIER PLUMBING INC                                                         170 SELKIRK ST                                                                                            CHATHAM                   ON              N7L 1Z4      CANADA
    AUTODEMO                                                                     1129 PAYNE ST                                                                                             LOUISVILLE                KY              40204
    AUTOMATED FILING SERVICES INC                                                910 885 DUNSMUIR ST                                                                                       VANCOUVER                 BC              V6C 1N5      CANADA
    AUTOMATED TAX OFFICE MANAGER LLC                                             4600 W SAGINAW                                                                                            LANSING                   MI              48917
    AUTOMATED TECHNOLOGY COMPUTER SERVICES
    LLC                                                                          1239 JUNGERMAN RD                                                                                         ST PETERS                 MO              63376
    AUTOMATIC DATA PROCESSING INC             DBA ADP LLC                        ONE ADP BLVD                                                                                              ROSELAND                  NJ              07068
    AUTOMATIC DATA PROCESSING INC INACTIVE                                       15 WATERVIEW BLVD                      RICH OHANNA                                                        PARSIPPANY                NJ              07054-1299
    AUTOMATIC FIRE CONTROL INC                                                   1708 SE 22ND ST                                                                                           OKLAHOMA CITY             OK              73129
    AUTUMN JACKSON                                                               247 LINCOLN RD                                                                                            WINDSOR                   ON              N84 2G2      CANADA
    AV TAXES AND ACCOUNTING SERVICE INC                                          1992 NE 8TH ST                                                                                            HOMESTEAD                 FL              33033
    AVALINA GARCIA                                                               ADDRESS ON FILE
    AVALON HOTEL AND CONFERENCE CENT                                             10100 I 10 SERVICE RD                                                                                     NEW ORLEANS               LA              70127
    AVANZA COMMUNITY CENTER LLC                                                  1103 NEW LAREDO HWY                                                                                       SAN ANTONIO               TX              78211
    AVATAR GA LLC                             C O RAJKUMAR THANGAVELU            13006 ROSE PETAL CIR                                                                                      HERNDON                   VA              20171
    AVIATECH                                                                     4350 EXECUTIVE DR                      STE 200                                                            SAN DIEGO                 CA              92121
    AVID WASTE SYSTEMS INC                                                       PO BOX 888                                                                                                SYOSSET                   NY              11791
    AVIGDOR LANDMAN                                                              3446 SW 8TH ST                                                                                            MIAMI                     FL              33135
    AVIO CREDIT                                                                  PO BOX 780408                                                                                             WICHITA                   KS              67278
    AVISON YOUNG COMMERCIAL REAL ESTATE                                          2900 1055 W GEORGIS ST                                                                                    VANCOUVER                 BC              V6E 3P3      CANADA
    AVISTA                                                                       1411 E MISSION AVE                                                                                        SPOKANE                   WA              99252-0001
    AVIVA RENTAL SYSTEMS LLC                                                     PO BOX 17113                                                                                              RICHMOND                  VA              23226
    AVS INC DBA E LEASES                                                         PO BOX 598                                                                                                WESTFIELD                 IN              46074
    AW BILLING SERVICES LLC                                                      4431 N DIXIE HWY                                                                                          BOCA RATON                FL              33431
    AWD LLP DO NOT USE                                                           6014 OLD DAWSON RD                                                                                        ALBANY                    GA              31721
    AWE HOLDINGS LTD                          C O CHARTIER PROPERTY MGMT INC     4TH FL 570 PORTAGE AVE                                                                                    WINNIPEG                  MB              R3C 0G4      CANADA
    AXCSSFN CNGO                                                                 2550 ALTA ARDEN EXPY                                                                                      SACRAMENTO                CA              95825
    AXE CAPITAL PARTNERS LLC                                                     100 CHURCH ST                          STE 800                                                            NEW YORK                  NY              10007
    AY STRAUSS LLC                                                               101 EISENHOWER PKWY STE 412                                                                               ROSELAND                  NJ
    AYDA CARMONA                                                                 ADDRESS ON FILE
    AZRIEL INZELBUCH DBA REBAR CAPITAL LLC                                       1790 SWORTHMORE AVE                                                                                       LAKEWOOD                  NY              08701
    B AND B CASH GROCERY STORES INC                                              927 US HWY 301 S                                                                                          TAMPA                     FL              33619
    B AND B CONSULTING SERVICES INC                                              PO BOX 6081                                                                                               ASHLAND                   VA              23005-6081
    B AND D PROPERTIES                                                           6139 JEFFERSON AVE STE G                                                                                  NEWPORT NEWS              VA              23605
    B AND H PHOTO VIDEO                                                          420 9TH AVE                                                                                               NEW YORK                  NY              10001
    B AND J SPY ASSOCIATES                                                       PO BOX 2197                                                                                               CLIFFSIDE PARK            NJ              07010
    B AND S ACCOUNTING SERVICES INC                                              1749 LEXINGTON AVE                                                                                        NEW YORK                  NY              10029
    B F CHESAPEAKE LP                                                            1401 GREENBRIER PKWY                                                                                      CHESAPEAKE                VA              23320
    B RILEY PRINCIPAL INVESTMENTS LLC                                            30870 RUSSELL RANCH RD STE 250                                                                            WESTLAKE VILLAGE          CA              91362
    B RILEY SECURITIES INC                                                       11100 SANTA MONICA BLVD STE800                                                                            LOS ANGELES               CA              90025
    B RILEY SECURITIES INC                    ATTN ELIZABETH RUBIO               1300 N 17TH ST                         STE 1300                                                           ARLINGTON                 VA              22209
    B SOURCE INC                              ATTN ACCOUNTS RECEIVABLE           5460 WARD RD STE 380                                                                                      ARVADA                    CO              80002
    B2B ACQUISITIONS INC                      D B A B2B SOLUTIONS                3420 SHORT PUMP RD 406                                                                                    RICHMOND                  VA              23233
    B2B ACQUISITIONS INC                      DBA SOLVARIA                       3420 PUMP RD 406                                                                                          HENRICO                   VA              23233
    B921 FM WBTR                                                                 102 PARKWOOD CIR                                                                                          CARROLLTON                GA              30117
    BA CAPITAL INC                                                               500 FRANK W BURR BLVD                  STE 16                                                             TEANECK                   NJ              07666
    BACK BAY CENTER LLC                                                          179 REHOBOTH AVE STE 1081                                                                                 REHOBOTH BEACH            DE              19971
    BACKTOWN DEVELOPMENT                                                         6633 N LINCOLN AVE                                                                                        LINCOLNWOOD               IL              60712
    BACKYARD BROADCASTING                                                        2205 COLLEGE AVE                                                                                          ELMIRA                    NY              14903
    BACM 2005 3 RITCHIE HWY LLC               DBA MARLEY STATION                 ATTN JOHN HESS                         7900 RITCHIE HWY                                                   GLEN BURNIE               MD              21061
    BADGER PLAZA LLC                                                             1111 BENEFIEELD BLVD STE 100                                                                              MILLERSVILLE              MD              21108
    BAI RIVERGATE LLC                                                            PO BOX 713636                                                                                             CINCINNATI                OH              45271
    BAILEY AND FULLER PROPERTIES LLC                                             405 D WESTERN BLVD                                                                                        JACKSONVILLE              NC              28546
    BAILEY AND WYANT PLLC                     BRADLEY AND CAROL ZEIGLER          500 VIRGINIA ST E STE 600                                                                                 CHARLESTON                WV              25301
    BAILEY BETH A                                                                ADDRESS ON FILE
    BAILLIO SAND COMPANY INC                                                     PO BOX 3005                                                                                               VIRGINIA BEACH            VA              23454
    BAKER BROTHERS RENTAL PROP LLC                                               810 MERRIMAN ST                                                                                           CONWAY                    AR              72032
    BAKER DONELSON BEARMAN AND CAL                                               1800 REPUBLIC CTR                      633 CHESTNUT ST                                                    CHATTANOOGA               TN              37450-1800
    BAKER H RAY                                                                  ADDRESS ON FILE
    BAKER SOLUTIONS INC                                                          2545 HEMPSTEAD TURNPIKE                STE 300                                    DBA CREDITBAKERCOM      EAST MEADOW               NY              11554
    BAKER TILLY US LLP                                                           PO BOX 511563                                                                                             LOS ANGELES               CA              90051-8118
    BAKERSFIELD LEGAL PROCESS SERVICE                                            3845 STOCKDALE HWY                     STE 101 104                                                        BAKERSFIELD               CA              93309
    BAKKOM DENIS L                                                               ADDRESS ON FILE
    BALBOA TECHNOLOGIES INC                                                      3857 BIRCH ST                          UNIT 166                                                           NEWPORT BEACH             CA              92660
    BALIHOO INC                                                                  404 S 8TH ST                           STE 300                                                            BOISE                     ID              83702
    BALKAN SIGNS                                                                 20421 DOUGLAS CRESCENT                                                                                    LANGLEY                   BC              V3A 4B6      CANADA
    BALL AND PAIGEN LLC                       D B A COUNTRY PLAZA LLC            PO BOX 625                                                                                                YELM                      WA              98597
    BALL FOUR HOLDINGS INC DO NOT USE                                            243 W 124TH ST                                                                                            NEW YORK                  NY              10021
    BALL FOUR HOLDINGS INC DO NOT USE         C O SAVE A THON INDUSTRIES INC     243 W 124TH ST                                                                                            NEW YORK                  NY              10027
    BALL KIM                                                                     ADDRESS ON FILE

    BALLARD SPAHR ANDREWS AND INGERSOLL LLP                                      1735 MARKET ST 51ST FL                                                                                    PHILADELPHIA              PA              19103-7599
    BALLARD SPAHR LLP                                                            1735 MARKET ST 51ST FL                                                                                    PHILADELPHIA              PA              19103
    BALLARD SPAHR LLP                                                            2029 CENTURY PARK E                    STE 800                                                            LOS ANGELES               CA              90067


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                      Name                                     Attention                            Address 1                                Address 2                           Address 3                      City        State       Zip          Country
    BALTIMORE COUNTY GOVERNMENT                OFFICE OF BUDGET AND FINANCE        400 WASHINGTON AVE RM 150                                                                                   TOWSON                  MD           21204
    BALTIMORE COUNTY MD                        OFFICE OF BUDGET AND FINANCE        400 WASHINGTON AVE RM 152                                                                                   TOWSON                  MD           21204-4665
    BALZOUT                                    AKA S AND E SPORTSWEAR              PO BOX 489 5 MCJUNKIN RD                                                                                    NITRO                   WV           25143
    BANGMI YU SUL                                                                  ADDRESS ON FILE
    BANK OF AMERICA                            SHARON D OLNEY HILL                 9000 SOUTHSIDE BLVD                                                                                         JACKSONVILLE            FL           32256
                                                                                   MERRILL LYNCH RETIREMENT AND BENEFIT
    BANK OF AMERICA MERRILL LYNCH                                                  SERVICES                               PO BOX 1501                                MAIL CODE NJ2 140 03 50   PENNINGTON              NJ           08534
    BANK OF AMERICA NA USA 105442347           VIRGINIA BEACH GEN DISTRICT CT      2425 NIMMO PKWAY                                                                                            VIRGINIA BEACH          VA           23456-9057
    BANK OF HAWAII                             TIFFANY DARRAGH                     11 E KAMEHAMEHA AVE                                                                                         KAHULUI                 HI           96732
    BANK OF NOVA SCOTIA                        COMMERCIAL BANKING                  40 KING ST W 2ND MEZZ                                                                                       TORONTO                 ON           M5H 1H1      CANADA
    BANK OF THE WEST                                                               PO BOX 4021                                                                                                 ALAMEDA                 CA           94501
    BAO VONG                                                                       ADDRESS ON FILE
    BAOCHAU TRAN                                                                   ADDRESS ON FILE
    BARB PATRICK BROADBENT                                                         74 PARK AVE W                                                                                               CHATHAM                 ON           N7M 1V9      CANADA
    BARBARA HOYLE                                                                  ADDRESS ON FILE
    BARBARA L KENDALL                                                              ADDRESS ON FILE
    BARBARA MINNINGHAM                                                             ADDRESS ON FILE
    BARBARA WEBB CLERK AND MASTER                                                  PO BOX 1557                                                                       134 S COLLEGE ST          LEBANON                 TN           37088-1557
    BARBER NANCY B                                                                 ADDRESS ON FILE
    BARBER SIGN                                                                    600 PENNSYLVANIA ST                                                                                         VALLEJO                 CA           94590
    BARBOUR REALTY INC                                                             4605 PEMBROKE LAKE CIR 103                                                                                  VIRGINIA BEACH          VA           23455
    BARCLAY STATION LLC                                                            11501 NORTHLAKE DR                                                                                          CINCINNATI              OH           45249
    BARE ASSOCIATES INTERNATIONAL                                                  9990 FAIRFAX BLVD                      STE 115                                                              FAIRFAX                 VA           22030
    BAREMETALCOM INC                                                               4255 SHELBOURNE ST                                                                                          VICTORIA                BC           V8N 3G1      CANADA
    BARGAIN FOOD STORE                         C O LIBERTY TAX SERVICE             611 DUNDAS ST                                                                                               LONDON                  ON           N5W 2Z1      CANADA
    BARGAIN HUNTER PUBLISHING LTD                                                  100 9804 100 AVE                                                                                            GRANDE PRAIRIE          AB           T8V 0T8      CANADA
    BARKCOM GLOBAL LIMITED                                                         9TH FL 3 SHELDON SQUARE                                                                                     LONDON                  UK           W2 6HY
    BARNES STACEY                                                                  ADDRESS ON FILE
    BARON INVESTMENT PROPERTIES LLC                                                11 N 3RD ST                            STE 2                                                                OXFORD                  PA           19363
    BARON SERVICES INC                         C O MICHAEL J FULLER                364 PINE HILLS DR                                                                                           CALHOUN                 LA           71225
    BARR AND LACAVA AS TRUSTEE FOR PLUM TREE
    CAPITAL LLC                                ATTN JOHN MORGAN                    22 FIFTH ST                                                                                                 STAMFORD                CT           06905
    BARR FRANCHISE ENTERPRISES LP              ATTN ANNE BARR                      13140 COIT RD 211                                                                                           DALLAS                  TX           75240
    BARRIE FOOD BANK                                                               42 ANNE ST S                                                                                                BARRIE                  ON           L4N 2C9      CANADA
    BARRIE HYDRO                                                                   BOX 7000                                                                                                    BARRIE                  ON           L4M 4V8      CANADA
    BARRIE POLICE SERVICE                                                          29 SPERLING DR                                                                                              BARRIE                  ON           L4M 6K9      CANADA
    BARRIE WOMENS HOCKEY ASSOCIATION                                               1 SAUNDERS RD UNIT 5                                                                                        BARRIE                  ON           L4N 9A7      CANADA
    BARRS CHAD                                                                     ADDRESS ON FILE
    BARRY CAPLAN                                                                   ADDRESS ON FILE
    BARRY FELICIA                                                                  ADDRESS ON FILE
    BARRY LOCKOM                                                                   ADDRESS ON FILE
    BARRYS OFFICE FURNITURE INC                                                    192 SPADINA AVE                                                                                             TORONTO                 ON           M5T 2C2      CANADA
    BARTA JAROSLAV                                                                 ADDRESS ON FILE
    BARTKO ZANKEL TARRANT MILLER                                                   ADDRESS ON FILE
    BARTLETT BARB                                                                  ADDRESS ON FILE
    BARTLETT JAMES                                                                 ADDRESS ON FILE
    BARTON LYNNHAVEN LLC                       C O CBRE ASSET SERVICES             150 W MAIN ST STE 1100                                                                                      NORFOLK                 VA           23510
    BARTS TIM                                                                      ADDRESS ON FILE
    BAS BROADCASTING INC                                                           WFRO FM                                905 W STATE ST                                                       FREMONT                 OH           43420
    BASEPOINT CAPITAL                                                              75 ROCKEFELLER PLZ                                                                                          NEW YORK                NY           10019
    BASHIST BARRY                                                                  ADDRESS ON FILE
    BASIN RADIO NETWORK                                                            PO BOX 1210                                                                                                 CODY                    WY           82414
    BASS DAVID                                                                     ADDRESS ON FILE
    BASS EMILY ESQ                                                                 ADDRESS ON FILE
    BASS HOME INSPECTIONS INC                                                      7501 E PARADISE DR                                                                                          BOARDMAN                OH           44512
    BASTE FINANCIAL SERVICES INC                                                   4705 W 79TH ST                                                                                              CHICAGO                 IL           60652
    BATTLEFIELD FREEDOM WASH LLC                                                   2101 PARKS AVE 101                                                                                          VIRGINIA BEACH          VA           23451
    BATTLEFIELD MARKETPLACE ASSOC                                                  3400 BUILDING STE 200                  397 LITTLE NECK RD                                                   VIRGINIA BEACH          VA           23452
    BAUDER LISSA                                                                   ADDRESS ON FILE
    BAUSCH DONNA                                                                   ADDRESS ON FILE
    BAWN MEDIA LLC                                                                 540 E FOOTHILL STE 207                                                                                      SAN DIMOS               CA           91773
    BAY DIESEL AND GENERATOR                                                       3736 COOK BLVD                                                                                              CHESAPEAKE              VA           23323-1604
    BAY DISPOSAL LLC                           A WASTE CONNECTIONS COMPANY         PO BOX 535233                                                                                               PITTSBURGH              PA           15253-5233
    BAY FUNDING LLC                                                                1125 W ST                              STE 200                                                              ANNAPOLIS               MD           21401
    BAYBROOK MALL LLC                                                              SDS 12 1851                            PO BOX 86                                                            MINNEAPOLIS             MN           55486-1851
    BAYLESS JEFFREY                                                                ADDRESS ON FILE
    BAYNES AND SHIREY INC                                                          111 MONUMENT CIR                       CIR CTR STE 582                                                      INDIANAPOLIS            IN           46204
    BAYS ELECTRONICS                                                               1011 N ROAN ST                                                                                              JOHNSON CITY            TN           37601
    BAYS PROPERTIES                                                                1011 N ROAN ST                                                                                              JOHNSON CITY            TN           37601
    BAYSHORE BEVERAGES INC                     DBA CARDINAL CANTEEN FOOD SERVICE   914 CAVALIER BLVD                                                                                           CHESAPEAKE              VA           23323
    BAYSHORE BROAD CASTING                                                         PO BOX 280                                                                                                  OWEN SOUND              ON           N4K 5P5      CANADA
    BAYSHORE BROADCASTING                                                          PO BOX 280                             270 9TH ST E                                                         OWEN SOUND              ON           N4K 5P5      CANADA
    BAYSIDE INVESTMENTS LIMITED                                                    546 QUEENS AVE                                                                                              LONDON                  ON           N6B 1YB      CANADA
    BAYVIEW STEAM AND POWER WASH               C O T HALLIGAN                      2575 OCEAN SHORE AVE                                                                                        VIRGINIA BEACH          VA           23451
    BB AND T                                                                       223 W NASH ST 3RD FL                   PO BOX 2887                                                          WILSON                  NC           27893
    BB AND T                                                                       2501 WOOTEN BLVD                                                                                            WILSON                  NC           27894-1148
    BB AND T EQUIPMENT FINANCE CORPORATION     ATTN JESSICA SMITH                  5130 PKWY PLZ BLVD                                                                                          CHARLOTTE               NC           28217
    BB AND T INSURANCE SERVICES DBA BRIDGE
    TRUST TITLE GROUP                                                              ONE COLUMBUS CTR STE 400                                                                                    VIRGINIA BEACH          VA           23462
    BB AND T SIGN SERVICES                                                         16212 BOTHELL EVERETT HWY F239                                                                              MILL CREEK              WA           98012
    BBB                                                                            1030B EMPRESS ST                                                                                            WINNIPEG                MB           R3G 3H4      CANADA
    BBB AUTO PAY                                                                   DEPT CH 18108                                                                                               PALATINE                IL           60055
    BBB OF MID WESTERN AND CENTRAL ONTARIO                                         354 CHARLES ST E                                                                                            KITCHENER               ON           N2G 4L5      CANADA
    BBM CANADA                                                                     1500 DON MILLS RD                      3RD FL ATTN MARIA CHU                                                TORONTO                 ON           M3B 3L7      CANADA
    BBS TECHNOLOGIES INC                                                           75 REMITTANCE DR                       STE 6670                                                             CHICAGO                 IL           60675-6670
    BC HYDRO                                                                       PO BOX 9501 STN TERMINAL                                                                                    VANCOUVER               BC           V6B 4N1      CANADA
    BC SPCA KELOWNA                                                                8785 CASORSO RD                                                                                             KELOWNA                 BC           V1W 4M7      CANADA
    BCE EMERGIS INC                            CUSTOMER PAYMENT CENTRE             PO BOX 3600                            STATION DON MILLS                                                    TORONTO                 ON           M3C 3X8      CANADA
    BCE NEXXIA CORPORATION                                                         PO BOX 1550                                                                                                 NORTH YORK              ON           M3C 3N5      CANADA


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                                                                                                                                  Served via First-Class Mail




                             Name                            Attention                            Address 1                                    Address 2                           Address 3                    City        State       Zip          Country
    BCFTF CASE 24061                           COUNTY OF BUTTE                      BUTTE COUNTY OF CHILD SUPPORT          PO BOX 1108                                                         OROVILLE                CA           95965
                                               DBA HANDYMAN MATTERS GREATER
    BCTZ LTD                                   BOSTON                               401 LOWELL ST STE 2                                                                                        LEXINGTON               MA           02420
    BDC AMERICAN CANYON LP                     C O BROWMAN DEVELOPMENT CO INC       1556 PARKSIDE DR                                                                                           WALNUT CREEK            CA           94596
    BDO SEIDMAN LLP                                                                 285 PEACHTREE CTR                                                                                          ATLANTA                 GA           30303-1230
    BDO USA LLP                                                                     770 KENMOOR SE                         STE 300                                                             GRAND RAPIDS            MI           49546
    BEACH AMBASSADORS                          C O SHAWN FISCHER                    1464 MOUNT PLEASANT RD                 STE 24                                                              CHESAPEAKE              VA           23322
    BEACH BULLY CATERING                       ATTN RICK OR MICHELLE                601 19TH ST                                                                                                VIRGINIA BEACH          VA           23451
    BEACH ENGRAVING                                                                 3008 VIRGINIA BEACH BLVD                                                                                   VIRGINIA BEACH          VA           23452
    BEACH EVENTS                                                                    302 22ND ST 2ND FL                                                                                         VIRGINIA BEACH          VA           23451
    BEACH IMPROVEMENTS LLC                     C O DLC MANAGEMENT CORP              PO BOX 5122                                                                                                WHITE PLAINS            NY           10602
    BEACH VIDEO PRODUCTIONS INC                                                     1700 PRODAN LN                                                                                             VIRGINIA BEACH          VA           23453
    BEACON ELECTRICAL TECHNOLOGIES INC                                              PO BOX 6240                                                                                                CHESAPEAKE              VA           23323
    BEAGLE FINANCIAL SERVICES INC                                                   1049 EL MONTE AVE                      STE C 588                                                           MOUNTAIN VIEW           CA           94040
    BEARCREEK VENTURES                                                              BOX 857                                                                                                    FORT NELSON             BC           V0C 1R0      CANADA
    BEARD ST CLAIR GAFFNEY PA                                                       955 PIER VIEW DR                                                                                           IDAHO FALLS             ID           83402
    BEASLEY FM ACQUISITION                                                          PO BOX 163705                                                                                              MIAMI                   FL           33166
    BEASLEY TIM                                                                     ADDRESS ON FILE
    BEAUFORT ORELL MARTIN                                                           ADDRESS ON FILE
    BECKER CPA REVIEW                                                               1 TOWER LN 11TH FL                                                                                         OAKBROOK TERRACE        IL           60181
    BECKER INVESTMENT CO                                                            50 S JONES BLVD                        STE 100                                                             LAS VEGAS               NV           89107
    BECKER LANCE                                                                    ADDRESS ON FILE
    BECKHAM CAPITAL LLC                                                             41 SWEET GRASS LN                                                                                          RICHMOND HILL           GA           31324
    BECKLER TIM AND CARRIE                                                          ADDRESS ON FILE
    BECKY ELDER                                                                     ADDRESS ON FILE
    BEDARD MARK D                                                                   ADDRESS ON FILE
    BEDERSON LLP                                                                    100 PASSAIC AVE                        STE 310                                                             FAIRFIELD               NJ           07004
    BEDINGFIELD BRIAN                                                               ADDRESS ON FILE
    BEE KEEPERS GUILD                                                               1721 POMPEY ST                                                                                             VIRGINIA BEACH          VA           23464
    BEE SEEN                                                                        1633 BAYSHORE HWY                      STE 128                                                             BURLINGAME              CA           94010
    BEEHLER BROTHERS LTD                                                            1610 HWY 15                                                                                                KINGSTON                ON           K7L 5H6      CANADA
    BEELER IMPRESSIONS PRODUCTS                                                     PO BOX 3687                            2334 MCCALLIE AVE                                                   CHATTANOOGA             TN           37404-3687
    BEGGS JUDITH                                                                    ADDRESS ON FILE
    BELCARO GROUP INC                          DBA SHOPATHOMECOM                    5575 DTC PKWY STE 300                                                                                      GREENWOOD VILLAGE       CO           80111
    BELINDA CLARK                                                                   ADDRESS ON FILE
    BELL 3250                                                                       PO BOX 3250                                                                        STATION DON MILLS       NORTH YORK              ON           M3C 4C9      CANADA
    BELL ATLANTIC                                                                   PO BOX 15124                                                                                               ALBANY                  NY           12212-5124
    BELL ATLANTIC                                                                   PO BOX 17398                                                                                               BALTIMORE               MD           21297-0429
    BELL ATLANTIC                                                                   PO BOX 17577                                                                                               BALTIMORE               MD           21297-0513
    BELL ATLANTIC                                                                   PO BOX 28007                                                                                               LEHIGH VALLEY           PA           18002-8007
    BELL CANADA CP 11490                       CENTRE DE VERSEMENTS CLIENTS         CP 11490 STN CENTRE VILLE                                                                                  MONTREAL                QC           H3C 5R7      CANADA
    BELL CANADA PO BOX 8712                                                         CASE POSTALE 8712                      SUCC CENTRE VILLE                                                   MONTREAL                QC           H3C 3P6      CANADA
    BELL CANADA POBOX 1550                                                          PO BOX 1550                            STN DON MILLS                                                       NORTH YORK              ON           M3C 3N5      CANADA
    BELL CANADA POBOX 3650                                                          POBOX 3650 STATION DON MILLS                                                                               TORONTO                 ON           M3C 3X9      CANADA
    BELL CANADA POBOX 9000                                                          PO BOX 9000                            STN DON MILLS                                                       NORTH YORK              ON           M3C 2X7      CANADA
    BELL CHRIS                                                                      ADDRESS ON FILE
                                               C O CENTRECORP MANAGEMENT SERVICES
    BELL FUND II LLC                           LLLP                                 1250 CAROLINE ST STE 220                                                                                   ATLANTA                 GA           30307
    BELL FUND II LLC                           C O FUND II HAYGOOD LLC              PO BOX 3288                                                                                                GREENSBORO              NC           27402
    BELL MDIA BATHURST                                                              640 ST PETER AVE                                                                                           BATHURST                NB           E4A 2Y7      CANADA
    BELL MEDIA CTV2                                                                 1 COMMUNICATION RD                                                                                         LONDON                  ON           N6J 4Z1      CANADA
    BELL MEDIA INC                             DBA REGINAS PURE COUNTRY 927         80 PATINA RISE SW                                                                                          CALGARY                 AB           T3H 2W4      CANADA
    BELL MEDIA RADIO ATLANTIC INC                                                   2885 ROBIE ST                                                                                              HALIFAX                 NS           B3K 5Z4      CANADA
    BELL MEDIA RADIO GP                                                             360 ROSS ST                            PO BOX 69                                                           SALMON ARM              BC           V1E 4N2      CANADA
    BELL MEDIA RADIO GP 1029K LITEFM                                                883 UPPER WENTWORTH ST                 STE 401                                                             HAMILTON                ON           L9A 4Y6      CANADA
    BELL MEDIA VIRGIN RADIO                                                         80 PATINA RISE SW                                                                                          CALGARY                 AB           T3H 2W4      CANADA
    BELL MOBILITY 5102                                                              PO BOX 5102                                                                                                BURLINGTON              ON           L7R 4R7      CANADA
    BELL MOUNTAIN ENTERPRISES                  DBA HI DESERT ALARM BARSTOW ALARM    16637 MOJAVE DR                                                                                            VICTORSVILLE            CA           92395
    BELL MTS INC                                                                    PO BOX 7500                                                                                                WINNIPEG                MB           R3C 3B5      CANADA
    BELL PRINTING COMPANY                                                           800 STATE ROUTE 534 NW                                                                                     NEWTON FALLS            OH

    BELLEVILLE SPORTS AND ENTERTAINMENT CORP                                        265 CANNIFTON RD                                                                                           BELLEVILLE              ON           K8N 4V8      CANADA
    BELLEVUE RADIO INC KLSY FM                                                      PO BOX 34960                                                                                               SEATTLE                 WA           98124-1960
    BELLIVISO INC                                                                   2243 BANKS HILL ROW                                                                                        RALEIGH                 NC           27614
    BELLSOUTH 105262 ATLANTA                                                        PO BOX 105262                                                                                              ATLANTA                 GA           30348-5262
    BELLSOUTH 1262                                                                  PO BOX 1262                                                                                                CHARLOTTE               NC           28201-1262
    BELLSOUTH 33009 CHARLOTTE NC                                                    PO BOX 1262                                                                                                CHARLOTTE               NC           28201-1262
    BELLSOUTH 70529                                                                 PO BOX 70529                                                                                               CHARLOTTE               NC           28272
    BELLSOUTH 70529 CHARLOTTE                                                       PO BOX 70529                                                                                               CHARLOTTE               NC           28272-0529
    BELLSOUTH 70807                                                                 PO BOX 70807                                                                                               CHARLOTTE               NC           28272-0807
    BELLSOUTH 740144                                                                PO BOX 740144                                                                                              ATLANTA                 GA           30374-0144
    BELLSOUTH ADVERTISING AND PUBLIS                                                PO BOX 105024                                                                                              ATLANTA                 GA           30348-5024
    BELLSOUTH ANNEX                                                                 85 ANNEX                                                                                                   ATLANTA                 GA           30385-0001
    BELLSOUTH INTELLIVENTURES                                                       PO BOX 198794                                                                                              ATLANTA                 GA           30384-8974
    BELMONT AND CRYSTAL SPRINGS                                                     PO BOX 530578                                                                                              ATLANTA                 GA           30353
    BELZ INVESTCO CORP                                                              100 PEABODY PL                         1400                                                                MEMPHIS                 TN           38103
    BEN EATON                                                                       ADDRESS ON FILE
    BEN MEDINA                                                                      ADDRESS ON FILE
    BENCH MARK ADVERTISING                                                          1355 SPRUCE ST                                                                                             WINNIPEG                MB           R3E 2V8      CANADA
    BENCHMARK TRUST CORP                                                            608 W BELL AVE                                                                                             CHATTANOOGA             TN           37405-3308
                                               C O RELIABLE PROPERTIES ATTN MIKE
    BENCLIFF PROPERTIES LP                     TOHIKIAN                             6399 WILSHIRE BLVD STE604                                                                                  LOS ANGELES             CA           90048
    BENCO ELECTRIC LTD                                                              3551 G 78TH AVE SE                                                                                         CALGARY                 AB           T2C 1J7      CANADA
    BEND BULLETIN THE                                                               PO BOX 6020                                                                                                BEND                    OR           97708
    BENDER REALTY LLC                                                               PO BOX 2251                                                                                                CLEVELAND               TN           37311
    BENEFICIAL BANK                                                                 1818 MARKET ST                                                                                             PHILADELPHIA            PA           19103
    BENEFIT ADVANTAGE                                                               PO BOX 5490                                                                                                DE PERE                 WI           54115-5490
    BENESCH FRIEDLANDER COPLAN AND ARONOFF
    LLP                                        ATTN ACCOUNTING DEPARTMENT           200 PUBLIC SQUARE 2300                                                                                     CLEVELAND               OH           44114-2378


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                       Name                                        Attention                     Address 1                                 Address 2                           Address 3                    City        State       Zip          Country
    BENJAMIN GEORGE                                                             ADDRESS ON FILE
    BENJAMIN J HAMRICK                                                          ADDRESS ON FILE
    BENJAMIN MEDINA                                                             ADDRESS ON FILE
    BENJAMIN P LANCASTER                                                        ADDRESS ON FILE
    BENNEGARD TAXES LLC                          C O ANDERS BENNEGARD           2813 AIRPORT FRWY APT 436                                                                                  BEDFORD                 TX           76021
    BENNETT E AND ANNA C BAKER                                                  ADDRESS ON FILE
    BENNETT JONES LLP                                                           STE 3400 1 FIRST CANADIAN PL           PO BOX 130                                                          TORONTO                 ON           M5X 1A4      CANADA
    BENOIT ALEXANDER MOLLERUP AND DANIELSON
    PLLC                                                                        BENOIT LAW                             PO BOX 366                                                          TWIN FALLS              ID           83303
    BENSON BUFFETT PLC                                                          STE 900 ATLANTIC PL                    WATER STREETPO BOX 1538                                             ST JOHNS                NL           A1C 5N8      CANADA
    BENSON HEATING AND AIR CONDITIONING                                         8321 10TH LINE                         ESSA RR2                                                            BARRIE                  ON           L4M 4S4      CANADA
    BENSON MYLES PLC                                                            STE 900 ATLANTIC PL                    WATER STREETPO BOX 1538                                             ST JOHNS                NL           A1C 5N8      CANADA
    BENTALL KENNEDAY CANADA LP                   ATTN GENERAL MANAGER           75 CENTENNIAL PKWY N 2ND FL                                                                                HAMILTON                ON           L8E 2P2      CANADA
    BENTALLGREENOAK CANADA LP                                                   1105 WELLINGTON RD                                                                                         LONDON                  ON           N6E 1V4      CANADA
    BERA LEASING CO                                                             PO BOX 3687                            2334MCCALLIE AVE                                                    CHATTANOOGA             TN           37404
    BERG ROBERT                                                                 ADDRESS ON FILE
    BERGAN ALICE R AND PAUL A                                                   ADDRESS ON FILE
    BERGGREN PROPERTIES LLC                                                     1891 FT CAMPBELL BLVD                                                                                      CLARKSVILLE             TN           37042
    BERKELEY PAYMENT SOLUTIONS                                                  181 UNIVERSITY AVE                     STE 1802                                                            TORONTO                 ON           M5H 3M7      CANADA
    BERKSHIRE FINANCIAL GROUP LLC DBA BFG
    FUNDING                                                                     1821 HILLANDALE RD                     STE 1B 302                                                          DURHAM                  NC           27705

    BERKSHIRE HATHAWAY HOMESTATE COMPANIES                                      PO BOX 844501                                                                                              LOS ANGELES             CA           90084

    BERKSHIRE HATHAWAY HOMESTATE COMPANIES                                      PO BOX 844501                                                                                              LOS ANGELES             CA           90084-4501
    BERLIND LEONARD                                                             ADDRESS ON FILE
    BERMUDEZ SOCIETY INC                                                        3K56 AVE FRAGOSO URB VILLA FONTANA                                                                         CAROLINA                PR           00936
    BERNADETTE LEE                                                              ADDRESS ON FILE
    BERNARD DE VIENNE INC                                                       P6 6100 CH DEACON                                                                                          MONTREAL                QC           H3S 2V6      CANADA
    BERNICA EDWARD                                                              ADDRESS ON FILE
    BERTHA ALICIA FLORES SANCHEZ                                                ADDRESS ON FILE
    BERTRAM PROPERTIES                                                          1321 N DREW ST                                                                                             APPLETON                WI           54911
    BERTUCCI CHRISTOPHER                                                        ADDRESS ON FILE
    BERY HERNANDEZ                                                              ADDRESS ON FILE
    BERYAN P BELARDO MARTINEZ                                                   ADDRESS ON FILE
    BEST BUY                                                                    PO BOX 9001007                                                                                             LOUISVILLE              KY           40290
    BEST COMPANY LLC                                                            475 E 1000 S                                                                                               PLEASANT GROVE          UT           84062
    BEST EGG                                                                    PO BOX 5493                                                                                                CAROL STREAM            IL           60197
    BEST FRANCHISE OPPORTUNITIES                                                1114 E JOHN SIMS PKWY 275                                                                                  NICEVILLE               FL           32578
    BEST STRATEGIES                                                             714 GERMANTOWN PKWY                    STE 5 PMB 216                                                       CORDOVA                 TN           38018
    BEST WAY FLYERS                                                             34 LINDA MARGARET CT                                                                                       RICHMOND HILL           ON           L4S 2B6      CANADA
    BEST WESTERN BARONS HOTEL OTTAWA                                            3700 RICHMOND RD                                                                                           OTTAWA                  ON           K2H 5B8      CANADA
    BEST WESTERN BRAMPTON                                                       30 CLARK BLVD                                                                                              BRAMPTON                ONT.         L6W 1X3      CANADA
    BEST WESTERN CALGARY                                                        PORT OCALL HOTEL                       1935 MCKNIGHT BLVD N E                                              CALGARY                 ALBERTA      T2E 6V4      CANADA
    BEST WESTERN RICHMOND                                                       7551 WESTMINSTER HWY                                                                                       RICHMOND                BC           V6X 1A3      CANADA
    BESTCOMPANYCOM LLC                                                          475 E 1000 S                                                                                               PLEASANT GROVE          UT           84062
    BESTCOMPANYCOM LLC                                                          475 E 1000 ST                                                                                              PLEASANT GROVE          UT           84062
    BETCO REALTY CORPORATION                                                    244 MADISON AVE                        STE 511                                                             NEW YORK                NY           10016
    BETH ELDER                                                                  ADDRESS ON FILE
    BETHEBOSS CANADA                             ATTN ROB LANCIT                105 1037 W BROADWAY                                                                                        VANCOUVER               BC           V6H 1E3      CANADA
    BETHEBOSS EXPO                                                              MFV EXPOSITIONS                        210 ROUTE 4 E                               STE 304                 PARAMUS                 NJ           07652
    BETHEBOSSCA                                  ATTN ROB LANCIT                105 1037 W BROADWAY                                                                                        VANCOUVER               BC           V6H 1E3      CANADA
    BETHEBOSSCA                                  ATTN ROB LANCIT                302 1037 W BROADWAY                                                                                        VANCOUVER               BC           V6H 1E3      CANADA
    BETHEL RUBEN LIMITED PARTNERSHIP                                            3016 MARYLAND AVE                      C O PLZ PROPERTIES                                                  COLUMBUS                OH           43209
    BETTER BUSINESS BUREAU                                                      121 W WACKER DR STE 2000                                                                                   CHICAGO                 IL           60601
    BETTER BUSINESS BUREAU                                                      PO BOX 53525                                                                                               PHOENIX                 AZ           85072-3525
    BETTER BUSINESS BUREAU OF GREATER
    HAMPTON ROADS                                                               586 VIRGINIAN DR                                                                                           NORFOLK                 VA           23505
    BETTER BUSINESS BUREAU OF SAN
    DIEGOORANGE AND IMPERIAL COUNTIES                                           4747 VIEWRIDGE AVE 200                                                                                     SAN DIEGO               CA           92123-4389
    BETTER LOCKSMITHS                                                           3580 TECUMSEH RD E UNIT 3                                                                                  WINDSOR                 ON           N6W 1H6      CANADA
    BETTY H KISSOCK                                                             ADDRESS ON FILE
    BEVERLY HILLS SUITES LLC                                                    1400 BENEDICT CANYON DR                                                                                    BEVERLY HILLS           CA           90210
    BEVERLY M SOTO                                                              ADDRESS ON FILE
    BEVERLY MIX                                                                 4701 47TH STREETPO BOX 1641                                                                                CHETWYND                BC           V0C 1J0      CANADA
    BF ADVANCE LLC                                                              1506 KINGS HWY                         3RD FL                                                              BROOKLYN                NY           11229
    BFI                                                                         6688 54 AVE SE                                                                                             CALGARY                 AB           T2C 3A5      CANADA
    BFNYC LLC DBA BUSINESS FUNDING NY                                           600 3RD AVE                            FL 2                                                                NEW YORK CITY           NY           10016
    BFS WEST INC DBA BFS CAPITAL                                                263 W 38TH ST 13TH FL                                                                                      NEW YORK                NY           10018
    BGE                                                                         PO BOX 13070                                                                                               PHILADELPHIA            PA           19101-3070
    BGE ELECTRIC                                                                PO BOX 1431                                                                                                BALTIMORE               MD           21203-1431
                                                 C O BIRTCHER ANDERSON REALTY
    BGM RED ROCK INC                             MANAGEMENT INC                 6655 W SAHARA STE B200                                                                                     LAS VEGAS               NV           89146
    BHATIA GUL                                                                  ADDRESS ON FILE
    BHOSTEDNET                                                                  1951 COMMERCE DR STE C                                                                                     KINGSLAND               GA           31548
    BIA FINANCIAL NETWORK INC                                                   15120 ENTERPRISE CT                                                                                        CHANTILLY               VA           20151
    BICKLE PROPERTY MAINTENANCE AND
    LANDSCAPING                                                                 4220 LIBERTY ST N                                                                                          BOWMANVILLE             ON           L1C 3K6      CANADA
    BIEHL AND BIEHL INC                                                         PO BOX 66415                                                                                               CHICAGO                 IL           60666-0415
    BIG CITY PRODUCTIONS                                                        PO BOX 263                                                                                                 HOUSTON                 TX           77347
    BIG COUNTRY 931 FM                                                          202 9817 101ST AVE                                                                                         GRANDE PRAIRIE          AB           T8V 0X6      CANADA

    BIG FOOT HOLDINGS LLC DBA GO AHEAD FUNDING                                  175 RIVER OAKS LN                                                                                          BASALT                  CO           81621
    BIG FOOTPRINT DIGITAL INC                                                   303 S BROADWAY                         STE 200 385                                                         DENVER                  CO           80209
    BIG KAHUNA SPORTS COMPANY                                                   17356 108 AVE                                                                                              EDMONTON                AB           T5S 1E8      CANADA
    BIG PICTURE LOANS LLC                                                       PO BOX 704                                                                                                 WATERSMEET              MI           49969
    BIG THINK CAPITAL                                                           225 BROADHOLLOW RD                                                                                         MELVILLE                NY           11747
    BIGGER BRAND MEDIA                                                          65 ENTERPRISE 3RD FL                                                                                       ALISO VIEJO             CA           92656
    BIGGS AND FLEET LTD                                                         125 ST PAULS BLVD                      STE 309                                                             NORFOLK                 VA           23510


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                        Name                                     Attention                        Address 1                                 Address 2                           Address 3                    City          State       Zip          Country
    BILL FROVICH ELECTRIC                                                        31 ARPIN BAY                                                                                               WINNIPEG                MB             R3X 1Y1      CANADA
    BILL MURPHY                                                                  ADDRESS ON FILE
    BILL RHINES                                                                  ADDRESS ON FILE
    BILL SIMONS PLUMBING AND HEATING                                             1915 S JUNIPER ST                                                                                          PHILADELPHIA            PA             19148
    BILLS HOME IMPROVEMENTS                   C O WILLIAM RICH                   29486 ZONE RD 6 RR 3                                                                                       BOTHWELL                ON             N0P 1C0      CANADA
    BILLY MURPHY                                                                 ADDRESS ON FILE
    BILOXI SUN HERALD                                                            205 DEBUGS RD                                                                                              GULFPORT                MS             39507
    BILU ASSOCIATION LLC                                                         2720 W ATLANTIC BLVD                                                                                       POMANO BEACH            FL             33069
    BINNS DENESE                                                                 ADDRESS ON FILE
    BINSWANGER GLASS 026                                                         PO BOX 172321                                                                                              MEMPHIS                 TN             38187-2321
    BIRCH TELECOM                                                                PO BOX 660111                                                                                              DALLAS                  TX             75266-0111
    BIRCHSTONE DEVELOPMENTS INC                                                  1450 OCONNOR DR BLDG 2                  STE 300                                                            EAST YORK               ON             M4B 2T8      CANADA
    BIRCHWOOD GROUP LLC                                                          500 GRAPEVINE HWY STE 402                                                                                  HURST                   TX             76054-2785
    BIRD RICHARD                                                                 ADDRESS ON FILE
    BIRDSIDE CENTRE CORP                                                         100 ALMERIA AVE 300                                                                                        CORAL GABLES            FL             33134
    BIRMINGHAM NEWS AND PST HERALD                                               2200 4TH AVE N                                                                                             BIRMINGHAM              AL             35202
    BIRSCH                                                                       476 VIKING DR STE 102                                                                                      VIRGINIA BEACH          VA             23452
    BISCHOFF MARTINGAYLE PC                                                      3704 PACIFIC AVE                        STE 300                                                            VIRGINIA BEACH          VA             23451
    BISCHOFF MARTINGAYLE PC                                                      3704 PACIFIC AVE                        STE 300                                                            VIRGINIA BEACH          VA             23451-2719
    BISHOP AND MCKENZIE LLP                                                      10180 101 ST                                                                                               EDMONTON                AB             T5J 1V3
    BISHOP SULLIVAN CATHOLIC HIGH SCHOOL                                         4552 PRINCESS ANNE RD                                                                                      VIRGINIA BEACH          VA             23462
    BISON ADVERTISING INC                                                        6385 OLD SHADY OAK RD 290                                                                                  EDEN PRAIRE             MN             55344
    BITKOO LLC                                                                   4640 LANKERSHIM BLVD                    STE 650                                                            NORTH HOLLYWOOD         CA             91602
    BITLY INC                                                                    PO BOX 843522                                                                                              BOSTON                  MA             02284
    BIZ X MAGAZINE                                                               PO BOX 27035                            7720 TECUMSEH RD E                                                 WINDSOR                 ON             N8T 3N5      CANADA
    BIZBRELLA CORPORATION                                                        114 OLD COUNTRY RD                      STE 652                                                            MINEOLA                 NY             11501
    BIZHELP INC                                                                  65 W MAIN ST                                                                                               SMITHTOWN               NY             11787
    BIZLEDER LLC                                                                 3220 TILLMAN DR                         STE 200                                                            BENSALEM                PA             19020
    BIZLOANLY INC                                                                557 GRAND CONCORUSE                     STE 6024                                                           BRONX                   NY             11454
    BIZPORT LTD                                                                  9 N THIRD ST                                                                                               RICHMOND                VA             23219
    BIZQUESTCOM                                                                  99 S RAYMOND 106                                                                                           PASADENA                CA             91105
    BIZSALECOM                                                                   2864 S CIR DR                           STE 540                                                            COLORADO SPRINGS        CO             80906
    BIZZ FUNDZ LLC                                                               10 S ST                                 STE 502                                                            BALTIMORE               MD             21202
    BJC REAL ESTATE PARTNERSHIP                                                  PO BOX 519                                                                                                 W BRIDGEWATER           MA             02379
    BK CORE AND MORE                                                             5505 FERNANDER DR                                                                                          FT WORTH                TX             76107
    BKJ PROPERTY MANAGEMENT LLC                                                  1130 W NIMISILA RD                                                                                         CLINTON                 OH             44216
    BLACK ANGUS CATERNG                                                          706 ATLANTIC AVE                                                                                           VIRGINIA BEACH          VA             23451
    BLACK BEAR DOOR TO DOOR ADVERTISING                                          2216 W VERMIJO AVE                                                                                         COLORADO SPRINGS        CO             80904
    BLACK BOX RESALE SERVICES                                                    SDS 12 0976                             PO BOX 86                                                          MINNEAPOLIS             MN             55486-0976
    BLACK ENTERPRISE                                                             EARL G GRAVES PUBLISHING CO             130 FIFTH AVE 10TH FL                                              NEW YORK                NY             10011
    BLACK HILLS ENERGY                                                           PO BOX 6001                                                                                                RAPID CITY              SD             57709-6001
    BLACK HILLS PIONEER WEEKLY PROSPECTOR                                        315 SEATON CIR                          PO BOX 7                                                           SPEARFISH               SD             57783
    BLACK PRESS GROUP LTD                                                        PO BOX 3600                                                                                                ABBOTSFORD              B.C.           V2S 4P4      CANADA

    BLACK PROPERTY MANGEMENT LLC DO NOT USE                                      109 E CENTRAL                           PO BOX 280                                                         SUTHERLIN               OR             97479
    BLACK SR JOEL                                                                11315 LORD BALTIMORE DR                                                                                    SWAN POINT              MD             20645
    BLACK TIE FINANCIAL GROUP INC                                                265 FRANKLIN AVE                        STE 1702                                                           BOSTON                  MA             02110
    BLACKBEARD CAPTIAL LLC                                                       315 FIRST ST                                                                                               PALISADES PARK          NJ             07650
    BLACKBURN RADIO INC                                                          215 CARLING TERRACE                                                                                        WINGHAM                 ON             N0G 2W0      CANADA
    BLACKBURN RADIO INC                       ATTN TIM FENN                      2090 WYANDOTTE ST                                                                                          WINDSOR                 ON             N8Y 5B2      CANADA
    BLACKROCK MGMT GROUP INC                                                     45 RALPH AVE                                                                                               BABYLON                 NY             11702
    BLACKSBERG MICHELLE                                                          2540 SHORE BLVD APT 3I                                                                                     ASTORIA                 NY             11102
    BLACKSTONE SELF STORAGE                   C O MONCURE INSURANCE AGENCY INC   203 S MAIN ST                                                                                              BLACKSTONE              VA             23824
    BLACKSTONE VALLEY BOYS AND GIRLS CLUB                                        115 CANAL ST                                                                                               BLACKSTONE              MA             01504
    BLACKWELL JACQUELINE                                                         201 DUEA CIR                            PO BOX 113                                                         ROLAND                  IA             50236
    BLACKWELL SANDERS PEPER MARTIN                                               PO BOX 795135                                                                                              ST LOUIS                MO             63179
    BLAIR COMMERICAL MANAGEMENT               DBA BECKY BLAIR MANAGEMENT         333 W BROADWAY 312                                                                                         LONG BEACH              CA             90802
    BLAIS INVESTIGATING AGENCY                                                   300 S RAYMOND AVE                       STE 22                                                             PASADENA                CA             91105
    BLAKE BATES                                                                  ADDRESS ON FILE
    BLAKE CASSELS AND GRAYDON LLP                                                199 BAY ST                              STE 4000 COMMERCE CT W                                             TORONTO                 ON             M5L 1A9      CANADA
    BLAKE JARRETT AND COMPANY                                                    66 LESMILL RD                                                                                              TORONTO                 ON             00M3B        CANADA
    BLAKE SMITH DBA LEGACY LENDING                                               7892 HOLT DR                            UNIT 4                                                             HUNTINGTON BEACH        CA             92647
    BLAKE WEAVER                                                                 ADDRESS ON FILE
    BLANCHARD TRAINING AND DEVELOPMENT INC
    DBA THE KEN BLANCHARD COMP                                                   125 STATE PL                                                                                               ESCONDIDO               CA             92029-1323
    BLANDING OAKS INC                         KENDALL CENTER MANAGEMENT LLC      7171 SW 62ND AVE 4TH FL                                                                                    S MIAMI                 FL             33143
    BLAZING SADDLE WESTERN DISPLAY LTD                                           PO BOX 89123                                                                                               CALGARY                 AB             T2Z 3W3      CANADA
    BLEDSOE YVONNE                                                               ADDRESS ON FILE
    BLEU WATER OF VIRGINIA BEACH                                                 5721 BAYSIDE RD STE K                                                                                      VIRGINIA BEACH          VA             23455
    BLEVINS ELECTRIC INC                                                         5351 FORT HENRY DR                      PO BOX 5609                                                        KINGSPORT               TN             37663
    BLINDBID INC                                                                 405 CHERRY HILLS WAY                                                                                       COLORADO SPRINGS        CO             80921
    BLISSCO                                                                      78 CENTENNIAL RD                        UNIT 11                                                            ORANGEVILLE             ON             L9W 1P9      CANADA
    BLM ROSAMOND A CALIFORNIA LIMITED
    PARTNERSHIP                                                                  16400 PACIFIC COAST HWY 207                                                                                HUNTINGTON BEACH        CA             92649
    BLOHM TROY J                                                                 ADDRESS ON FILE
    BLOOM FINANCIAL LLC                                                          333 LAS OLAS WAY CU 3                   STE 312                                                            FT LAUDERDALE           FL             33301
    BLOOM LENDING                                                                180 N STETSON AVE                       3500                                                               CHICAGO                 IL             60601-6769
    BLOOMINGDALES                                                                PO BOX 78008                                                                                               PHOENIX                 AZ             85062
    BLS FINANCE LLC                                                              15720 BRIXHAM HILL AVE                  STE 300                                                            CHARLOTTE               NC             28277
    BLT TULSA I LLC                           C O MID AMERICA REALTY INC         10125 S SHERIDAN RD                     STE C                                                              TULSA                   OK             74133
    BLUE ALERT INVESTIGATIONS                                                    PO BOX 2295                                                                                                RONKONKOMA              NY             11779
    BLUE CHIP BROADCASTING                                                       1500 W THIRD AVE                        STE 300                                                            COLUMBUS                OH             43212
    BLUE CHIP LEASING CORPORATION                                                165 DUNCAN MILL RD UNIT 16                                                                                 TORONTO                 ON             M38 3N2      CANADA
    BLUE CRAB REAL ESTATE LLC                                                    419 MONTGOMERY ST                                                                                          SAVANNAH                GA             31401-4211
    BLUE CROSS AND BLUE SHIELD                                                   PO BOX 650615                                                                                              DALLAS                  TX             75265-0615
    BLUE EAGLE INVESTIGATIONS INC                                                6709 W 1119TH ST                        125                                                                OVERLAND PARK           KS             66209
    BLUE GROUP CAPITAL LLC                                                       950 PENINSULA COPORATE CIR              STE 2015                                                           BOCA RATON              FL             33487
    BLUE LINE SECURITY INC                                                       2129 GENERAL BOOTH BLVD                 STE 103 303                                                        VIRGINIA BEACH          VA             23454
    BLUE MARBLE AND SUN LLC                                                      PO BOX 8517                                                                                                NORFOLK                 VA             23503


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                        Name                                    Attention                         Address 1                               Address 2                           Address 3                     City        State       Zip          Country
    BLUE MOUNTAIN LOCK KEY AND SAFE LTD                                           BOX 379                                                                                                 COLLINGWOOD              ON           L9Y 3Z7      CANADA
    BLUE PICKUPS MUSIC PRODUCTIONS LLC           DBA BPM PRODUCTIONS              114 MOORING LN                                                                                          LEXINGTON                SC           29072
    BLUE SKY INSURANCE BROKERS                                                    DIV BLUE SKY FINANCIAL GROUP         218 MAIN ST                                                        STURGEON FALLS           ON           P2B 1P2      CANADA
    BLUE SOLUTIONS CORP                                                           8 JOHNSON ST                                                                                            STATEN ISLAND            NY           10309
    BLUE TITAN HOMES                                                              1610 GREENFIELD CT                                                                                      CHULA VISTA              CA           91913
    BLUEBEAM SOFTWARE INC                                                         766 E COLORADO BLVD                  STE 200                                                            PASADENA                 CA           91101
    BLUEFIELD DAILY TELEGRAPH                                                     928 BLUEFIELD AVE                                                                                       BLUEFIELD                WV           24701
    BLUEHORNET NETWORKS INC                                                       LOCKBOX 88191                        131 S DEARBORN 6TH FL                                              CHICAGO                  IL           60603
    BLUEHUB SOLUTIONS LTD                                                         E INNOVATION CENTRE                  PRIORSLEE                                                          TELFORD                  UK           TF2 9FT
    BLUELINE CAPITAL GROUP                                                        1315 AVE J                                                                                              BROOKLYN                 NY           11230
    BLUEMONT PARTNERS LLC                                                         555 POYNTZ AVE                       STE 255                                                            MANHATTAN                KS           66502

    BLUESHIELD SECURITY AND INVESTIGATIONS LLC                                    493 BLACKWELL RD STE 360                                                                                WARRENTON                VA           20186
    BLUESNAP INC                                                                  800 S ST                             STE 640                                                            WALTHAM                  MA           02453
                                                 DBA BLUESTONE AND HOCKLEY REAL
    BLUESTONE AND HOCKLEY REALTY INC             ESTATE SVC                       9320 SW BARBUR BLVD STE 300                                                                             PORTLAND                 OR           97219
    BLUETIE INC                                                                   140 ALLENS CREEK STE 270                                                                                ROCHESTER                NY           14618
    BLUEVINE CAPITAL INC                                                          401 WARREN ST                        STE 300                                                            REDWOOD CITY             CA           94063
    BLUPRINT ADVANCED LTD                                                         5 3415 17TH AVE SE                                                                                      CALGARY                  AB           T2A 0R3      CANADA
    BLUSKY RESTORATION CONTRACTORS LLC                                            9110 E NICHOLS AVE                   STE 180                                                            CENTENNIAL               CO           80112
    BMO                                                                           CHRISTIAN CANCELLI                   100 KING ST W 18TH FL                                              TORONTO                  ON           M5X 1A1      CANADA
    BMO MASTERCARD                                                                PO BOX 6044                          STATION CENTRE VILLE                                               MONTREAL                 QUEBEC       H3C 3X2      CANADA
    BMP RADIO                                                                     912 S CAPITAL OF TEXAS HWY           STE 400                                                            AUSTIN                   TX           78746
    BOARD OF EQUALIZATION                                                         PO BOX 942879                                                                                           SACRAMENTO               CA           94279-8015
    BOARDVIEW ADVERTISING INC                                                     14 TRESILLIAN RD                                                                                        TORONTO                  ON           M3H 1L6      CANADA
    BOB CASTLE ALL TRADES                                                         3233 29TH AVE S                                                                                         MINNEAPOLIS              MN           55406
    BOB EVANS FARMS INC                                                           3776 S HIGH ST                                                                                          COLUMBUS                 OH           43297
    BOB MARSHALL                                                                  ADDRESS ON FILE
    BOBBITT SIGNS INC                                                             2232 ROCKY FORD RD                                                                                      KITTRELL                 NC           27544
    BODO PI                                                                       PO BOX 32821                                                                                            LAUGHLIN                 NV           89028-2821
    BODYFELT MOUNT LLP                                                            707 SW WASHINGTON ST STE 1100                                                                           PORTLAND                 OR           97205
    BOEFLY LLC                                                                    50 W 72ND ST                         STE C4                                                             NEW YORK                 NY           10023
    BOISE CASCADE OFFICE PRODUCTS                                                 PO BOX 101705                                                                                           ATLANTA                  GA           30392-1705
    BOLANZ AND MILLER REALTORS INC                                                2626 MYRTLE SPRINGS AVE 100                                                                             DALLAS                   TX           75220
    BOLD GOLD MEDIA                                                               575 GROVE ST                                                                                            HONESDALE                PA           18431
    BOLD SIGN RENTALS LTD                                                         9508 HORTON RD SW                                                                                       CALGARY                  AB           T2V2X4       CANADA
    BOLD SOFTWARE LLC                                                             1938 N WOODLAWN STE 410                                                                                 WICHITA                  KS           67208
    BOLTER AND CARR INVESTIGATIONS INC                                            PO BOX 8965                                                                                             TAMPA                    FL           33674-8965
    BOMBET AND ASSOCIATES                                                         2133 KRISMA ST                                                                                          METAIRIE                 LA           70001
    BOMBET CASHIO AND ASSOCIATES                                                  11220 N HARRELLS FERRY RD                                                                               BATON ROUGE              LA           70816
    BOMBET CASHIO AND VARA                                                        5020 TRENTON ST                                                                                         METAIRIE                 LA           70006
    BON ACCORD HOLDINGS LTD                                                       107 300 BRUNSWICK ST                                                                                    PRINCE GEORGE            BC           V2L 2B5      CANADA
    BONAFIDE WORLDWIDE LLC                                                        1701 S 1ST AVE                       STE 514                                                            MAYWOOD                  IL           60153
    BOND PARADE FLOATS                                                            111 CLIFTON BLVD                                                                                        CLIFTON                  NJ           07011
    BONFIRELA PRODUCTIONS                                                         49247 SALT RIVER ST                                                                                     INDIO                    CA           92201
    BONILLA MANAGEMENT FACES LLC                                                  446 KINGSTON AVE                     STE C8                                                             BROOKLYN                 NY           11225
    BONNEVILLE INTERMOUNTAIN RADIO GROUP                                          750 W RIDGEVIEW DR                                                                                      ST GEORGE                UT           84770
    BONNEVILLE INTERNATIONAL INC KFTZ                                             PO BOX 699                                                                                              BLACKFOOT                ID           83221
    BONNIE BOYD AND COMPANY                                                       832 BARONNE ST                                                                                          NEW ORLEANS              LA           70113
    BONNIE J BUCKLEY RPR CRR                                                      445 BROADWAY RM 408                                                                                     ALBANY                   NY           12207
    BONSAI MEDIA                                                                  3 7195 TRANMERE DR                                                                                      MISSISSAUGA              ON           L5S 1N4      CANADA
    BONSOO WINTER CARNIVAL                                                        424 C PIM ST                                                                                            SAULT STE MARIE          ON           P6B 2V1      CANADA
    BOONE COUNTY FISCAL COURT                                                     PO BOX 457                                                                                              FLORENCE                 KY           41022-0457
    BOONE SAM                                                                     ADDRESS ON FILE
    BOOST BUSINESS FUNDING LLC                                                    350 SONWIL DR                                                                                           BUFFALO                  NY           14225
    BOOTH STEPHANIE                                                               ADDRESS ON FILE
    BOOZER SHANE                                                                  ADDRESS ON FILE
    BORDEN SHARON                                                                 ADDRESS ON FILE
    BOROUGH OF BELLEVUE                                                           JORDAN TAX SERVICE INC
    BOROUGH OF NAUGATUCK PPT                                                      TAC COLLECTOR                        229 CHRUCH ST                                                      NAUGATUCK                CT           06770
    BOROUGH OF OXFORD                                                             401 MARKET ST                        PO BOX 380                                                         OXFORD                   PA           19363
    BOROWIDE PROCESS SERVICE                                                      2744 HYLAN BLVD STE 522                                                                                 STATEN ISLAND            NY           10306
    BORTHAYRE ALAIN                                                               2801 DOVER FARM RD                                                                                      RALEIGH                  NC           27606
    BORTHAYRE BLAIRE                                                              2801 DOVER FARM RD                                                                                      RALEIGH                  NC           27606
    BOSHK AGUONIA SMITH                                                           GENERAL DELIVERY BEAR ISLAND                                                                            BEAR ISLAND              ON           P0H 1C0      CANADA
    BOTANICUS INC                                                                 523 FILLMORE AVE                                                                                        TONAWANDA                NY           14150
    BOUNCE HOUSE LONDON                                                           134 ROSAMOND                                                                                            LONDON                   ON           N6E 2M9      CANADA
    BOURBON VIEUX                                                                 ADDRESS ON FILE
    BOWDITCH FORD                                                                 11076 WARWICK BLVD                                                                                      NEWPORT NEWS             VA           23601
    BOWENARO HANDYMAN SERVICES LLC                                                22098 FM 1954                                                                                           HOLLIDAY                 TX           76366
    BOWLESRICEMCDAVIDGRAFF AND LOVE LLP                                           PO BOX 1386                                                                                             CHARLESTON               WV           25325-1386
    BOWMAN CURVE I AND II LLC                    ATTN CASHIER                     903 N 47TH ST                                                                                           ROGERS                   AR           72756
    BOX AMERICA INC                                                               44F BULLSBORO DR                                                                                        NEWNAN                   GA           30263
    BOXX TECHNOLOGIES INC                                                         10435 BURNET RD                      STE 120                                                            AUSTIN                   TX           78758
    BOYD CHERON                                                                   ADDRESS ON FILE
    BOYD TRACY                                                                    ADDRESS ON FILE
    BOYER CATHERINE LEE                                                           ADDRESS ON FILE
    BOYKIN ENTERPRISES                                                            PO BOX 2141                                                                                             ABILENE                  TX           79604
    BP COMMERCIAL FUNDING TRUST SERIES SPL X                                      75 ROCKEFELLER PLZ                                                                                      NEW YORK                 NY           10019
    BPU                                                                           PO BOX 219661                                                                                           KANSAS CITY              KS           64121
    BRACKEN JAMES P                                                               ADDRESS ON FILE
    BRAD DUBNER                                                                   ADDRESS ON FILE
    BRADFORD JONES DBA IDEAL MERCHANT
    SOLUTIONS                                                                     9496 E MAIN ST                                                                                          HOUMA                    LA           70363
    BRADLEY ARANT BOULT CUMMINGS LLP                                              PO BOX 830709                                                                                           BIRMINGHAM               AL           35283-0709
    BRADLEY COMMUNICATIONS CORP                                                   390 REED RD                                                                                             BROOMALL                 PA           19008
    BRADLEY JACOB DAYAN LIVING TRUST                                              3300 NE 188TH ST APT 455                                                                                AVENTURA                 FL           33180-3373
    BRADLEY MORRIS LLC DBA CIVILIANJOBSCOM                                        1825 BARRETT LAKES BLVD STE 300                                                                         KENESAW                  GA           30144
    BRADLEY NEWS WEEKLY THE                                                       149 INMAN ST SE                      PO BOX 4602                                                        CLEVELAND                TN           37320


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    BRAFTON INC                                                                 1 WINTHROP SQUARE                      STE 500                                                            BOSTON                   MA           02110
    BRAFTON INCORPORATED                                                        2 OLIVER ST LOBBY 2                                                                                       BOSTON                   MA           02109-4914
    BRAGG SHOPS PLAZA LLC                   C O BELL MANLEY REAL ESTATE LLC     PO BOX 249                                                                                                SOUTHERN PINES           NC           28388
    BRAIN BARRINGER                         DBS BARRINGER IPM                   1111 E ST                                                                                                 TRACY                    CA           95376
    BRAINSTORM CONSULTING INC                                                   640 GARFIELD ST                                                                                           OCEANSIDE                CA           92054
    BRAMPTON AND MISSISSAUGA LOCK SERVICES                                      16 MAIDSTONE CRES                                                                                         BRAMPTON                 ON           L6S 2Z5      CANADA
    BRAMPTON BATTALION                                                          7575 KENNEDY RD S                                                                                         BRAMPTON                 ON           L6W 4T2      CANADA
    BRANCH MANAGEMENT GROUP                                                     1835 NEWPORT BLVD                      STE A109 313                                                       COSTA MESA               CA           92627
    BRANCHE INDUSTRIES INC                                                      PO BOX 62584                                                                                              VIRGINIA BEACH           VA           23466
    BRAND MY STUFF                                                              7755 ECKERT RD                                                                                            SAN ANTONIO              TX           78240
    BRANDAU MARK                                                                ADDRESS ON FILE
    BRANDEX ENTERPRISES LTD                                                     208 INKSTER GARDEN DR                                                                                     WINNIPEG                 MB           R2R 1T5      CANADA
    BRANDMUSCLE INC                                                             PO BOX 734379                                                                                             CHICAGO                  IL           60673-4379
    BRANDON BRELAND                                                             ADDRESS ON FILE
    BRANDON BRITT                                                               ADDRESS ON FILE
    BRANDON BUSINESS INTERIORS                                                  1525 PACIFIC AVE                                                                                          BRANDON                  MANITOBA     R7A 0J4      CANADA
    BRANDON CHABNER                                                             ADDRESS ON FILE
    BRANDON JACKSON DBA BLUE OWL MANAGEMENT
    SOLUTIONS INC                                                               4700 MILLENIA BLVD                     STE 175                                                            ORLANDO                  FL           32839
    BRANDON SHOPPING CENTER PARTNERS LTD    DBA WESTFIELD BRANDON               PO BOX 532615                          REFERENCE BRA15115                                                 ATLANTA                  GA           30353-2615
    BRANDWEEK                                                                   770 BROADWAY 7TH FL                                                                                       NEW YORK                 NY           10003
    BRANDXADS INC                                                               60 RAILROAD PL                         STE 203                                                            SARATOGA SPRINGS         NY           12866
    BRANDYN HURT                                                                ADDRESS ON FILE
    BRANFORD JR B HOCKEY CLUB                                                   169 POWELINE RD                                                                                           BRANFORD                 ON           N3T 5L3      CANADA
    BRANT NEWS                                                                  PO BOX 300                                                                                                HAMILTON                 ON           L8N 3G3      CANADA
    BRAYSIDE INVESTMENTS                                                        546 QUEENS AVE                                                                                            LONDON                   ON           N6B 1Y8      CANADA
    BREEN JOE                                                                   ADDRESS ON FILE
    BREEN LORI L                                                                ADDRESS ON FILE

    BREEZE CORPORATION DBA BREEZE NEWSPAPER                                     2510 DEL PRADO BLVD                                                                                       CAPE CORAL               FL           33904
    BREIT OPERATING PARTHERSHIP LP                                              10920 VIA FRONTERA                     STE 220                                                            SAN DIEGO                CA           92127
    BRENDA SPENCER                                                              ADDRESS ON FILE
    BRENDAN EVANS PROPERTY MANAGER             MARY ANN MAK REALTY CORP         1 132 W MAIN ST                                                                                           WELLAND                  ON           L3C 5A2      CANADA
    BRENDAN HOCHSTEIN                                                           ADDRESS ON FILE
    BRENNEMAN STEPHANIE                                                         ADDRESS ON FILE
    BRENONS SOCIAL MEDIA VICTORIA BUZZ                                          7281 CHATWELL DR                                                                  BC                      VICTORIA                              V8M 1M8      CANADA
    BRENT BURGOS                                                                ADDRESS ON FILE
    BRENT DAVIS                                                                 ADDRESS ON FILE
    BRENT W CLAIR                                                               ADDRESS ON FILE
    BRENTWOOD SCREENPRINT INC                                                   7A 11460 VOYAGEUR WAY                                                                                     RICHMOND                 BC           V6X 3E1      CANADA
    BRETMOR HEADWEAR                                                            833 LIBERTY WAY                                                                                           CHESTER                  VA           23836
    BRETT COCA                                                                  ADDRESS ON FILE
    BREWER BROADCASTING                                                         1305 CARTER ST                                                                                            CHATTANOOGA              TN           37402
    BREWER DETECTIVE SERVICE INC               ATTN SUSAN SOMBLE                2555 POPLAR AVE                                                                                           MEMPHIS                  TN           38112
    BRIAN A BENJAMIN                                                            ADDRESS ON FILE
    BRIAN ASHCRAFT                                                              ADDRESS ON FILE
    BRIAN BAUM                                                                  ADDRESS ON FILE
    BRIAN BELTZ                                                                 ADDRESS ON FILE
    BRIAN H WINTERSTEIN DO NOT USE                                              354 MILL STONE RD                                                                                         CHESAPEAKE               VA           23322
    BRIAN HOLMES                                                                ADDRESS ON FILE
    BRIAN J MCLAUGHLIN                                                          ADDRESS ON FILE
    BRIAN J WANCA JD PC                                                         3701 ALGONQUIN RD                      STE 500                                                            ROLLING MEADOWS          IL           60008
    BRIAN KAHN                                                                  ADDRESS ON FILE
    BRIAN KAHN                                                                  ADDRESS ON FILE
    BRIAN MCDONALD                                                              ADDRESS ON FILE
    BRIAN MULLER                                                                ADDRESS ON FILE
    BRICE RICHARDS                                                              ADDRESS ON FILE
    BRICK GENTRY PC                            C O BILLY J MALLORY PC           6701 WESTOWN PKWY 100                                                                                     WEST DESMOINES           IL           50266
    BRIDGEBORN LLC                                                              3113 PACIFIC AVE                                                                                          VIRGINIA BEACH           VA           23451
    BRIDGEBUILDER COMPANY                                                       PO BOX 65908                                                                                              CHARLOTTE                NC           28265-0908
    BRIDGES KENNETH AND ELIZABETH                                               ADDRESS ON FILE
    BRIDGET BRICKLES COUSINEAU                                                  373 MANLY ST                                                                                              MIDLAND                  ON           L4R 3E2      CANADA
    BRIDGET TINDALL                                                             ADDRESS ON FILE
    BRIGHT HOUSE                                                                1655 STATE RD 472 BOX 6001                                                                                DELAND                   FL           32723-6001
    BRIGHT HOUSE NETWORKS                                                       PO BOX 30574                                                                                              TAMPA                    FL           33630-3574
    BRIGHT HOUSE NETWORKS                                                       PO BOX 7195                                                                                               PASADENA                 CA           91109-7195
    BRIGHT MEYERS CLEVELAND ASSOC LP                                            537 MARKET ST                          STE 400                                                            CHATTANOOGA              TN           37402
    BRIGHT MEYERS CLEVELAND ASSOCIATES LP      ATTN KAREN WARD                  537 MARKET ST                          STE 400                                                            CHATTANOGA               TN           37402
    BRIGHTCOVE INC                                                              PO BOX 83318                                                                                              WOBURN                   MA           01813-3318
    BRIMHALL AND RHOTON INVESTMENTS LLC                                         1680 PENNYWEIGHT DR                                                                                       FAIRBANKS                AK           99712
    BRING ME A BOOK                                                             1045 TERRA BELLA AVE                                                                                      MOUNTAIN VIEW            CA           94043
    BRING ME A BOOK FOUNDATION                                                  607 RUBY ST                                                                                               REDONDO BEACH            CA           90277
    BRING ME A BOOK FOUNDATION                 ATTN DALE PETRULIS REG MGR       607 RUBY ST                                                                                               REDONDO BEACH            CA           90277
    BRISTOL BROADCASTING                                                        PO BOX 871                                                                                                CHARLESTON               WV           25323
    BRISTOL BROADCASTING COMPANY INC                                            PO BOX 1389                                                                                               BRISTOL                  VA           24203
    BRISTOL BROADCASTING COMPANY INC                                            PO BOX 2397                                                                                               PADUCAH                  KY           42002
    BRISTOL HERALD COURIER                     ATTN BOBBY H SMITH               320 BOB MORRISON BLVD                                                                                     BRISTOL                  VA           24201
    BRISTOL LOCK AND SAFE                                                       4403 HWY 11W                                                                                              BLOUNTVILLE              TN           37617
    BRISTOL SIGN CO INC                                                         PO BOX 5511                                                                                               BRISTOL                  VA           24203-5511
    BRISTOL SIGN COMPANY WALDEN LLC                                             6870 GATE CITY HWY                     PO BOX 16938                                                       BRISTOL                  VA           24209
    BRISTOL VIRGINIA UTILITIES                                                  PO BOX 8100                                                                                               BRISTOL                  VA           24203-8100
    BRITE SIGNS INC                                                             5608 BURBANK CR SE BAY 6                                                                                  CALGARY                  AB           T2H 1Z6      CANADA
    BRITTEN BANNERS INC                                                         PO BOX 633723                                                                                             CINCINNATI               OH           45263-3723
    BRIXMOR OPERATING PARTNERSHIP LP           BRIXMOR PROPERTY GROUP           1003 HOLCOMB WOODS PKWY                                                                                   ROSWELL                  GA           30076
    BRIXMOR OPERATING PARTNERSHIP LP           DBA BRIXMOR HOLDINGS 1 SPE LLC   PO BOX 533337                          C O BRIXMOR PROPERTY GROUP                                         CHARLOTTE                NC           28290
    BRIXMOR OPERATING PARTNERSHIP LP DO NOT
    USE                                                                         ONE FAYETTE ST STE 150                                                                                    CONSHOHOCKEN             PA           19428
                                               DBA BRE MARNIER SALISBURY
    BRIXMOR OPERATING PARTNERSHIP LP NC13848   MARKETPLACE LLC                  PO BOX 645344                                                                                             CINCINNATI               OH           45264-5344


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                         Name                                 Attention                          Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    BRIXMOR STOCKBRIDGE VILLAGE LLC           C O CENTRO NP HOLDINGS 1 SPE LLC    PO BOX 533337                                                                                           CHARLOTTE               NC           28290
    BRIXMORE OPERATING PARTNERSHIP LP         C O BRIXMORE PROPERTY GROUP         LEASE 1707064PO BOX 533337                                                                              CHARLOTTE               NC           28290
    BROAD CREEK PH I LLC                      C O DIVARIS PROPERTY MGMT CORP      ONE COLUMBUS CTR 700                                                                                    VIRGINIA BEACH          VA           23462
    BROAD STREET COMMUNITY NEWSPAPERS                                             2512 METROPOLITQAN DR                                                                                   TREVOS                  PA           19053
    BROADCAST NEWS CORP INC                                                       15920 ADDISON RD                                                                                        ADDISON                 TX           75001
    BROADCAST RECOVERY INC                                                        PO BOX 11206                                                                                            NORFOLK                 VA           23517
    BROADPOINT TECHNOLOGIES BETHESDA                                              7617 ARLINGTON RD                                                                                       BETHESDA                MD           20814
    BROADPOINT TECHNOLOGIES CHESAPEAKE                                            ONE GREENBRIER POINT                 1403 GREENBRIER PKWY                       STE 525                 CHESAPEAKE              VA           23320
    BROADRIDGE ICS                                                                PO BOX 416423                                                                                           BOSTON                  MA           02241-6423
    BROADRIDGE INVESTOR COMMUNICATION
    SOLUTIONS INC                                                                 51 MERCEDES WAY                                                                                         EDGEWOOD                NY           11717
    BROADWAY ADVANCE LLC                                                          39 BROADWAY                          STE 930                                                            NEW YORK                NY           10006
    BROADWAY CENTER PARTNERSHIP                                                   PO BOX 22013                                                                                            KNOXVILLE               TN           37933-0013
    BROADWAY FLOORING INC                                                         301 E BAXTER AVE                                                                                        KNOXVILLE               TN           37917
    BROADWAY MESSENGER AND COURIER LTD                                            UNIT H 359 JOHNSON AVE                                                                                  WINNIPEG                MB           R2L 0J2      CANADA
    BROADWAY PHOTO STUDIO INC                 DBA ULLOAS PHOTO AND VIDEO CENTER   4260 BROADWAY                                                                                           NEW YORK                NY           10033
    BROADWAY PLACE LLC                                                            176 25 UNION TPKE                    356                                                                FRESH MEADOWS           NY           11366
    BROADWAY WIRELESS STORE                                                       3546 BROADWAY AVE                                                                                       NEW YORK                NY           10031
    BROCK CLAY CALHOUN AND ROGERS LLC                                             49 ATLANTA ST                                                                                           MARIETTA                GA           30060
    BROCKMONT LIMITED PARTNERSHIP                                                 8405 GREENSBORO DR STE 830                                                                              MCLEAN                  VA           22102
    BRODNAX PRINTING COMPANY ILLC             DBA BRODNAX 21C PRINTERS            737 REGAL ROW                                                                                           DALLAS                  TX           75247
    BRODY AND SHEMWELL APC                                                        1350 COLOMBIA ST                     STE 403                                                            SAN DIEGO               CA           92101
    BRODY MCFATE REAL ESTATE                                                      PO BOX 316                                                                                              OIL CITY                PA           16301-0316
    BROGIN INVESTMENTS LLC                                                        120 W GORHAM ST                                                                                         MADISON                 WI           53703
    BROOKE E JANOUSEK                                                             ADDRESS ON FILE
    BROOKHOLLOW ASSOCIATES LLC                                                    616 GUILFORD COLLEGE RD STE B                                                                           GREENSBORO              NC           27409-2041
    BROOKS BULLETIN                                                               BOX 1450                             124 3RD ST W                                                       BROOKS                  AB           T1R 1C3      CANADA
    BROOKS CROSSING SC LTD                                                        PO BOX 600394                                                                                           DALLAS                  TX           75266
    BROOKS CROSSING SHOPPING CENTER LTD                                           3102 MAPLE AVE STE 500                                                                                  DALLAS                  TX           75201
    BROOKS DEKARLO                                                                ADDRESS ON FILE
    BROOKS ELECTRIC COMPANY INC                                                   811 INDUSTRIAL AVE                   STE 102                                                            CHESAPEAKE              VA           23324
    BROOKS MOORESVILLE LLC DO NOT USE                                             6440 WESTFIELD BLVD                  C O VERITAS REALTY                                                 INDIANAPOLIS            IN           46220
    BROOKS RON                                                                    ADDRESS ON FILE
    BROOKS TRANSFER AND STORAGE                                                   14200 JUSTICE RD                                                                                        MIDLOTHIAN              VA           23133
    BROOKSVILLE SQUARE PLAZA LLC                                                  2211 ASHLEY OAKS CIR                                                                                    WESLEY CHAPEL           FL           33544
    BROOKVIEW SHOPPING CENTER LLC                                                 23611 CHAGRIN BLVD                   STE 200                                                            BEACHWOOD               OH           44122
    BROSTROM RICHARD                                                              ADDRESS ON FILE
    BROTHER INTERNATIONAL CORPORATION                                             PO BOX 341332                                                                                           BARTLETT                TN           38184-1332
    BROTHERS LOCK AND SAFE                                                        607 WALL ST                                                                                             WINNIPEG                MANITOBA     R3G 2T5      CANADA
    BROWARD COUNTY TREASURY                                                       ONLINE PAYMENTS
    BROWN DUSTIN                                                                  ADDRESS ON FILE
    BROWN GREG                                                                    ADDRESS ON FILE
    BROWN HAY AND STEPHENS LLP                                                    205 S FIFTH ST                       STE 700                                                            SPRINGFIELD             IL           62701
    BROWN MICHAEL                                                                 ADDRESS ON FILE
    BROWN MITCH                                                                   ADDRESS ON FILE
    BROWN RUDNICK                                                                 ONE FINANCIAL CTR                                                                                       BOSTON                  MA           02111
    BROWN RUDNICK LLP                                                             ONE FINANCIAL CTR                                                                                       BOSTON                  MA           02111
    BROWNING DAVID                                                                ADDRESS ON FILE
    BROWNS PAINT STORE                                                            PO BOX 11731                                                                                            DURHAM                  NC           27703
    BROWSERSTACK INC                                                              4512 LEGACY DR                       STE 100                                                            PLANO                   TX           75024
    BRUCE MANAGEMENT SERVICES INC             C O CHARLES BRUCE                   7570 W 21ST ST N STE                                                                                    WICHITA                 KS           67205
    BRUCE R VANCE CPA CHARTERED                                                   15159 SHERWOOD RD                                                                                       LEAWOOD                 KS           66224
    BRUCE STANSBERRY                                                              ADDRESS ON FILE
    BRUCE THOMPSON                                                                ADDRESS ON FILE
    BRUNO MATT                                                                    ADDRESS ON FILE
    BRUSCHINSKYS JASON                                                            ADDRESS ON FILE
    BRYAN CAVE LLP                                                                1200 MAIN ST                         STE 3500                                                           KANSAS CITY             MO           64105-2100
    BRYANT AND STRATTON COLLEGE                                                   301 CENTRE POINTE DR                                                                                    VIRGINIA BEACH          VA           23464
    BRYANT R RILEY                                                                ADDRESS ON FILE
    BRYANTS CHILD CARE DEVELOPMEN                                                 PO BOX 11125                                                                                            DURHAM                  NC           27703
    BRYCE R HOLLANDER DBA ROSE HOLDINGS LTD                                       60 5TH ST C                                                                                             HIGHLANDS               NJ           07732
    BRYDGE CAPITAL                                                                1050 LINKS RD                                                                                           WOODMERE                NY           11598
    BSD LLC                                                                       6284 RUCKER RD                       STE M                                                              INDIANAPOLIS            IN           46220
    BSP 2300 2310 ACP LLC                                                         243 5TH AVE                          409                                                                NEW YORK                NY           10016
    BSREP UA RIVER CROSSING LLC                                                   158 W 27TH ST                        12TH FL                                                            NEW YORK                NY           10001
    BTB INNOVATIONS                           C O BART T J BARTOS                 332 COUNTY RD JJ                                                                                        RIVER FALLS             WI           54022
    BTES                                                                          PO BOX 549                                                                                              BRISTOL                 TN           37621-0549
    BTH CAPITAL LLC                                                               562 N WICKHAM RD 223                                                                                    MELBOURNE               FL           32935
    BTM MEDICAL PROPERTIES LLC                DBA 2401 W PECAN STREET LLC         1000 N IH 35 STE A                                                                                      ROUND ROCK              TX           78681
    BTTG VA BEACH COMMERICAL                                                      ONE COLUMBUS CTR                     STE 400                                                            VIRGINIA BEACH          VA           23462
    BUCHANAN INGERSOLL AND ROONEY PC                                              ONE OXFORD CENTRE                    301 GRANT ST 20TH FL                                               PITTSBURGH              PA           15219-1410
    BUCHANAN INGERSOLL PC                                                         BANK OF AMERICA TOWER                100 SE 2ND ST 34TH FL                                              MIAMI                   FL           33131
    BUCK MICK                                                                     ADDRESS ON FILE
    BUCKLEY SQUARE                            C O REGENCY CENTERS LP              PO BOX 676481                                                                                           DALLAS                  TX           75267-6481
    BUCKLEYSANDLER LLP                                                            1250 24TH ST NW                      STE 700                                                            WASHINGTON              DC           20037
    BUCKS INC                                 ATTN STACEY                         4973 DODGE ST                                                                                           OMAHA                   NE           61832
    BUDGET BLINDS                                                                 1025 EXECUTIVE BOUELVARD             STE 104                                                            CHESAPEAKE              VA           23320
    BUDGET SELF STORAGE                                                           955 FIRST AVE                                                                                           PRINCE GEORGE           BC           V2L 2Y4      CANADA
    BUENA PARK NISSAN                                                             6501 AUTO CTR DR                                                                                        BUENA PARK              CA           90621
    BUFFALO WATER                                                                 PO BOX 18                                                                                               BUFFALO                 NY           14240-0018
    BUIE MELISA                                                                   4536 HWY 20 E                                                                                           NICEVILLE               FL           32578
    BUILDERS INC                                                                  1081 S GLENDALE                                                                                         WICHITA                 KS           67218
    BUILDING BRIDGES FOR BUSINESS                                                 625 STANWIX ST                                                                                          PITTSBURGH              PA           15222
    BUIST ENTERPRISES                         C O NATIONAL SPEAKERS BUREAU        1663 W 7TH AVE                                                                                          VANCOUVER               BC           V6J 1S4      CANADA
    BULL MARKET CAPITAL CORP                                                      20 BROAD HOLLOW RD                   STE 3011B                                                          MELVLILLE               NY           11747
    BULL PEN SPORTS COLLECTABLES              TIM SPARKS                          5152 EDON HALL LN                                                                                       VIRGINIA BEACH          VA           23464
    BULLSEYE SERVICES                                                             529 US HWY 13 N                                                                                         GALES                   NC           27937
    BUREAU OF FIRE SAFETY                                                         TOWNSHIP OF LOWER                    407 BREAKWATER RD                                                  ERMA                    NJ           08204



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    BUREAU OF REVENUE AND FINANCIAL SERVICES
    OREGON                                                                   111 SW COLUMBIA                        STE 600                                                            PORTLAND                 OR           97201-5840
    BUREAU OF REVENUE AND TAXATION             PROPERTY TAX DIVISION         PO BOX 130                                                                                                GRETNA                   LA           70054-0130
    BUREAU OF WORKERS COMPENSATION                                           CORPORATE PROCESSING DEPARTMENT                                                                           COLUMBUS                 OH           43271-0821
    BURGESS AND NIPLE                                                        184 BUSINESS PARK DR                   STE 125                                                            VIRGINIA BEACH           VA           23462
    BURGESS INVESTIGATIONS                                                   102 BARRETT CIR                                                                                           ANDERSON                 SC           29621
    BURKE COSTANZA AND CARBERRY LLP                                          9191 BROADWAY                                                                                             MERRILLVILLE             IN           46410
    BURKS JOHN                                                               ADDRESS ON FILE
    BURLINGTON LLC                                                           1559 S SEPULVEDA BLVD                                                                                     LOS ANGELES              CA           90025
    BURMASTER BRIAN                                                          2003 SAHLIMAR                                                                                             SALINE                   KS           67401
    BURNHAM REAL ESTATE                                                      4448 CAMINITO FUENTE                                                                                      SAN DIEGO                CA           92116
    BURNS FAMILY TRUST                                                       24910 JOHN FREMONT RD                                                                                     HIDDEN HILLS             CA           91302
    BURRELLES INFORMATION SERVICE                                            75 E NORTHFIELD RD                                                                                        LIVINGSTON               NJ           07039
    BURSON MARSTELLER                                                        ADDRESS ON FILE
    BURTON REALTY CO                                                         7035 FRANKFORD AVE                                                                                        PHILADELPHIA             PA           19135
    BURTRONICS BUSINESS SYSTEMS                                              1980 ORANGETREE LN                     STE 210                                                            REDLANDS                 CA           92374
    BUSCA TUFRANQUICIACOM                                                    PO BOX 832364                                                                                             MIAMI                    FL           33283-2364
    BUSINESS ADVANCE NOW INC DBA BIZ ADVANCE
    NOW INC                                                                  2371 MCDONALD AVE                                                                                         BROOKLYN                 NY           11223
    BUSINESS CAPITAL LLC                                                     36 NE 1ST ST                                                                                              MIAMI                    FL           33132
    BUSINESS CAPITAL MART DBA KA QUITIES LLC                                 3 GOLF CTR                             STE 253                                                            HOFFMAN ESTATES          IL           60195
    BUSINESS CONSULTANTS LLC                                                 PO BOX 43512                                                                                              ATLANTA                  GA           30336
    BUSINESS DEVELOPMENT CENTERS               DBA FRACHISE NATION NETWORK   111 CASS AVE                                                                                              MOUNT CLEMENS            MI           48043
    BUSINESS EXCHANGE CORP                                                   1271 AVE OF THE AMERICAS 43RD BLOOR                                                                       NEW YORK                 NY           10020
    BUSINESS EXPANSION SERVICES GROUP LLC                                    1806 S BROAD ST                                                                                           PHILADELPHIA             PA           19145
    BUSINESS FINANCE DIRECT LLC                                              275 E BIG BEAVER RD                    STE 107                                                            TROY                     MI           48083
    BUSINESS FOR SALE NET                                                    65 E LAWN CT                                                                                              CONVINGTON               GA           30016
    BUSINESS FUNDING GROUP ROBERT W GASKIN                                   1225 JOHNSON FERRY RD                  BUILDING 300                                                       MARIETTA                 GA           30068
    BUSINESS INSIDER INC                                                     150 FIFTH AVE 8TH FL                                                                                      NEW YORK                 NY           10011

    BUSINESS INTERIORS AND MOVING SERVICES LLC                               5636 E VIRGINIA BEACH BLVD                                                                                VIRGINIA BEACH           VA           23502
    BUSINESS LENDING SOLUTIONS INC                                           4 MORGAN HILL CT                                                                                          BLACKWOOD                NJ           08012
    BUSINESS LENDING SOLUTIONS INC DBA
    LENDCRED                                                                 4 MORGAN HILL CT                                                                                          BLACKWOOD                NJ           08012
    BUSINESS OBJECTS AMERICAS                                                CITIBANK NA                            PO BOX 2299                                                        CAROL STREAM             IL           60132-2299
    BUSINESS OPPORTUNITIES HANDBK                                            ENTERPRISE MAGAZINES INC               1020 N BROADWAY STE 111                                            MILWAUKEE                WI           53202
    BUSINESS REGISTRATION DIVISION                                           1010 RICHARDS ST                                                                                          HONOLULU                 HI
    BUSINESS RESOURCE SERVICES INC                                           200 FIRST AVE W STE 301                                                                                   SEATTLE                  WA           98119
    BUSINESS REVIEW                                                          3630 S PLZ TRAIL                                                                                          VIRGINIA BEACH           VA           23452-3310
    BUSINESS TRUST FUND LLC                                                  2409 MAIN ST                           STE 306                                                            MIRAMAR                  FL           33025
    BUSINESS WIRE INC                                                        PO BOX 39000                                                                                              SAN FRANCISCO            CA           94139
    BUSINESSBROKERNET                                                        PO BOX 420035                                                                                             ATLANTA                  GA           30342
    BUSINESSCOM MEDIA INC                                                    251 20TH ST                            2ND FL                                                             OGDEN                    UT           84401
    BUSINESSPLANS INC                                                        432 E PEARL ST                                                                                            MIAMISBURG               OH           45342
    BUSINESSWEEK                                                             PO BOX 819 STN MAIN                                                                                       MARKHAM                  ON           L3P 8L3      CANADA
    BUSINESSWEEK                                                             PO BOX 8419                                                                                               RED OAK                  IA           51591-1419
    BUSY BEE SIGNS AND GRAPHICS                                              800 96TH AVE                                                                                              DAWSON CREEK             BC           V1G 1K7      CANADA
    BUTCH JOHNSONS CHATTANOOGA EYE IN THE SKY
    TR                                                                       3167 REFLECTING DR                                                                                        CHATTANOOGA              TN           37415
    BUTLER DENNISON                                                          ADDRESS ON FILE
    BUTLER INC                                 DBA REAL ESTATE CONSULTANTS   3 COMMERCIAL PLZ                                                                                          ELKTON                   MD           21921
    BUTLER LAWN SERVICE                                                      1000 SANTA MARTA CT                                                                                       VIRGINIA BEACH           VA           23456
    BUTLER PAPER RECYCLING INC                                               PO BOX 1602                                                                                               SUFFOLK                  VA           23439
    BUTLER RUBIN SALTARELLI AND BOYD LLP                                     321 N CLARK ST                         STE 400                                                            CHICAGO                  IL           60654
    BUTSCH ROBERTS AND ASSOCIATES LLC                                        231 S BEMISTON AVE                     STE 260                                                            CLAYTON                  MO           63105
    BUTTERBALL TURKEY GIFT PROGRAM                                           750 PASQUINELLI DR 228                                                                                    WESTMONT                 IL           60559
    BUTTERBAUGH JERRY                                                        ADDRESS ON FILE
    BUTTERCMS LLC                                                            1198 MINERS RUN                                                                                           ROCHESTER                MI           48306
    BUXTON COMPANY                                                           2651 S POLARIS DR                                                                                         FORT WORTH               TX           76137
    BUYERSROAD INC                                                           12677 ALCOSTA BLVD                     STE 250                                                            SAN RAMON                CA           94583
    BVA FIRST TUESDAY LLC                      DBA BIG V PROPERTIES LLC      PO BOX 6288                                                                                               HICKSVILLE               NY           11802
    BVU OPTINET                                                              PO BOX 8100                                                                                               BRISTOL                  VA           24203-8100
    BW TRANSPORTATION SOLUTIONS DBA BW
    CAPITAL SOLUTIONS                                                        9261 IRVINE BLVD                                                                                          IRVINE                   CA           92618
    BWC STATE INSURANCE FUND                   CORPORATE PROCESSING DEPT     PO BOX 710977                                                                                             COLUMBUS                 OH           43271
    BWM GROUP INC                                                            PO BOX 7170 DEPT 68                                                                                       LIBERTYVILLE             IL           60048
    BWRI HOLDING INC                                                         106 704 MARA ST                                                                                           PT EDWARDS               ON           N7V 1X4      CANADA
    BY GEORGE INC                                                            PO BOX 772                                                                                                VIRGINIA BEACH           VA           23451
    BYELAS AND NEIGHER                                                       1804 POST RD E                                                                                            WESTPORT                 CT           06880-5683
    BYERS AND HARVEY INC                                                     PO BOX 848                                                                                                CLARKSVILLE              TN           37041
    BYLER PLUMBING AND HEATING CO INC                                        924 BEDFORD ST                                                                                            CHESAPEAKE               VA           23322-1626
    BYRD CAPITAL LLC                                                         123 TERRA BELLA BLVD                   STE 1A                                                             COVINGTON                LA           70433
    BYRNE CATHERINE                                                          ADDRESS ON FILE
    BYRNES AND KELLER LLP                                                    1000 SECOND AVE                        38TH FL                                                            SEATTLE                  WA           98104
    BYZLOAN CORP                                                             3550 BUSCHWOOD PARK DR                 STE 100                                                            TAMPA                    FL           33618
    C AND C INVESTIGATIONS AND SECURITY INC                                  59E AUBURN ST STE 103                                                                                     AUBURN                   MA           01501
    C AND C SERVICES OF TAMPA INC                                            PO BOX 47988                                                                                              TAMPA                    FL           33647
    C AND C WEST 130TH STREET LLC                                            270 W 123RD ST                                                                                            NEW YORK                 NY           10027
    C AND E LOCKSMITHS                                                       636 10TH ST                                                                                               BRANDON                  MB           R7A 4G5      CANADA
    C AND G LIMITED LP                                                       PO BOX                                                                                                    CURTISVILLE              PA           15032
    C AND L ENTERPRISES INC                    C O LINDA GOEPPER             20821 BELLEMEADE DR                                                                                       LAWRENCEBURG             IN           47025
    C AND V ENTERPRISES LLC                                                  55 MERRITT BLVD                        STE 115                                                            TRUMBELL                 CT           06611
    C EDWIN WALKER TRUST ACCOUNT                                             411 HAMILTON BLVD                      STE 1710                                                           PEORIA                   IL           61602
    C JAKUBO INVESTMENTS                                                     599 LASALLE BLVD                                                                                          SUDBURY                  ON           P3A1X2       CANADA
    C KENNETH STILL TRUSTEE                                                  PO BOX 511                                                                                                CHATTANOOGA              TN           37401
    C O LARCHE COMMUNICATION                                                 355 CRANSTON ST                        BOX 609                                                            MIDLAND                  ON           L4R 4L3      CANADA
    C SUITE HOLDINGS LLC                                                     4912 S TECHNOPOLIS DR                                                                                     SIOUX FALLS              SD           57106
    C WILLIARD NORWOOD                                                       ADDRESS ON FILE
    C2 IMAGING DBA ELK GROVE GRAPHICS          VOMELA COMMERICAL GROUP       PO BOX 854537                                                                                             MINNEAPOLIS              MN           55485-4537


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    C2CSMARTCOMPLIANCE LLC                                                    110 N ROYAL ST                         STE 525                                                            ALEXANDRIA               VA           22314
    C3 DATA LLC                                 DBA MASSIVE                   4376 FORESTDALE DR 4                                                                                      PARK CITY                UT           84098
    C4B LLC                                                                   871 CORONADO CTR DR                                                                                       ORANGE                   CA           92866
    CA DEPARTMENT OF JUSTICE                    UNCLAIMED PROPERTY            PO BOX 944255                                                                                             SACRAMENTO               CA           94244-2550
    CABALLA CONSULTING LLC DBA BUSINESS
    DEVELOPMENT FFC                                                           36 UNION AVE                                                                                              LITTLE FALLS             NJ           07424
    CABLE MART                                                                PO DRAWER 10470                                                                                           COLLEGE STATION          TX           77842--047
    CABLE95 LLC                                                               1 INTERNATIONAL BLVD                   STE 400                                                            MAHWAH                   NJ           07495
    CABLEREP ADVERTISING NORTH                                                DEPT 1255                                                                                                 DENVER                   CO           80291-1255
    CABLEREP OF HAMPTON ROADS                                                 1341 CROSSWAYS BLVS                    STE 1168                                                           CHESAPEAKE               VA           23326
    CACHE COUNTY ASSESSOR                                                     179 N MAIN                             STE 205                                                            LOGAN                    UT           84321
    CACTUS INVESTIGATION                        ATTN WILLIAM TASH             8485 E MCDONALD DR                     STE 202                                                            SCOTTSDALE               AZ           85250
    CADDELL THOMAS WAYNE                                                      ADDRESS ON FILE
    CADWALADER WICKERSHAM AND TAFT LLP                                        200 LIBERTY ST                                                                                            NEW YORK                 NY           10281
    CAFER JIM                                                                 ADDRESS ON FILE
    CAIN VILLAGE ASSOCIATES                                                   7300 CITY AVE                                                                                             PHILADELPHIA             PA           19151
    CAITLIN CHAMBERS CANCEL DBA SB LOANS                                      5380 CLAIREMONT MESA BLVD              STE 202                                                            SAN DIEGO                CA           92117
    CAK INC                                     DBA AIEA COMMERCIAL CENTER    PO BOX 31000                                                                                              HONOLULU                 HI           96849-5720
    CAL INFO                                                                  316 W SECOND ST                        STE 1102                                                           LOS ANGELES              CA           90012
    CALENDARS                                                                 PO BOX 400                                                                                                SIDNEY                   NY           13838
    CALGARY PCNET                                                             1323 6224 17TH AVE SE                                                                                     CALGARY                  AB           T2A 7X8      CANADA
    CALHOUN PLACE LLC                                                         4200 NORTHSIDE PKWY                    BLDG 10 STE 101                                                    ATLANTA                  GA           30327
    CALIFORNIA BOARD OF EQUILIZATION                                          PO BOX 942879                                                                                             SACRAMENTO               CA           94279-8015
    CALIFORNIA DEPARTMENT OF REVENUE                                          PO BOX 942857                                                                                             SACRAMENTO               CA           94257
    CALIFORNIA DEPARTMENT OF REVENUE            FRANCHISE TAX BOARD           PO BOX 942857                                                                                             SACRAMENTO               CA           94257-0511
    CALIFORNIA DEPT OF TAX AND FEE
    ADMINISTRATION                                                            RETURN PROCESSING BRANCH               PO BOX 942879                                                      SACRAMENTO               CA           94279-6001
    CALIFORNIA FINANCIAL SERVICE PROVIDERS                                    6009 W HIGHLAND DR                                                                                        COEUR DALENE             ID           83814
    CALIFORNIA FRANCHISE TAX BOARD                                            PO BOX 942857                                                                                             SACRAMENTO               CA           94257-0511

    CALIFORNIA HIGH SCHOOL FOOTBALL GAME DAY    C O CAL HIGH FOOTBAL          10369 DEVILLA DR                                                                                          WHITTIER                 CA           90604
    CALIFORNIA SECRETARY OF STATE                                             PO BOX 942870                                                                                             SACRAMENTO               CA           94277-2870
    CALIFORNIA SOCIETY OF CPAS                                                1235 RADIO RD                                                                                             REDWOOD CITY             CA           94065
    CALIFORNIA STATE CONTROLLER                                               10600 WHITE ROCK RD                    STE 141                                                            RANCHO CORDOVA           CA           95670
    CALIFORNIA STATE CONTROLLERS OFFICE         ATTN EFT DESK                 PO BOX 942850                                                                                             SACREMENTO               CA           94250-5873
    CALIFORNIA STATE CONTROLLERS OFFICE         UNCLAIMED PROPERTY DIVISION
    UNCLAIMED                                   ACCOUNTING BUREAU             PO BOX 942850                                                                                             SACRAMENTO               CA           94250-5873
    CALIFORNIA STATE DISBURSEMENT UNIT                                        PO BOX 989067                                                                                             WEST SACRAMENTO          CA           95798
    CALIFORNIA TAX EDUCATIONAL COUNCIL                                        1024 J ST STE 150                                                                                         SACRAMENTO               CA           95814
    CALL CENTER SERVICES INTERNATIONAL LLC                                    809 BOWSPIRIT RD                       STE 204                                                            CHULA VISTA              CA           91914-4527
    CALL TRADER LLC                                                           145 CORTE MADERA TOWN CTR              STE 596                                                            CORTE MADERA             CA           94925
    CALMA CONSULTING INC                                                      980 BURNHAMTHORPE RD E STE 4                                                                              MISSISSAUGA              ON           L4Y 2X6      CANADA
    CALN VILLAGE ASSOCIATES                                                   7300 CITY AVE                                                                                             PHILADELPHIA             PA           19151
    CALUMO INC                                                                5700 GRANITE PKWY                      STE 200                                                            PLANO                    TX           75024
    CALVARY REVIVAL CHUCH                                                     5833 POPLAR HALL DR                                                                                       NORFOLK                  VA           23502
    CALVERT COMMERCIAL REAL ESTATE INC                                        PO BOX 2603                                                                                               PRINCE FREDERICK         MD           20678
    CALVIN ERBY II DBA SMOOTH AND EZ MERCHANT
    FUNDING                                                                   2860 CREEKWOOD LN                                                                                         LAWRENCEVILLE            GA           30044
    CAMA                                                                      PO BOX 930814                                                                                             ATLANTA                  GA           31193-0814
    CAMARILLO BUSINESS ENT INC                  ATTN MICHELLE SUTTON          PO BOX 57345                                                                                              SHERMAN OAKS             CA           91413
    CAMBRIDGE AND NORTH DUMFRIES HYDRO INC                                    PO BOX 1060                                                                                               CAMBRIDGE                ON           N1R 5X6      CANADA
    CAMBRIDGE COUPON CLIPPER                                                  6 79 RANKIN ST                                                                                            WATERLOO                 ON           N2V 1W2      CANADA

    CAMBRIDGE INVESTMENT RESEARCH ADVISORS                                    1776 PLEASANT PLAIN RD                                                                                    FAIRFIELD                IA           52556
    CAMDEN COUNTY TAX COMMISSIONER                                            PO BOX 698                                                                                                WOODBINE                 GA           31569-0698
    CAMDEN PRINTING COMPANY                                                   2402 OSBORNE RD                                                                                           ST MARYS                 GA           31558
    CAMELBACK DISPLAYS INC                                                    1922 WILLOW WISP                                                                                          SPRING                   TX           77388

    CAMERON SIEMENS DBA CAMERONS TECH WORK                                    47 CHAMPAGNE CRESCENT                                                                                     WINNIPEG                 MB           R3V 1N8      CANADA
    CAMILLE TOUCHSTONE                                                        ADDRESS ON FILE
    CAMINO VILLAGE PLAZA                                                      TERRAMAR RETAIL CTR LLC                DEPT 0459                                                          LOS ANGELES              CA           90084-0459
    CAMMIE ENGLISH                                                            70 FAIRVIEW CRES                                                                                          SARINA                   ON           N7S 4C9      CANADA
    CAMP INVESTMENTS LTD                        C O LIBERTY TAX SERVICE       5 3415 17 AVE SE                                                                                          CALGARY                  AB           T2A 0R3      CANADA
    CAMP WASHINGTON REALTY LLC                                                600 VINE ST STE 2800                                                                                      CINCINNATI               OH           45202-2409
    CAMPAIGN MEDIA                                                            888 3RD ST SW                          STE 1000                                                           CALGARY                  AB           T2P 5C5      CANADA
    CAMPAIGN PROCESSING CENTRE                                                229 ST CLAIR ST STE 233                                                                                   CHATHAM                  ON           N7L 3J4      CANADA
    CAMPBELL DONNA                                                            ADDRESS ON FILE
    CAMPBELL MARSHALL D                                                       ADDRESS ON FILE
    CAMPBELL SOLUTIONS LLC                                                    600 SUPERIOR AVE                       STE 1300                                                           CLEVELAND                OH           44114
    CAMPER CLAUDINE S                                                         ADDRESS ON FILE
    CAMPUS WEST SERVICES                                                      PO BOX 2766                                                                                               PRINCE GEORGE            BC           V2N 4T6      CANADA
    CAMROSE AND DISTRICT CHAMBER OF
    COMMERCE                                                                  5402 48 AVE                                                                                               CAMROSE                  AB           T4V 0J7      CANADA
    CAN DO WINDOW CLEANING                                                    42 590 MILL BANK DR                                                                                       LONDON                   ON           N6E 2H2      CANADA
    CANADA CARTRIDGE INC                                                      POSTAL STATION D                       BOX 15                                                             TORONTO                  ON           M6P 3J5      CANADA
    CANADA CHOICE                                                             2413 1ST ST SW                                                                                            CALGARY                  AB           T2S 1P5      CANADA
    CANADA DAMAGE RECOVERY                                                    PO BOX 1943 STN A                                                                                         TORONTO                  ON           M5W 1W9      CANADA
    CANADA LAW BOOK                                                           240 EDWARD ST                                                                                             AURORA                   ON           L4G 3S9      CANADA
    CANADA LAW BOOK                                                           240 EDWARD ST                                                                                             AURORA                   ON           L4G 3SG      CANADA
    CANADA LIGHTING AND SIGN SERVICES                                         2677 PARENT BLVD                                                                                          WINDSOR                  ON           N8X 4K7      CANADA
    CANADA MORTGAGE BRAD AND MICHELLE
    CROMPTON                                                                  406 4100 YONGE ST                                                                                         TORONTO                  ON           M2P 2B5      CANADA
    CANADA POST CORPORATION                                                   2701 RIVERSIDE DR                      PAYMENT PROCESSING                                                 OTTAWA                   ON           K1A 1L7      CANADA
    CANADA REVENUE AGENCY                                                     PO BOX 3800 STN A                                                                                         SUDBURY                  ON           P3A 0C3      CANADA
    CANADA REVENUE AGENCY                                                     PO BOX 3800 STNA                                                                                          SUDBURY                  ON           P3A 03C      CANADA

    CANADIAN CONTROLLED MEDIA COMMUNICATIONS                                  5397 EGLINTON AVE W                    STE 101                                                            TORONTO                  ON           M9C 5K6      CANADA
    CANADIAN FEDERATION OF INDEPENDENT
    BUSINESS                                                                  4141 YONGE ST                          STE 401                                                            TORONTO                  ON           M2P 2A6      CANADA


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    CANADIAN FRANCHISE ASSOCIATION                                         116 5399 EGLINTON AVE W                                                                                 TORONTO                   ON            M9C 5K6      CANADA
    CANADIAN FRANCHISE ASSOCIATION                                         5399 EGLINTON AVE W                  STE 116                                                            TORONTO                   ONTARIO       M9C 5K6      CANADA
    CANADIAN FRANCHISE DIRECTORY               ATTN LISA DOBSON            110 SPADINA AVE STE 808                                                                                 TORONTO                   ON            M5V 2K4      CANADA
    CANADIAN INDUSTRIAL SERVICES                                           PO BOX 772                                                                                              COBOURG                   ONTARIO       K9A 4R5      CANADA
    CANADIAN LINENS AND UNIFORM SERVICE                                    1860 KING EDWARD ST                                                                                     WINNIPEG                  MB            R2R 0N2      CANADA
    CANADIAN NETWORK BROADCASTING                                          DORSET HOUSE STE 120 3025            12 ST NE                                                           CALGARY                   ALBERTA       T2E 7J2      CANADA
    CANADIAN NIAGARA HOTELS                    ATTN ACCOUNTING             5685 FALLS AVE                                                                                          NIAGARA FALLS             ON            L2E 6W7      CANADA
    CANADIAN PHONE DIRECTORIES INC                                         202 145 SCHOOLHOUSE ST                                                                                  COQUITLAM                 BC            V3K 4X8      CANADA
    CANADIAN POLICE ASSOCIATION                                            PO BOX 4819 STN E                                                                                       OTTAWA                    ON            K1S 5H9      CANADA
    CANADIAN SPRINGS WATER COMPANY                                         6560 MCMILLAN WAY                                                                                       RICHMOND                  BC            V6W 1L2      CANADA
    CANADIANA FLOWERS KRD                                                  3087 KINGSTON RD                                                                                        TORONTO                   ON            M1M 1P1      CANADA
    CANADIANFRANCHISESCOM                                                  400119 14TH ST NW                                                                                       CALGARY                   AB            T2N 1Z6      CANADA
    CANARY LLC                                                             673 SAN RAMON VALLEY BLVD                                                                               DANVILLE                  CA            94526
    CANDIDA SANCHEZ                                                        ADDRESS ON FILE
    CANON FINANCIAL SERVICES INACTIVE                                      PO BOX 42937                                                                                            PHILADELPHIA              PA            19101-2937
    CANON FINANCIAL SERVICES INC                                           14904 COLLECTIONS CTR DR                                                                                CHICAGO                   IL            60693-0149
    CANON SOLUTIONS AMERICA INC                                            15004 COLLECTIONS CTR DR                                                                                CHICAGO                   IL            60693-0150
    CANPAGES                                                               200 145 SCHOOLHOUSE ST                                                                                  COQUITLAM                 BC            V3K 4X8      CANADA
    CANSTAR COMMUNITY NEWS LIMITED                                         1355 MOUNTAIN AVE                                                                                       WINNIPEG                  MB            R2X 3B6      CANADA
    CANTU MARLYCIA                                                         PO BOX 573                                                                                              WHITTIER                  NC            28789
    CANYON MEDIA GROUP                                                     PO BOX 910850                                                                                           ST GEORGE                 UT            84791
    CANYON PLAZA LLC                                                       2005 MILDRED ST W                                                                                       FIRCREST                  WA            98466
    CANYON PLAZA LLC DO NOT USE                C O JSH PROPERTIES INC      10655 NE 4TH ST STE 901                                                                                 BELLEVUE                  WA            98004
    CAPBACKING LLC                                                         160 BROADWAY                         14TH FL                                                            NEW YORK                  NY            10038
    CAPCO RISC CONSULTING LLC                                              1221 LAMAR ST                        STE 910                                                            HOUSTON                   TX            77010
    CAPE FEAR PRO HOCKEY LLC                                               220A N MCPHERSON CHURCH RD                                                                              FAYETTEVILLE              NC            28303
    CAPE FEAR PUBLIC UTILITY AUTHORITY                                     PAYMENT CTR                          235 GOVERNMENT CTR DR                                              WILMINGTON                NC            28403-1638
    CAPE GAZETTE                                                           PO BOX 213                                                                                              LEWES                     DE            19958
    CAPE LLC DBA ROUTEONE LLC                                              16902 COLLECTIONS CTR DR                                                                                CHICAGO                   IL            60693
    CAPERSONS INTERNATIONAL BUSINESS
    CONSULTING LLC                             C O CARLOS A PEREZ          712 ASHLEIGH LN                                                                                         SOUTHLAKE                 TX            76092
    CAPFUND ENTERPRISES INC                                                13 PHEASANT RIDGE DR                                                                                    HENDERSON                 NV            89014
    CAPITAL ACCESS INTERNATIONAL LLC                                       13406 CATTAIL CT                                                                                        HUDSON                    FL            34667
    CAPITAL ADVANCE SOLUTIONS LLC                                          1715 STATE ROUTE 35                  STE 302                                                            MIDDLETOWN                NJ            07748
    CAPITAL ASSESSMENT GROUP INC                                           15322 SW 177 TERRACE                                                                                    MIAMI                     FL            33187
    CAPITAL CITY GYMNASTICS CLUB                                           8278 175 ST                                                                                             EDMONTON                  AB            T5T 1V1      CANADA
    CAPITAL DISTRICT SENIORSPOTLIGHT                                       PO BOX 100                                                                                              DELMAR                    NY            12054
    CAPITAL EXPERTS LLC                                                    87 CHURCH ST 3119C                                                                                      HARTFORD                  CT            06108
    CAPITAL GROUP RPS                                                      PO BOX 659530                                                                                           SAN ANTONIO               TX            78265-9530
    CAPITAL INFUSION LLC                                                   16192 COSTAL HWY                                                                                        LEWES                     DE            19958
    CAPITAL INTELLECT INC                      DBA BEFRUGALCOM             727 ATLANTIC AVE                     FL 2                                                               BOSTON                    MA            02111
    CAPITAL LOAN CONSULTANTS LLC                                           3753 MISSION AVE                     STE 111                                                            OCEANSIDE                 CA            92058
    CAPITAL PRINTING AND FORMS                                             107 7710 5TH ST SE                                                                                      CALGARY                   AB            T2H 2L9      CANADA
    CAPITAL PROCESS SERVICE TOM CASSISA                                    5916 S SHORE DR                                                                                         BATON ROUGE               LA            70817
    CAPITAL SENSE FUNDING LLC                                              6650 BROWNING RD                     STE M 22A                                                          PENNSAUKEN                NJ            08109
    CAPITAL SOURCE GROUP LLC                                               250 W HURON RD                       STE 203                                                            CLEVELAND                 OH            44113
    CAPITAL STACK LLC                                                      11 BROADWAY                          STE 814                                                            NEW YORK                  NY            10004
    CAPITOL CORPORATE SERVICES INC                                         PO BOX 1831                                                                                             AUSTIN                    TX            78767
    CAPITOL CREDIT GROUP LLC DBA CLARENCE
    ADAMS CLIVE MELBOURNE                                                  4393 KEVIN WALKER DR 162                                                                                MONTCLAIR                 VA
    CAPITOL PROCESS SERVICES INC                                           1827 18TH ST NW                                                                                         WASHINGTON                DC            20009
    CAPITOL SQUARE LTD                         C O OHIO EQUITIES           605 S FRONT ST STE 200                                                                                  COLUMBUS                  OH            43227
    CAPLIN AND DRYSDALE CHARTERED                                          1 THOMAS CIR NW                      STE 1100                                                           WASHINGTON                DC            20005
    CAPLIN AND DRYSDALE CHARTERED              ATTN ACCOUNTS RECEIVABLE    1 THOMAS CIR NW STE 1100                                                                                WASHINGTON                DC            20005
    CAPRI STEAK AND PIZZA HOUSE                                            1704 EDMONTON TRAIL NE                                                                                  CALGARY                   AB            T2E 8R4      CANADA
    CAPSTAR TX LIMITED PARTNERSHIP CLEAR
    CHANNEL GROUP                                                          7413 OLD LEE HWY                                                                                        CHATTANOOGA               TN            37421
    CAPTAIN CAPITAL GROUP LLC                                              1975 E 8TH ST                                                                                           BROOKLYN                  NY            11223
    CAPTAINS GALLEY                                                        8166 SHORE DR STE C                                                                                     NORFOLK                   VA            23518
    CAPTARE TRAINING                           ATTN BILLING                566 W ADAMS ST STE 350                                                                                  CHICAGO                   IL            60661
    CAPTURED TECHNOLOGIES                                                  506 S SPRING ST                      13308 SMB 30798                                                    LOS ANGELES               CA            90013
    CARANNANTE LLC                                                         871 STATE HWY 33                                                                                        HAMILTON                  NJ            08619
    CARD SERVICES                                                          PO BOX 60517                                                                                            CITY OF INDUSTRY          CA            91716
    CARDER JAMES C                                                         ADDRESS ON FILE
    CARDINAL COACH LINES LIMITED                                           732 41 AVE NE                                                                                           CALGARY                   AB            T2E 3P9      CANADA
    CARDINAL COMMUNICATION LTD                                             18315 107 AVE                                                                                           EDMONTON                  ALBERTA       T5S 1K4      CANADA
    CARDINAL PROPERTY MANAGEMENT LLC                                       1915 HUGUENOT RD                     STE 304                                                            NORTH CHESTERFIELD        VA            23235
    CARDINAL SIGN CORPORATION                                              2629 DEAN DR                         INDUSTRIAL PARK                                                    VIRGINIA BEACH            VA            23452
    CARDINAL SIGNS LTD                                                     335 PARK AVE E                                                                                          BRANDON                   MANITOBA      R7A 7A4      CANADA
    CARDLYTICS INC                                                         DEPT AT 952960                                                                                          ATLANTA                   GA            31192-2960
    CARDMEMBER SERVICE                                                     PO BOX 790408                                                                                           ST LOUIS                  MO            63179
    CARDWELL SIGN COMPANY                                                  28 CURRIE ST                         UNIT 2F                                                            BARRIE                    ONTARIO       L4M 5N4      CANADA
    CAREER CONCEPTS USA                                                    188 S NW HWY STE 302A                                                                                   CARY                      IL            60013
    CAREER MANAGEMENT CENTER                                               OLD DOMINION UNIVERSITY              2202 WEBB CTR N                                                    NORFOLK                   VA            23529-0524

    CAREER SERVICES NORFOLK STATE UNIVERSITY                               700 PARK AVE                         MILLS GODWIN STUDENT CTR                   STE 360                 NORFOLK                   VA            23504
    CAREERBUILDER                                                          13047 COLLECTION CTR DR                                                                                 CHICAGO                   IL            60693
    CAREERBUILDER LLC                                                      13047 COLLECTION CTR DR                                                                                 CHICAGO                   IL            60693-0130
    CAREINGTONMDLLC                            DBA DIALCARELLC             7400 GAYLORD PKWY                                                                                       FRISCO                    TX            75034
    CAREY VIP AND CELEBRITY LIMOSINE                                       3141 AZALEA GARDEN RD                                                                                   NORFOLK                   VA            23513
    CARL CURRY                                                             ADDRESS ON FILE
    CARL E LEVI TRUSTEE                                                    ADDRESS ON FILE
    CARL VOLLBRECHT                                                        ADDRESS ON FILE
    CARLIE CARTER                                                          ADDRESS ON FILE
    CARLOS A GALLEGOS                                                      ADDRESS ON FILE
    CARLOS FELIPE GRANADOS                                                 ADDRESS ON FILE
    CARLOS WILKEY                                                          ADDRESS ON FILE
    CARLSTON MARKETING GROUP                                               3474 SEABREEZE WALK                                                                                     OCEANSIDE                 CA            92056
    CARLTON E SEAY RENT ACCOUNT                                            220 GREAT NECK RD                                                                                       VIRGINIA BEACH            VA            23454


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                       Name                                    Attention                          Address 1                                 Address 2                           Address 3                    City        State       Zip          Country
    CARLTON SELL LLC                                                               4425 BAYARD ST                        STE 210                                                            SAN DIEGO               CA           92109
    CARMA D MATHIS                                                                 ADDRESS ON FILE
    CARMEL SOLUTIONS LLC                                                           969 KEYSTONE WAY                      STE 120                                                            CARMEL                  IN           46032
    CARMEN CRUTCHER DBA TOLIVER AND BANCROFT
    LLC                                                                            31693 EIGHT MILE RD                   STE 125                                                            LIVONIA                 MI           48152
    CARMINE CARRETTO                                                               ADDRESS ON FILE
    CAROL D SETSER                                                                 ADDRESS ON FILE
    CAROL L NAUGHTON                                                               ADDRESS ON FILE
    CAROLINA DUNES REAL ESTATE                                                     516 US HWY 64                                                                                            MANTEO                  NC           27954
    CAROLINA MONEY SAVER                                                           1609 AIRPORT RD                                                                                          MONROE                  NC           28110-7393
    CAROLINA PROPERTY RENTAL LLC                                                   280 PINEHURST AVE STE 4                                                                                  SOUTHERN PINES          NC           28387
    CAROLINA TRAILWAYS                                                             ADDRESS ON FILE
    CAROLINO GIL                                                                   ADDRESS ON FILE
    CAROLYN LCAMARDO TRUSTEE                                                       258 N WITCHDUCK RD STE C                                                                                 VIRGINIA BEACH          VA           23462
    CARON INC                                                                      3208 ROSSVILLE BLVD                                                                                      CHATTANOOGA             TN           37407
                                               DBA MR HANDYMAN OF SOUTHEAST LAKE
    CAROSULL INC                               NORMAN                              712 HANNA WOODS                                                                                          CRAMERTON               NC           28032
    CARPE DIEM                                                                     1383 ERNEST AVE                                                                                          LONDON                  ON           N6E 2B5      CANADA
    CARPENTER STELLA                                                               8728 RESERVIOR RD                                                                                        ROANOKE                 VA           24019
    CARPET CONTRACTORS                                                             542 RIVERIA DR                                                                                           JOPPA                   MD           21065
    CARPET CONTRACTS INC                                                           1838 FAIRPORT RD                                                                                         PICKERING               ONTARIO      L1V 1T3      CANADA
    CARPET CREATIONS FLOOR AND WALL DESIGN                                         150 N WALSH DR                                                                                           CASPER                  WY           82609
    CARR MALONEY PC                                                                2020 K ST NW                          STE 850                                                            WASHINGTON              DC           20006
    CARRIAGES ETC PARADE                                                           2718 CLAY ST                                                                                             HOUSTON                 TX           77003
    CARRIE L CUTTER                                                                ADDRESS ON FILE
    CARRIE S BAREIS                                                                ADDRESS ON FILE
    CARROLL COUNTY TAX COMMISSIONER            JEAN MATTHEWS                       423 COLLEGE ST RM 401                                                                                    CARROLLTON              GA           30117-3142
    CARROLL EMC                                                                    155 N HWY 113                                                                                            CARROLLTON              GA           30117-7501
    CARROLLS MOVING AND STORAGE CO INC                                             4245 SAN CARLOS DR                                                                                       MACON                   GA           31206
    CARROLLWOD PARTNERS                        C O IDEAL MANAGEMENT                12602 SW 88TH ST                                                                                         MIAMI                   FL           33186
    CARSCALLEN LLP                                                                 1500 407 2ND ST SW                                                                                       CALGARY                 AB           T2P 2Y3      CANADA
    CARSON ATTORNEY SERVICES                                                       2158 N MAIN ST STE E                                                                                     WALNUT CREEK            CA           94596-3708
    CARSON CITY NEVADA                                                             CITY HALL 201 N CARSON ST                                                                                CARSON CITY             NV           89701
    CARSON J WOODS                                                                 ADDRESS ON FILE
    CARSON NORMANDIE PLAZA LLC                                                     9550 FIRESTONE BLVD                   STE 105                                                            DOWNEY                  CA           90241
    CARSON NORMANDIE PLAZA LLC                                                     9550 FIRESTONE BLVD STE 105                                                                              DOWNEY                  CA           90241-5560
    CARSON PHILLIP                                                                 ADDRESS ON FILE
    CARSON PROPERTIES                                                              ADDRESS ON FILE
    CARSON ROBERT AND SUSAN                                                        ADDRESS ON FILE
    CARSWELL                                                                       PO BOX 1991                           STATION B                                                          TORONTO                 ON           M5T 3G1      CANADA
    CARTER BROADCAST GROUP INC                 DBA KPRS FM RADIO                   11131 COLORADO AVE                                                                                       KANSAS CITY             MO           64134
    CARTER BROADCASTING GROUP INC                                                  11131 ANDREW SKIP CARTER AVE                                                                             KANSAS CITY             MO           64137
    CARTER CONBOY CASE BLACKMORE MALONEY
    AND LAIRD PC                                                                   20 CORPORATE WOODS BLVD                                                                                  ALBANY                  NY           12211-2362
    CARTER DISTRIBUTION                                                            1475 MECASLIN ST NW                   STE 7114                                                           ATLANTA                 GA           30309
    CARTER LEDYARD AND MILBURN LLP                                                 2 WALL ST                                                                                                NEW YORK                NY           10005-2072
    CARTRIDGE SPECIALTIES                                                          R 142 COMMERCE PARK DR                                                                                   BARRIE                  ON           L4N 8W8      CANADA
    CARTRIDGE WORLD                                                                PO BOX 41011                          RPO MARKHAM                                                        WINNIPEG                MB           R3T 5T1      CANADA
    CASCADE NATURAL GAS                                                            PO BOX 990065                                                                                            BOISE                   ID           83799-0065
    CASCADE OLYMPIC CORP                                                           TACOMA MALL OFFICE BLDG               4301 S PINE ST STE 30                                              TACOMA                  WA           98409
    CASCADE TRANSIT ADVERTISING                                                    2219 YEW ST RD                                                                                           BELLINGTON              MA           98226
    CASEY KUJAWSKI                                                                 ADDRESS ON FILE
    CASEY R CONNER                                                                 ADDRESS ON FILE
    CASH CENTRAL                                                                   6785 BOBCAT WAY                       UNIT 200                                                           DUBLIN                  OH           43016

    CASH MONEY CHEQUE CASHING INC EDMONTON                                         7460 82 AVE                                                                                              EDMONTON                AB           T6B 0G2      CANADA
    CASH MONEY CHEQUE CASHING INC WHITBY                                           1549 DUNDAS ST E                                                                                         WHITBY                  ON           L1N 2K6      CANADA
    CASH4RENT                                                                      ONE CITY BLVD W                       STE 900                                                            ORANGE                  CA           92868
    CASHCALL INC                                                                   ONE CITY BLVD W                       STE 1900                                                           ORANGE                  CA           92868
    CASHEW AND CLIVE CATERING CORPORATION                                          147 CITATION DR UNIT 30                                                                                  CONCORD                 ON           L4K 2P8      CANADA
    CASHFLOWMERCHANTCOM INC                                                        615 GRISWOLD ST                       STE 915                                                            DETROIT                 MI           48226
    CASINO CONNECTION INTERNATIONAL                                                6625 S VALLEYVIEW BLVD 422                                                                               LAS VEGAS               NV           89118
    CASON AARON                                                                    ADDRESS ON FILE

    CASPER WESTERN REAL ESTATE LLC DO NOT USE C O MC COMMERCIAL REAL ESTATE        4155 E JEWELL AVE STE 607                                                                                DENVER                  CO           80222
    CASTANET MEDIA LTD                                                             202 346 LAWRENCE AVE                                                                                     KELOWNA                 BC           V1Y 6L4      CANADA
    CASTILLO AND SCHULER                                                           ADDRESS ON FILE
    CASTLE HILL NY LLC                                                             112 01 QUEENS BLVD 23G                                                                                   FOREST HILLS            NY           11375
    CASTLEBERRY COMMUNICATIONS                                                     PO BOX 6921                                                                                              VIRGINIA BEACH          VA           23456
    CASTLEROCK II LP                                                               1855 OLYMPIC BLVD                     STE 300                                                            WALNUT CREEK            CA           94596
    CASTRA CONSULTING LLC                                                          PO BOX 52723                                                                                             DURHAM                  NC           27717
    CATALYST GLOBAL LLC                                                            99 MADISON AVE 5TH FL                                                                                    NEW YORK                NY           10016
    CATALYST INTELLIGENCE INC                                                      1055 W 7TH ST 33RD FL                                                                                    LOS ANGELES             CA           90017
    CATERING CONCEPTS                                                              604 D JACK RABBIT RD                                                                                     VIRGINIA BEACH          VA           23451
    CATHERINE M SCHWARZ TRUST                                                      603 SEAGAZE DR                        781                                                                OCEANSIDE               CA           92054
    CATHERINE MARRIN                                                               ADDRESS ON FILE
    CATHERINE MICHOS                                                               ADDRESS ON FILE
    CATHERINE MINNETTE CLEPPER                                                     ADDRESS ON FILE
    CATHY ANDERSON                                                                 ADDRESS ON FILE
    CATHY RONG PENG                                                                ADDRESS ON FILE
    CAUTION FIRE PREVENTION LLC                                                    63 MCLEAN AVE                                                                                            YONKERS                 NY           10705
    CAVALIER MANOR SHOPS LLC                                                       649 NEWTOWN RD 109                                                                                       VIRGINIA BEACH          VA           23462
    CAVALIER PATIO AND LANDSCAPE                                                   473 INGRAM RD                                                                                            VIRGINIA BEACH          VA           23452
    CAVALIER TELEPHONE                                                             PO BOX 37284                                                                                             BALTIMORE               MD           21297-3284
    CAWTHON HOLLUMS PROPERTIES INC                                                 965 VIRGINIA AVE                                                                                         HAPEVILLE               GA           30354
    CAYLA SOUVANNA                                                                 ADDRESS ON FILE
    CAYLA SOUVANNA                                                                 ADDRESS ON FILE
    CB RICHARD ELLIS OF VA INC                C O CB RICHARD ELLIS                 150 W MAIN ST STE 1100                                                                                   NORFOLK                 VA           23510
    CBI                                                                            25251 ADELANTO DR                                                                                        LAGUNA NIQUEL           CA           92677


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                        Name                                  Attention                              Address 1                                Address 2                           Address 3                      City        State       Zip          Country
    CBL AND ASSOCIATES                                                               134 ST CLAIR SQUARE                                                                                      FARIVIEW HEIGHTS          IL           62208
    CBL AND ASSOCIATES LIMITED PARTNERSHIP OLD
    HICKORY                                    OLD HICKORY MALL VENTURE II LLC       CBL 0458                              PO BOX 955607                                                      ST LUIS                   MO           63195-5607
    CBL AND ASSOCIATES LIMITED PATNERSHIP                                            NORTHPARK MALL JOPLIN LLC             CBL 0684                                   PO BOX 955607           ST LOUIS                  MO           63195-5607
    CBL AND ASSOCIATES MANAGEMENT                                                    2100 HAMILTON PL BLVD                 STE 100                                                            CHATTANOOGA               TN           37421
    CBL AND ASSOCIATES PROP INC                                                      HAMILTON PL MALL OFFICE               2100 HAMILTON PL BLVD 100                                          CHATTANOOGA               TN           37421
    CBNA                                                                             PO BOX 78024                                                                                             PHOENIX                   AZ           85062
    CBNA HOME DEPOT                                                                  PO BOX 9001010                                                                                           LOUISVILLE                KY           40290
    CBRE LIMITED IN TRUST                                                            3200 DEZIEL DR STE 110                                                                                   WINDSOR                   ONTARIO      N8W 5K8      CANADA
    CBS OUTDOOR CANADA                                                               377 HORNER AVE                                                                                           TORONTO                   ON           M8W 1Z6      CANADA
    CBS RADIO DBA WJHM FM                                                            PO BOX 906011                                                                                            CHARLOTTE                 NC           28290-6011
    CBS RADIO KSFM SACRAMENTO                                                        5244 MADISON AVE                                                                                         SACRAMENTO                CA           95841
    CBS RADIO WMBX                                                                   701 NORTHPOINT PKWY                   STE 500                                                            WEST PALM BEACH           FL           33407
    CBS RADIO WPEG FM                                                                1520 S BLVD                                                                                              CHARLOTTE                 NC           28203
    CBS RADIO WPGC                                                                   BANK ONE LOCKBOX                      PO BOX 905638                                                      CHARLOTTE                 NC           28290-5638
    CBS RADIO WZMX                                                                   10 EXECUTIVE DR                                                                                          FARMINGTON                CT           06032
    CBS REPORTING INC DBA AKA ACRANET CBS
    BRANCH                                                                           521 W MAXWELL AVE                                                                                        SPOKANE                   WA           99201-2417
    CBV COLLECTION SERVICES                                                          800 5 AVE SW                          11TH FL                                                            CALGARY                   AB           T2P 3T6      CANADA
    CCA DIVISION OF TAXATION                                                         PO BOX 94962                                                                                             CLEVELAND                 OH           44101-4962
    CCH CANADIAN LIMITED                                                             90 SHEPPARD AVE E                     STE 300                                                            NORTH YORK                ON           M2N 6X1      CANADA
    CCH INCORPORATED                                                                 PO BOX 4307                                                                                              CAROL STREAM              IL           60197-4307

    CCH INCORPORATED                           ATTN CCH SITEBUILDER WOLTERS KLUWER   PO BOX 5729                                                                                              CAROL STREAM              IL           60197-5729
    CCH PROSYSTEMS FX WOLTERS KLUWER                                                 PO BOX 5729                                                                                              CAROL STREAM              IL           60197-5729
    CCH SMALL FIRM SERVICES                                                          6 MATHIS DR NW                        PO BOX 2729                                                        ROME                      GA           30164-2729
    CCI ACQUISITIONS                                                                 2124 NE 123RD ST                      STE 206                                                            NORTH MIAMI               FL           33181
    CD VENTURES II LLC                                                               1313 JAMESTOWN RS STE 201                                                                                WILLIAMSBURG              VA           23185
    CDC MEDIA                                                                        2612 BRACSTON RD                                                                                         VIRGINIA BEACH            VA           23456
    CDDVKING LLC                                                                     1198 HAMPSHIRE PL                                                                                        WEST CHESTER              PA           19382
    CDE LIGHTBAND                                                                    PO BOX 31449                                                                                             CLARKSVILLE               TN           37040-0025
    CDFC DBA CHICKEN DIJON                                                           909 N AVIATION BLVD                   STE 5                                                              MANHATTAN BEACH           CA           90266
    CDS AND CO                                                                       100 ADELAIDE ST W STE 300                                                                                TORONTO                   ON           M5H 1S3      CANADA

    CDS CLEARING AND DEPOSITORY SERVICES INC                                         100 ADELAIDE ST W                     STE 300                                                            TORONTO                   ON           M5H 1S3      CANADA
    CDS INNOVATIONS INC                                                              100 ADELAIDO ST W                     STE 300                                                            TORONTO                   ON           M5H 1S3      CANADA
    CDW CANADA INC                                                                   PO BOX 57720                          POSTAL STATION A                                                   TORONTO                   ON           M5W 5M5      CANADA
    CDW COMPUTER CENTERS INC                                                         PO BOX 75723                                                                                             CHICAGO                   IL           60675-5723
    CDW DIRECT                                                                       PO BOX 75723                                                                                             CHICAGO                   IL           60675-5723
    CDYNE CORPORATION                          DBA CDYNE SERVICES LLC                505 INDEPENDENCE PKWY                 STE 300                                                            CHESAPEAKE                VA           23320
    CECIL JOHN                                                                       ADDRESS ON FILE
    CEDAR ELMHURST LLC                         C O CEDAR SHOPPING CENTERS            44 S BAYLES AVE                       STE 304                                                            PORT WASHINGTON           NY           11050
    CEDAR LONG REACH LLC                       CEDAR SHOPPING CENTERS                44 S BAYLES AVE                                                                                          PORT WASHINGTON           NY           11050
    CEDAR REALTY TRUST PARTNERSHIP LP          DBA CEDAR ELMHURST SQUARE             CARMANS PLZ                           928 CARMANS RD                                                     MASSAPEQUA                NY           11758
    CEDAR SPRINGS                                                                    45 VILLARBOIT CRESCENT                2                                                                  CONCORD                   ON           L4K 4R2      CANADA
    CEDE AND CO                                                                      570 WASHINGTON BLVD                                                                                      JERSEY CITY               NJ           07310
    CEDRIC RICHARDSON                                                                ADDRESS ON FILE
    CEF ENTERPRISES                                                                  PO BOX 452                                                                                               BUFFALO                   NY           14223
    CELEBRITY SIGN RENTALS                     O A EXECUCAR SERVICES LIMITED         1168 CLYDE CT                                                                                            KINGSTON                  ON           K7P 2E4      CANADA
    CELIA OCAMPO                                                                     ADDRESS ON FILE
    CELL GROUP INC                                                                   3419 NW EVANGELINE THRUWAY                                                                               CARENCRO                  LA           70520
    CENLAR                                                                           PAYMENT PROCESSING CTR                PO BOX 54040                                                       LOS ANGELES               CA           90054-0040
    CENTER FOR COMMUNITY DEVELOPMENT INC                                             440 HIGH ST                           STE 204                                                            PORTSMOUTH                VA           23704
    CENTERFIELD MEDIA HOLDINGS LLC                                                   12130 MILLENNIUM DR                   STE 600                                                            LOS ANGELES               CA           90094
    CENTERPLATE INC                            DBA DISTINCTIVE GOURMET               1 INDEPENDENCE POINTE STE 305                                                                            GREENVILLE                SC           29615
    CENTERPOINT ENERGY                                                               PO BOX 4671                                                                                              HOUSTON                   TX           77210-4671
    CENTIMARK CORPORATION                                                            PO BOX 536254                                                                                            PITTSBURGH                PA           15253-5904
    CENTRAL CANADA PROPERTY MANAGEMENT                                               32 SANTA FE DR                                                                                           WINNIPEG                  MB           R2R 2W4      CANADA
    CENTRAL CAROLINA COMMUNITY FOUNDATION                                            2711 MIDDLEBURG DR                    STE 213                                                            COLUMBIA                  SC           29204
    CENTRAL CAROLINA WINDOW CLEANING                                                 9247 SHERBOURNE LN                                                                                       SHERRILLS FORD            NC           28673
    CENTRAL CO FIRE AND RESCUE                                                       1 TIMBERBROOK DR                                                                                         ST PETERS                 MO           63376
    CENTRAL COAST BROKERAGE AND MANAGEMENT
    INC                                        DBA CENTRAL COAST PROPERTIES          PO BOX 2872                                                                                              CAMARILLO                 CA           93011
    CENTRAL COUNTY FIRE AND RESCUE                                                   1 TIMBERBRECK DR                                                                                         ST PETERS                 MO           63376
    CENTRAL FORD                                                                     5645 FIRESTONE BLVD                                                                                      SOUTH GATE                CA           90280
    CENTRAL INDIANA PARALEGAL SERV                                                   55 MONUMENT CIR                                                                                          INDIANAPOLIS              IN           46204
    CENTRAL LOCK AND KEY INC                                                         132 COMMERCE PARK                     STE 279                                                            BARRIE                    ON           L4N 0Z7      CANADA
    CENTRAL OHIO TRANSIT AUTHORITY                                                   1600 MCKINLEY AVE                                                                                        COLUMBUS                  OH           43222-1093
    CENTRAL PORTFOLIO CONTROL INC                                                    10249 YELLOW CIR DR                   STE 200                                                            MINNETONKA                MN           55343
    CENTRAL SIGNS LLC                                                                3592 JOHN F KENNEDY BLVD                                                                                 JERSEY CITY               NJ           07307
    CENTRE 800 LLC                                                                   750 MANNING RD                                                                                           SUFFOLK                   VA           23434
    CENTRE PLACE WALNUT CREEK LLC              C O HALL EQUITIES GROUP               150 N WIGET LN                        STE 250                                                            WALNUT CREEK              CA           94598
    CENTRE WELLINGTON COMMUNITY RADIO INC                                            540 GARAFRAXA ST E                                                                                       FERGUS                    ON           N1M 1E7      CANADA
    CENTRE WELLINGTON MINOR HOCKEY
    ASSOCIATION                                                                      10 ROBERTSON ST                                                                                          FERGUS                    ON           N1M 3P8      CANADA
    CENTRE WELLINGTON MINOR SOFTBALL
    ASSOCIATION INC                                                                  PO BOX 355                                                                                               FERGUS                    ON           N1M 1X2      CANADA
    CENTRE WELLINGTON PARKS AND RECREATION                                           550 BELSYDE AVE                       PO BOX 58                                                          ELORA                     ON           N0B 1S0      CANADA
    CENTRIC COMMUNICATIONS LLC                                                       1048 W 27TH ST                                                                                           NORFOLK                   VA           23517
    CENTRO BINANCIONAL PARA EL DESARROLLO                                            2936 W 8TH ST                         STE 301                                                            LOS ANGELES               CA           90005
    CENTRO INC                                                                       11 E MADISON AVE                      6TH FL                                                             CHICAGO                   IL           60602
    CENTRO MEXICANO                                                                  262 S THIRD ST                                                                                           COLUMBUS                  OH           43215
    CENTRO NP EAST LAKE PAVILLIONS                                                   PO BOX 533337                         C O CENTRO NP HOLDINGS 1 SPE LLC                                   CHARLOTTE                 NC           28290-3337
    CENTRO NP HOLDINGS                                                               PO BOX 533337                                                                                            CHARLOTTE                 NC           28290-3337
    CENTRYLINK 2961                                                                  PO BOX 2961                                                                                              PHOENIX                   AZ           85062-2961
    CENTURION REALTY                                                                 500 NOTRE DAME AVE                                                                                       CHATTANOOGA               TN           37412
    CENTURY 21 PRESTIGE REAL ESTATE                                                  635 BRANION DR                                                                                           PRINCE ALBERT             SK           S6V 2R9      CANADA
    CENTURY HAWTHORNE CO                                                             11440 SAN VICENTE BLVD STE 200                                                                           LOS ANGELES               CA           90049
    CENTURY PANTHER LLC                                                              PO BOX 863975                                                                                            PLANO                     TX           75086


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    CENTURY SHOPPES OF GAINESVILLE INC                                       3206 NW 57TH TERRACE                                                                                      GAINESVILLE            FL           32606
    CENTURY SIGNS                                                            1240 ELLICE AVE                                                                                           WINNIPEG               MB           R3G 0E6      CANADA
    CENTURYLINK                                                              PO BOX 2956                                                                                               PHOENIX                AZ           85062-2956
    CENTURYLINK 1319                                                         PO BOX 1319                                                                                               CHARLOTTE              NC           28201-1319
    CENTURYLINK 29040                                                        PO BOX 29040                                                                                              PHOENIX                AZ           85038-9040
    CENTURYLINK 4300                                                         PO BOX 4300                                                                                               CAROL STREAM           IL           60197-4300
    CENTURYLINK 91154                                                        PO BOX 91154                                                                                              SEATTLE                WA           98111-9254

    CENTURYLINK DBA LEVEL 3 COMMUNICATIONS LLC                               PO BOX 910182                                                                                             DENVER                 CO           80291-0182
    CENTURYLINK QCC 52187                                                    PO BOX 52187                                                                                              PHOENIX                AZ           85072-2187
    CERCA                                                                    PO BOX 893                                                                                                CENTREVILLE            VA           20122
    CERIDIAN EMPLOYEE SERVICES 10989                                         PO BOX 10989                                                                                              NEWARK                 NJ           07193
    CERRITOS MITSUBISHI                                                      10944 S ST                                                                                                CERRITOS               CA           90703
    CERTEGY CHECK SERVICES INC                                               11601 ROOSEVELT BLVD                                                                                      ST PETERSBURG          FL           33716
    CERTIFIED PROPERTY MANAGEMENT INC          ATTN YAMY SALGADO             PO BOX 7537                                                                                               OMAHA                  NE           68107
    CERTIFIED REAL ESTATE APPRAISER                                          EV APPRAISAL                           1864 FOXCLOVE CT                                                   TRACY                  CA           95376
    CERTIFIED REPORTING SERVICES                                             801 E 2ND ST                           STE 102                                                            BENICIA                CA           94510
    CESAR CHACON LOARCA                                                      ADDRESS ON FILE
    CEST A DIRE COMMUNICATION SERVICES                                       135 DE PROVENCE ST                                                                                        MORIN HEIGHTS          QUEBEC       J0R 1H0      CANADA
    CF ENTERPRISES CORP                                                      103 225 VAUGHAN ST                                                                                        WINNIPEG               MB           R3C 1T7      CANADA
    CFAI                                                                     17 COSTIGAN ST                                                                                            EDMUNDSTON             NB           E3V 1W7      CANADA
    CFNR NORTHERN NATIVE BROADCAST                                           4562B QUEENSWAY DR                                                                                        TERRACE                BC           V8G 3X6      CANADA
    CFQX FM CHIQ FM                                                          3RD FL 177 LOMBARD AVE                                                                                    WINNIPEG               MB           R3B 0W5      CANADA
    CFS2                                                                     2488 E 81ST                            STE 500                                                            TULSA                  OK           74137
    CGB PUBLISHING LTD                                                       676 WAIN RD                                                                                               SIDNEY                 BC           V8L 5M5      CANADA
    CGC CONCESSIONS GROUP CANADA                                             31 JUNE AVE                                                                                               COBOURG                ON           K9A 5M5      CANADA
    CGC INC                                                                  2550 VICTORIA PARK AVE                 STE 600                                                            TORONTO                ON           M2J 5A9      CANADA
    CGLIC EQUITY WESTLAND MALL                                               4273 WESTLAND MALL                                                                                        COLUMBUS               OH           43228
    CHAB 800                                                                 1704 MAIN ST N                                                                                            MOOSE JAW              SK           S6J 1L4      CANADA
    CHAGUTI CORP                                                             3848 CAMPUS DR                         STE 212                                                            NEWPORT BEACH          CA           92660
    CHAGUTI CORP DBA RESULTS NATIONAL INC                                    3848 CAMPUS DR                         STE 212                                                            NEWPORT BEACH          CA           92660
    CHAINWAVE SYSTEMS INC                                                    57 BEDFORD ST STE 120                                                                                     LEXINGTON              MA           02420
    CHAMBER OF COMMERCE CLOVIS                                               325 POLLASKY AVE                                                                                          CLOVIS                 CA           93612
    CHAMBER OF COMMERCE FRESNO                                               2331 FRESNO ST                                                                                            FRESNO                 CA           93721

    CHAMBER OF COMMERCE FRESNO METRO BLACK                                   1444 FULTON ST STE 11                                                                                     FRESNO                 CA           93721
    CHAMBER OF COMMERCE LOS BANOS                                            503 J ST                                                                                                  LOS BANOS              CA
    CHAMBER OF COMMERCE MADERA                                               120 N E ST                                                                                                MADERA                 CA           93638
    CHAMBER OF COMMERCE MERCED COUNTY
    HISPANIC                                                                 1640 N ST STE 120                                                                                         MERCED                 CA           95341
    CHAMBER OF COMMERCE OF SOUTHWESTERN
    AUGLAIZE COUNTY INC                                                      PO BOX 3                                                                                                  NEW BREMEN             OH           45869
    CHAMBER OF COMMERCE PORTERVILLE                                          93 N MAIN                                                                                                 PORTERVILLE            CA           93257

    CHAMBER OF COMMERCE THE GREATER MERCED                                   1640 N ST STE 120                                                                                         MERCED                 CA           95340
    CHAMBER OF COMMERCE TULARE                                               220 E TULARE AVE                                                                                          TULARE                 CA           93274
    CHAMBER OF COMMERCE VISALIA                                              220 N SANTA FE                                                                                            VISALIA                CA           93292
    CHAMPION CAPITAL GROUP INC DBA PARK
    FUNDING GROUP                                                            3948 HYLAND BLVD                                                                                          STATEN ISLAND          NY           10308
    CHAMPMAN MICHAEL R                                                       ADDRESS ON FILE
    CHAN ANDREW                                                              ADDRESS ON FILE
    CHANCERY COURT OF HAMILTON COUNTY                                        HAMILTON CO COURTHOUSE RM 300                                                                             CHATTANOOGA            TN           37402
    CHANDRAKANTH S P                                                         ADDRESS ON FILE
    CHANEL SAVER                                                             ADDRESS ON FILE
    CHANNEL LUMBER CO INC                                                    1001 SECOND ST                         STE 255                                                            NAPA                   CA           94559
    CHANTEL BROWN                                                            ADDRESS ON FILE
    CHANTILLY HEALTH AND WELLNESS                                            12199 INDIAN ROCKS RD                                                                                     LARGO                  FL           33774
    CHAPDELAINE INVESTIGATIONS INC                                           5 HOCKANUM RD                                                                                             HADLEY                 MA           01035
    CHAPEL HILLS MALL                                                        1710 BRIARGATE BLVD                                                                                       COLORADO SPRINGS       CO           80920
    CHAPMAN AND CUTLER LLP                                                   111 W MONROE ST                                                                                           CHICAGO                IL           60603-4080
    CHAPMAN AND CUTLER LLP                                                   PO BOX 71291                                                                                              CHICAGO                IL           60694
    CHAPMAN SIGNS INC                                                        7 SEACLIFF DR W                                                                                           LEAMINGTON             ON           N8H 2L5      CANADA
    CHAPTER TOWNSHIP OF MT MORRIS                                            G 5547 BICENTENNIAL DR                                                                                    MT MORRIS              MI           48458
    CHARLENE A DERBY                                                         ADDRESS ON FILE
    CHARLENE P PERRY                                                         ADDRESS ON FILE
    CHARLES A FORBES JR DBA ELEVATION ADVISORS
    LLC                                                                      58 CHARCOAL HILL RD                                                                                       WESTPORT               CT           06880
    CHARLES CHADWICK                                                         ADDRESS ON FILE
    CHARLES D HOLM                                                           ADDRESS ON FILE
    CHARLES DUNN RES INC                                                     PO BOX 301113                                                                                             LOS ANGELES            CA           90030-1113
    CHARLES I FILL                                                           ADDRESS ON FILE
    CHARLES L PAYSON REALTY CORP                                             373 STATE ROUTE 3                      STE 4                                                              PLATTSBURGH            NY           12901
    CHARLES LOMELI TAX COLLECTOR                                             PO BOX 7407                                                                                               SAN FRANCISCO          CA           94120-7407
    CHARLES N COOPER                                                         ADDRESS ON FILE
    CHARLES PENLAND                                                          ADDRESS ON FILE
    CHARLES R WOLFE II                                                       ADDRESS ON FILE
    CHARLES SABBAH                                                           ADDRESS ON FILE
    CHARLES W FRANKENS                                                       ADDRESS ON FILE
    CHARLES WOODS                                                            ADDRESS ON FILE
    CHARLESON HARBOR TOURS                                                   PO BOX 21360                                                                                              CHARLESTON             SC           29413
    CHARLESTON JOINT VENTURE                   ATTN PROPERTY ACCTS MANAGER   2070 SAM RITTENBERG BLVD 200                                                                              CHARLESTON             SC           29407
    CHARLOTTE CHECK CASHERS                                                  236 LEPHILLIP CT                       STE H                                                              CONCORD                NC           28025
    CHARLOTTE CHECKERS HOCKEY TEAM                                           212 S TYRON ST                         STE 575                                                            CHARLOTTE              NC           28281
    CHARLYE NUNEZ                                                            ADDRESS ON FILE
    CHARMIE JOHNSON                                                          ADDRESS ON FILE
    CHART MARKETING INC                                                      ORANGE AID MARKETING                   116 N WESTFIELD                                                    WICHITA                KS           67212
    CHARTER BUS SERVICE CO INC                                               PO BOX 14175                                                                                              NORFOLK                VA           23518-0175
    CHARTER CAPITAL                                                          6991 E CAMELBACK RD                    D 202                                                              SCOTTSDALE             AZ           85251
    CHARTER COMMUNICATION                                                    PO BOX 3019                                                                                               MILWAUKEE              WI           53201-3019


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    CHARTER COMMUNICATIONS 60229                                         PO BOX 60229                                                                                              LOS ANGELES             CA           90060-0229
    CHARTER COMMUNICATIONS 7173                                          PO BOX 7173                                                                                               PASADENA                CA           91109-7173
    CHARTER COMMUNICATIONS 742614                                        PO BOX 742614                                                                                             CINCINNATI              OH           45274-2614
    CHARTER MEDIA TN                                                     PO BOX 1379                                                                                               MURFREESBORO            TN           37133-1379
    CHARTER MEDIA WI                                                     1265 JOHN Q HAMMONS DR                 FIRST FL                                                           MADISON                 WI           53717
    CHARTER TOWNSHIP OF GARFIELD PPT                                     3848 VETERANS DR                                                                                          TRAVERSE CITY           MI           49684
    CHARTER TOWNSHIP OF MT MORRIS           TREASURER PATRICK HALEY      5447 BICENTENNIAL DR                                                                                      MT MORRIS               MI           48458
    CHASE                                   AURORA NOVOA                 383 MADISON AVE FL 23                                                                                     NEW YORK                NY           10179
    CHASE AND POWERS LLC                                                 10906 NE 197TH ST                                                                                         BOTHELL                 WA           98011
    CHASE CC                                                             PO BOX 6294                                                                                               CAROL STREAM            IL           60197-6294
    CHASE INSURANCE COMPANY                                              PO BOX 105638                                                                                             ATLANTA                 GA           30348-5638
    CHASE ORDERS AND LEVIES                                              PO BOX 183164                                                                                             COLUMBUS                OH           43218-3164
    CHATEAU LACOMBE HOTEL                                                10111 BELLAMY HILL                                                                                        EDMONTON                AB           T5J 1N7      CANADA
    CHATHAM COUNTY TAX COMMISSIONER                                      PO BOX 117037                                                                                             ATLANTA                 GA           30368-7037
    CHATHAM KENT UTILITY SERVICES                                        PO BOX 70                                                                                                 CHATHAM                 ON           N7M 5K2      CANADA
    CHATHAM OUTREACH FOR HUNGER                                          10 WELLING STRETT W                    PO BOX 953                                                         CHATHAM                 ON           N7M 5L3      CANADA
    CHATISE THOMAS                                                       ADDRESS ON FILE
    CHATTANOOGA CITY TREASURER                                           101 E 11TH ST                          STE 100                                                            CHATTANOOGA             TN           37402
    CHATTANOOGA COCA COLA BOTTLING                                       PO BOX 11128                                                                                              CHATTANOOGA             TN           37401
    CHATTANOOGA GAS 5408                                                 PO BOX 5408                                                                                               CAROL STREAM            IL           60197-5408
    CHATTANOOGA TIMES                                                    CHATTANOOGA FREE PRESS                 PO BOX 590                                                         CHATTANOOGA             TN           37401
    CHAWLA MARY                                                          ADDRESS ON FILE
    CHEATHAM DINETTA                                                     ADDRESS ON FILE
    CHECK CASHING PLUS INC                                               13551 PLYMOUTH                                                                                            DETROIT                 MI           48227
    CHECK N GO                                                           10540 SIERRA AVE                       STE B                                                              FONTANA                 CA           92337
    CHECK N GO                                                           3981 FOOTHILLS BLVD                    STE 120                                                            ROSEVILLE               CA           95747
    CHECK N GO                                                           7755 MONTGOMERY RD                     STE 400                                                            CINCINNATI              OH           45236
    CHECKLIST                                                            98 GREENWICH AVE 1ST FL                                                                                   NEW YORK                NY           10011-7743
    CHEROKEE SIGNS AND LIGHTING                                          745 YORK RD                                                                                               CLEVELAND               TN           37323
    CHERRY BEKAERT AND HOLLAND                                           ADDRESS ON FILE
    CHERRY BEKAERT AND HOLLAND DO NOT USE                                ADDRESS ON FILE
    CHERRY BEKAERT LLP                                                   PO BOX 25549                                                                                              RICHMOND                VA           23260-5500
    CHERRY BEKAERT LLP DO NOT USE                                        PO BOX 25549                                                                                              RICHMOND                VA           23260-5500
    CHERRY CARPET INC                                                    2915 LONDON BLVD                                                                                          PORTSMOUTH              VA           23707
    CHERRY LYN                                                           ADDRESS ON FILE
    CHERYHL L HILL                                                       ADDRESS ON FILE
    CHERYL COUCH                                                         ADDRESS ON FILE
    CHESAPEAKE BANK                                                      PO BOX 1419                            97 N MAIN ST                                                       KILMARNOCK              VA           22482
    CHESAPEAKE INDUSTRIAL LEASING                                        9512 HARFORD RD                                                                                           BALTIMORE               MD           21234
    CHESAPEAKE JCP ASSOCIATES LLP                                        CHESAPEAKE SQUARE                      4200 PORTSMOUTH BLVD 1                                             CHESAPEAKE              VA           23321
    CHESAPEAKE OFFICE SUPPLY                                             1429 CROSSWAYS BLVD                    STE B                                                              CHESAPEAKE              VA           23320
    CHESAPEAKE OUTDOOR ADVERTISING INC                                   PO BOX 63                                                                                                 NEW CHURCH              VA           23415
    CHESAPEAKE TREASURER                                                 1205 20TH ST                                                                                              CHESAPEAKE              VA           23324-2660
    CHESAPEAKE TREASURER SS 570849089                                    PO BOX 16495                                                                                              CHESAPEAKE              VA           23328-6495
    CHESLEY MALL                                                         ADDRESS ON FILE
    CHESTNUT TAX GROUP LLC                                               11 PLEASANT VIEW DR                                                                                       SUFFIELD                CT           06078
    CHEYENNE PLAZA LLC                                                   6500 S QUEBEC ST 300                                                                                      ENGLEWOOD               CO           80111
    CHEZ BELLE LTD                                                       14 PRINCE ARTHUR AVE                   STE 305                                                            TORONTO                 ON           M5R 1A9      CANADA
    CHICAGO PROFESSIONAL SPORTS LIMITED
    PARTNERSHIP                             DBA CHICAGO BULLS            1901 W MADISON ST                                                                                         CHICAGO                 IL           60612
    CHICAGO SUN TIMES INC                                                401 N WABASH AVE                                                                                          CHICAGO                 IL           60611-3532
    CHICAGO TITLE AND TRUST COMPANY                                      2759 W ARMITAGE AVE                                                                                       CHICAGO                 IL           60647
    CHICAGO TRIBUNE                                                      PO BOX 8685                                                                                               CHICAGO                 IL           60680-8685
    CHIEF IRRIGATION LLC                                                 1216 MENDELSSOHN CT                                                                                       VIRGINIA BEACH          VA           23454
    CHIEF PARTY RENTALS                                                  11935 LEBANON RD                                                                                          MT JULIET               TN           37122
    CHILD AND FAMILY SERVICES OF WESTERN
    MANITOBA FOUNDATION                                                  800 MCTAVISH AVE                                                                                          BRANDON                 MB           R7A 7L4      CANADA
    CHILD SUPPORT 040009175                                              PO BOX 105730                                                                                             ATLANTA                 GA           30348-5730
    CHILD SUPPORT 050009997                                              PO BOX 105730                                                                                             ATLANTA                 GA           30348-5730

    CHILD SUPPORT ENFORCEMENT FAMILY SUPPORT                             CHILD SUPPORT ENFORCEMENT              PO BOX 105730                                                      ATLANTA                 GA           30348-5730
    CHILD SUPPORT SERVICES 518067429                                     CHILD SUPPORT RECEIPTING               PO BOX 70008                                                       BOISE                   ID           83707-0108
    CHLUMSKY DALE E                                                      ADDRESS ON FILE
    CHO HEE IL                                                           ADDRESS ON FILE
    CHOATE HALL AND STEWART LLP                                          TWO INTERNATIONAL PL                                                                                      BOSTON                  MA           02110
    CHOICE FUNDING LLC                                                   10 COLUMBUS BLVD                       3RD FL                                                             HARTFORD                CT           06114
    CHOICE MERCHANT SOLUTIONS LLC                                        10 COLUMBUS BLVD 6TH FL                                                                                   HARTFORD                CT           06106
    CHOICES NORTHWEST                                                    PO BOX 58688                                                                                              TUKWILA                 WA           98138
    CHON PRODUCTIONS                                                     4230 4TH AVE                           STE 6                                                              WHITEHORSE              YT           YIA 1K1      CANADA
    CHOPPA ANTHONY                                                       ADDRESS ON FILE
    CHOREY AND ASSOCIATES                                                PO BOX 916                                                                                                SUFFOLK                 VA           23434
    CHRIS A LABARGE                                                      ADDRESS ON FILE
    CHRIS HITT                                                           ADDRESS ON FILE
    CHRIST MICHELAKIS TREASURER              TRUMBULL COUNTY TREASURER   160 HIGH ST NW                                                                                            WARREN                  OH           44481-1090
    CHRISTIAN CORTEZ                                                     ADDRESS ON FILE
    CHRISTIAN EILER                                                      ADDRESS ON FILE
    CHRISTIAN LABOUR ASSOCIATES OF CANADA                                89 S SERVICE RD                        PO BOX 219                                                         GRIMSBY                 ON           L3M 4G3      CANADA
    CHRISTIAN LABOUR ASSOCIATION OF CANADA                               89 S SERVICE RD                        PO BOX 219                                                         GRIMSBY                 ON           L3M 4G3      CANADA
    CHRISTIAN LOZANO DBA PARAMOUNT FUNDING
    GROUP AND ASSOCIATES LLC                                             2234 N FEDERA HWY 1118                                                                                    BOCA RATON              FL           33431
    CHRISTIAN O OLMOS                                                    ADDRESS ON FILE
    CHRISTIANA ACQUISITION LLC                                           SDS 12 3026                            PO BOX 86                                                          MINNEAPOLIS             MN           55486-3026
    CHRISTIANA TRUST                                                     PO BOX 71279                                                                                              PHILADELPHIA            PA           19176-6279
    CHRISTIANSEN AND ASSOCIATES                                          90 STATE ST                            STE 1206                                                           ALBANY                  NY           12207
    CHRISTIES WAREHOUSE                                                  800 ROSSER AVE                         9TH ST DOCK P1 UNIT B                                              BRANDON                 MB           R7A 6N5      CANADA
    CHRISTINA ALEXANDRA                                                  ADDRESS ON FILE
    CHRISTINA CONITS                                                     ADDRESS ON FILE
    CHRISTINA HARTLEY                                                    ADDRESS ON FILE
    CHRISTINA MARTINEZ                                                   ADDRESS ON FILE


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                        Name                                   Attention                            Address 1                                Address 2                           Address 3                   City        State       Zip          Country
    CHRISTINE GER                                                                    ADDRESS ON FILE
    CHRISTINE GREUBEL EXEMPT IRREVOCABLE
    TRUST                                                                            11571 LAS LUCES                                                                                         SANTA ANA              CA           92705
    CHRISTMAS MOUSE                                                                  ADDRESS ON FILE
    CHRISTOPHER CLARK DBA FCS SOLUTIONS INC                                          227 MALLS AVE                                                                                           WEST ISLIP             NY           11795
    CHRISTOPHER D BUDKA                                                              ADDRESS ON FILE
    CHRISTOPHER DELUCA DBA CORPORATE CAPITAL
    SOLUTIONS INC                                                                    200 ALDEN AVE                                                                                           MORRISVILLE            PA           19067
    CHRISTOPHER FEHR                                                                 ADDRESS ON FILE
    CHRISTOPHER JON LEZZI                                                            ADDRESS ON FILE
    CHRISTOPHER LIEBERMAN DBA PROSPEROUS
    FUTURE CONSULTING                                                                575 LITTLE RIVER LOOP                STE 253                                                            ALTAMONTE SPRINGS      FL           32714
    CHRISTOPHER REALTY INC                                                           1325 HWY 25 N                                                                                           HEBER SPRINGS          AR           72543
    CHRISTOPHER TECHNOLOGY CONSULTING                                                1552 LAKEPORT CT                                                                                        VIRGINIA BEACH         VA           23462
    CHRISTY SIGNS                                                                    ADDRESS ON FILE
    CHRONAKIS SIACHOS                                                                ADDRESS ON FILE
    CHSM                                                                             BOX 1250                                                                                                STEINBACH              MB           R0A 2A0      CANADA
    CHU ME                                                                           ADDRESS ON FILE
    CHU YING                                                                         ADDRESS ON FILE
    CHUCKS LOCK SERVICE                                                              817 FISHBURNE RD                                                                                        HERSHEY                PA           17033
    CHUCKS REPAIR INC                          DBA ANDY ONCALL                       5008 W LINEBAUGH AVE STE 35                                                                             TAMPA                  FL           33624
    CHUGACH ELECTRIC ASSOCIATION                                                     PO BOX 1896760                                                                                          ANCHORAGE              AK           99519-6760
    CHUM LIMITED                                                                     1331 YONGE ST                                                                                           TORONTO                ON           M4T 1Y1      CANADA
    CHURCH STREET CROSSING                     C O DRUCKER AND FALK LLC              11824 FISHING POINT DR                                                                                  NEWPORT NEWS           VA           23606
    CIBC                                                                             85 ELLESMERE RD UNIT 40                                                                                 SCARBOROUGH            ON           M1R 4B7      CANADA
    CIBC                                                                             PO BOX 4595                          STN A                                                              TORONTO                ON           M5W 4X9      CANADA
    CIBC BANK USA                              LOAN OPERATIONS                       120 S LASALLE ST                                                                                        CHICAGO                IL           60603
    CIBC CA                                    DAVID XU                              81 BAY ST 10TH FL                                                                                       TORONTO                ON           M5J 0E7      CANADA
    CIBC US                                    MARNITA SULLIVAN                      120 S LASALLE ST                                                                                        CHICAGO                IL           60603
    CICC                                                                             PO BOX 8887                                                                                             LANCASTER              PA           17604
    CICW FM THE GRAND 101                                                            540 GARAFRAXA ST E                                                                                      FERGUS                 ON           N1M 1E7      CANADA
    CICX FM                                    ATTN ACCOUNTS RECEIVABLE              355 CRANSTON ST BOX 609                                                                                 MIDLAND                ON           L4R 4L3      CANADA
    CIDC FM Z1035                                                                    5302 DUNDAS ST W                                                                                        TORONTO                ON           M9B 1B2      CANADA
    CIGNA LIFE INSURANCE CO OF NEW YORK                                              PO BOX 783072                                                                                           PHILADELPHIA           PA           19178-3072
    CILG COUNTRY 100                                                                 1704 MAIN ST N                                                                                          MOOSE JAW              SK           S6J 1L4      CANADA
    CIMG THE EAGLE 941                                                               134 CENTRAL AVE                                                                                         SWIFT CURRENT          SK           S9H 0L1      CANADA
    CIMX FM WINDSOR DETROIT                                                          30100 TELEGRAPH RD                   STE 460                                                            BINGHAM FARMS          MI           48025
    CINCINNATI BELL                                                                  PO BOX 748003                                                                                           CINCINNATI             OH           45274-8003
    CINCINNATI ENQUIRER                                                              312 ELM ST                                                                                              CINCINNATI             OH           45202
    CINCINNATI ST PATRICKS PARADE COMMITTEE    ATTN KEVIN GRIFFIN                    PO BOX 33116                                                                                            CINCINNATI             OH           45233
    CINCO ESTRELLAS INTERNACIONAL INC                                                GUIA SPANISH YELLOW PAGES            4724 W LAWRENCE AVE                                                CHICAGO                IL           60630
    CINCY UNLIMITED LLC                                                              2692 MADISON RD                      STE N1 241                                                         CINCINNATI             OH           45208
    CINDY C STEWART                                                                  ADDRESS ON FILE
    CINDY JENNINGS AND ASSOCIATES                                                    140 E BAY ST                                                                                            JACKSONVILLE           FL           32202
    CINDY WEBB                                                                       ADDRESS ON FILE
    CINEBISTRO                                                                       2000 B SOUTHBRIDGE PKWY STE 100                                                                         BIRMINGHAM             AL           35209
    CINEPLEX MEDIA                                                                   1303 YONGE ST                                                                                           TORONTO                ON           M4T 2Y9      CANADA
    CINGULAR WIRELESS                                                                PO BOX 31488                                                                                            TAMPA                  FL           33631-3488
    CINTAS                                                                           1775 SYLVESTRE DR                                                                                       TECUMSEH               ON           N8N 2L9      CANADA
    CINTAS                                                                           2707 SMITHFIELD RD                                                                                      PORTSMOUTH             VA           23702
    CINTAS CANADA LIMITED                                                            1775 SYLVESTRE DR                                                                                       TECUMSEH               ON           N8N 2L9      CANADA
    CINTAS CORPORATION DAYTON NORTH 002                                              PO BOX 630803                                                                                           CINCINNATI             OH           45263-0803
    CINTAS DOCUMENT MANAGEMENT                                                       PO BOX 633842                                                                                           CINCINNATI             OH           45263
    CINTREX PROPERTY MANAGEMENT INC                                                  1450 OCONNOR DR UNIT 103                                                                                TORONTO                ON           M4B 2T8      CANADA

    CINTREX PROPERTY MANAGEMENT INC            C O CINTREX PROPERTY MANAGEMENT INC   90 NORTHLINE RD UNIT 4                                                                                  TORONTO                ON           M4B 3E5      CANADA
    CIRCADIAN FUNDING LLC                                                            500 SEVENTH AVE                      8TH FL                                                             NEW YORK               NY           10016
    CISCO CAPITAL                                                                    PO BOX 742927                                                                                           LOS ANGELES            CA           90074-2927
    CISCO INC                                                                        1702 TOWNHURST DR                                                                                       HOUSTON                TX           77043
    CISCO SYSTEMS CAPITAL CORP                                                       PO BOX 41602                                                                                            PHILADELPHIA           PA           19101-1602
    CISCO WEBEX                                                                      16720 COLLECTIONS CTR DR                                                                                CHICAGO                IL           60693
    CISCO WEBEX LLC                                                                  16720 COLLECTIONS CTR DR                                                                                CHICAGO                IL           60693
    CISION US INC                                                                    130 E RANDOLPH ST                    7TH FL                                                             CHICAGO                IL           60601
    CIT FINANCIAL LTD                                                                PO BOX 4094 STATION A                                                                                   TORONTO                ON           M5W 3T1      CANADA
    CITADEL                                                                          PO BOX 27980                                                                                            ALBUQUERQUE            NM           87125-7980
    CITADEL ASSET HOLDINGS LLC                 C O KM REALTY                         7500 SAN FELIPE STE 750                                                                                 HOUSTON                TX           77063
    CITADEL BROADCASTIG WXTC WWWZ WMGL                                               4230 FABER PL DR STE 100                                                                                NORTH CHARLESTON       SC           29405
    CITADEL BROADCASTING                                                             4143 109TH ST                                                                                           URBANDALE              IA           50322
    CITADEL BROADCASTING                                                             434 BEARCAT DR                                                                                          SALT LAKE              UT           84115
    CITADEL BROADCASTING                                                             4643 QUAIL LAKES DR 100                                                                                 STOCKTON               CA           95207
    CITADEL BROADCASTING                                                             6805 CORPORATE DR STE 130                                                                               COLORADO SPRINGS       CO           80919
    CITADEL BROADCASTING                       ATTN JENNIFER CHANCE                  3420 PINE TREE RD                                                                                       LANSING                MI           48911
    CITADEL BROADCASTING                       ATTN KYLE TRINWARD                    1 CITY CTR                                                                                              PORTLAND               ME           04101
    CITADEL BROADCASTING CO                                                          7 GOVERNOR WINTHROP BLVD                                                                                NEW LONDON             CT           06320
    CITADEL BROADCASTING COMPANY                                                     101 W ST                                                                                                SPRINGFIELD            MA           01104
    CITADEL BROADCASTING OF KNOXVILLE                                                PO BOX 11167                                                                                            KNOXVILLE              TN           37939-1167
    CITADEL COMMUNICATIONS CORP                                                      700 WELLINGTON HILLS RD                                                                                 LITTLE ROCK            AR           72211
    CITADEL COMMUNICATIONS KATT FM                                                   4045 NW 64TH STE 600                                                                                    OKLAHOMA CITY          OK           73116
    CITADEL MALL                               SPECIALTY LEASING MANAGER             750 CITADEL DR E                                                                                        COLORADO SPRINGS       CO           80909
    CITI CARDS                                                                       PO BOX 9001037                                                                                          LOUISVILLE             KY           40290
    CITI CARDS CANADA INC STAPLES                                                    POBOX 8601 STN CTR VILLE                                                                                MONTREAL               QC           H3C 3V2      CANADA
    CITIBANK                                                                         PO BOX 6000                                                                                             THE LAKES              NV           89163
    CITIBANK USA                               C O CITICORP CREDIT SERVICES          PO BOX 3098                                                                                             DES MOINES             IA           50368-9098
    CITICORP VENDOR FINANCE LTD                                                      PO BOX 37                            STATION A                                                          MISSISSAUGA            ON           L5A 2Y9      CANADA
    CITICORP VENDOR FINANCE LTD STREETVILLE                                          145 QUEEN ST S                       PO BOX 126                                                         STREETVILLE            ON           L5M 2B7      CANADA
    CITIGATE GLOBAL INTELLIGENCE                                                     22 COURTLAND ST                      14TH FL                                                            NEW YORK               NY           10007
    CITIZENS BANK CORP MASTERCARD                                                    PO BOX 9665                                                                                             PROVIDENCE             RI           02940-9665
    CITIZENS GAS AND COKE UTILITY                                                    PO BOX 7055                                                                                             INDIANAPOLIS           IN           46207-7055



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                        Name                                     Attention                            Address 1                                Address 2                           Address 3                     City        State       Zip          Country
    CITRACADO MARKET ADVISORS DBA REACT
    FUNDING                                                                            300 W GRAND AVE                      STE 100B                                                           ESCONDIDO                CA           92025
    CITY COUNTY TAX COLLECTOR CHARLOTTE NC                                             PO BOX 1400                                                                                             CHARLOTTE                NC           28201-1400
    CITY GROUP PROPERTIES LLC                                                          PO BOX 206572                                                                                           LOUISVILLE               KY           40250
    CITY OF ABILENE                             CUSTOMER SERVICE CENTER                PO BOX 3479                                                                                             ABILENE                  TX           79604-3479
    CITY OF AKRON                               UTILITIES BUSINESS OFFICE              PO BOX 3674                                                                                             AKRON                    OH           44309-3674
    CITY OF ALEXANDRIA PPT                      BUSINESS OFFICE                        PO BOX 71                                                                                               ALEXANDRIA               LA           71309
    CITY OF ALEXANDRIA UTILITY CUSTOMER SERVICE
    OFFICE                                                                             625 MURRAY ST STE 4                                                                                     ALEXANDRIA               LA           71301
    CITY OF ALLENTOWN BUSINESS LICENSE                                                 435 HAMILTON ST                      RM 110                                                             ALLENTOWN                PA           18101
    CITY OF ALLENTOWN BUSINESS PRIV TAX                                                RM 215                               435 HAMILTON ST                                                    ALLENTOWN                PA           18101-1685
    CITY OF AMERICAN CANYON                     ATTN BUSINESS LICENSE COORDINATOR      4381 BROADWAY STE 201                                                                                   AMERICAN CANYON          CA           94503
    CITY OF ANAHEIM                                                                    PO BOX 61042                                                                                            ANAHEIM                  CA           92803-6142
    CITY OF ARVADA                                                                     PO BOX 8101                                                                                             ARVADA                   CO           80001-8101
    CITY OF ARVADA UTILTITY                     UTILITY DIVISION                       8101 RALSTON RD                                                                                         ARVADA                   CO           80002
    CITY OF ASHEVILLE                                                                  PO BOX 733                                                                                              ASHEVILLE                NC           28802-0733
    CITY OF ATLANTA                                                                    55 TRINITY AVE                       STE 1350                                                           ATLANTA                  GA           30303
    CITY OF AURORA                              TAX LICENSING DIVISION                 PO BOX 33001                                                                                            AURORA                   CO           80041
    CITY OF AURORA IN                                                                  110 MAIN ST                                                                                             ARORA                    IN           47001
    CITY OF BAKERSFIELD LICENSES                                                       PO BOX 2057                                                                                             BAKERSFIELD              CA           93303
    CITY OF BARDSTOWN                                                                  220 N 5TH ST                                                                                            BARDSTOWN                KY           40004
    CITY OF BARRIE                                                                     PO BOX 400 70 COLLIER ST                                                                                BARRIE                   ON           L4M 4T5      CANADA
    CITY OF BATON ROUGE                                                                PARISH OF E BATON ROUGE              PO BOX 2590                                                        BATON ROUGE              LA           70821-2590
    CITY OF BELOIT LICENSE                      WATER RESOURCES DIVISION               2400 SPRINGBROOK CT                                                                                     BELOIT                   WI           53511
    CITY OF BENICIA                                                                    8839 N CEDAR AVE 212                                                                                    FRESNO                   CA           93720-1832
    CITY OF BETHLEHEM BUSINESS PRIV TAX         C O TRI STATE FINANCIAL GROUP          PO BOX 38                                                                                               BRIDGEPORT               PA           19405
    CITY OF BLOOMINGTON WATER PAYMENTS          WATER PAYMENTS                         1800 W OLD SHAKOPEE RD                                                                                  BLOOMINGTON              MN           55431-3080
    CITY OF BOWLING GREEN                                                              304 N CHURCH ST                                                                                         BOWLING GREEN            OH           43402
    CITY OF BRIDGEPORT                                                                 515 W MAIN ST                                                                                           BRIDGEPORT               WV           26330
    CITY OF BRISTOL TENNESSEE                   FINANCE DEPT                           PO BOX 1348                                                                                             BRISTOL                  TN           37621-1348
    CITY OF BUFORD                                                                     2300 BUFORD HWY                                                                                         BUFORD                   GA           30518
    CITY OF BULLHEAD CITY BUSINESS LICENSE                                             PO BOX 23189                                                                                            BULLHEAD CITY            AZ           86439-3189
    CITY OF BURLEY                                                                     MUNICIPAL UTILITY DEPT               PO BOX 1090                                                        BURLEY                   ID           83318
    CITY OF CALGARY                                                                    800 MACLEOD TRAIL SE                 PO BOX 2405 STN M                                                  CALGARY                  AB           T2P 3L9      CANADA
    CITY OF CALGARY FINANCE AND SUPPLY                                                 PO BOX 2405 STN M                                                                                       CALGARY                  AB           T2P 3L9      CANADA
    CITY OF CAMARILLO                           BUSINESS LICENSE TAX DIVISION          601 CARMEN DR                        PO BOX 37                                                          CAMARILLO                CA           93011-0037
    CITY OF CAMROS RE TAX                                                              5204 50 AVE                                                                                             CAMROSE                  AB           T4V 0S8      CANADA
    CITY OF CAMROSE                                                                    5204 50 AVE                                                                                             CAMROSE                  AB           T4V 0S8      CANADA
    CITY OF CARLSBAD LICENSES                                                          2906 ROOSEVELT ST                                                                                       CARLSBAD                 CA           92008
    CITY OF CARROLLTON UTILITIES                                                       PO BOX 1949                                                                                             CARROLLTON               GA           30112-0037
    CITY OF CASA GRANDE                                                                PO BOX 842447                                                                                           LOS ANGELES              CA           90084-2447
    CITY OF CHATTANOOGA                         DAISY W MADISON CITY TREAS             101 E 11TH ST ROOM102                                                                                   CHATTANOOGA              TN           37402-4284
    CITY OF CHATTANOOGA WASTE RESOURCES
    DIVISION                                                                           PO BOX 591                                                                                              CHATTANOOGA              TN           37401-0591
    CITY OF CHESAPEAKE                                                                 PO BOX 16495                                                                                            CHESAPEAKE               VA           23328-6495
    CITY OF CHESAPEAKE LICENSES                 VICTORIA L PROFFITT                    COMMISIONER OF THE REVENUE           PO BOX 15285                                                       CHESAPEAKE               VA           23328-5285
    CITY OF CHESAPEAKE TREASURER                                                       PO BOX 16495                                                                                            CHESAPEAKE               VA           23328-6495
    CITY OF CHILIWACK                                                                  201 46093 YALE RD                                                                                       CHILIWACK                BC           V2P 2L8      CANADA
    CITY OF CLARKSVILLE PPT                                                            PO BOX 928                                                                                              CLARKSVILLE              TN           37041-0928
    CITY OF COLUMBUS                            INCOME TAX DIVISION                    PO BOX 183190                                                                                           COLUMBUS                 OH           43218-3190
    CITY OF COMPTON                                                                    FIRST FL CITY HALL                   205 S WILLOWBROOK AVE                                              COMPTON                  CA           90220
    CITY OF COOKEVILLE                          ATTN BUSINESS LICENSE                  45 E BROAD ST                                                                                           COOKEVILLE               TN           38503-0998
    CITY OF CORSICANA UTILITY                                                          200 N 12TH ST                                                                                           CORSICANA                TX           75110-4616
    CITY OF COURTENAY                                                                  830 CLIFFE AVE                                                                                          COURTENAY                BC           V9N 2J7      CANADA
    CITY OF CUYAHOGA FALLS                                                             2310 SECOND ST                                                                                          CUYAHOGA FALLS           OH           44221-2530
    CITY OF DALLAS                                                                     CITY HALL 1AN                                                                                           DALLAS                   TX           75277
    CITY OF DANIA BEACH                                                                100 W DANIA BEACH BLVD                                                                                  DANIA BEACH              FL           33004
    CITY OF DANIA BEACH UTILITIES                                                      PO BOX 919789                                                                                           ORLANDO                  FL           32891-0001
    CITY OF DAVENPORT                                                                  PO BOX 8003                                                                                             DAVENPORT                IA           52808-8003
    CITY OF DAYTON                                                                     399 W 1ST AVE                        PO BOX 226                                                         DAYTON                   TN           37321-0226
    CITY OF DICKSON TAX COLLECTOR               TAX COLLECTORS OFFICE                  600 E WALNUT ST                                                                                         DICKSON                  TN           37055
    CITY OF DINUBA                                                                     FINANCE AND COMMUNITY SERVICES       405 E EL MONTE WAY                                                 DINUBA                   CA           93618
    CITY OF DOUGLASVILLE                                                               PO BOX 219                                                                                              DOUGLASVILLE             GA           30133-0219
    CITY OF DUBLIN                                                                     PO BOX 690                                                                                              DUBLIN                   GA           31040
    CITY OF EAST POINT                                                                 2791 E POINT ST                                                                                         EAST POINT               GA           30344-3239

    CITY OF EDMONTON                              URBAN FORM AND CORPORATE STRATEGIC   DEVELOPMENT SERVICES                 PO BOX 2670                                                        EDMONTON                 AB           T5J 2G4      CANADA
    CITY OF ENGLEWOOD SPONSORSHIP                                                      333 W NATIONAL RD                                                                                       ENGLEWOOD                OH           45322
    CITY OF ENGLEWOOD UTILITIES                                                        333 W NATIONAL RD                                                                                       ENGLEWOOD                OH           45322-1495
    CITY OF ESCANABA                              UTILITY ACCOUNTS                     SECTION CITY HALL                    PO BOX 948                                                         ESCANABA                 MI           49829
    CITY OF FAIRFAX                                                                    PO BOX 10203                                                                                            FAIRFAX                  VA           22035
    CITY OF FAIRFIELD BUSINESS LICENSE            COMMUNITY DEVELOPMENT DEPT           1000 WEBSTER ST                      2ND FL                                                             FAIRFIELD                CA           94533
    CITY OF FINDLAY                                                                    136 N BLANCHARD ST                                                                                      FINDLAY                  OH           45840-5808

    CITY OF FLAGSTAFF BUSINESS LICENSE DIVISION   BUSINESS LICENSE DIVISION            211 W ASPEN AVE                                                                                         FLAGSTAFF                AZ           86001
    CITY OF FLORENCE                                                                   8100 EWING BLVD                                                                                         FLORENCE                 KY           41042--758
    CITY OF FLORENCE                                                                   PO BOX 1327                                                                                             FLORENCE                 KY           41022-1327
    CITY OF FORT PAYNE                                                                 100 ALABAMA AVE NW                                                                                      FORT PAYNE               AL           35967
    CITY OF FORT SASKATCHEWAN                                                          PLANNING AND DEVELOPMENT SERVICES    10005 102 ST                                                       FORT SASKATCHEWAN        AB           T8L 2C5      CANADA
    CITY OF FRESNO                                BUSINESS TAX DIVISION                PO BOX 45017                                                                                            FRESNO                   CA           93718-5017
    CITY OF FRUITLAND                                                                  PO BOX 324                                                                                              FRUITLAND                ID           83619-0324
    CITY OF GRAND JUNCTION                                                             250 N 5TH ST                                                                                            GRAND JUNCTION           CO           81501
    CITY OF GRANITE CITY UTILITY                                                       CITY TREASURER 2000 EDISON AVE                                                                          GRANITE CITY             IL           62040
    CITY OF HAMILTON                              INCOME TAX DIVISION                  345 HIGH ST STE 310                                                                                     HAMILTON                 OH           45011
    CITY OF HARRISON LICENSE                                                           621 E RUSH AVE                                                                                          HARRISON                 AR           72601
    CITY OF HIALEAH BUSINESS TAX                  BUSINESS TAX DIVISION                PO BOX 918661                                                                                           ORLANDO                  FL           32891-8661
    CITY OF HICKORY                                                                    PO BOX 580069                                                                                           CHARLOTTE                NC           28258-0069
    CITY OF HINESVILLE BUSINESS LICENSE                                                115 E MARTIN LUTHER KING JR DR                                                                          HINESVILLE               GA           31313
    CITY OF HUBBARD                                                                    PO BOX 380                                                                                              HUBBARD                  OR           97032


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    CITY OF INGLEWOOD BUSINESS LICENSE                                               ONE MANCHESTER BLVD                                                                                      INGLEWOOD              CA           90301
    CITY OF JACKSONVILLE UTILITIES                                                   PO BOX 128                                                                                               JACKSONVILLE           NC           28541
    CITY OF JOHNSON CITY                        ATTN TAX DEPARTMENT                  PO BOX 2150                                                                                              JOHNSON CITY           TN           37605-2227
    CITY OF JOPLIN UTILITY                      ATTN UTILITY BILLING                 602 S MAIN ST                                                                                            JOPLIN                 MO           64801-2606
    CITY OF KENNER                                                                   1801 WILLIAMS BLVD                                                                                       KENNER                 LA           70062
    CITY OF KENOSHA                                                                  ONLINE PAYMENT
    CITY OF KINGMAN BUSINESS LICENSE                                                 CITY CLERKS OFFICE                  310 N 4TH ST                                                         KINGMAN                AZ           86401
    CITY OF KITCHENER                                                                KITCHNER MEMORIAL AUDITORIUM        400 E AVE                                                            KITCHENER              ON           N2H 1Z6      CANADA
    CITY OF LAFAYETTE                                                                PO BOX 89                                                                                                LAFAYETTE              GA           30728-0089
    CITY OF LANCASTER                                                                8839 N CEDAR AVE 212                                                                                     FRESNO                 CA           93720-1832
    CITY OF LANCASTER                           BUSINESS SUPPORT CENTER              8839 N CEDAR AVE 212                                                                                     FRESNO                 CA           93720-1832
    CITY OF LAS VEGAS SEWER                     DEPARTMENT FO FINANCE AND BUSINE     PO BOX 98801                                                                                             LAS VEGAS              NV           89293-8801
    CITY OF LAS VEGAS SEWER SERVICES                                                 DEPT OF FINANCES                    PO BOX 748022                                                        LOS ANGELES            CA           90074-8022
    CITY OF LEBANON                             BUSINESS TAX DIVISION                200 N CASTLE HEIGHTS AVE 124                                                                             LEBANON                TN           37087
    CITY OF LITTLE ROCK                         TREASURY MANAGEMENT DIVISION         500 W MARKHAM ST                    STE 100                                                              LITTLE ROCK            AR           72201-1497
    CITY OF LODI                                                                     PO BOX 3006                                                                                              LODI                   CA           95241
    CITY OF LONG BRANCH                                                              344 BROADWAY                                                                                             LONG BRANCH            NJ           07740
    CITY OF LORAIN UTILITIES DEPT                                                    1106 W 1ST ST                                                                                            LORAIN                 OH           44052-1434
    CITY OF LOS ANGELES                                                              PO BOX 102654                                                                                            PASADENA               CA           91189
    CITY OF LUMBERTON                                                                500 N CEDAR ST                      PO BOX 1388                                                          LUMBERTON              NC           28359-1388
    CITY OF LYNNVIEW                                                                 1241 GILMORE LN                                                                                          LOUISVILLE             KY           40213
    CITY OF MADISON PPT                                                              PO BOX 2999                                                                                              MADISON                WI           53701-2999
    CITY OF MCHENRY                                                                  333 S GREEN ST                                                                                           MCHENRY                IL           60050
    CITY OF MELBOURNE UTILITIES                                                      PO BOX 17                                                                                                MELBOURNE              FL           32902-0017
    CITY OF MEMPHIS                                                                  PO BOX 185                                                                                               MEMPHIS                TN           38101-1085
    CITY OF MIAMI BUSINESS TAX                                                       PO BOX 105206                                                                                            ATLANTA                GA           30348-5206
    CITY OF MIDDLESBORO                                                              PO BOX 756                                                                                               MIDDLESBORO            KY           40965
    CITY OF MILLEDGEVILLE                                                            PO BOX 1900                                                                                              MILLEDGEVILLE          GA           31059
    CITY OF MILWAUKEE LICENSES                                                       809 N BROADWAY                                                                                           MILWAUKEE              WI           53202-3617
    CITY OF MOOSE JAW                                                                228 MAIN ST N                                                                                            MOOSE JAW              SK           S6H 3J8      CANADA
    CITY OF NEW IBERIA                                                               457 E MAIN ST                       STE 304                                                              NEW IBERIA             LA           70560
    CITY OF NEW ORLEANS                         BUREAU OF THE TREASURY               1300 PERDIDO ST RM 1W40                                                                                  NEW ORLEANS            LA           70112
    CITY OF NEWPORT NEWS                                                             FOUNTAIN PLZ TWO                    900 TOWN CTR DR STE 32                                               NEWPORT NEWS           VA           23606
    CITY OF NEWPORT NEWS PPT                                                         PO BOX 975                                                                                               NEWPORT NEWS           VA           23607-0975
    CITY OF NEWTON                                                                   PO BOX 550                                                                                               NEWTON                 NC           28658
    CITY OF NORFOLK TREASURER                                                        PO BOX 3215                                                                                              NORFOLK                VA           23514-3215
    CITY OF NORTH LAS VEGAS                     LIBERTY TAX SERVICE ATTN DALE ROOD   1311 W CRAIG RD STE B                                                                                    N LAS VEGAS            NV           89032
    CITY OF NORTH LITTLE ROCK                   OFFICE OF CITY CLERK AND TREASURER   PO BOX 5757                                                                                              NORTH LITTLE ROCK      AR           72119
    CITY OF OAK RIDGE                                                                PO BOX 1                                                                                                 OAK RIDGE              TN           37831
    CITY OF OCEANSIDE LICENSE                                                        300 N COAST HWY                                                                                          OCEANSIDE              CA           92054
    CITY OF OLATHE ACT 4220070007                                                    PO BOX 2100                                                                                              OLATHE                 KS           66051
    CITY OF ORANGE LICENSES                                                          300 E CHAPMAN AVE                                                                                        ORANGE                 CA           92866
    CITY OF ORILLIA                                                                  50 ANDREW ST S                      STE 300                                                              ORILLIA                ON           L3V 7T5      CANADA
    CITY OF OSHAWA                              LEGENDS CENTRE                       1661 HARMONY RD N                                                                                        OSHAWA                 ON           L1H 7K5      CANADA
    CITY OF OXNARD CITY TREASURER                                                    214 SC ST                                                                                                OXNARD                 CA           93030
    CITY OF PALM COAST PPT                                                           160 LAKE AVE                                                                                             PALM COAST             FL           32164
    CITY OF PALMDALE                                                                 8839 N CEDAR AVE 212                                                                                     FRESNO                 CA           93720-1832
    CITY OF PETERBOROUGH                                                             500 GEORGE ST N                                                                                          PETERBOROUGH           ON           K9H 3R9      CANADA
    CITY OF PETERBOROUGH                        CORPORATE SPONSORSHIP                500 GEORGE ST N                                                                                          PETERBOROUGH           ON           K9H 3R9      CANADA
    CITY OF PIQUA                               DEPARTMENT OF TAXATION               PO BOX 1223                                                                                              PIQUA                  OH           45356
    CITY OF PORTAGE                                                                  115 W PLEASANT ST                                                                                        PORTAGE                WI           53901
    CITY OF PORTLAND                                                                 111 SW COLUMBIA ST                  STE 600                                                              PORTLAND               OR           97201-5840
    CITY OF POTOSI LICENSE                                                           121 E HIGH ST                                                                                            POTOSI                 MO           63664
    CITY OF PRINCE ALBERT                                                            1084 CENTRAL AVE                                                                                         PRINCE ALBERT          SK           S6V 7P3      CANADA
    CITY OF PRINCE ALBERT UTILITIES                                                  1084 CENTRAL AVE                                                                                         PRINCE ALBERT          SK           S6V 7P3      CANADA
    CITY OF PRINCE GEORGE                                                            1100 PATRICIA BLVD                                                                                       PRINCE GEORGE          BC           V2L 3V9      CANADA
    CITY OF PUDUCAH PPT                         FINANCE DEPARTMENT                   PO BOX 90                                                                                                PUDUCAH                KY           42002-0090
    CITY OF RACINE TREASURER PPT                                                     CITY HALL                           730 WASHINGTON AVE RM 201                                            RACINE                 WI           53403
    CITY OF RALEIGH                                                                  PO BOX 71081                                                                                             CHARLOTTE              NC           28272-1081
    CITY OF RICHMOND                                                                 COLLCECTIONS PERSONAL PROPERTY      CITY OF RICHMOND VIRGINIA                  PO BOX 105371             ATLANTA                GA           30348-5371
    CITY OF RINCON                              UTILITY BILLING DEPARTMENT           PO BOX 232                                                                                               RINCON                 GA           31326
    CITY OF ROCHESTER HILLS PPT                                                      16748 COLLECTION CTR DR                                                                                  CHICAGO                IL           60693-0167
    CITY OF ROCK HILL BUSINESS LICENSE                                               320 W THORNTON AVE                                                                                       ROCK HILL              MO           63119
    CITY OF ROCKY MOUNT PARK AND RECREATION                                          PO BOX 1180                                                                                              ROCKY MOUNT            NC           27802-1180
    CITY OF ROME                                                                     PO BOX 1433                                                                                              ROME                   GA           30162-1433
    CITY OF SALMON ARM                                                               500 2 AVE NE                        BOX 40                                                               SALMON ARM             BC           V1E 4N2      CANADA
    CITY OF SAN BERNARDINO BUSINESS LICENSE                                          300 N D ST                          2ND FL                                                               SAN BERNARDINO         CA           92402
    CITY OF SAN DIEGO                           BUSINESS TAX PROGRAM                 PO BOX 121536                                                                                            SAN DIEGO              CA           92112-1536
    CITY OF SAN JOSE BUSINESS TAX               ATTN PAYMENT PROCESSING              200 E SANTA CLARA ST 13TH FL                                                                             SAN JOSE               CA           95113
    CITY OF SANDERSVILLE                                                             PO BOX 71                                                                                                SANDERSVILLE           GA           31082
    CITY OF SANTA ANNA                                                               20 CIVIC CTR PLZ                    FIRST FL M 15                              PO BOX 1964               SANTA ANA              CA           92702
    CITY OF SARATOGA SPRINGS                                                         474 BROADWAY                                                                                             SARATOGA SPRINGS       NY           12866
    CITY OF SEATTLE                             REVENUE AND CONSUMER AFFAIRS         600TH 4TH AVE RM 103                                                                                     SEATTLE                WA           98104-1891
    CITY OF SEATTLE DEPT OF FIN                                                      PO BOX 34906                                                                                             SEATTLE                WA           98124-1906
    CITY OF SEATTLE LICENSING AND TAX
    ADMINISTRATION                                                                   PO BOX 34907                                                                                             SEATTLE                WA           98124-1907
    CITY OF SENECA                                                                   PO BOX 4773                                                                                              SENECA                 SC           29679
    CITY OF SHEBOYGAN                                                                828 CTR AVE STE 205                                                                                      SHEBOYGAN              WI           53081
    CITY OF SHERWOOD                                                                 PO BOX 6256                                                                                              SHERWOOD               AR           72124

    CITY OF SPRINGFIELD OFFICE OF TAX COLLECTOR                                      36 CT ST                                                                                                 SPRINGFIELD            MA           01103-1698
    CITY OF ST FRANCIS LICENSES PERMITS                                              3400 E HOWARD AVE                                                                                        ST FRANCIS             WI           53235
    CITY OF ST MARYS                                                                 418 OSBORNE ST                                                                                           ST MARYS               GA           31558
    CITY OF ST PETERS                                                                ONE ST PETERS CENTRE BLVD           PO BOX 9                                                             ST PETERS              MO           63376
    CITY OF STOCKTON                            BUSINESS LICENSE DIVISION            PO BOX 1570                                                                                              STOCKTON               CA           95201-1570
    CITY OF STOUGHTON TREASURER                                                      PO BOX 222                                                                                               STOUGHTON              WI           53589
    CITY OF SUFFOLK SUFFOLK PARKS AND
    RECREATION                                                                       301 N MAIN ST                       PO BOX 1858                                                          SUFFOLK                VA           23439
    CITY OF SUISUN CITY BUSINESS LICENSE        BUSINESS LICENSE DEPT                701 CIVI CTR BLVD                                                                                        SUISUN CITY            CA           94585


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                         Name                                 Attention                                Address 1                                Address 2                             Address 3                    City          State       Zip          Country
    CITY OF SUTHERLIN                                                                  126 E CENTRAL AVE                                                                                          SUTHERLIN                OR            97479
    CITY OF SWIFT CURRENT                                                              PO BOX 340                                                                                                 SWIFT CURRENT            SK            S9H 3W1      CANADA
    CITY OF TACOMA                             FINANCE DEPT TAX AND LICENSE DIVISION   PO BOX 11640                                                                                               TACOMA                   WA            98411-6640
    CITY OF TAMPA                              BUSINESS TAX DIVISION                   PO BOX 2200                                                                                                TAMPA                    FL            33601-2200
    CITY OF TAYLOR                                                                     23555 GODDARD RD                                                                                           TAYLOR                   MI            48180-4116
    CITY OF THOMPSON                                                                   226 MYSTERY LAKE RD                                                                                        THOMPSON                 MANITOBA      R8N 1S6      CANADA
    CITY OF TIFTON                             BUSINESS LICENSING DIVISION             130 E 1ST ST                                                                                               TIFTON                   GA            31794
    CITY OF TILLAMOOK LICENSES                                                         210 LAUREL AVE                                                                                             TILLAMOOK                OR            97141
    CITY OF TORONTO                            PPFA REVENUE SERVICES                   METRO HALL 19TH FL                    55 JOHN ST                                                           TORONTO                  ON            M5V 3C6      CANADA
    CITY OF TUCSON                             LICENSE SECTION                         PO BOX 27210                                                                                               TUCSON                   AZ            85726-7210
    CITY OF UNION                                                                      101 SHARPE AVE                        PO BOX 987                                                           UNION                    SC            29379
    CITY OF UNION CITY                                                                 408 S DEPOT ST                                                                                             UNION CITY               TN            38261
    CITY OF UTICA                                                                      7750 AUBURN RD                                                                                             UTICA                    MI            48317
    CITY OF VACAVILLE LICENSE                                                          650 MERCHANT ST                       PO BOX 6178                                                          VACAVILLE                CA            95696-6178
    CITY OF VALDOSTA                                                                   102 N LEE ST                                                                                               VALDOSTA                 GA            31601
    CITY OF VALLEJO                            COMMERICAL SERVICES DIVISION            PO BOX 3068                           555 SANTA CLARA ST                                                   VALLEJO                  CA            94590
    CITY OF VIRGINIA BEACH                                                             PERMITS AND INSPECTIONS               2875 SABRE ST STE 500                                                VIRGINIA BEACH           VA            23452
    CITY OF VIRGINIA BEACH CONVENTION CENTER   ATTN ACCTS RECEIVABLE                   1000 19TH ST                                                                                               VIRGINIA BEACH           VA            23451
    CITY OF VIRGINIA BEACH ECONOMIC
    DEVELOPMENT                                AUTHORITY                               222 CENTRAL PARK AVE STE 1000                                                                              VIRGINIA BEACH           VA            23462
    CITY OF VIRGINIA BEACH LICENSES                                                    2401 COURTHOUSE DR                                                                                         VIRGINIA BEACH           VA            23456
    CITY OF VIRGINIA BEACH PAYROLL USE                                                 MUNICIPAL CTR BUILDING 1              2401 COURTHOUSE DR                                                   VIRGINIA BEACH           VA            23456-9018
    CITY OF VIRGINIA BEACH PPT                 JOHN T ATKINSON TREASURER               2401 COURTHOUSE DR                                                                                         VIRGINIA BEACH           VA            23456
    CITY OF VIRGINIA BEACH TREASURER                                                   2401 COURTHOUSE DR                                                                                         VIRGINIA BEACH           VA            23456
                                               VLEIGH HENDERSON TREASURER CITY OF VA
    CITY OF VIRGINIA BEACH UTILITIES           BEACH                                 MUNICIPAL CTR BLDG 1                    2401 COURTHOUSE DR                                                   VA BEACH                 VA            23456-9002
    CITY OF VISALIA UTILITY                                                          PO BOX 80268                                                                                                 CITY OF INDUSTRY         CA            91716-8268
    CITY OF VISTA LICENSE                                                            200 CIVIC CTR DR                                                                                             VISTA                    CA            92084
    CITY OF WASHINGTON COURT HOUSE                                                   117 N MAIN ST                                                                                                WASHINGTON COURT HOUSE   OH            43160
    CITY OF WEIRTON                                                                  200 MUNICIPAL PLZ                                                                                            WEIRTON                  WV            26062
    CITY OF WHITEVILLE                                                               PO BOX 607                                                                                                   WHITEVILLE               NC            28472-0607
    CITY OF WINDER                                                                   PO BOX 568                                                                                                   WINDER                   GA            30680
    CITY OF WINDSOR                                                                  WFCU CTR                                8787 MCHUGH ST                                                       WINDSOR                  ON            N8S 0A1      CANADA
    CITY OF WINNIPEG                                                                 510 MAIN ST                                                                                                  WINNIPEG                 MB            R35 3M2      CANADA
    CITY OF WINSTON SALEM REVENUE DIVISION                                           PO BOX 580055                                                                                                CHARLOTTE                NC            28258-0055
    CITY OF WINTER GARDEN                                                            300 W PLANT ST                                                                                               WINTER GARDEN            FL            34787
    CITY OF WYOMING PPT                                                              PO BOX 908                                                                                                   WYOMING                  MI            49509-0908
    CITY OF WYOMING UTILITIES                                                        1155 28TH ST SW                         PO BOX 908                                                           WYOMING                  MI            49509-0908
    CITY OF YUKON                                                                    PO BOX 850500                                                                                                YUKON                    OK            73085-0500
    CITY PUBLIC SERVICES                                                             PO BOX 2678                                                                                                  SAN ANTONIO              TX            78289-0001
    CITY TREASURER                                                                   CITY OF SAVANNAH                        REVENUE DEPARTMENT                         PO BOX 1228               SAVANNAH                 GA            31402-1228
    CITY TREASURER COLUMBUS INCOME TAX         COLUMBUS INCOME TAX DIVISION          PO BOX 182158                                                                                                COLUMBUS                 OH            43218-2158
    CITY TREASURER SAN DIEGO BUSINESS TAX      BUSINESS TAX PROGRAM                  PO BOX 121536                                                                                                SAN DIEGO                CA            92112-1536
    CITY WATER LIGHT AND POWER                                                       CITY WATER LIGHT AND POWER              MUNICIPAL CTR W                                                      SPRINGFIELD              IL            62757-0001
    CITYMARK PROPERTIES LLC                                                          3818 PARK BLVD                                                                                               SAN DIEGO                CA            92103
    CITYSCAPE FINANCIALS                                                             141 NE 3RD AVE 5TH FL                                                                                        MIAMI                    FL            33132
    CITYTV                                                                           545 LAKE SHANE BLVD W                                                                                        TORONTO                  ON            M5V 1A3      CANADA
    CJ ACQUIRE LLC                                                                   1155 C ARNOLD DR                        STE 401                                                              MARTINEZ                 CA            94553
    CJCD RADIO LTD                                                                   BOX 218                                                                                                      YELLOWKNIFE              NT            X1A 2N2      CANADA
    CJIJ RADIO C99 FM                                                                449 TUPSI DR                                                                                                 SYDNEY                   NS            B1S 3K8      CANADA
    CJMX FM                                    ROGERS MEDIA INC                      880 LASALLE BLVD                                                                                             SUDBURY                  ON            P3A 1X5      CANADA
    CJMX FM                                    ROGERS MEDIA INC                      CASH MANAGEMENT                         1 MOUNT PLEASANT RD 5TH FL                                           TORONTO                  ON            M4Y 2Y5      CANADA
    CJRQ FM                                    ROGERS MEDIA INC                      CASH MANAGEMENT                         1 MOUNT PLEASANT RD 5TH FL                                           TORONTO                  ON            M4Y 2Y5      CANADA
    CKDK FM                                                                          380 WELLINGTON ST STE 222                                                                                    LONDON                   ON            N6A 5B5      CANADA
    CKDX FM                                                                          5312 DUNDAS ST W                                                                                             TORONTO                  ON            M9B 1B3      CANADA
    CKDX FM FOXY                                                                     5302 DUNDAS ST W                                                                                             TORONTO                  ON            M9B 1B2      CANADA
    CKGY CIZZ RADIO                                                                  4920 59TH ST                                                                                                 RED DEER                 AB            T4N 2N1      CANADA
    CKKN FM                                                                          1810 3RD AVE 2ND FL                                                                                          PRINCE GEORGE            BC            V2M 1G4      CANADA
    CKLQ FM                                                                          624 14TH ST E                                                                                                BRANDON                  MB            R7A7E1       CANADA
    CKOV AND CKLZ FM                                                                 3805 LAKESHORE RD                                                                                            KELOWNA                  BC            V1W 3K6      CANADA
    CKPC AM                                                                          571 W ST                                                                                                     BRANTFORD                ON            N3R 7C5      CANADA
    CKPG TELEVISION LTD                                                              1810 3RD AVE 2ND FLR                                                                                         PRINCE GEORGE            BC            V2M 1G4      CANADA
    CKRW                                                                             203 4103 4TH AVE                                                                                             WHITEHORSE               YT            Y1A 1H6      CANADA
    CKRW 961FM                                                                       203 4103 4TH AVE                                                                                             WHITEHORSE               YT            YIA 1H6      CANADA
    CKSW 570                                                                         134 CENTRAL AVE                                                                                              SWIFT CURRENT            SK            S9H 0L1      CANADA
    CKUE FM 951                                                                      PO BOX 100                                                                                                   CHATHAM                  ON            N7M 5K1      CANADA
    CLAIBORNE JACKIE                                                                 ADDRESS ON FILE
    CLARILOGIC INC DBA DECISIONLOGIC                                                 13500 EVENING CREEK DR N                STE 600                                                              SAN DIEGO                CA            92128
    CLARION HOTEL                                                                    4453 BONNEY RD                                                                                               VIRGINIA BEACH           VA            23462
    CLARION HOTEL SAN FRANCISCO AIRPORT                                              401 E MILLBRAE AVE                                                                                           MILLBRAE                 CA            94030
    CLARION SUITES COLLEGE PARK GA                                                   4820 MASSACHUSETTS BLVD                                                                                      COLLEGE PARK             GA            30337
    CLARITY CREDIT CORP 98789                                                        PO BOX 98789                                                                                                 LAS VEGAS                NV            89193
    CLARK COUNTY                                                                     ONLINE PAYMENTS
    CLARK COUNTY ASSESSOR                                                            PO BOX 551401                                                                                                LAS VEGAS                NV            89155-1401
    CLARK COUNTY TREASURER                                                           PO BOX 9808                                                                                                  VANCOUVER                WA            98666
    CLARK DAN                                                                        ADDRESS ON FILE
    CLARK MARK                                                                       ADDRESS ON FILE
    CLARK RON                                                                        ADDRESS ON FILE
    CLARKSVILLE DEPARTMENT OF ELECTRICITY                                            PO BOX 31449                                                                                                 CLARKSVILLE              TN            37040-9933
    CLARKSVILLE GAS AND WATER DEPARTMENT                                             PO BOX 31329                                                                                                 CLARKSVILLE              TN            37040-0023
    CLASS AUTO SALES                                                                 2100 FULTON AVE STE A                                                                                        SACRAMENTO               CA            95825
    CLAUDE ANTONELLI                                                                 ADDRESS ON FILE
    CLAUDE NEON FEDERAL SIGNS INC                                                    1225 N LANSING AVE                                                                                           TULSA                    OK            74106
    CLAVERIE GUDINO GRETA                                                            ADDRESS ON FILE
    CLAY A HARTMANN                                                                  ADDRESS ON FILE
    CLAY HEPBURNS ELECTRICAL SERVICES                                                RR10 1151 FAIRVIEW RD                                                                                        GIBSONS                  BC            V0N 1V3      CANADA
    CLAY PLAZA INVESTORS LLC                                                         506 MANCHESTER EXPRESSWAY               STE B 5                                                              COLUMBUS                 GA            31904
    CLEAN 4 ME                                                                       675 COCHRANE DR 6TH FL                  E TOWER                                                              MARKHAM                  ON            L3R 0B8      CANADA
    CLEAN AIR CONCEPT LLC                                                            26 TOWN CENTRE WAY                      STE 129                                                              HAMPTON                  VA            23666


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    CLEAN AND CARE SERVICES                                                        15 HALES LANDING                                                                                          STOVFFVILLE             ON           L4A 1N4      CANADA
    CLEAN STREAK SERVICES                                                          8853 MCCRORY LN                                                                                           NASHVILLE               TN           37221
    CLEAN TECH BUILDING SERVICES INC                                               12900 GARDEN GROVE BLVD 145                                                                               GARDEN GROVE            CA           92843
    CLEAR CHANNEL                                                                  111 PRESIDENTIAL BLVD                  STE 100                                                            BALA CYNWYD             PA           19004
    CLEAR CHANNEL                                                                  FILE 056499                                                                                               LOS ANGELES             CA           90074-6499
    CLEAR CHANNEL ATLANTA                       C O BANK OF AMERICA                6000 FELDWOOD RD BOX 402516                                                                               ATLANTA                 GA           30349
    CLEAR CHANNEL ATLANTA POB 406066                                               PO BOX 406066                                                                                             ATLANTA                 GA           30384
    CLEAR CHANNEL BISMARCK ND MARKET                                               5584 COLLECTION CTR DR                                                                                    CHICAGO                 IL           60693
    CLEAR CHANNEL BROADCASTING                                                     207 UNIVERSITY BLVD                                                                                       HARRISONBURG            VA           22801
    CLEAR CHANNEL BROADCASTING                                                     5824 COLLECTION CTR                                                                                       CHICAGO                 IL           60693
    CLEAR CHANNEL BROADCASTING                                                     98903 COLLECTION CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL BROADCASTING                                                     PO BOX 402520                                                                                             ATLANTA                 GA           30384-2520
    CLEAR CHANNEL BROADCASTING CHICAGO                                             5080 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL BROADCASTING INC CHICAGO                                         5588 COLLECTION CTR DR                                                                                    CHICAGO                 IL           60693

    CLEAR CHANNEL BROADCASTING INC PITTSBURGH                                      5570 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL BROADCASTING KHTS                                                FILE 56492                                                                                                LOS ANGELES             CA           90074-6492

    CLEAR CHANNEL BROADCASTING WICHITA FALLS                                       PO BOX 847608                                                                                             DALLAS                  TX           75284-7608
    CLEAR CHANNEL COLUMBUS                                                         5588 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL COMMUNICATIONS 847567                                            PO BOX 847597                                                                                             DALLAS                  TX           75284-7567
    CLEAR CHANNEL COMMUNICATIONS DETROIT                                           5742 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL COMMUNICATIONS FRESNO         ATTN KBOS FM                       83 E SHAW STE 150                                                                                         FRESNO                  CA           93710
    CLEAR CHANNEL COMMUNICATIONS INC KSME                                          3894 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL COMMUNICATIONS WUBT                                              55 MUSIC SQUARE W                                                                                         NASHVILLE               TN           37203
    CLEAR CHANNEL DALLAS                                                           KISS FM 1061 KHKS                      14001 N DALLAS PKWY STE 300                                        DALLAS                  TX           75240
    CLEAR CHANNEL DALLAS                                                           PO BOX 847410                                                                                             DALLAS                  TX           75284
    CLEAR CHANNEL DALLAS                                                           PO BOX 847466                                                                                             DALLAS                  TX           75284-7466
    CLEAR CHANNEL DAVENPORT                                                        QUAD CITY RADIO GROUP                  5682 COLLECTIONS CTR DR                                            CHICAGO                 IL           60693
    CLEAR CHANNEL FARGO                                                            1020 S 25TH ST                                                                                            FARGO                   ND           58103
    CLEAR CHANNEL JACKSONVILLE                                                     PO BOX 402526                                                                                             ATLANTA                 GA           30384-2526
    CLEAR CHANNEL MANKATO                                                          1807 LEE BLVD                                                                                             MANKATO                 MN           56003
    CLEAR CHANNEL MINNEAPOLIS                                                      1600 UTICA AVE S                       STE 400                                                            ST LOUIS                MN           55416
    CLEAR CHANNEL NORFOLK                                                          1003 NORFOLK SQUARE                                                                                       NORFOLK                 VA           23502
    CLEAR CHANNEL NORFOLK 139                                                      PO BOX 402650                                                                                             ATLANTA                 GA           30384-2650
    CLEAR CHANNEL OKC                                                              500 PENN PL                            STE 1000                                                           OKLAHOMA CITY           OK           78113
    CLEAR CHANNEL OUTDOOR INC                                                      99 PARK AVE                                                                                               NEW YORK                NY           10016
    CLEAR CHANNEL OUTDOOR MEMPHIS                                                  1600 CENTURY CTR PKWY                  104                                                                MEMPHIS                 TN           38134
    CLEAR CHANNEL RADIO                                                            1575 MCKEE RD STE 206                                                                                     DOVER                   DE           19904
    CLEAR CHANNEL RADIO                                                            316 GREYSTONE BLVD                                                                                        COLUMBIA                SC           29210
    CLEAR CHANNEL RADIO                                                            626 SW D AVE                                                                                              LAWTON                  OK           73501
    CLEAR CHANNEL RADIO                                                            929 HOWARD AVE                                                                                            NEW ORLEANS             LA           70113
    CLEAR CHANNEL RADIO                                                            PO BOX 402516                                                                                             ATLANTA                 GA           30384
    CLEAR CHANNEL RADIO                         ATTN NANCY BIWER                   PO BOX 10                                                                                                 MINOT                   ND           58701
    CLEAR CHANNEL RADIO                         ATTN ROBIN BEYER                   4002 W GANDY BLVD                                                                                         TAMPA                   FL           33611
    CLEAR CHANNEL RADIO ANCHORAGE                                                  800 E DIAMOND BLVD                     STE 3 370                                                          ANCHORAGE               AK           99517
    CLEAR CHANNEL RADIO CHATTANOOGA                                                7413 OLD LEE HWY                                                                                          CHATTANOOGA             TN           37421
    CLEAR CHANNEL RADIO GRAND FORKS                                                505 UNIVERSITY AVE                                                                                        GRAND FORKS             ND           58203
    CLEAR CHANNEL RADIO GRAND RAPIDS                                               77 MONROE CTR STE 1000                                                                                    GRAND RAPIDS            MI           49503
    CLEAR CHANNEL RADIO JACKSON                                                    1375 BEASLEY RD                                                                                           JACKSON                 MS           39206
    CLEAR CHANNEL RADIO KIFS KZZE KRWQ                                             3624 AVION DR                                                                                             MEDFORD                 OR           97504
    CLEAR CHANNEL RADIO KIIS FM                                                    3400 W OLIVE AVE                       STE 500                                                            BURBANK                 CA           91505
    CLEAR CHANNEL RADIO OF DES MOINES                                              3982 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL RADIO WGCI FM                                                    3972 COLLECTION CTR DR                                                                                    CHICAGO                 IL           60693
    CLEAR CHANNEL RADIO WKQI                                                       5771 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL RICHMOND                                                         3245 BASIE RD                                                                                             RICHMOND                VA           23228
    CLEAR CHANNEL RICHMOND                                                         PO BOX 402584                                                                                             ATLANTA                 GA           30384-2584
    CLEAR CHANNEL ROCHESTER                                                        1530 GREENVIEW DR SW                   STE 200                                                            ROCHESTER               MN           55920
    CLEAR CHANNEL ROCHESTER MN                                                     5560 COLLECTIONS CTR DR                                                                                   CHICAGO                 IL           60693
    CLEAR CHANNEL SEATTLE                                                          351 ELLIOT AVE W                       STE 300                                                            SEATTLE                 WA           98119
    CLEAR CHANNEL VICTORIA                                                         KIXS FM KLUB FM KQVT FM                PO BOX 847938                                                      DALLAS                  TX           75284
    CLEAR CHANNEL WHITEHALL PA                                                     1541 ALTA DR STE400                                                                                       WHITEHALL               PA           18052
    CLEAR CHANNEL WORLDWIDE                                                        340 TOWNSEND                                                                                              SAN FRANCISCO           CA           94107
    CLEAR COMMERCE CORPORATION                                                     DEPT 9658                                                                                                 LOS ANGELES             CA           90084-9658
    CLEAR COMPANY LLC                                                              200 CLARENDON ST                       49TH FL                                                            BOSTON                  MA           02116
    CLEAR ENERGY SOLUTIONS INC                                                     417 W ALLEN AVE                        STE 105                                                            SAN DIMAS               CA           91773
    CLEAR SOLUTION CAPITAL LTD                                                     1111 BROADHOLLOW RD                                                                                       FARMINGDALE             NY           11735
    CLEARFIELD CITY UT                                                             55 S STATE ST                                                                                             CLEARFIELD              UT           84015
    CLEARFIELD TOWN SQUARE LLC                                                     1012 E CHAMBERS ST                                                                                        SOUTH OGDEN             UT           84403

    CLEARVIEW EXTERIOR CLEANING SOLUTIONS LLC                                      21 PARIS AVE                                                                                              CORINTH                 NY           12822
    CLEBURNE NEWS                                                                  958 ROSS ST STE A                      PO BOX 67                                                          HEFLIN                  AL           36264
    CLEMONS COURIER                                                                PO BOX 6963                                                                                               RICHMOND                VA           23230
    CLERK AND MASTER                                                               108 W JACKSON BLVD STE 2157                                                                               JONESBOROUGH            TN           37659
    CLERK OF CHANCERY                                                              1 PUBLIC SQUARE                        STE 308                                                            NASHVILLE               TX           37201
    CLERK OF SUPERIOR AND STATE COURTS                                             PO BOX 880                                                                                                LAWRENCEVILLE           GA           30046-0880
    CLERK OF SUPERIOR COURT HENRY COUNTY      ATTN BRENDA PRICE                    ONE COURTHOUSE SQUARE                                                                                     MCDONOUGH               GA           30253
    CLERK OF THE DISTRICT COURT                                                    200 SE 7TH ST                          STE 209                                                            TOPEKA                  KS           66603
    CLERK RECORDER                                                                 601 N ROSS ST                          PO BOX 238                                                         SANTA ANA               CA           92701
    CLERK SUPREME COURT OF VIRGINIA                                                100 N 9TH ST 5TH FL                                                                                       RICHMOND                VA           23219
    CLERK U S DISTRICT COURT                  US DISTRICT COURT EASTERN DIVISION   600 GRANBY ST                                                                                             NORFOLK                 VA           23510
    CLERK UNITED STATES COURT OF APPEALS                                           1100 E MAIN ST                         STE 501                                                            RICHMOND                VA           23219
                                              ATTN FISCAL SECTION ATTORNEY
    CLERK US DISTRICT COURT                   ADMISSIONS                           312 N SPRING ST RM 529                                                                                    LOS ANGELES             CA           90012
    CLERK VA BEACH CIRCUIT COURT                                                   2425 NIMMO PKWY                        JUDICIAL CTR BUILDING 10B 3RD FL                                   VIRGINIA BEACH          VA           23456
    CLERK VANDERBURGH SUPERIOR COURT                                               PO BOX 3356                                                                                               EVANSVILLE              IN           47732
    CLIFF PARKER AND ASSOCIATES INC           DBA PARKER AND ASSOCIATES            2800 S HULEN ST                        STE 100                                                            FORT WORTH              TX           76109
    CLIFFORD BELL                                                                  ADDRESS ON FILE
    CLIFFORD BIRNBAUM DO NOT USE                                                   1 GRISTMILL                                                                                               SPARTA                  NJ           07871


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                        Name                                     Attention                           Address 1                                 Address 2                           Address 3                     City             State            Zip          Country
    CLIFFORD D BELL                                                                 ADDRESS ON FILE
    CLIFFS CHECK CASHING STORES INC                                                 PO BOX 700115                                                                                              DALLAS                       TX                 75370
    CLIFTON G WHITT                                                                 ADDRESS ON FILE
    CLIFTON G WOOD                                                                  ADDRESS ON FILE
    CLINE STEVE                                                                     ADDRESS ON FILE
    CLINT BENSON                                                                    ADDRESS ON FILE
    CLINTON INVESTIGATIONS LLC                                                      4315 COMMERCE DR                        440                                                                LAYFAYETTE                   IN                 47905
    CLINTON PRINTING OF ROCHESTER INC                                               12 BIRCH HILLS DR                                                                                          ROCHESTER                    NY                 14622
    CLIPPER MAGAZINE                                                                3708 HEMPLAND RD                                                                                           MOUNTVILLE                   PA                 17554
    CLOCKWORK PRODUCTIONS INC                                                       162 QUEENS QUAY E                                                                                          TORONTO                      ON                 M5A 1B4      CANADA
    CLOUD 9 VOIP                                                                    PO BOX 5666                                                                                                WILLIAMSBURG                 VA                 23188
    CLOUD CATERING                                                                  42 81 HUNTER ST                                                                                            LIC                          NY                 11101
    CLOUD CREATIONS INC                                                             27 W ANAPAMU ST                         STE 160                                                            SANTA BARBARA                CA                 93101
    CLOUDMYBIZ INC                                                                  DPT 2004                                777 S FIGUEROA ST STE 4600                                         LOS ANGELES                  CA                 90017-2513
    CLPF CLAIREMONT MESA LP                    CO HP INVESTORS ATTN LISA MATTHEWS   9404 GENESSEE AVE STE 330                                                                                  LA JOLLA                     CA                 92037
    CLS MECHANICAL INC                                                              3201 W GRAND LEDGE HWY                  PO BOX 0077                                                        MULIKEN                      MI                 48861-0077
    CLUB KRYSTAL DE GYMNASTICS                                                      87 TAYLOR ST                                                                                               GRAND FALLS                  NB                 E3Y 3W6      CANADA
    CLUB SOFTWARE                                                                   5313 INDIAN RIVER RD                    STE 111                                                            VIRGINIA BEACH               VA                 23464
    CLUTTER INVESTIGATIONS BILL                                                     1717 W KIRBY ST                         STE 234                                                            CHAMPAIGN                    IL                 61820
    CLV GROUP INC                                                                   485 BANK ST                             STE 200                                                            OTTAWA                       ON                 K2P 1Z2      CANADA
    CM AND 2 HOLDINGS LLC                      C O JR MANAGEMENT                    PO BOX 41                                                                                                  PARK RIDGE                   IL                 60068
    CM AND Z HOLDINGS LLC                      C O JR MANAGEMENT                    2340 S RIVER RD STE 116                                                                                    DES PLAINES                  IL                 60018
    CM FUSCO LAW GROUP PC                                                           1065 OLD COUNTRY RD                     STE 201                                                            WESTBURY                     NY                 11590
    CM MUSIC COMPANY INC                                                            1501 15TH PL                                                                                               PLANO                        TX                 75074
    CMG HOLDINGS LLC                                                                31225 LA BAYA DR                        STE 206                                                            WESTLAKE VILLAGE             CA                 91362
    CMM PROPERTIES                                                                  PO BOX 307                                                                                                 ASHBURN                      GA                 31714
    CMZ HOLDINGS LLC DO NOT USE                C O JR MANAGEMENT                    PO BOX 41                                                                                                  PARK RIDGE                   IL                 60068
    CNA INSURANCE COMPANIES                                                         7555 COLLECTIONS CTR DR                                                                                    CHICAGO                      IL                 60693
    CNA SURETY                                                                      PO BOX 957312                                                                                              ST LOUIS                     MO                 63195-7312
    CNC COMMERICAL REAL ESTATE INC             DBA CNC PROPERTIES                   2560 W OLYMPIC BLVD STE 204                                                                                LOS ANGELES                  CA                 90006
    CNM LLP                                                                         21051 WARNER CTR LN                     STE 140                                                            WOODLAND HILLS               CA                 91367
    CNS THIS WEEK                                                                   PO BOX 341890                                                                                              COLUMBUS                     OH                 43234
    COAST 2 COAST CAPITAL GROUP INC                                                 2565 IROQUOIS CIR                                                                                          WEST PALM BEACH              FL                 33409
    COAST COMPUTER SERVICES                                                         PO BOX 1755                                                                                                GIBSONS                      BC                 V0N 1V0      CANADA
    COAST EQUIPMENT LENDING                                                         12223 HIGHLAND AVE                      STE 106546                                                         RANCHO CUCAMONGA             CA                 91739
    COAST PUBLISHING LTD                                                            2309 MAYNARD ST                                                                                            HALIFAX                      NS                 B3K 3T8      CANADA
    COAST REPORTER                                                                  BOX 1388                                                                                                   SECHELT                      BC                 V0N 3A0      CANADA
    COASTAL AREA HEALTH                                                             410 BAYLOR ST                                                                                              AUSTIN                       TX                 78703
    COASTAL CAPITAL GROUP                                                           223 WALL ST                             STE 305                                                            HUNTINGTON                   NY                 11743
    COASTAL CAROLINA RADIO                                                          233 MIDDLE ST                           STE 107 B                                                          NEW BERN                     NC                 28560
    COASTAL CURRENCY SERVICES INC                                                   1108 E 17TH ST                                                                                             SANTA ANA                    CA                 92701
    COASTAL FIRE PROTECTION CO                                                      3728 COOK BLVD                                                                                             CHESAPEAKE                   VA                 23323
    COASTAL SPORTS AND ENTERTAINMENT INC                                            3037 MARTINS POINT RD                                                                                      KITTY HAWK                   NC                 27949
    COBB INVESTIGATIVE SERVICES INC                                                 PO BOX 29366                                                                                               ST LOUIS                     MO                 63126
    COBBLE HILL COMPUTERS                                                           42 850 SHAWNIGAN MILL BAY RD                                                                               MILL BAY                     BC                 V0R 2P0      CANADA
    COCCA HOLDINGS II LLC                      DBA FIDC XX LLC                      100 DEBARTOLO PL                        STE 400                                                            BOARDMAN                     OH                 44512
    COCCA HOLDINGS II LLC                      DBA FIDC XX LLC                      100 DEBARTOLO PL                        STE 400                                                            BOARDMAN                     OH                 45512
    CODE COMPLETE SOFTWARE INC DBA JETBRAINS
    AMERICA                                                                         1900 S NORFOLKST                        STE 350                                                            SAN MATEO                    CA                 94403
    COFFEE NEWS OF SIOUX FALLS                                                      4401 S RIVER OAKS CIR                                                                                      SIOUX FALLS                  SD                 57105
    COGENCY GLOBAL INC                                                              LOCKBOXPO BOX 3168                                                                                         HICKSVILLE                   NY                 11802
    COGENCY GLOBAL INC                                                              PO BOX 3168                                                                                                HICKSVILLE                   NY                 11802
    COGENCY GLOBAL INC                         CORP 10E 40TH STREET                 10TH FL                                                                                                    NEW YORK                     NY                 10016
    COGENT HOLDINGS 1 LLC                                                           5002 S WASHINGTON ST                                                                                       TACOMA                       WA                 98409
    COLEMAN LOCHMILLER AND BOND                                                     PO BOX 1177                                                                                                ELIZABETHTOWN                KY                 42702-1177
    COLISEUM CENTRAL                                                                2021 CUNNINGHAM DR                      STE 101                                                            HAMPTON                      VA                 23666
    COLISEUM FF LLC                            C O CEDAR REALTY TRUST               ATTN MS GINA DAMATO                     44 S BAYLES AVE STE 304                                            PORT WASHINGTON              NY                 11050
    COLLABERA INC                              ATTN ACCOUNTS RECEIVABLE             PO BOX 411111                                                                                              BOSTON                       MA                 02241-1111
    COLLABORATIVE MARKETING GROUP INC                                               1745 S NAPERVILLE RD                    STE 105                                                            WHEATON                      IL                 60189
    COLLABORATIVE RESEARCH SOLUTIONS INC                                            2508 NE COACHMAN RD                                                                                        CLEARWATER                   FL                 33765
    COLLECTCORP INC                                                                 16 BATH RD                              STE 105                                                            KINGSTON                     ON                 K7L 1C4      CANADA
    COLLECTION ADVISOR MAGAZINE                                                     CPA MAGAZINE                            1705 W NW HWY STE 170                                              GRAPEVINE                    TX                 76051
    COLLECTION TECHNOLOGY INC                                                       PO BOX 2017                                                                                                MONTEREY PARK                CA                 91754-2017
    COLLEEM LLOYD                                                                   1 237 YORK ST                                                                                              ST CATHARINES                ON                 L0R 6G5      CANADA
    COLLEGE PARK SQUARE ASSOCIATES LLLP                                             PO BOX 3580                                                                                                NORFOLK                      VA                 23514
    COLLETTE BEACH FISER MEMORIAL FUND         MERLE AND SHANNON FISER              133 BROAD ST                                                                                               GRINNELL                     IA                 50112
    COLLIER COUNTY TAX COLLECTOR LICENSE                                            3291 TAMIAMI TRAIL E                                                                                       NAPLES                       FL                 34112
    COLLIER WRIGHT JR DBA CREDIT CARDS
    PROCESSING CO                                                                   217 WOODLAND LAKES DR                                                                                      LA GRANGE                    KY                 40031
    COLLIER WRIGHT JR DBA UNITED CASH
    SOLUTIONS                                                                       217 WOODLAND LAKES DR                                                                                      LA GRANGE                    KY                 400311-1382
    COLLIERS ARKANSAS INC                                                           PO BOX 3546                                                                                                LITTLE ROCK                  AR                 72203-3546
    COLLIERS INTERNATIONAL                                                          1110 1175 DOUGLAS ST                                                                                       VICTORIA                     BRITISH COLUMBIA   V5W 2E1     CANADA
    COLLIERS MACAULAY NICOLLS INC                                                   11TH FL 1672 DOUGLAS ST                                                                                    VICTORIA                     BC                 V8W 2G6     CANADA
    COLLIERS PRATT MCGARRY                                                          ADDRESS ON FILE
    COLLINS OTIS                                                                    2105 KIOWA CT                                                                                              LITTLE ELM                   TX                 75068
    COLLOGO NETWORKS INC                                                            320 1333 JOHNSTON ST                                                                                       GRANVILLE ISLAND VANCOUVER   BC                 V6H 3R       CANADA
    COLONIAL CORNER LLC                                                             222 N ST                                                                                                   MADISON                      WI                 53704
    COLONIAL FOODS LLC                                                              112 BRUTON CT                                                                                              CHESAPEAKE                   VA                 23322
    COLONIAL LIFE                              ATTN PREMIUM PROCESSING              PO BOX 903                                                                                                 COLUMBIA                     SC                 29202-0903
    COLOR GRAPHICS OF VA BEACH                                                      355 INDEPENDENCE BLVD                                                                                      VIRGINIA BEACH               VA                 23462
    COLORADO DEPARTMENT OF LABOR AND
    EMPLOYMENT                                 UNEMPLOYMENT INSURANCE TAX ACC       PO BOX 956                                                                                                 DENVER                       CO                 80201-8789
    COLORADO DEPARTMENT OF LAW                                                      1300 BROADWAY 6TH FL                                                                                       DENVER                       CO                 80203
    COLORADO DEPARTMENT OF TREASURY UCP        UNCLAIMED PROPERTY DIVISION          1580 LOGAN ST                           STE 500                                                            DENVER                       CO                 80203
    COLORADO SPRINGS SKY SOX BASEBALL                                               4385 TUTT BLVD                                                                                             COLORADO SPRINGS             CO                 80922
    COLORCRAFT OF VIRGINIA INC                                                      22645 SALLY RIDE DR                                                                                        STERLING                     VA                 20164
    COLOSSAL GREEN                                                                  6819 SEPULVEDA BLVD                     STE 204A                                                           VAN NUYS                     CA                 91405
    COLTON WALLACE                                                                  527 PEGGOTY CIR                                                                                            OSHAWA                       ON                 L1K 2C4      CANADA


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                        Name                                 Attention                              Address 1                               Address 2                           Address 3                      City        State       Zip          Country
    COLUMBIA GAS 4629                                                              PO BOX 4629                                                                                              CAROL STREAM              IL           60197-4629
    COLUMBIA GAS 742510                                                            PO BOX 742510                                                                                            CINCINNATI                OH           45274-2510
    COLUMBIA GAS OF MA                                                             PO BOX 742514                                                                                            CINCINNATI                OH           45274-2514
    COLUMBIA GAS OF OHIO KY                                                        PO BOX 9001847                                                                                           LOUISVILLE                KY           40290-1847
    COLUMBIA GAS OF OHIO OH                                                        PO BOX 182007                                                                                            COLUMBUS                  OH           43218-2007
    COLUMBIA PROPERTIES VENTURES V LLC                                             BUILDING 1478 STE 200                  1355 TERRELL MILL RD SE                                           MARIETTA                  GA           30067-9483
    COLUMBIA STATE BANK                                                            1301 A ST                                                                                                TACOMA                    WA           98402
    COLUMBINE CENTER ASSOCIATES LLC                                                4631 W 20TH ST                         STE 100                                                           GREELEY                   CO           80634
    COLUMBINE CENTER ASSOCIATES LLC            C O VINTAGE CORPORATION             4631 20TH ST STE 100                                                                                     GREELEY                   CO           80634
    COLUMBUS AREA CHAMBER OF COMMERCE          DBA COLUMBUS CHAMBER                500 FRANKLIN ST                                                                                          COLUMBUS                  IN           47201
    COLUMBUS BLUE JACKETS                                                          200 W NATIONWIDE BLVD                                                                                    COLUMBUS                  OH           43215
    COLUMBUS CITY TREASURER                    WATER AND SEWER SERVICES            PO BOX 182882                                                                                            COLUMBUS                  OH           43218-2882
    COLUMBUS DISPATCH 3RD ST                                                       34 S THIRD ST                                                                                            COLUMBUS                  OH           43215
    COLUMBUS DISPATCH DO NOT USE                                                   CLASSIFIED REMITTANCE PROCESS          DEPT 1801                                                         COLUMBUS                  OH           43271-1801
    COLUMBUS EMPLOYMENT NEWS                                                       PO BOX 307720                                                                                            GAHANNA                   OH           43230
    COLUMBUS WEST JOINT VENTURE                                                    25425 CTR RIDGE RD                                                                                       CLEVELAND                 OH           44145
    COLVIN JAMES                                                                   ADDRESS ON FILE
    COMAX VALLEY ECHO                                                              1574 W 6TH AVE                                                                                           VANCOUVER                 BC           V6J 1R2      CANADA
    COMBS NANCY                                                                    ADDRESS ON FILE
    COMCAST 3001                                                                   PO BOX 3001                                                                                              SOUTHEASTERN              PA           19398-3001
    COMCAST 3002                                                                   PO BOX 3002                                                                                              SOUTHEASTERN              PA           19398-3002
    COMCAST 3005                                                                   PO BOX 3005                                                                                              SOUTHEASTERN              PA           19398-3005
    COMCAST 34744                                                                  PO BOX 34744                                                                                             SEATTLE                   WA           98124-1744
    COMCAST 37601                                                                  PO BOX 37601                                                                                             PHILADELPHIA              PA           19101-0601
    COMCAST 530098                                                                 PO BOX 530098                                                                                            ATLANTA                   GA           30353-0098
    COMCAST 530099                                                                 PO BOX 530099                                                                                            ATLANTA                   GA           30353-0099
    COMCAST 660618                                                                 PO BOX 660618                                                                                            DALLAS                    TX           75266-0618
    COMCAST 71211                                                                  PO BOX 71211                                                                                             CHARLOTTE                 NC           28272-1211
    COMCAST ADVERTISING SALES MD                                                   10946 GOLDEN W DR                      STE 190                                                           HUNT VALLEY               MD           21031
    COMCAST ADVERTISING SALES PA                                                   4 PKWY CTR STE 300                                                                                       PITTSBURGH                PA           15220
    COMCAST ADVERTISING SALES PA                                                   PO BOX 8500 52968                                                                                        PHILADELPHIA              PA           19178
    COMCAST BUSINESS 60533                                                         PO BOX 60533                                                                                             CITY OF INDUSTRY          CA           91716-0533
    COMCAST BUSINESS 70219                                                         PO BOX 70219                                                                                             PHILADELPHIA              PA           19176-0219
    COMCAST POB 840                                                                PO BOX 840                                                                                               NEWARK                    NJ           07101-0840
    COMDOC INC 41602                                                               3458 MASSILLON RD NW                                                                                     UNIONTOWN                 OH           44685
    COMDOC INC 932159                                                              PO BOX 932159                                                                                            CLEVELAND                 OH           44193
    COMED                                                                          BILL PAYMENT CTR                                                                                         CHICAGO                   IL           60668-0001
    COMED                                                                          PO BOX 6111                                                                                              CAROL STREAM              IL           60197-6111
    COMED 6111                                                                     PO BOX 6111                                                                                              CAROL STREAM              IL           60197-6111
    COMENITY BANK                                                                  PO BOX 659705                                                                                            SAN ANTONIO               TX           78265
    COMENITY BANK VICTORIAS SECRET                                                 PO BOX 182789                                                                                            COLUMBUS                  OH           43218
    COMENITY CAPITAL BANK                                                          6550 N LOOP 1604 E                     STE 101                                                           SAN ANTONIO               TX           78247
    COMENITY CAPITAL BANK                                                          PO BOX 659450                                                                                            SAN ANTONIO               TX           78265
    COMENITY CAPITAL BANK ULTA                                                     PO BOX OH 659820                                                                                         SAN ANTONIO               TX           78265
    COMENITY LANE BRYANT RETAIL                                                    PO BOX 659728                                                                                            SAN ANTONIO               TX           78265
    COMFORT SERVICES INC                                                           6209 EVELINA ST                                                                                          MARRERRO                  LA           70072
    COMFORT TELECOMMUNICATIONS INC             ATTN ACCOUNTS RECEIVABLE            1407 SE 47TH TERRACE                                                                                     CAPE CORAL                FL           33904
    COMFORT ZONE SERVICES LTD                                                      244 HAMILTON CRES UNIT 3                                                                                 DORCHESTER                ON           N0L 1G4      CANADA
    COMMAND INVESTIGATIONS LLC                                                     PO BOX 7047 GROUP R                                                                                      INDIANAPOLIS              IN           46207
                                                                                                                          DBA NEILSON AND MACRITCHIE
    COMMAND INVESTIGATIONS LLC                                                     PO BOX 847186                          INVESTIGATORS                                                     LOS ANGELES               CA           90084-7186
    COMMAND360 ENCOMPASS SIMPLIFIED                                                705 WILTSHIRE DR                                                                                         HUTTO                     TX           78634
    COMMERCE POINT CAPITAL INC                                                     10855 SORRENTO VALLEY RD               STE 201                                                           SAN DIEGO                 CA           92121
    COMMERCEWEST BANK                                                              PO BOX 569100                                                                                            DALLAS                    TX           75356-9100
    COMMERCIAL DOOR LLC                                                            987 N UNIVERSITY BLVD                                                                                    NORMAN                    OK           73069
    COMMERCIAL EXECUTIVES REAL ESTATE
    SERVICES                                                                       7219 W SAHARA STE 100                                                                                    LAS VEGAS                 NV           89117

    COMMERCIAL FINANCE PARTNERS HOLDINGS INC                                       1200 N FEDERAL HWY                    STE 203                                                            BOCA RATON                FL           33432
    COMMERCIAL INVESTMENT PROPERTIES INC                                           FBO CIP CTA FOR PIGEON LLC            1600 VALLEY RIVER DR 160                                           EUGENE                    OR           97401
                                                                                   FBO CIP CTA FOR WHITTAKER NW PARTNERS
    COMMERCIAL INVESTMENT PROPERTIES INC                                           1                                     1600 VALLEY RIVER DR 160                                           EUGENE                    OR           97401
    COMMERCIAL RECORDS CENTER EL PASO INC                                          205 ANGE ST                                                                                              EL PASO                   TX           79901
    COMMERCIAL TULSA INC                       ATTN RICHARD C GARDNER              8301 E 51ST ST STE 212                                                                                   TULSA                     OK           74145
    COMMERICAL ROOF MANAGEMENT INC
    PROMENADE                                  ATTN SHELBY GONZALEZ                40820 WINCHESTER RD                                                                                      TEMECULA                  CA           92591
    COMMISIONAIRES                                                                 2947 PORTLAND DR                                                                                         OAKVILLE                  ON           L6H 554      CANADA
    COMMISIONER OF FINANCE                                                         5 LAKE AVE STE 5A                                                                                        SARATOGA SPRINGS          NY           12866
    COMMISSION JUNCTION                                                            530 E MONTECITO ST                                                                                       SANTA BARBARA             CA           93103
    COMMISSIONER OF REVENUE SERVICES CT        DEPARTMENT OF REVENUE SERVICES      PO BOX 15406                                                                                             HARTFORD                  CT           06115-0406
                                               DEPT OF COMMERCE AND CONSUMER
    COMMISSIONER OF SECURITIES HAWAII          AFFAIRS                             335 MERCHANT ST RM 205 BUSINES REG                                                                       HONOLULU                  HI           96813

    COMMISSIONER OF TAXATION AND FINANCE NYS   NYS ASSESSMENT RECEIVABLES          PO BOX 4127                                                                                              BINGHAMTON                NY           13902-4127
    COMMISSIONER OF THE REVENUE NEWPORT
    NEWS                                                                           CITY HALL                              2400 WASHINGTON AVE                                               NEWPORT NEWS                           23607
    COMMIVESCO LEVEINSON VINER GROUP INC                                           485 BANK ST STE 200                                                                                      OTTAWA                    ON           K2P 1Z2      CANADA
    COMMODORE REALTY                                                               30 W MASHTA DR STE 400                                                                                   KEY BISCAYNE              FL           33149
    COMMON SPACE LLC                                                               201 E JEFFERSON ST STE 200                                                                               SYRACUSE                  NY           13202
    COMMONWEALTH EXPRESS                                                           3105 W MARSHALL ST                     STE 205                                                           RICHMOND                  VA           23230
    COMMONWEALTH MERCHANT ADVANCE INC                                              3516 FLATLANDS AVE                                                                                       BROOKLYN                  NY           11213
                                               MASSACHUSETTS DEPARTMENT OF STATE
    COMMONWEALTH OF MASSACHUSETTS UCP          TREASURER                           ABANDONED PROPERTY DIVISION          ONE ASHBURTON PL 12TH FL                                            BOSTON                    MA           02108-1608
    COMMONWEALTH OF PENNSYLVANIA                                                   PENN DOT BUREAU OF MOTOR VEHICLES    POBOX 68620                                                         HARRISBURG                PA           17106-8620
                                                                                   BUREAU OF CORPORATION AND CHARITABLE
    COMMONWEALTH OF PENNSYLVANIA               DEPARTMENT OF STATE                 ORGANIZ                              PO BOX 8722                                                         HARRISBURG                PA           17105-8722
    COMMONWEALTH OF PENNSYLVANIA               UNCLAIMED PROPERTY                  PO BOX 783473                                                                                            PHILADELPHIA              PA           19178-3473
    COMMONWEALTH OF PENNSYLVANIA UNCLAIMED
    PROP                                       UNCLAIMED PROPERTY                  PO BOX 783473                                                                                            PHILADELPHIA              PA           19178-3473


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                             Name                            Attention                              Address 1                                  Address 2                           Address 3                     City                    State        Zip           Country
                                              OFFICE OF COMMISSIONER OF FINANCIAL
    COMMONWEALTH OF PUERTO RICO               INSTITUTIONS                          UNCLAIMED PROPERTY DIVISION             PO BOX 11855                                                       SAN JUAN                             PUERTO RICO   9103855
    COMMONWEALTH OF VIRGINIA                                                        PO BOX 27407                                                                                               RICHMOND                             VA            23261-7407
                                              DEPT OF TREASURY DIV UNCLAIMED
    COMMONWEALTH OF VIRGINIA 2478             PROPERTY                              PO BOX 2478                                                                                                RICHMOND                             VA            23218-2478
    COMMONWEALTH OF VIRGINIA NOTARY           NOTARY DIVISION                       PO BOX 1795                                                                                                RICHMOND                             VA            23218-1795
    COMMONWEALTH SAFE AND SECURITY                                                  PO BOX 61418                                                                                               VIRGINIA BEACH                       VA            23466-1418
    COMMUNICATION BRIEFINGS                                                         11010 KING ST STE 110                                                                                      ALEXANDRIA                           VA            22314
    COMMUNICATION PLANNING CORPORATION                                              8535 BAYMEADOWS RD                      STE 11                                                             JACKSONVILLE                         FL            32256
    COMMUNIQUE INC                                                                  250 JERSEY AVE                                                                                             VIRIGNIA BEACH                       VA            23462
    COMMUNITY BANK OF MANATEE                                                       600 SR 70 E                                                                                                BRADENTON                            FL            34203
    COMMUNITY BROADCASTERS LLC                DBA WPIG WHDL RADIO STATION           3163 NYS ROUTE 417                                                                                         OLEAN                                NY            14760
    COMMUNITY BROADCASTING SERVICES                                                 STE 476 1919B 4TH ST SW                                                                                    CALGARY                              AB            T2S 1W4      CANADA
    COMMUNITY CHOICE FINANCIAL                                                      PO BOX 3544                                                                                                DUBLIN                               OH            43016
    COMMUNITY DRUG ALERT                                                            202 9637 45 AVE                                                                                            EDMONTON                             AB            T6E 5Z8      CANADA
    COMMUNITY FOUNDATION OF GREATER
    PETERBOROUGH                                                                    202 261 GEORGE ST N                                                                                        PETERBOROUGH                         ON            K9J 3G9      CANADA
    COMMUNITY OUTREACH PROGRAM ERIE                                                 21 DUFFERIN ST                                                                                             FORT ERIE                            ON            L2A 2T5      CANADA
    COMMUNITY TAX PRO INC                                                           3911 W WATERS AVE                       3                                                                  TAMPA                                FL            33614
    COMMUNITY WAR VETERAN                                                           13320 SW GENESIS LOOP                                                                                      PORTLAND                             OR            97223
    COMOX VALLEY ECHO                                                               3355 GRANDVIEW HWY                                                                                         VANCOUVER                            BC            V5M 1Z5      CANADA
    COMPANY 3 METHOD INC                      FKA DELUXE CREATIVE SERVICES INC      3400 W EMPIRE AVES 4TH FL                                                                                  BURBANK                              CA            91504
    COMPARATIVE BUSINESS SOLUTIONS LLC                                              500 CENTRAL AVE                                                                                            UNION CITY                           NJ            07087
    COMPASS BANK                                                                    15 S 20TH ST                            AL BI CH ACT                                                       BIRMINGHAM                           AL            35233
    COMPASS GROUP CANADA                                                            400 E AVE                                                                                                  KITCHENER                            ON            N2H 1Z6      CANADA
    COMPASS TECHNOLOGY GROUP LLC                                                    14140 MIDWAY RD 204                                                                                        DALLAS                               TX            75244
    COMPDATA SURVEYS DOLAN TECHNOLOGIES
    CORP                                                                            1713 E 123RD ST                                                                                            OLATHE                               KS            66061
    COMPETITOR FIRE AND SAFETY                                                      1539 ROSSER AVE                                                                                            BRANDON                              MB            R7A 0M7      CANADA
    COMPETITVE EDGE SERVICES INC                                                    PO BOX 342                                                                                                 FAIRFAX STATION                      VA            22039-0342
    COMPITSS INC                                                                    1000 BUSINESS CTR DR                    STE 107                                                            NEWBURY PARK                         CA            91320
    COMPLETE COMMERCIAL REPAIR INC                                                  2175 N ANDREWS AVE                      STE 7                                                              POMPANO BEACH                        FL            33069
    COMPLETE FUNDING GROUP LLC                                                      333 CITY BLVD W                         STE 1702                                                           ORANGE                               CA            92868

    COMPLETE PAYMENT RECOVERY SERVICES INC                                          PO BOX 30184                                                                                               TAMPA                                FL            33630-3184
    COMPLETE PRESERVATION SERVICES LLC                                              PO BOX 534                                                                                                 BOYSTOWN                             NE            68010
    COMPLIANCE SERVICES GROUP LLC                                                   2405 EVERGREEN PARK DR SW               STE B 4                                                            OLYMPIA                              WA            98502
    COMPLIANCEPOINT DM INC                                                          4400 RIVER GREEN PKWY                   STE 100                                                            DULUTH                               GA            30096
    COMPONENET ONE                            ATTN ACCOUNTS RECEIVABLE              201 S HIGHLAND AVE 3RD FL                                                                                  PITTSBURGH                           PA            15206
    COMPONENT ART                                                                   511 KING ST W                           STE 400                                                            TORONTO                              ON            M5V 1K4      CANADA
    COMPONENTS ELECTRONIC SYSTEMS LLC                                               1528 W SAN PEDRO STE 3                                                                                     GILBERT                              AZ            85233
    COMPORIUM COMMUNICATIONS                                                        PO BOX 1299                                                                                                FORT MILL                            SC            29715
    COMPTROLLER OF MARYLAND                   REVENUE ADMINISTRATION DIVISION       110 CARROLL ST                                                                                             ANNAPOLIS                            MD            21411-0001
    COMPTROLLER OF MARYLAND                   UNCLAIMED PROPERTY UNIT               COMPTROLLER OF MARYLAND                 PO BOX 17161                                                       BALTIMORE                            MD            21297
    COMPTROLLER OF MARYLAND UNCLAIMED
    PROPERTY                                  COMPTROLLER OF MARYLAND               UNCLAIMED PROPERTY                      PO BOX 17161                                                       BALTIMORE                            MD            21297-1161
    COMPTROLLER OF PUBLIC ACCOUNTS                                                  111 E 17TH ST                                                                                              AUSTIN                               TX            78774-0100
    COMPTROLLER OF PUBLIC ACCOUNTS TX                                               PO BOX 149348                                                                                              AUSTIN                               TX            78714-9348
    COMPTROLLER STATE OF NEW YORK             OFFICE OF UNCLAIMED FUNDS             110 STATE ST 8TH FL                                                                                        ALBANY                               NY            12236-0001
    COMPUMASTER                                                                     6900 SQUIBB RD                          PO BOX 2973                                                        MISSION                              KS            66201-1373
    COMPUSA                                                                         5957 15 E VIRGINIA BEACH BLVD                                                                              NORFOLK                              VA            23502
    COMPUTER CABLES AND MORE                                                        17 1421 SAINT JAMES ST                                                                                     WINNIPEG                             MB            R3H 0Y9      CANADA
    COMPUTER CONFIGURATION SERVICES                                                 3002 DOW AVE                            STE 402                                                            TUSTIN                               CA            92780
    COMPUTER ENTERPRISES INC                                                        1910 COCHRAN RD                         STE 230                                                            PITTSBURGH                           PA            15220
    COMPUTER RENTAL CENTRE INC                                                      9947 109 ST                                                                                                EDMONTON                             AB            T5K 1H6      CANADA
    COMPUTER SUPPLY COMPANY OF VIRGINIA INC                                         1669 WILL OWISP DR                                                                                         VIRGINIA BEACH                       VA            23454
    COMPUTERS INTEC AND MORE                                                        266 TALBOT AVE                                                                                             WINNIPEG                             MB            R2L 0P8      CANADA
    COMPUTERSHARE                                                                   14257 COLLECTION CTR DR                                                                                    CHICAGO                              IL            60693
    COMPUWARE CORPORATION                                                           DRAWER 64376                                                                                               DETROIT                              MI            48264-0376
    CON EDISON 1702                                                                 JAF STATION                             PO BOX 1702                                                        NEW YORK                             NY            10116-1702
                                                                                    ARENAL 40 HACIENDA GUDALUPE
    CONACULTA                                                                       CHIMALSTAC                              CNC881207TN3                                                       CUIDAD DE MEXICO ALVARO OBREGON DF                 01050        MEXICO, C.P.
    CONCEPT UNLIMITED INC                                                           10020 FARROW RD                                                                                            COLUMBIA                             SC            29203
    CONCORDE FOOD SERVICES 1996 LTD                                                 1171 8TH ST E                                                                                              SASKATOON                            SK            S7H 0S3      CANADA
    CONCURSO SENORITA INDEPENDENCIA DE        C O GLADYS SALGADO                    2430 GOLFCREST DR                                                                                          PEARLAND                             TX            77581
    CONDON CHARLES                                                                  ADDRESS ON FILE
    CONECTIV                                                                        PO BOX 4875                                                                                                TRENTON                              NJ            08650
    CONEDISON                                                                       PO BOX 138                                                                                                 NEW YORK                             NY            10276-0138
    CONEXION HISPANA INTERNATIONAL LLC                                              315 W AVE D                                                                                                SAN ANGELO                           TX            76903
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                       Name               Attention                   Address 1                              Address 2                           Address 3                     City        State       Zip          Country
    CONFIDENTIAL CREDITOR                             ADDRESS ON FILE
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    CONFIDENTIAL SERVICES INC                         PO BOX 091034                                                                                          COLUMBUS                 OH           43209
    CONFIGSOLUTIONS                                   4120 DUKE OF GLOUCESTER DR                                                                             CHESAPEAKE               VA           23321
    CONNECTED INVESTORS                               254 N FRONT ST STE 100              PO BOX 12768                                                       WILMINGTON               NC           28401
    CONNECTICUT CCSPC                                 PO BOX 990032                                                                                          HARTFORD                 CT           06199-0032
    CONNECTICUT DEPARTMENT OF REVENUE                 PO BOX 2974                                                                                            HARTFORD                 CT           06104-2974
    CONNER FLINT                                      ADDRESS ON FILE
    CONNOR STEED                                      ADDRESS ON FILE
    CONNY TRAN                                        ADDRESS ON FILE
    CONRAD CULANAY                                    840 210 BRAIDWOOD RD                                                                                   COURTENAY                BC           V9N 3R       CANADA
    CONSERVICE                                        PO BOX 4718                                                                                            LOGAN                    UT           84323-4718
    CONSOLIDATED BSA LLC                              2901 W CYPRESS CREEK RD             STE 101                                                            FORT LAUDERDALE          FL           33309
    CONSOLIDATED CONTAINER SYS LTD                    1700 ROYAL COVE CT                                                                                     VIRGINIA BEACH           VA           23454
    CONSOLIDATED FUNDING INC                          17034 N DIXIE HWY                                                                                      NMB                      FL           33160
    CONSOLIDATED PLASTICS CO INC                      8181 DARROW RD                                                                                         TWINSBURG                OH           44087-2375
    CONSTANT CONTACT INC                              1601 TRAPELO RD                     STE 329                                                            WALTHAM                  MA           02451
    CONSTELLATION NEWENERGY 5472                      PO BOX 5472                                                                                            CAROL STREAM             IL           60197-5472
    CONSTELLATION NEWENERGY INC                       PO BOX 4640                                                                                            CAROL STREAM             IL           60197-4640




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                      Name                                      Attention                     Address 1                                 Address 2                           Address 3                   City        State       Zip          Country
    CONSTRUCTION ENGINEERING DESIGN GROUP
    LLC                                                                       1424 SUMMIT AVE 3028                                                                                      FORT WORTH             TX           76102
    CONSULATE GENERAL OF MEXICO                                               900 E SIX FORKS RD 231                                                                                    RALEIGH                NC           27603
    CONSULATE OF MEXICO IN INDIANAPOLIS                                       331 S E ST                                                                                                INDIANAPOLIS           IN           46204
    CONSULNET LLC                                                             10813 S RIVER FRONT PKWY               STE 150                                                            SOUTH JORDAN           UT           84095
    CONSUMER FINANCE BUREAU                                                   800 PARK BLVD                          STE 300                                                            BOISE                  ID           83712
    CONSUMER FINANCE DIVISION                                                 1205 PENDELTON ST                      STE 306                                                            COLUMBIA               SC           29201
    CONSUMER LAW GROUP LLC                                                    6232 N PULASKI RD                      STE 300                                                            CHICAGO                IL           60646

    CONSUMER UNIFIED LLC DBA CONSUMERAFFAIRS                                  PO BOX 735670                                                                                             DALLAS                 TX           75373
    CONSUMERINFOCOM INC                      DBA EXPERIAN CONSUMER SERVICES   PO BOX 886133                                                                                             LOS ANGELES            CA           90088-6133
    CONSUMERS ENERGY                                                          PAYMENT CTR                            PO BOX 740309                                                      CINCINNATI             OH           45274-0309
    CONSUMERS UNIFIED LLC                                                     297 KINGSBURY GRADE STE 1025           MAILBOX 4470                                                       STATELINE              NV           89449-4470
    CONTEL Y FERRAEZ ABOGADOS SC                                              AV YAXCHILAN SM 17 MZ 2 LT 1 01                                                                           CANCUN                                           MEXICO
    CONTEMPORARY ART CENTER OF VA            SUSAN M FINKLE DIR OF DEV        2200 PARKS AVE                                                                                            VIRGINIA BEACH         VA           23451
    CONTINENTAL DIVIDE                                                        PO BOX 1087                                                                                               GRANTS                 NM           87020-1087
    CONTINENTAL INVESTMENTS                                                   190 W JOE ORR RD                                                                                          CHICAGO HEIGHTS        IL           60411
    CONTINENTAL RESEARCH                                                      4500 COLLEY AVE                                                                                           NORFOLK                VA           23508
    CONTINENTAL VISINET BROADBAND                                             715 MIDDLE GROUND BLVD                                                                                    NEWPORT NEWS           VA           23606
    CONTINU INC                                                               2443 FILLMORE ST                       380 8049                                                           SAN FRANCISCO          CA           94115
    CONTRACT FUNDING GROUP                                                    3 CHURCH ST                            STE 305                                                            TORONTO                ON           M5E 1M2      CANADA
    CONVENANT OAK CONSULTING CORP                                             144 GREENWOOD DR                                                                                          MASSAPEQUA             NY           11758
    CONVERGENT MOBILE INC                                                     870 KNIGHT ST                                                                                             SONOMA                 CA           95476
    CONVERSICA INC                                                            DEPT 3407                              PO BOX 123407                                                      DALLAS                 TX           75312-3407
    CONVERTOLOGIC LTD                                                         10 BEIT SHAMAI ST                                                                                         TEL AVIV                                         ISRAEL
    CONVERZE MEDIA GROUP                                                      17011 BEACH BLVD STE 600                                                                                  HUNTINGTON BEACH       CA           92647
    CONVERZE MEDIA GROUP LLC                                                  17011 BEACH BLVD                       STE 600                                                            HUNTINGTON BEACH       CA           92647
    CONWAY REAL ESTATE SERVICES INC                                           1200 WILSHIRE BLVD 208                                                                                    LOS ANGELES            CA           90017
    COOK INVESTIGATIONS                                                       1 NORTHGATE PARK STE 410                                                                                  CHATTANOOGA            TN           37415
    COOK JOHN H                                                               ADDRESS ON FILE
    COOLIDGE MIDWAY MALL EQUITIES LP         C O SILVERMAN REALTY GROUP INC   237 MAMARONECK AVE                                                                                        WHITE PLAINS           NY           10605
    COOPER ELIZABETH M                                                        ADDRESS ON FILE
    COOPER LEVY AND PARTNERS LLC                                              56 SEAL ROCK DR                                                                                           SAN FRANCISCO          CA           94121
    COOPER TIM                                                                ADDRESS ON FILE
    COPELAND LACRECIA D                                                       ADDRESS ON FILE
    COPELAND MILLS SCHOOL OF THE ARTS                                         1457 MOUNT PLEASANT RD 102B                                                                               CHESAPEAKE             VA           23322
    COPELAND RICHARD                                                          ADDRESS ON FILE
    COPY RIGHT SERVICES INC                                                   2329 LOBELIA PL                                                                                           LAKELAND               FL           33811
    COR FUNDING LLC                                                           4250 EECUTIVE SOURE                                                                                       LAJOLLA                CA           92037
    CORAC NORTHLAND LLC                                                       1711 NORTHLAND MALL                                                                                       COLUMBUS               OH           43229
    CORBEILLES JEWELERS INC                                                   9948 SHADOWGATE CT                                                                                        LAS VEGAS              NV           89148
    CORDERO SIERRA YEIDY M                                                    ADDRESS ON FILE
    CORE BTS INC                                                              5875 CASTLE CREEK PKWY N DR            STE 320                                                            INDIANAPOLIS           IN           46250

    CORE FINANCIAL INC DBA CORE BUSINESS LOANS                                1820 W ORANGEWOOD                      STE 205                                                            ORANGE                 CA           92868
    CORE ROCK CAPITAL PARTNERS INC                                            500 5TH AVE 1700                                                                                          NEW YORK               NY           10017
    CORECOMM                                                                  PO BOX 4334                                                                                               CAROL STREAM           IL           60197-4334
    CORELOGIC SOLUTIONS LLC                      ATTN INFORMATION SOLUTIONS   PO BOX 847239                                                                                             DALLAS                 TX           75284-7239
    CORILEE V WEATHERBY 1999 IRREVOCABLE
    TRUST                                                                     PO BOX 1643                                                                                               FAIR OAKS              CA           95628
    CORINNE SHIPMAN                                                           ADDRESS ON FILE
    CORMACK CONTRACTING                                                       268 ELM ST                                                                                                SUDBURY                ONTARIO      P3C 1V4      CANADA
    CORNELL UNIVERSITY                                                        341 PINE TREE RD                                                                                          ITHACA                 NY           14850
    CORNER OFFICE INC                                                         11820 NORTHUP WAY                      STE E 200                                                          BELLEVUE               WA           98005
    CORNER PERFORMER                             ATTN DANIEL HEWITT           1403 N ARBON LN                                                                                           GATLINBURG             TN           37738
    CORNERS PLAZA LLC                                                         124 W MAIN ST                          STE 240                                                            EL CAJON               CA           92022
    CORNERS PLAZA LLC                                                         8580 LA MESA BLVD STE 105                                                                                 LA MESA                CA           91942-9594
    CORNERSTONE CLEANING SERVICES                                             14B OXFORD ST BOX 448                                                                                     COPPER CLIFF           ON           P0M 1N0      CANADA
    CORNERSTONE HOLDINGS LLC                     ATTN REAL PRO REALTY         432 W FIR RD STE A                                                                                        CARTHAGE               MO           64836
    CORODATA RECORDS MANAGEMENT INC                                           PO BOX 842638                                                                                             LOS ANGELES            CA           90084-2638
    CORONA HILLS HOLDING CO                                                   BOX 1196                                                                                                  CHASE                  BR           V0E 1M0      CANADA
    CORP LINK SERVICES INC                                                    118 W EDWARDS ST                       STE 200                                                            SPRINGFIELD            IL           62704
    CORPAMERICA INC                                                           PO BOX 811                                                                                                DOVER                  DE           19903-0811
    CORPORATE CLEANING SOLUTIONS LLC                                          125 SMYTHE CT                          APT 102                                                            VIRGINIA BEACH         VA           23452
    CORPORATE CREATIONS INTERNATIONAL INC                                     11380 PROSPERITY FARMS RD              STE 221E                                                           PALM BEACH GARDENS     FL           33410
    CORPORATE EXECUTIVE BOARD                                                 3393 COLLECTIONS CTR DR                                                                                   CHICAGO                IL           60693
    CORPORATE GAMES INC                                                       3130 STONERIDGE MALL RD                STE 105                                                            PLEASANTON             CA           94588
    CORPORATE PRESS INC                                                       9700 PHILADELPHIA CT                                                                                      LANHAM                 MD           20706
    CORPORATE SERVICES CONSULTANTS                                            PO BOX 1048                                                                                               DANDRIDGE              TN           37725
    CORPORATE SERVICES CONSULTANTS LLC                                        PO BOX 1048                                                                                               DANDRIDGE              TN           37725
    CORPORATE TECHNOLOGY GROUP INC               DBA JOBON                    9700 PHILADELPHIA CT                                                                                      LANHAM                 MD           20706
    CORPORATE VENTURE RESOURCES                                               5404 OLIVER CT                                                                                            LILBURN                GA           30047
    CORPORATION DIVISION STATE OF OREGON         CORPORATION DIVISION         255 CAPITOL ST NE STE 151                                                                                 SALEM                  OR           97310-1327
    CORPORATION OF THE CITY OF MISSISSAUGA                                    300 CITY CENTRE DR                                                                                        MISSISSAUGA            ON           I5B 3C1      CANADA
    CORPORATION SERVICE COMPANY PA                                            PO BOX 13397                                                                                              PHILADELPHIA           PA           19101-3397
    CORPORATION SERVICES COMPANY                                              PO BOX 7410023                                                                                            CHICAGO                IL           60674-5023
    CORPORATION TAX ANNUAL REPORT                                             PO BOX 666                                                                                                TRENTON                NJ           08646-0666
    CORPORATION TAX NEW JERSEY                                                PO BOX 193                                                                                                TRENTON                NJ           08646-0193
    CORT FURNITURE RENTAL                                                     5823 WARD CT                                                                                              VIRGINIA BEACH         VA           23455
    CORTINAS TONY                                                             ADDRESS ON FILE
    CORUS ENTERTAINMENT                                                       75 SPEEDVALE AVE E                                                                                        GUELPH                 ON           N1E 6M3      CANADA

    CORUS ENTERTAINMENT CORUS RADIO SALES INC                                 RE CJOY A                              25 DOCKSIDE DR                                                     TORONTO                ON           M5A 0B5      CANADA
    CORUS SALES INC CIMJ                                                      75 SPEEDVALE AVE E                                                                                        GUELPH                 ON           N1E 6M3      CANADA
    CORY MICHAEL HUGHES                                                       ADDRESS ON FILE
    CORYDON DEMOCRAT                                                          OBANNON PUBLISHING CO INC              301 N CAPITOL AVE                                                  CORYDON                IN           47112
    COSSMANPR LLC                                                             1500 SAGEBRUSH TRAIL                                                                                      KELLER                 TX           76248
    COSTAR REALTY INFORMATION INC             DBA BIZBUYSELL                  PO BOX 7410093                         ATTN AR                                                            CHICAGO                IL           60674-5093
    COSTUME INVASION CORPORATION                                              9342 49 ST NW                                                                                             EDMONTON               ALBERTA      T6B 2L7      CANADA


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                         Name                                Attention                         Address 1                              Address 2                           Address 3                    City        State       Zip          Country
    COTHRAN PAM                                                               ADDRESS ON FILE
    COTHREN BILL                                                              ADDRESS ON FILE
    COTTON PAMELA                                                             ADDRESS ON FILE
    COUCELL PETER J                                                           ADDRESS ON FILE
    COUNCIL UNITED FILIPINO ORGANIZATION OF                                   4857 BAXTER RD                                                                                          VIRGINIA BEACH          VA           23462-4403
    COUNSEL PRESS INC                                                         10 E 40TH ST 5TH FL                                                                                     NEW YORK                NY           10016
    COUNSELORLIBRARYCOM LLC                                                   7037 RIDGE RD                        STE 300                                                            HANOVER                 MD           21076
    COUNTERFORCE                                                              PO BOX 57004                         STN A                                                              TORONTO                 ON           M5W 5M5      CANADA
    COUNTRY CORNERS SHOPPING CNTR LLC                                         2079 RELIABLE PARAKWAY                                                                                  CHICAGO                 IL           60686
    COUNTRY INN AND SUITES                                                    10499 SO JORDAN GATEWAY                                                                                 SOUTH JORDAN            UT           84095
    COUNTRY RIDGE SHOPPING CENTER INC                                         11509 PULASKI HWY                                                                                       WHITE MARSH             MD           21162
    COUNTRYSIDE MALL LLC                                                      2049 CENTURY PARK E 41ST FL                                                                             LOS ANGELES             CA           90067
    COUNTRYWIDE SUMMIT SERVICES INC                                           1111 DAVIS DR UNIT 1 304                                                                                NEWMARKET               ON           L3Y 9E5      CANADA
    COUNTY CLERK                                                              FFN BOX 551604                                                                                          LAS VEGAS               NV           89155
    COUNTY OF NORTHAMPTON                                                     PO BOX 17399                                                                                            BALTIMORE               MD           21297
    COUNTY OF ORANGE                           ATTN TREASURER TAX COLLECTOR   PO BOX 1438                                                                                             SANTA ANA               CA           92702-1438
    COUNTY OF ORANGE TAX COLLECTOR                                            PO BOX 1438                                                                                             SANTA ANA               CA           92701
    COUNTY OF ROANOKE VIRGINIA                                                PO BOX 21009                                                                                            ROANOKE                 VA           24018-0533
    COUNTY OF SAN BERNARDINO                                                  268 W HOSPITALITY LN                 FIRST FL                                                           SAN BERNARDINO          CA           92415-0360
    COUNTY TREASURER NORTHAMPTON               COUNTY OF NORTHAMPTON          PO BOX 598                                                                                              EASTVILLE               VA           23347-0598
    COURIER COMMUNICATIONS                                                    401 MAIN ST                                                                                             CEDAR FALLS             IA           50613
    COURIER JOURNAL                                                           525 W BROADWAY                       PO BOX 740031                                                      LOUISVILLE              KY           40201-7431
    COURIER NEWS                                                              PO BOX 6600                                                                                             BRIDGEWATER             NJ           08807-6600
    COURSEY PROPERTY LLC                                                      4775 COLLINS AVE 3504                                                                                   MIAMI BEACH             FL           33140
    COURT REPORTING INC                                                       PO BOX 237                                                                                              LOCUST GROVE            GA           30248
    COURT TRUSTEE BL0047574                                                   PO BOX 513544                                                                                           LOS ANGELES             CA           90051
    COURT TRUSTEE BY0218347                                                   PO BOX 513544                                                                                           LOS ANGELES             CA           90051
    COURTNEY CARPENTER                                                        11 MAYWOOD AVE APT 1                                                                                    ST CATHERINES           ON           L2R 1C4      CANADA
    COVENANT SECUTIRY AND PATROL                                              PO BOX 292                                                                                              ETIWANDA                CA           91739
    COVERALL NORTH AMERICA INC                                                2955 MOMENTUM PL                                                                                        CHICAGO                 IL           60689
    COVERED INC                                                               205 FIRST COLONIAL RD                STE 117                                                            VIRGINIA BEACH          VA           23454
    COVERT INVESTIGATIVE SERVICES              ATTN CHAD ENGRSTROM            8608 GARDENIA                                                                                           DENTON                  TX           76207
    COVINGTON HUNTERS RIDGE ACQUISITIONS LLC   C O SANSONE GROUP              120 S CENTRAL AVE                    STE 500                                                            ST LOUIS                MO           63105
    COVINGTON LANSING ACQUISITION              C O SANSONE GROUP DDR LLC      PO BOX 823511                                                                                           PHILADELPHIA            PA           19182-3511
    COX BUSINESS                                                              PO BOX 919292                                                                                           DALLAS                  TX           75391-9292
    COX BUSINESS 248871                                                       PO BOX 248871                                                                                           OKLAHOMA CITY           OK           73124-8871
    COX BUSINESS 2742                                                         PO BOX 2742                                                                                             OMAHA                   NE           68103-2742
    COX BUSINESS 53214                                                        PO BOX 53214                                                                                            PHOENIX                 AZ           85072-3214
    COX BUSINESS 53262                                                        PO BOX 53262                                                                                            PHOENIX                 AZ           85072-3262
    COX BUSINESS 771911                                                       PO BOX 771911                                                                                           DETROIT                 MI           48277-1906
    COX BUSINESS 919367                                                       PO BOX 919367                                                                                           DALLAS                  TX           75391-9367
    COX COMMUNICATIONS                                                        PO BOX 37232                                                                                            BALTIMORE               MD           21297-3232
    COX COMMUNICATIONS 183124                                                 PO BOX 183124                                                                                           COLUMBUS                OH           43218-3124
    COX COMMUNICATIONS 248851                                                 PO BOX 248851                                                                                           OKLAHOMA CITY           OK           73124-8851
    COX COMMUNICATIONS 248876                                                 PO BOX 248876                                                                                           OKLAHOMA CITY           OK           73124-8876
    COX COMMUNICATIONS 53249                                                  PO BOX 53249                                                                                            PHOENIX                 AZ           85072-3249
    COX COMMUNICATIONS 78000                                                  DEPT 781121                          PO BOX 78000                                                       DETRIOT                 MI           48278-1121
    COX COMMUNICATIONS 9001008                                                PO BOX 9001088                                                                                          LOUISVILLE              KY           40290-1088
    COX COMMUNICATIONS ROANOKE                                                PO BOX 9001088                                                                                          LOUISVILLE              KY           40290-1088
    COX COMMUNICATIONS SAN DIEGO                                              PO BOX 53214                                                                                            PHOENIX                 AZ           85072-3214
    COX DISPOSAL SYSTEMS INC                                                  PO BOX 340                                                                                              BUFF CITY               TN           37618
    COX RADIO                                                                 7136 S YALE AVE                      STE 500                                                            TULSA                   OK           74136
    COX RADIO                                                                 PO BOX 30946                         GENERAL POST OFFICE                                                NEW YORK                NY           10087-0946
    COX RADIO INC GREENVILLE                                                  220 N MAIN ST                        STE 402                                                            GREENVILLE              SC           29601
    COX RADIO INC WACHOVIA BANK                                               PO BOX 934392                                                                                           ATLANTA                 GA           31193
    COZY MINI STORAGE                                                         1794 RYAN RD E                                                                                          COMOX                   BC           V9M 4C9      CANADA
    CPACTUARIES                                                               WORLD TRADE CTR                      101 W MAIN ST STE 4800                                             NORFOLK                 VA           23510
    CPADIRECTORY MARKETING INC                                                2001 GROVE ST                                                                                           WANTAGH                 NY           11793
    CPS 764                                                                   7649 GRANBY ST                                                                                          NORFOLK                 VA           23505
    CR RAPID TAX INC                                                          2026 EASTERN BLVD                                                                                       CEDAR RAPIDS            IA           52403
    CRA INTERNATIONAL INC                      DBA CHARLES RIVER ASSOCIATES   PO BOX 845960                        200 CLARENDON ST                                                   BOSTON                  MA           02284-5960
    CRAIG C FOWLER                                                            5741 ESTALL AVE                                                                                         TERRACE                 BC           V8G 0C8      CANADA
    CRAIG HOLDINGS LLC DBA LEASE GENIE                                        11317 GOLD ST                                                                                           OMAHA                   NE           68144
    CRAIG TOM                                                                 ADDRESS ON FILE
    CRAWFORD LYNDA                                                            111 SUNFLOWER LN                                                                                        PALMYRA                 PA           17078
    CRAWFORD WISHNEW AND LANG PLLC                                            1700 PACIFIC AVE                     STE 2390                                                           DALLAS                  TX           75201
    CRAZY DARRELLS ENTERTAINMENT                                              11116 66 ST                                                                                             EDMONTON                ALBERTA      T5B-1H2      CANADA
    CRAZYHORSE LLC                                                            322 CAMERON AVE                                                                                         LACROSSE                WI           54601
    CREASON AND SONS WELL SERVICE INC                                         PO BOX 84                                                                                               ZUNI                    VA           23898
    CREATIVE ASSISTANT                                                        STE 400                              600 GRANBY ST                                                      NORFOLK                 VA           23505
    CREATIVE CAPITAL LENDING INC                                              1645 WARWICK AVE                     STE 224                                                            WARWICK                 RI           02889
    CREATIVE CATERING OF VIRGINIA                                             1300 REDGATE AVE                                                                                        NORFOLK                 VA           53507
    CREATIVE COVERS FOR GOLF                                                  DIV OF SOFT STUFF CREATIONS INC      11191 HORSESHOE WAY UNIT 14                                        RICHMOND                BC           V74 4S5      CANADA
    CREATIVE DIGITAL INC                                                      1015 TECHNOLOGY PARK DR                                                                                 GLEN ALLEN              VA           23059
    CREATIVE NEON SIGNS                                                       648 CHRISTOPHER RD                                                                                      CHAPEL HILL             NC           27514
    CREATIVE OUTDOOR                                                          2402 STOUFVILLE RD                   ACCT DK4500613                                                     GORMLEY                 ON           L0H 1G0      CANADA
    CREATIVE PRINT ALL LTD                                                    418 MAIN ST                                                                                             STEINBACH               MB           R5G 1Z5      CANADA
    CREATIVE PUBLISHING                                                       PO BOX 3596 CRS                                                                                         JOHNSON CITY            TN           37602
    CREATIVE SOLUTIONS                         C O THOMSON TAX AND ACCT       36955 TREASURY CTR                                                                                      CHICAGO                 IL           60694-6900
    CREATIVE TRAINING TECHNIQUES                                              CIRCULATION DEPARTMENT               50 S NINTH ST                                                      MINNEAPOLIS             MN           55402-3165
    CREDENTIAL ASSISTANCE                                                     48 EDGELY LN                                                                                            WILLINGBORO             NJ           08046
    CREDIT ADMIRAL SOFTWARE LLC                                               851 E I65 SERVICE RD S               10TH FL STE 1070                                                   MOBILE                  AL           36606
    CREDIT CLINIC U S A                                                       4995 LACROSE RD                                                                                         NORTH CHARLESTON        SC           29406
    CREDIT CONNECTION LLC                                                     7525 N CEDAR AVE                     STE 109                                                            FRESNO                  CA           93720
    CREDIT CONTROL CORPORATION                                                PO BOX 120630                                                                                           NEWPORT NEWS            VA           23612-0630
    CREDIT FINANCIAL GROUP INC DBA LATIN PAK                                  141 CHESTERFIELD BUS PKWY                                                                               CHESTERFIELD            MO           63005-1233
    CREDIT PROTECTION ASSOC                                                   PO BOX 9037                          SUBURBAN NEWS PUBLICATIONS                                         ADDISON                 TX           75001
    CREDIT SAINT LIMITED LIABILITY COMPANY                                    PARK 80 W STE 200                                                                                       SADDLE BROOK            NJ           07663



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                                                                                                                            Served via First-Class Mail




                        Name                                  Attention                            Address 1                             Address 2                           Address 3                     City         State        Zip          Country
    CREDIT SESAME INC                                                             444 CASTRO ST                       STE 500                                                            MOUNTAIN VIEW            CA             94041
    CREDIT WISE ADVISOR LLC                                                       20423 STATE RD 7 F6 350                                                                                BOCA RATON               FL             33498
    CREDITERA INC                                                                 10713 S JORDAN GATEWAY              STE 100                                                            SOUTH JORDAN             UT             84095
    CREDITSMARTS CORPORATION                                                      231 E ALESSANDRO BLVD               488A                                                               RIVERSIDE                CA             92508
    CREEKSIDE SHOPPING CENTER                                                     2700 BOULDER PARK CT                                                                                   WINSTON SALEM            NC             27101
    CRENSHAW WARE AND MARTIN PLC                                                  150 W MAIN ST                       STE 1500                                                           NORFOLK                  VA             23510
    CRESA GLOBAL INC                                                              1800 M ST NW STE 350S                                                                                  WASHINGTON               DC             20036
    CRESCENT STREET CROSSING LLC                                                  651 WASHINGTON ST                   STE 200                                                            BROOKLINE                MA             02446
    CRESCO SHOPPER INC                                                            116 2ND AVE SE                      PO B OX 117                                                        CRESCO                   IA             52136
    CRESTAR BANK                              COMMERCIAL LOAN SERVICING OPC       PO BOX 26202                                                                                           RICHMOND                 VA             23260-6202
    CRESTMONT CAPITAL LLC                                                         24411 RIDGE ROUTE DR                STE 100                                                            LAGUNA HILLS             CA             92653
    CRF SOLUTIONS                                                                 PO BOX 1389                                                                                            SIMI VALLEY              CA             93062
    CRIMSON 1031 PORTFOLIO LLC                                                    149 S BARRINGTON AVE                803                                                                LOS ANGELES              CA             90049
    CRIPPLE CREEK ELECTRIC INC                                                    8171 BERKSHIRE DR                                                                                      FORT WORTH               TX             76137
    CRISP IMAGING PRODUCTS                                                        4607 29 AVE NW                                                                                         CALGARY                  AB             T3B 0J1      CANADA
    CRISTINA FAMILY PROPERTIES                                                    11271 FLORIDA BLVD                                                                                     BATON ROUGE              LA             70817
    CRITICAL PATH COURIERS                                                        775A THE QUEENSWAY                                                                                     TORONTO                  ON             M8Z 1N1      CANADA
    CRM                                                                           PO BOX 8806                                                                                            BOISE                    ID             83707
    CROFTON CONSTRUCTION SERVICES INC                                             16 HARPER AVE                                                                                          PORTSMOUTH               VA             23707
    CROHNS AND COLITIS FOUNDATION                                                 PUTT AN END TO CCFA GOLF CLASSIC    11300 ROCKVILLE PIKE                                               ROCKVILLE                MD             20853
    CRONOFY LIMITED                                                               9 A BECK ST                                                                                            NOTTINGHAM               UK             NG1 1EQ
    CROSBY OF ELBRIDGE LLC                    ATTN MATT CROSBY                    1767 E APPLE AVE STE 3                                                                                 MUSKEGON                 MI             49442
    CROSS MATCH TECHNOLOGY                                                        DEPT AT 49978                                                                                          ATLANTA                  GA             31192-9978
    CROSSCHECK COMPLIANCE                                                         810 W WASHINGTON BLVD                                                                                  CHICAGO                  IL             60607
    CROSSCOM NATIONAL INC                                                         1994 PAYSPHERE CIR                                                                                     CHICAGO                  IL             60674
    CROSSROADS FINANCIAL TECHNOLOGIES                                             55 S MARKET ST                      STE 1220                                                           SAN JOSE                 CA             95113
    CROWE SHREDDING                                                               5401ESTEB RD                                                                                           RICHMOND                 IN             47374
    CROWLEY FLOWER SHOP                                                           1414 N PARKERSON                                                                                       CROWLEY                  LA             70526
    CROWN ENTERPRISES LTD                                                         332 INDUSTRIAL DR                   PO BOX 1550                                                        REGINA                   SK             S4P 3E1      CANADA
    CROWN PROPERTIES LTD SUMMERVILLE                                              427 E 5TH ST                                                                                           CHARRANOOGA              TN             37403
    CROWN PROPERTIES LTD TRENTON                                                  427 E 5TH ST                                                                                           CHARRANOOGA              TN             37403
    CROWN SHRED AND RECYCLING                                                     225 8TH AVE E                                                                                          REGINA                   SASKATCHEWAN   S4N 6A6      CANADA
    CROWN TROPHY                                                                  3200 DAM NECK RD                    STE 103                                                            VIRGINIA BEACH           VA             23453
    CROWNE PLAZA NIAGARA FALLS FALLSVIEW                                          5885 FALLS AVE                                                                                         NIAGARA FALLS            ON             L2E 6W7      CANADA
    CRUISINE AND COMPANY                                                          3004 PACIFIC AVE                                                                                       VIRGINIA BEACH           VA             23451
    CRUMMEY INVESTIGATION INC                                                     PO BOX 510405                                                                                          MELBOURNE BEACH          FL             32951-0405
    CRUSH ADS LLC                                                                 1095 BROKEN SOUND PKWY              STE 300                                                            BOCA RATON               FL             33487-3501
    CRUZ IVETTE                                                                   ADDRESS ON FILE
    CRUZ RONALD AND DIANA                                                         ADDRESS ON FILE
    CRYSTAL AIR CONDITIONING AND HEATING                                          6540 INDUSTRIAL AVE                                                                                    PORT RICHEY              FL             34668
    CRYSTAL CLEAN SERVICES                                                        700 STRASBURG RD                                                                                       KITCHENER                ON             N2E 3K2      CANADA
    CRYSTAL MALL LLC                          ATTN MALL MANAGEMENT OFFICE DIANE   850 HARTFORD TURNPIKE                                                                                  WATERFORD                CT             06385
    CRYSTAL REPORTS TRAINING AND CONSULTING   KEN HAMADY                          525K E MARKET ST PMB 299                                                                               LEESBURG                 VA             20176
    CRYSTAL ROCK HOLDINGS INC                 DBA CRYSTAL ROCK LLC                1050 BUCKINGHAM ST                                                                                     WATERTOWN                CT             06795
    CRYSTAL SENSATIONS INC                                                        920 DENISON ST                      UNIT 8                                                             MARHAM                   ON             L3R 3K5      CANADA
    CRYSTAL SPRINGS                                                               PO BOX 4514 STATION A                                                                                  TORONTO                  ON             M5W 4L7      CANADA
    CRYSTAL SPRINGS 660579                                                        PO BOX 660579                                                                                          DALLA                    TX             75266-0579
    CRYSTAL STASIUK                                                               506 261 QUEEN ST                                                                                       WINNIPEG                 MB             R3J 3R1      CANADA
    CS ABSOLUTE RESOLUTIONS                                                       PO BOX 880306                                                                                          SAN DIEGO                CA             92168
    CS RENOVATIONS INC                        ATTN CECIL MORRIS                   3141 LAW ST                                                                                            NEW ORLEANS              LA             70117
    CS SERVICES GROUP INC                                                         4040 BARRANCA PKWY                  STE 290                                                            IRVINE                   CA             92604
    CSC CONSULTING INC                                                            JP MORGAN BANK ONE                  PO BOX 905145                                                      CHARLOTTE                NC             28290-5145
    CSC HOLDINGS LLC                                                              740 CENTRE VIEW BLVD                                                                                   CRESTVIEW HILLS          KY             41017
    CSC LEASING COMPANY                                                           6800 PARAGON PL                     STE 525                                                            RICHMOND                 VA             23230
    CSG SYSTEMS INC                                                               PO BOX 3366                                                                                            OMAHA                    NE             68176
    CSI LEASING CANADA LTD                                                        PO BOX 57173 STN A                                                                                     TORONTO                  ON             M5W 5M5      CANADA
    CSI LEASING INC                           ATTN ACCOUNTS RECEIVABLE            PO BOX 95531                                                                                           GRAPEVINE                TX             76099-9703
    CSM CABINETS                                                                  566 FAIRMONT RD                                                                                        WINNIPEG                 MB             R3R 1B1      CANADA
    CSS SAHARA LP                                                                 6318 W SAHARA AVE                                                                                      LAS VEGAS                NV             89146
    CSSTYLES DESIGN LLC                                                           3916 PINE BLUFF CT                                                                                     WILLIAMSBURG             VA             23188
    CT CORPORATION                                                                PO BOX 4349                                                                                            CAROL STREAM             IL             60197-4349
    CT CORPORATION 4349 CAROL STREAM                                              PO BOX 4349                                                                                            CAROL STREAM             IL             60197-4349
    CT CORPORATION SYSTEM                     DBA CT LIEN SOLUTIONS               2929 ALLEN PKWY STE 3300                                                                               HOUSTON                  TX             77019
    CT CORPORATION WASHINGTON                                                     1015 15TH ST NW                     TEAM 1                                                             WASHINGTON               DC             20005
    CT LIEN SOLUTIONS                                                             PO BOX 301133                                                                                          DALLAS                   TX             75303
    CTA MEDIA                                                                     15567 74TH AVE N                                                                                       WEST PALM BEACH          FL             33418
    CTEC                                                                          PO BOX 2890                                                                                            SACRAMENTO               CA             95812-2860
    CTECH INVESTAGATIONS                                                          PO BOX 2184                                                                                            MEDFORD                  NJ             08055
    CTECH INVESTIGATIONS                                                          PO BOX 2184                                                                                            MEDFORD                  NJ             08055
    CTF 3 COMMERCE PARK LLC                                                       20151 SW BIRCH                      STE 200                                                            NEWPORT BEACH            CA             92660
    CTS                                                                           13839 COLLECTION CTR DR                                                                                CHICAGO                  IL             60693
    CTV NORTHERN ONTARIO                      DIVISION OF BELL MEDIA INC          699 FROOD RD                                                                                           SUDBURY                  ON             P3C 5A3      CANADA
    CTV REGINA CKCK TV                        DIVISION OF BELL MEDIA INC          80 PATINA RIDE SW                                                                                      CALGARY                  AB             T3H 2W4      CANADA
    CTV SASKATOON CFQC TV                     DIVISION OF BELL MEDIA INC          80 PATINA RISE SW                                                                                      CALGARY                  AB             T3H 2W4      CANADA
    CTV TELEVISION INC                                                            216 FIRST AVE N                                                                                        SASKATOON                SK             S7K 3W3      CANADA
    CU LENDING SOLUTIONS LLC                                                      PO BOX 711912                                                                                          SANTEE                   CA             92072
    CUISINE AND COMPANY                                                           3004 PACIFIC AVE                                                                                       VIRGINIA BEACH           VA             23451
    CULLEN AND DYKMAN LLP                                                         100 QUENTIN ROOSEVELT BLVD                                                                             GARDEN CITY              NY             11530
    CULLIGAN                                                                      580 PARK ST                                                                                            REGINA                   SK             S4N 5A9      CANADA
    CULLIGAN 265                                                                  265 INDUSTRIAL RD                                                                                      CAMBRIDGE                ON             N3H 4R9      CANADA
    CULLIGAN PO BOX 4800                                                          PO BOX 4800                                                                                            REGINA                   SK             S4P 3Y4      CANADA
    CULLIGAN SEATTLE                                                              18404 CASCADE AVE S                 STE 100                                                            SEATTLE                  WA             98188
    CULLIGAN SOFT WATER SERVICE CO 8511       DBA CULLIGAN BOTTLED WATER CO       DEPARTMENT 8511                     PO BOX 77043                                                       MINNEAPOLIS              MN             55480-7743
    CULLIGAN WATER CONDITIONING FLINT MI                                          5383 HILL 23 DR                                                                                        FLINT                    MI             48507-3906
    CULP ELLIOTT AND CARPENTER PLLC                                               6801 MORRISON BLVD                  STE 400                                                            CHARLOTTE                NC             28211
    CULPEPER STAR EXPONENT                    ATTN ACCOUNTS RECEIVABLE            PO BOX 111 122 W SPENCER ST                                                                            CULPEPER                 VA             22701
    CULTURAL ALLIANCE OF GREATER HAMPTON
    ROADS                                                                         5200 HAMPTON BLVD                                                                                      NORFOLK                  VA             23508-1507



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                        Name                                    Attention                             Address 1                             Address 2                           Address 3                      City        State       Zip          Country
    CULVER BILLY                                                                     ADDRESS ON FILE
    CUMBERLAND COUNTY TAX COLLECTOR PPT                                              PO BOX 1070                                                                                            CHARLOTTE                 NC           28201-1070
    CUMMINGS AND FRANCK PC                                                           1025 W 190TH ST                     STE 200                                                            GARDENA                   CA           90248
    CUMMINGS AND WHITE SPUNNER INC                                                   3201 DAUPHIN ST                     PO DRAWER 16227                                                    MOBILE                    AL           36616-0227
    CUMULUS BROADCASTING                                                             4040 SIMON RD                                                                                          YOUNGSTOWN                OH           44512
    CUMULUS BROADCASTING                                                             PO BOX 643153                                                                                          CINCINNATI                OH           45264-3153
    CUMULUS BROADCASTING                                                             PO BOX 643243                                                                                          CINCINNATI                OH           45264-3243
    CUMULUS BROADCASTING CINCINNATI                                                  PO BOX 643087                                                                                          CINCINNATI                OH           45264-3087
    CUMULUS BROADCASTING CORP 643303                                                 PO BOX 643303                                                                                          CINCINNATI                OH           45264-3303
    CUMULUS BROADCASTING FLINT                  ATTN MS LAURIE RICHTER               6317 TAYLOR DR                                                                                         FLINT                     MI           48507
    CUMULUS BROADCASTING GROUP                                                       3901 BRENDANWOOD RD                                                                                    ROCKFORD                  IL           611070
    CUMULUS BROADCASTING INC                                                         PO BOX 643201                                                                                          CINCINNATI                OH           45264-3201
    CUMULUS BROADCASTING INDIANAPOLIS MKT                                            PO BOX 343649                                                                                          CINCINNATI                OH           45264
    CUMULUS BROADCASTING KALAMAZOO                                                   PO BOX 643168                                                                                          CINCINNATI                OH
    CUMULUS BROADCASTING LLC MELBOURNE FL                                            PO BOX 643183                                                                                          CINCINNATI                OH           45264-3183
    CUMULUS BROADCASTING MIDLAND TX                                                  PO BOX 643201                                                                                          CINCINNATI                OH           45264-3201
    CUMULUS BROADCASTING MOBILE                                                      2800 DAUPHIN ST                     STE 104                                                            MOBILE                    AL           36606
    CUMULUS BROADCASTING WICHITA FALLS                                               4302 CALLFIELD RD                                                                                      WICHITA FALLS             TX           76308
    CUMULUS LICENSING LLC                                                            122 4TH ST SW                                                                                          ROCHESTER                 MN           55902
    CUMULUS LICENSING LLC YOUNGSTOWN                                                 WHOT FM                             PO BOX 643249                                                      CINCINNATI                OH           45264-3249
    CUMULUS MEDIA                                                                    11300 HWY 191 BLDG 2                                                                                   MIDLAND                   TX           79707
    CUMULUS MEDIA                                                                    PO BOX 7753                                                                                            GRAND FALLS               NB           E3Z 3E8      CANADA
    CUNNINGHAM MARK                                                                  ADDRESS ON FILE
    CUNY FAMILY LLC                                                                  564 ANDREWS AVE                                                                                        METAIRIE                  LA           70005
    CURBEX                                                                           DIV OF 9003088 CANADA CORP          111 CAPLAN AVENE                                                   BARRIE                    ON           L4N 9J3      CANADA
    CURIOSITIES ROCK SHOP                                                            1400 ATLANTIC AVE                   STE 213 215                                                        VIRGINIA BEACH            VA           23451
    CURRIN ELECTRIC                                                                  1526 OLEANDER AVE                                                                                      CHESAPEAKE                VA           23325
    CURTIS 1000                                 ATTN JC POOLE                        1725 BRECKIN RIDGE PKWY STE 100                                                                        DULUTH                    GA           30096
    CURTIS MEDIA GROUP INC                                                           3012 HIGHWOODS BLVD                 STE 200                                                            RALEIGH                   NC           27604
    CUSHION CAPITAL CORPORATION                                                      267 MILL ST                                                                                            POUGHKEEPSIE              NY           12601
    CUSIP GLOBAL SERVICES                                                            STANDARD AND POORS                  2542 COLLECTION CTR DR                                             CHICAGO                   IL           60693
    CUSTOM COMFORT SYSTEMS INC                                                       61 PATTERSON RD                                                                                        BARRIE                    ON           L4N 3V9      CANADA
    CUSTOM SIGNS AND DESIGNS INC                                                     133 GARRETT WAY                                                                                        MILLEDGEVILLE             GA           31061
    CUSTOMER MAGNETISM INC                                                           2697 INTERNATIONAL PKWY 7                                                                              VIRGINIA BEACH            VA           23452
    CVENT INC                                                                        1765 GREENSBORO STATION PL 7TH FL                                                                      TYSONS CORNER             VA           22102
    CWB NATIONAL LEASING                                                             1525 BUFFALO PL                                                                                        WINNIPEG                  MB           R3T 1L9      CANADA
    CXR HOLDINGS INC                                                                 220 N MAIN ST                                                                                          GREENVILLE                NC           29601
    CY WAKEMAN INC                                                                   PO BOX 213                                                                                             WATERLOO                  NE           68069
    CYBER EXCHANGE 50                                                                14346 WARWICK BLVD 452                                                                                 NEWPORT NEWS              VA           23602
    CYBERCODERS INC                                                                  FILE 54318                                                                                             LOS ANGELES               CA           90074-4318
    CYBERNET                                                                         BOX 2678                                                                                               SMITHERS                  BC           V0J 2N0      CANADA
    CYCLOPS GRAPHICS                                                                 936 RAY FROST RD                                                                                       BYRON                     GA           31008
    CYGNOL TECHNOLOGIES CORP                                                         70 VALLEYWOOD DR                                                                                       MARKHAM                   ON           L3R 4T5      CANADA
    CYNTHIA ANITA BATTLE                                                             ADDRESS ON FILE
    CYNTHIA STALFOID                                                                 ADDRESS ON FILE

    CYRULI SHANKS AND ZIZMOR LLP IOLA ACCOUNT                                        420 LEXINGTON AVE STE 2320                                                                             NEW YORK                  NY           10170
    CYRUS DAVIS DBA MERCHANT CAPITAL XPRESS                                          1040 HUFF RD                        UNIT 3120                                                          ATLANTA                   GA           30318
    CYS COURIER HOUSE                           ACCOUNTS RECEIVABLE                  9 CLINTWOOD GATE STE 205                                                                               DON MILLS                 ON           M3A 1M3      CANADA
    D 1 ACCESS INC                                                                   5260 MCLEAN CRSC                                                                                       MANOTICK                  ON           K4M 1G1      CANADA
    D AND B                                                                          75 REMITTANCE DR                    STE 1793                                                           CHICAGO                   IL           60675-1793
    D AND D MARKETING DBA T3 LEADS                                                   4000 W ALAMEDA AVE                  STE 200                                                            BURBANK                   CA           91505
    D AND M INVESTMENTS                                                              4810 W IRVING PARK RD                                                                                  CHICAGO                   IL           60641
    D AND M LOCK AND SAFE INC                                                        5833 C MEMORIAL HWY                                                                                    TAMPA                     FL           33615
    D AND S L II LLC                                                                 1840 E FIFTH ST                                                                                        CARSON CITY               NV           89701
    D AND T LEGAL SERVICES                                                           2146 N MAIN ST STE A                                                                                   WALNUT CREEK              CA           94596
    D ANGELO GORDON                                                                  ADDRESS ON FILE
    D B KO ENTERPRISES LLC                      DBA LINCOLN SHOPPING CENTER          8149 RICHMOND HWY                                                                                      ALEXANDRIA                VA           22309
    D SIGNS                                                                          972 LINDA CT                                                                                           SOUTH ELGIN               IL           60177
    D SIGNS OF ALL KINDS                                                             PO BOX 216                                                                                             RICHMOND                  IL           60071
    DA DING ZHENG                               DBA D AND Z AUTO LLC                 107 HANOVER AVE                                                                                        LIVERPOOL                 NY           13088
    DABIR DUVERT                                                                     ADDRESS ON FILE
    DACO INVESTIGATION LLC                      C O DENNIS BOZUNG                    2451 WILDWOOD TRAIL                                                                                    SALINE                    MI           48176
    DADE STRATEGIC SYNDICATION CO                                                    1835 E HALLANDALE BEACH BLVD        STE 306                                                            HALLANDALE BEACH          FL           33009
    DAGEM INC                                   C O ELLIS GIBSON DEVELOPMENT GROUP   1081 19TH ST STE 203                                                                                   VIRGINIA BEACH            VA           23451
    DAHEE YOO DBA CAP TAP                                                            52 MANCHESTER CT                    APT B                                                              FREEHOLD                  NJ           07728
    DAILY COURIER                                                                    PO BOX 312                                                                                             PRESCOTT                  AZ           86302
    DAILY HERALD TRIBUNE                                                             BAG 3000 10604 100 ST                                                                                  GRANDE PRAIRIE            AB           T8V 6V4      CANADA
    DAILY NONPAREIL                                                                  535 W BROADWAY                      STE 300                                                            COUNCIL BLUFFS            IA           51503
    DAILY PRESS                                                                      PO BOX 100611                                                                                          ATLANTA                   GA           30384-0611
    DAILY PRESS                                                                      PO BOX 6000                                                                                            CHICAGO                   IL           60680-6000
    DAKARA HUFFMAN                                                                   ADDRESS ON FILE
    DAKOTA LOCK AND SAFE LTD                                                         1051 ST MARYS RD                                                                                       WINNIPEG                  MB           R2M 3T1      CANADA
    DALE BROWN ENTERPRISES                                                           ADDRESS ON FILE
    DALE M FIOLA INC                                                                 200 N HARBOR BLVD                   STE 217                                                            ANAHEIM                   CA           92805
    DALE WARREN MCCARTHY                                                             ADDRESS ON FILE
    DALESANDRO ROBERT                                                                ADDRESS ON FILE
    DALGI LLC                                                                        3349 RIVER BIRCH WAY                                                                                   ROSWELL                   GA           30075
    DALLAS COUNTY TAX ASSESSOR COLLECTOR        DALLAS CTY TAX ASSESSOR              PO BOX 139066                                                                                          DALLAS                    TX           75313-8066
    DALTO THOMAS                                                                     ADDRESS ON FILE
    DALTON ROOFING COMPANY INC                                                       3008 CROMWELL RD                                                                                       NORFOLK                   VA           23509
    DAM TAXES INC DORI MILLER                   DBA LIBERTY TAX SERVICE              18502 LOCHNER RD                                                                                       SPENCERVILLE              IN           46788
    DAMAGE RECOVERY UNIT                                                             PO BOX 801988                                                                                          KANSAS CITY               MO           64180
    DAMUS FAMILY TRUST                                                               552 UNIONDALE AVE                                                                                      UNIONDALE                 NY           11553
    DAMUTH SERVICES                                                                  PO BOX 6276                         1100 CAVALIER BLVD                                                 CHEASAPEAKE               VA           23323
    DAN APKE DBA DAN APKE CONSULTING                                                 1198 PACIFIC COAST HWY              STE D310                                                           SEAL BEACH                CA           90740
    DAN ROMAN                                                                        ADDRESS ON FILE
    DANA ALLEN                                                                       ADDRESS ON FILE



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                        Name                                   Attention                          Address 1                                    Address 2                           Address 3                         City        State       Zip          Country
    DANA E MCDOW DO NOT USE                                                       ADDRESS ON FILE
    DANA INVESTMENT CORPORATION                                                   3001 IVY GLENN DR                        STE 109                                     ATTN NABJH ALASADI         LAGUNA NIGUEL             CA           92677
    DANDA INC                                                                     2415 BROADNAX CIR                                                                                               CHESAPEAKE                VA           23323
    DANE ALTON JENSEN                                                             ADDRESS ON FILE
    DANIEL C OBRIEN DBA NEXT GENERATION
    FUNDING LLC                                                                   8275 S EASTER AVE                        STE 200                                                                LAS VEGAS                 NV           89123
    DANIEL COKER HORTON AND BELL PA                                               ADDRESS ON FILE
    DANIEL DIAS DBA REAL MARKETING SERVICES                                       2102 HUNCOCK ST 206                      UNIT 8                                                                 SAN DIEGO                 CA           92110
    DANIEL HARDWICK DBA QUICK FI CAPITAL                                          177 PROSPECT ST                                                                                                 FARMINGDALE               NY           11735
    DANIEL HARDWICK DBA QUICK FI CAPITAL                                          177 PROSPET ST                                                                                                  FARMINGDALE               NY           11735
    DANIEL NATUZZI DBA VIRIBUS CAPITAL GROUP                                      511 ANDOVER LN                                                                                                  COLLEGEVILLE              PA           19426
    DANIEL ROMAN                                                                  ADDRESS ON FILE
    DANIEL SHRIBMAN                                                               ADDRESS ON FILE
    DANIEL SIEJK DBA TRUE LENDERS                                                 825 EGRET CIR                            A101                                                                   DELRAY BEACH              FL           33444
    DANIEL T THIEMANN                                                             ADDRESS ON FILE
    DANIEL URBAN                                                                  ADDRESS ON FILE
    DANIEL W TITUS                                                                ADDRESS ON FILE
    DANIEL WIENER                                                                 ADDRESS ON FILE
    DANIEL WILLIAMS                                                               ADDRESS ON FILE
    DANIELLE DENALLI                                                              ADDRESS ON FILE
    DANIELLE KENNEDY PRODUCTION                                                   PO BOX 1395                                                                                                     SUN VALLEY                ID           83353
    DANIELSON INVESTIGATIVE SERVICES INC                                          PO BOX 588                                                                                                      HOPEWELL                  VA           23860
    DANITE SIGN COMPANY                                                           1640 HARMON AVE                                                                                                 COLUMBUS                  OH           43223
    DANKA                                                                         4388 COLLECTIONS CTR DR                                                                                         CHICAGO                   IL           60693
    DANKA CANADA INC                                                              PO BOX 9100                              STATION F                                                              TORONTO                   ON           M4Y 3A5      CANADA
    DANKA OFFICE IMAGING CFG                                                      PO BOX 691355                                                                                                   CINCINNATI                OH           45269-1355
    DANNY ROY                                                                     ADDRESS ON FILE
    DANVILLE CROSSING LP                        DBA NORTHFIELD CENTER             7625 N UNIVERSITY ST STE C                                                                                      PEORIA                    IL           61614
    DAP DEVELOPMENT LLC                         DBA FREEDOM INSURANCE COMPANY     258 S SAM HOUSTON BLVD                                                                                          SAN BENITO                TX           78586
    DARAIL JAVON REYNOLDS                                                         ADDRESS ON FILE
    DARDARIS THOMAS                                                               ADDRESS ON FILE
    DARK HORSE VENTURES LLC                     C O SIGNATURE FINANCIAL MANAGE    999 WATERSIDE DR STE 2220                                                                                       NORFOLK                   VA           23510
    DARLA ASHBY                                                                   ADDRESS ON FILE
    DARNELL JERRY                                                                 ADDRESS ON FILE
    DARRAJ ELIAS                                                                  ADDRESS ON FILE
    DARRAJ SAM                                                                    ADDRESS ON FILE

    DARRELL HORNBACHER DBA MIDAS FINANCIAL CO                                     4013 E SCORPIO PL                                                                                               CHANDLER                  AZ           85249
    DARRYL KINSLER                                                                ADDRESS ON FILE
    DARRYL MITCHELL                                                               ADDRESS ON FILE
    DARYL DESIGNS                                                                 3520 E FULTON ST                                                                                                COLUMBUS                  OH           43227
    DATA CABLE TECHNOLOGIES INC                                                   5257 CLEVELAND ST STE 105                                                                                       VIRGINIA BEACH            VA           23462
    DATA MANAGEMENT GROUP OF VIRGINIA INC       C O MAGNOLIA FINANCIAL INC        PO BOX 890995                                                                                                   CHARLOTTE                 NC           28289-0995
    DATA MANANGEMENT INC                                                          1 TIME CLOCK DR                                                                                                 SAN ANGELO                TX           76904
    DATA SHRED                                                                    6607 34 ST SW                                                                                                   CALGARY                   AB           T3E 5M3      CANADA
    DATALINE INCORPORATED                                                         2551 ELTHAM AVE                          STE O                                                                  NORFOLK                   VA           23513
    DATAMARK SYSTEMS                                                              2800 FRANCIS HUGHES                                                                                             LAVAL                     QC           H7L 3Y7      CANADA
    DATANATIONAL                                                                  PO BOX 41248                                                                                                    SANTA ANA                 CA           92799-1248
    DATAROBOT INC                                                                 225 FRANKLIN ST 13TH FL                                                                                         BOSTON                    MA           02110
    DATATAX BUSINESS SERVICES LTD               ATTN ROB KELLAND                  SCOTIA WEALTH MANAGEMENT                 255 QUEENS AVE STE 900                                                 LONDON                    ON           N6A 5R8      CANADA
    DAVE AND BUSTERS                                                              701 LYNNHAVEN PKWY                                                                                              VIRGINIA BEACH            VA           23452
    DAVE EDGEMON DEANNA EDGEMON                                                   ADDRESS ON FILE
    DAVE JOHNSON                                                                  ADDRESS ON FILE
    DAVENPORT AND COMPANY                                                         F B O FATEH WATTAR                       A C 8641 7678                               825 DILIGENCE DR STE 114   NEWPORT NEWS              VA           23606
    DAVENPORT AND COMPANY A C 6390 1973                                           F B O F ONEIL AND G REYNOLDS             A C 6390 1973                               825 DILIGENCE DR STE 114   NEWPORT NEWS              VA           23606
    DAVENPORT AND COMPANY F B O                 JOSEPH BARKELY AND MARY AMBROSE   PO BOX 12928                                                                                                    NEWPORT NEWS              VA           23606
    DAVENPORT AND COMPANY LLC A C 4108 6431     I N O KAROL AND HENRY HATHAWAY    825 DILIGENCE DR STE 114                                                                                        NEWPORT NEWS              VA           23606
    DAVID A PEREZ                                                                 ADDRESS ON FILE
    DAVID ASSIL DBA EIT RATZON LLC                                                1512 E 3RD ST                                                                                                   BROOKLYN                  NY           11230
    DAVID BOSLEY DBA TWISTED TREE MARKETING                                       1032 N SWEETZER AVE                      UNIT 205                                                               WEST HOLLYWOOD            CA           90069
    DAVID C JACK ATTORNEY                                                         145 AKTRON RD                                                                                                   WADSWORTH                 OH           44281
    DAVID D DICKERSON AND ASSOCIATES                                              115 S LYNHAVEN RD STE 100                                                                                       VIRGINIA BEACH            VA           23452-7422
    DAVID GOMEZ                                                                   ADDRESS ON FILE
    DAVID HENSLER                                                                 ADDRESS ON FILE
    DAVID HORAN                                                                   ADDRESS ON FILE

    DAVID J REGA AND MAUREEN MIGLIACCLO REGA                                      ADDRESS ON FILE
    DAVID JACOBSON DBA METRO ADVANCE INC                                          400 CONTINENTAL BLVD                                                                                            EL SEGUNDO                CA           90245
    DAVID L HAYDEN II                                                             ADDRESS ON FILE
    DAVID L KORDONOWY                                                             ADDRESS ON FILE
    DAVID LISTON INVESTIGATIVE SERVICES                                           3800 BRIDGEPORT WAY W                    STE A 486                                                              UNIVERSITY PLACE          WA           98466
    DAVID LOVE                                                                    ADDRESS ON FILE
    DAVID MATTHEW                                                                 ADDRESS ON FILE
    DAVID MONTGOMERY 6122                                                         ADDRESS ON FILE
    DAVID PAUL HOLDINGS INC                                                       800 DENISION ST                          UNIT 16                                                                MARKHAM                   ON           L3R 5M9      CANADA
    DAVID PAUL HOLDINGS INC                                                       800 DENISON ST                           UNIT 16                                                                MARKHAM                   ONTARIO      L3R 5M9      CANADA
    DAVID ROSS DBA PRO LEADS NYC                                                  708 3RD AVE                                                                                                     NEW YORK                  NY           10016
    DAVID STANOVICH                                                               ADDRESS ON FILE
    DAVID VARTANIAN                                                               ADDRESS ON FILE
    DAVID W HALL                                                                  ADDRESS ON FILE
    DAVID WORDEN                                                                  ADDRESS ON FILE
    DAVIDSON FULLER AND SLOAN LLP                                                 10475 MEDLOCK BRIDGE RD                  STE 820                                                                JOHNS CREEK               GA           30097
    DAVIDSON MEDIA CAROLINAS STATIONS LLC                                         PO BOX 19448                                                                                                    CHARLOTTE                 NC           28219
    DAVIDSON MEGAN                                                                ADDRESS ON FILE
    DAVIS DENISE                                                                  ADDRESS ON FILE
                                                HARMAN JENKINS C O COLUMBIA
    DAVIS MILL STATION LLC                      PROPERTIES                        1355 TERRELL MILL RD BLDG 1478 STE 200                                                                          MARIETTA                  GA           30067
    DAVIS TIMOTHY                                                                 ADDRESS ON FILE
    DAVITA B NEWELL                                                               ADDRESS ON FILE


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                       Name                                      Attention                        Address 1                                Address 2                           Address 3                     City        State       Zip          Country
    DAWN CYPRESS                                                                  ADDRESS ON FILE
    DAWN HEDGECOTH                                                                ADDRESS ON FILE
    DAWN M THIELE                                                                 ADDRESS ON FILE
    DAWN OF HOPE FOUNDATION                                                       PO BOX 30                                                                                                JOHNSON CITY             TN           37605
    DAWN S FILETTI                                                                ADDRESS ON FILE
    DAY AND NIGHT ELECTRIC EEL AND PLUMBING                                       1554 GROVE ST                                                                                            WINDSOR                  ON           N9B 1P3      CANADA
    DAY NITE NEON SIGNS LTD                                                       35 FIELDING AVE                                                                                          DARTMOUTH                NS           B3B 1E3      CANADA
    DAY PITNEY LLP                                                                PO BOX 1945                                                                                              MORRISTOWN               NJ           07962-1945
    DAYNITE NEON SIGN LTD                                                         35 FIELDING AVE                                                                                          DARTMOUTH                NS           B3B 1E3      CANADA
    DAYSTAR LLC                                                                   PO BOX 188                                                                                               SIMPSON                  NC           27879
    DAYTON DELTA LLC                                                              PO BOX 1567                                                                                              MINDEN                   NV           89423
    DAYTON MALL VENTURE LLC                    DBA DAYTON MALL II LLC             2700 MIAMISBURG CENTERVILLE RD                                                                           DAYTON                   OH           45459
    DAYTON POWER AND LIGHT COMPANY                                                PO BOX 740598                                                                                            CINCINNATI               OH           740598
    DB ELECTRIC                                                                   225 LOUISA AVE                                                                                           VIRGINIA BEACH           VA           23454
    DBC IMAGING INC                            DBA SPEEDPRO IMAGING               5583 W 74TH ST                                                                                           INDIANAPOLIS             IN           46268
    DBSI CANABERRA HEIGHTS                                                        1550 S TECH LN                                                                                           MERIDIAN                 OH           83642
    DC BUSINESS GROUP INC                                                         19193 MONTEREY                                                                                           APPLE VALLEY             CA           92308
    DC MOR HOLDING CO LLC                      ATTN DON MOORE                     4601 SE 29TH ST                                                                                          DEL CITY                 OK           73115
    DC OFFICE OF FINANCE AND TREASURY          UNCLAIMED PROPERTY UNIT            1101 4TH ST SW STE 800W                                                                                  WASHINGTON               DC           20024
    DC SERVICES                                                                   PO BOX 12725                                                                                             N KANSAS CITY            MO           64116
    DC TRAILS INC                                                                 PO BOX 1508                                                                                              LORTON                   VA           22199-1508
    DC TREASURER                                                                  941 N CAPITOL ST NE                   6TH FL                                                             WASHINGTON               DC           20002
    DCA MARKETING                                                                 BUILDING 671                                                                                             FORT EUSTIS              VA           23604
    DCW AND ASSOCIATES                                                            7400 CTR AVE STE 209                                                                                     HUNTINGTON BEACH         CA           92683
    DCWY TV                                                                       141 PROGRESS CIR                                                                                         MILLS                    WY           82644
    DDC FARMINGTON PROPERTY LLC                                                   25 N BRENTWOOD BLVD                                                                                      ST LOUIS                 MO           63105
    DDSS TAX SERVICE                           C O LIBERTY TAX SERVICE            1257 S ROBERT ST                                                                                         WEST ST PAUL             MN           55118
    DE LAGE LANDEN FINANCIAL SERVICES CANADA
    INC                                                                           C O T4557PO BOX 4557 STN A                                                                               TORONTO                  ON           M5W 0K1      CANADA
    DEACY AND DEACY LLP                                                           920 MAIN ST STE 1900                                                                                     KANSAS CITY              MO           64105
    DEAL AND SONS ELECTRIC                                                        24 155 E BEAVER CREEK                 STE 319                                                            RICHMOND HILL            ONTARIO      L4B 2N1      CANADA
    DEAL STRUCK CAPITAL LLC                                                       181 S FRANKLIN AVE                                                                                       VALLEY STREAM            NY           11581
    DEALERTRACK INC                                                               PO BOX 6129                                                                                              NEW YORK                 NY           10249-6129
    DEAN AND PETER VOULGARIS                                                      ADDRESS ON FILE

    DEANS LANDING INC DBA WEBFOOT MARKETING                                       805 S ST                                                                                                 SPRINGFIELD              OR           97477
    DEBBIE HIGGINS                                                                ADDRESS ON FILE
    DEBBIE WEAVER                                                                 ADDRESS ON FILE
    DEBENHAM MICHAEL                                                              ADDRESS ON FILE
    DEBORAH J KLEIN                                                               ADDRESS ON FILE
    DEBORAH NEWTON JOHNSON DBA NEWTON AND
    SONS REAL ESTATE                                                              PO BOX 8083                                                                                              SQUAW VALLEY             CA           93575
    DEBRA A AGUAYO                                                                ADDRESS ON FILE
    DEBRA LIVINGOOD                                                               ADDRESS ON FILE
    DEBTCOM LLC                                                                   8220 W STATE RD 84                                                                                       FORT LAUDERDALE          FL           33324
    DECARLOS T FRAZIER DBA SAPPHIRE CAPITA
    GROUP INC                                                                     60 METCALFE ST                                                                                           STATEN ISLAND            NY           10304
    DECHERT LLP                                                                   2929 ARCH ST CIRA CENTRE                                                                                 PHILADELPHIA             PA           19104-2808
    DECICCO NANCY                                                                 ADDRESS ON FILE
    DECISION DYNAMICS INC                                                         PO BOX 2078                                                                                              LEXINGTON                SC           29071
    DECISIONES LLC                                                                237 WESTBURY DR                                                                                          COPPELL                  TX           75019
    DECLARATIVE HOLDINGS INC                   DBA CLOUD SHERPAS LLC              3525 PIEDMONT RD NE                   BLDG 8 STE 710                                                     ATLANTA                  GA           30305
    DECORAH NEWSPAPERS                                                            107 E WATER                           PO BOX 350                                                         DECORAH                  IA           52101
    DEDICATED COMMERCIAL RECOVERY INC                                             1970 OAKCREST AVE                     STE 217                                                            ROSEVILLE                MN           55113
    DEELEY IT SERVICES LLC                                                        121 SULLYS TRAIL STE 9                                                                                   PITTSFORD                NY           14534
    DEEPAK BHAVNANI                                                               ADDRESS ON FILE
    DEERFIELD SEMINARS INC                                                        335 N MAIN ST                         PO BOX 312                                                         MORRICE                  MI           48857-0312
    DEERFOOT MALL                                                                 901 64 AVE NE                                                                                            CALGARY                  AB           T2E 1K2      CANADA
    DEFI SOLUTIONS INC                         ATTN ACCTS RECEIVABLE              1026 TEXAN TRAIL STE 150                                                                                 GRAPEVINE                TX           76051
    DEK ENTERPRISES INC                        DBA SIGNCO                         17288 BEATON RD                                                                                          MONROE                   WA           98272
    DEKA MARKETING GROUP INC                                                      4000 W ALAMEDA AVE                    STE 200                                                            BURBANK                  CA           91505
    DEL CASTILLO CLEITON                                                          ADDRESS ON FILE
    DEL MAR RECOVERY SOLUTIONS                                                    1935 CAMINO VIDA ROBLE                140                                                                CARLSBAD                 CA           92008
    DEL PAPA VENTURES LLC                      ATTN HELEN DEL PAPA                6 CLUNY CT                                                                                               THE WOODLANDS            TX           77382
    DEL SOL OF VIRGINIA BEACH                                                     19TH AND ATLANTIC AVE                                                                                    VIRGINIA BEACH           VA           23451
    DEL SOL PROPERTIES LLC                                                        PO BOX 1160                                                                                              CORRALES                 NM           87048
    DEL SOL PROPERTY MANAGERS CORPORATION                                         PO BOX 9638                                                                                              SAN DIEGO                CA           92169
    DELAMAR PLAZA LLC                                                             PO BOX 20381                                                                                             ALBUQUERQUE              NM           87154
    DELANO PAUL PETTY JR                                                          ADDRESS ON FILE
    DELAWARE DEPARTMENT OF FINANCE             OFFICE OF UNCLAIMED PROPERTY       ATTN RECEIPTS AND WIRES TEAM          PO BOX 8923                                                        WILMINGTON               DE           19899
    DELAWARE DIVISION OF REVENUE DO NOT USE                                       PO BOX 8751                                                                                              WILMINGTON               DE           19899-8751
    DELAWARE SECRETARY OF STATE                DELAWARE DIVISION OF CORPORATION   401 FEDERAL BUILDING STE 4                                                                               DOVER                    DE           19901
    DELAWARE SECRETARY OF STATE                DIV OF CORPORATIONS                PO BOX 5509                                                                                              BINGHAMTON               NY           13902-5509
    DELAWARE SECRETARY OF STATE                STATE OF DELAWARE                  DIVISION OF CORPORATIONS              PO BOX 5509                                                        BINGHAMTON               NY           13902-5509
    DELAWARE STATE ESCHEATOR                   C O DEPARTMENT OF FINANCE          820 N FRENCH ST                       8TH FL                                                             WILMINGTON               DE           19801
    DELAWARE TRUST COMPANY                                                        251 LITTLE FALLS DR                                                                                      WILMINGTON               DE           19808-1674
    DELIVERY AND COMMUNICATIONS INC                                               4310 TEJASCO RD                                                                                          SAN ANTONIO              TX           78218-5240
    DELL CANADA INC                                                               PO BOX 8440 STATION A                                                                                    TORONTO                  ON           M5W 3P1      CANADA
    DELL FINANCIAL SERVICES                                                       PO BOX 8751 STATION A                                                                                    TORONTO                  ON           M5W 3C2      CANADA
    DELL MARKETING LP                          C O DELL USA LP                    PO BOX 643561                                                                                            PITTSBURGH               PA           15264-3561
    DELL SOFTWARE INC                                                             5 POLARIS WAY                                                                                            ALISO VIEJO              CA           92656
    DELMARVA BROADCASTING WSTW FM                                                 PO BOX 7492                                                                                              WILMINGTON               DE           19803
    DELMARVA POWER                                                                PO BOX 608                                                                                               EXMORE                   VA           23350
    DELMARVA POWER 13609                                                          PO BOX 13609                                                                                             PHILADELPHIA             PA           19101
    DELOACH MIKEL                                                                 ADDRESS ON FILE
    DELOITTE AND TOUCHE                                                           PO BOX 277694                                                                                            ATLANTA                  GA           30384-7694
    DELOITTE AND TOUCHE LLP                                                       4022 SELLS DR                                                                                            HERMITAGE                TN           37076
    DELOITTE CANADA                                                               BAY ADELAIDE CENTRE                   8 ADELAIDE ST W STE 200                                            TORONTO                  ON           M5H 0A9      CANADA
    DELOITTE LLP                                                                  PO BOX 844708                                                                                            DALLAS                   TX           75284-4708


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                        Name                                  Attention                              Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    DELPRINCIPE BILL                                                                3315 S ST                                                                                                 LAFAYETTE               IN           47904
    DELTA DENTAL                                                                    PO BOX 758722                                                                                             BALTIMORE               MD           21275-8722
    DELTA DENTAL OF CALIFORNIA                                                      PO BOX 660138                                                                                             DALLAS                  TX           75266-0138
    DELTA MANAGEMENT GROUP INC                                                      2499 RICE ST STE 245                                                                                      ST PAUL                 MN           55113
    DELTA TELECOM INC 14497                                                         PO BOX 14497                                                                                              POLAND                  OH           44514-7497
    DELUXE BUSINESS FORMS                                                           PO BOX 742572                                                                                             CINCINATI               OH           45274-2572
    DEMING LLC                                                                      1168 SAN GABRIEL BLVD                  STE M                                                              ROSEMEAD                CA           91770
    DENABY EQUITIES LIMITED                                                         36 MIDLAKE BLVD SE                                                                                        CALGARY                 AB           T2X 3A7      CANADA
    DENIS AND RASI PC                                                               38 CORPORATE PARK                                                                                         IRVINE                  CA           92606
    DENISE BRIDGES                                                                  ADDRESS ON FILE
    DENISE GRIFFIN                                                                  ADDRESS ON FILE
    DENISSE GUTIERREZ                                                               ADDRESS ON FILE
    DENNIS JANISZEWSKI                                                              ADDRESS ON FILE
    DENNIS KAMINSKI                                                                 ADDRESS ON FILE
    DENNIS MCKINNEY                                                                 ADDRESS ON FILE
    DENNIS R WELCH                                                                  ADDRESS ON FILE
    DENNISTON ESTHER                                                                ADDRESS ON FILE
    DENNY L TAYLOR                                                                  ADDRESS ON FILE
    DENSIE SHERREN                                                                  ADDRESS ON FILE
    DENTON TINA                                                                     ADDRESS ON FILE
    DENTONS US LLP                                                                  233 S WACKER DR                        STE 5900                                                           CHICAGO                 IL           60606
    DENVER POST                                                                     1560 BROADWAY                                                                                             DENVER                  CO           80202-1577
    DEPARTMENT OF ARKANSAS                                                          PO BOX 8055                                                                                               LITTLE ROCK             AR           72203-8055
    DEPARTMENT OF ASSESSMENTS AND TAXATION                                          301 W PRESTON ST RM 801                                                                                   BALTIMORE               MD           21201
    DEPARTMENT OF COMMERCE AND CONSUMER
    AFFAIRS HI                                 BUSINESS REGISTRATION DIVISION       335 MERCHANT ST RM 203                                                                                    HONOLULU                HI           96810
    DEPARTMENT OF CONSUMER AND REGULATORY
    AFFAIRS                                                                         1100 7TH ST SW                                                                                            WASHINGTON              DC           20024

    DEPARTMENT OF FINANCE AND ADMINISTRATION   CORPORATION INCOME TAX SECTION       PO BOX 919                                                                                                LITTLE ROCK             AR           72203-0919
    DEPARTMENT OF FINANCE AND ADMINISTRATION
    AR                                         CORPORATION INCOME TAX SECTION       PO BOX 919                                                                                                LITTLE ROCK             AR           72203-0919
    DEPARTMENT OF FINANCIAL INSTITUTIONS       DIVISION OF BANKING                  PO BOX 7846                                                                                               MADISON                 WI           53707
    DEPARTMENT OF FINANCIAL INSTITUTIONS BCA                                        4822 MADISON YRDS 4TH FL N                                                                                MADISON                 CA           92806
    DEPARTMENT OF FINANCIAL PROTECTION AND
    INNOVATION                                 ATTN ACCOUNTING                      2101 ARENA BLVD                                                                                           SACRAMENTO              CA           95834
                                                                                    ATTN CREDIT SERVICES ORGANIZATION
    DEPARTMENT OF JUSTICE CA                   ATTORNEY GENERALS OFFICE             REGISTRATION                           600 W BROADWAY STE 1800                                            SAN DIEGO               CA           92101
    DEPARTMENT OF JUSTICE CA                   REGISTRY OF CHARITABLE TRUSTS        PO BOX 903447                                                                                             SACRAMENTO              CA           94203-4470
    DEPARTMENT OF LABOR                                                             LOCKBOX 70933                          1525 W WT HARRIS BLVD                                              CHARLOTTE               NC           28262
    DEPARTMENT OF LABOR AND INDUSTRIES                                              PO BOX 24106                                                                                              SEATTKE                 WA           98124-6524
    DEPARTMENT OF MOTOR VEHICHLES                                                   2415 FIRST AVE                                                                                            SACRAMENTO              CA           95818
    DEPARTMENT OF MOTOR VEHICLES                                                    PO BOX 25850                                                                                              RICHMOND                VA           23260-5850
    DEPARTMENT OF MOTOR VEHICLES                                                    PO BOX 27412                                                                                              RICHMOND                VA           23269-0001
    DEPARTMENT OF PUBLIC UTILITIES             VIRGINIA BEACH GEN DISTRICT CT       2425 NIMMO PKWY                        CIVIL COURTROOM B                                                  VIRGINIA BEACH          VA           23456
    DEPARTMENT OF REVENUE MONTANA                                                   PO BOX 8021                                                                                               HELENA                  MT           59604-8021
    DEPARTMENT OF REVENUE MS                                                        PO BOX 1033                                                                                               JACKSON                 MS           39215-1033
    DEPARTMENT OF SAFETY AND PROFESSIONAL
    SERVICES                                   DSPS EDUCATIONAL APPROVAL PROGRAM    PO BOX 8366                                                                                               MADISON                 WI           53708-8366
    DEPARTMENT OF SANITARY ENGINEERING                                              280 E BROAD ST RM 201                                                                                     COLUMBUS                OH           43215-4524
    DEPARTMENT OF STATE DE                                                          401 FEDERAL ST STE 4                                                                                      DOVER                   DE           19901
                                               DIVISION OF CORPORATIONS REGISTER
    DEPARTMENT OF STATE FL                     SECTION                              PO BOX 6327                                                                                               TALLAHASSEE             FL           32314
    DEPARTMENT OF STATE NATL PASSPORT
    PROCESSING CTR                                                                  NATIONAL PASSPORT PROCESSING CTR       PO BOX 90955                                                       PHILADELPHIA            PA           19190-0955

    DEPARTMENT OF STATE NY                     DEPT OF STATEDIVISION OF CORPORATIONS ONE COMMERCE PLZ 99 WASHINGTON AVE                                                                       ALBANY                  NY           12231
    DEPARTMENT OF STATE PA                     CORPORATION OF BUREAU                 PO BOX 8722                                                                                              HARRISBURG              PA           17105-8722
    DEPARTMENT OF STATE PENNSYLVANIA                                                 PO BOX 8722                                                                                              HARRISBURG              PA           17105
    DEPARTMENT OF TAX AND REVENUE              INTERNAL AUDITING DIVISION            PO BOX 1985                                                                                              CHARLESTON              WV           25327-1985
    DEPARTMENT OF THE TREASURY                                                       INTERNAL REVENUE SERVICE                                                                                 KANSAS CITY             MO           64999-0202
                                                                                     IRS CONTINUING EDUCATION PROCESSING
    DEPARTMENT OF TREASURY                                                           CTR                                   PO BOX 1559                                                        SACRAMENTO              CA           95812
    DEPARTMENT OF TREASURY                     DEPARTMENT OF TREASURY                PO BOX 1559                                                                                              SACRAMENTO              CA           95812
    DEPARTMENT OF VETERANS AFFAIRS                                                   19500 JAMBOREE RD                     STE 100                                                            IRVINE                  CA           92612
    DEPT OF ASSESSMENTS AND TAXATION MD                                              PERSONAL PROPERTY DIVISION            301 W PRESTON ST RM 801                                            BALTIMORE               MD           21201-2395
    DEPT OF CHILDREN AND FAMILY SERVICES                                             PO BOX 26022                                                                                             BATON ROUGE             LA           70826
    DEREK KNORR                                                                      ADDRESS ON FILE
    DEREK KNORR                                                                      ADDRESS ON FILE
    DERHAN HORTON                                                                    ADDRESS ON FILE
    DEROSIER STORAGE CO INC                                                          110 MAYFAIR PL                                                                                           STRATFORD               CT           06615
    DERRICK SUTTON                                                                   ADDRESS ON FILE
    DESIGN NOVELTY AND SPECIALTY COMPANY                                             8 VANBRUGH AVE                                                                                           TORONTO                 ON           M1L 3S7      CANADA
    DESIGNS                                                                          3380 E PRINCESS ANNE RD                                                                                  NORFOLK                 VA           23502
    DESIGNS INC                                                                      110 N BATTLEFIELD BLVD                                                                                   CHESAPEAKE              VA           23320
    DESNOES INVESTIGATIONS INC                                                       7378 W ATLANTIC BLVD                  142                                                                MARGATE                 FL           33063
    DESOTO TIMES TODAY                                                               PO BOX 1170                                                                                              SOUTHAVEN               MS           38671
    DESSA ADDIS M                                                                    ADDRESS ON FILE
    DESSI HRISTOVA                                                                   ADDRESS ON FILE
    DESTINATION CONCEPTS INC                                                         4241 JUTLAND DR STE 200                                                                                  SAN DIEGO               CA           92117
    DESTINATION NORTHWEST                                                            221 S 195TH ST                                                                                           DES MOINES              WA           98148
    DETECT INC                                                                       PO BOX 9123                                                                                              ALEXANDRIA              VA           22304
    DETR                                                                             EMPLOYMENT SECURITY DIVISION          CONTRIBUTIONS SECTION                      500 E THIRD ST          CARSON CITY             NV           89713-0030
    DETROIT NEWSPAPER                                                                PO BOX 77708                                                                                             DETROIT                 MI           48277-0708
    DEUTSCH FAMILY INVESTMENT PARTNERSHIP                                            2 BRIDLE CT                                                                                              OYSTER BAY              NY           11771-3308
    DEVELOPER EXPRESS INC                                                            801 N BRAND BLVD STE 850                                                                                 GLENDALE                CA           91203
    DEVEN ROCCO DBA NEWROCK LENDING LLC                                              2517 HWY 35 B109 I 1                  STE 10                                                             MANASQUAN               NJ           08736
    DEVIN DALY                                                                       ADDRESS ON FILE
    DEVONWORTH EMBROIDERY INC                                                        601 WESTOVER RD                                                                                          TROY                    ONTARIO      L9R 2B0      CANADA


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    DEWEY SERVICES INC DBA DEWEY PEST
    CONTROL                                                                 PO BOX 7114                                                                                             PASADENA                  CA           91109-7214
    DEX IMAGING                                                             PO BOX 17299                                                                                            CLEARWATER                FL           33762-0299
    DEX IMAGING OF ALABAMA LLC                                              PO BOX 17295                                                                                            CLEARWATER                FL           33762-0295
    DEX MEDIA HOLDINGS INC 619009              DBA DEX MEDIA INC            PO BOX 619009                                                                                           DFW AIRPORT               TX           75261-9009
    DEX MEDIA HOLDINGS INC 9001401             DBA DEX MEDIA INC            2200 W AIRFIELD DR                                                                                      DFW AIRPORT               TX           75261-9810
    DEXTER AND JOY LLC                                                      3431 JOY RD                                                                                             DETROIT                   MI           48206
    DEXTER CHECK CASHING                                                    13237 DEXTER AVE                                                                                        DETROIT                   MI           48238
    DEXTER MALLORY                                                          ADDRESS ON FILE
    DFW FACILITY MAINTENANCE                   ACCOUNTING OFFICE            101 ST LOUIS AVE                                                                                        FORT WORTH                TX           76104
    DGEG PLLC                                                               9625 ORMSBY STATION RD                                                                                  LOUISVILLE                KY           40223
    DHI COMPUTING SERVICE INC                                               1525 W 820 N                         PO BOX 51427                                                       PROVO                     UT           84601
    DHL EXPRESS CANADA LTD                                                  200 WESTCREEK BLVD                                                                                      BRAMPTON                  ON           L6T 5T7      CANADA
    DIAL GLOBAL RADIO NETWORKS                                              TRITON RADIO NETWORKS                6030 PAYSPHERE CIR                                                 CHICAGO                   IL           60674
    DIALAMERICA MARKETING INC                                               960 MACARTHUR BLVD                                                                                      MAHWAH                    NJ           07495
    DIAMOND BUSINESS LOANS LLC                                              292 S LA CIENEGA BLVD                STE 206                                                            BEVERLY HILLS             CA           90211
    DIAMOND CAPITAL FINANCE LLC                                             1830 NW 7TH ST                       STE 200                                                            MIAMI                     FL           33125-3510
    DIAMOND MARKETING SOLUTIONS                                             280 MADSEN DR                        STE 100                                                            BLOOMINGTON               IL           60108
    DIAMOND PROPERTY USA INC                   C O PAUL BRASLAWSCE          16684 VALLEY DR                                                                                         EAST LIVERPOOL            OH           43920
    DIAMONDBACK INVESTIGATIONS                                              1779 WELLS BRANCH PKWY               110 B 182                                                          AUSTIN                    TX           78728
    DIANA SREYNOLDS                                                         ADDRESS ON FILE
    DIANE C DOWELL III DBA DOWELL FINANCIAL                                 1184 WEIRS BLVD                      UNIT 1                                                             LACONIA                   NH           03246
    DICECOM                                                                 4939 COLLECTIONS CTR DR                                                                                 CHICAGO                   IL           60693
    DICKINSON MACKAMAN TYLER AND HAGEN PC                                   699 WALNUT ST                        STE 1600                                                           DES MOINES                IA           50309-3986
    DICKSON COUNTY TRUSTEE                                                  4 CT SQUARE RM 114                   PO BOX 246                                                         CHARLOTTE                 TN           37036
    DICKSON FLAKE PARTNERS                                                  400 W CAPITAL AVE                                                                                       LITTLE ROCK               AK           72203
    DICKSON SQUARE PROPERTIES                                               23 MUSIC SQUARE E STE 104                                                                               NASHVILLE                 TN           37203
    DIEDRA TAYLOR                                                           ADDRESS ON FILE
    DIEFFENBACH HOLDINGS LLC                                                1403 MARION DR                                                                                          WOMELSDORF                PA           19567
    DIFWS LLC                                                               4790 N CORNELIA AVE                                                                                     FRESNO                    CA           93722
    DIGI COMP COMPUTERS                                                     413 WALNUT ST                                                                                           WAYNESVILLE               NC           28786
    DIGILANT INC                                                            2 OLIVER ST                          STE 901                                                            BOSTON                    MA           02109
    DIGIOVANNI ANTHONY M                                                    ADDRESS ON FILE
    DIGITAL ADVENTURE CALGARY                                               501 630 3RD AVE SW                                                                                      CALGARY                   AB           T2P 4L4      CANADA
    DIGITAL BANG                                                            542 E 12TH ST                                                                                           CINCINNATI                OH           45202
    DIGITAL BUSINESS SYSTEMS INC                                            310 2800 FOURTEENTH AVE                                                                                 MARKHAM                   ON           L3R 0E4      CANADA
    DIGITAL BUSINESS TECHNOLOGIES INC                                       784 OAK CREEK DR                                                                                        LOMBARD                   IL           60148
    DIGITAL DNS                                                             25 WOODS LAKE RD                     STE 507                                                            GREENVILLE                SC           29607
    DIGITAL HIVE STUDIO                        FORMERLY VB STUDIO RENTALS   3429 CHANDLER CREEK RD 104                                                                              VIRGINIA BEACH            VA           23453
    DIGITAL JUNGLE ELECTRONIC PRINT                                         101 255 17TH AVE SW                                                                                     CALGARY                   ALBERTA      T2S 2T8      CANADA
    DIGITAL MARKETING EXPERTS INC                                           15 PARK VIEW LN                                                                                         LAKE GROVE                NY           11755
    DIGITAL ODEON INC DBA CALLCARTELCOM                                     3940 LAUREL CANYON BLVD              STE 487                                                            STUDIO CITY               CA           91604
    DIGITAL TECH COMPUTERS                                                  3216 SANDWICH ST                                                                                        WINDSOR                   ON           N9C 1A8      CANADA
    DILIGENT CORPORATION                                                    1111 19TH ST NW 9TH FL                                                                                  WASHINGTON                DC           20036
    DIMENSION CONSULTING INC                                                501 W BROADWAY                       STE 800                                                            SAN DIEGO                 CA           92101
    DINA EL DABE                                                            ADDRESS ON FILE
    DIOCESAN PUBLICATIONS INC                                               PO BOX 608105                                                                                           ORLANDO                   FL           32860-8105
    DIOCESE OF JEFFERSON CITY                                               PO BOX 104900                                                                                           JEFFERSON CITY            MO           65110
    DIRECT BUSINESS FINANCING INC DBA EMC
    FINANCIAL                                                               606 VICTORIA AVE                     STE B                                                              VENICE                    CA           90291
    DIRECT DATA SYSTEMS                                                     PO BOX 7017                                                                                             TARZANA                   CA           91357
    DIRECT DISPOSAL CORP                                                    PO BOX 34                                                                                               SECHELT                   BC           V0N 3A0      CANADA
    DIRECT ENERGY REGULATED SERVICES                                        PO BOX 1520                                                                                             CALGARY                   AB           T2P 5R6      CANADA
    DIRECT FUNDER LLC                                                       2042 W PERIWINKLE WAY                                                                                   CHANDLER                  AZ           85248
    DIRECT IMAGING SYSTEMS                                                  18819 BRYANT ST                                                                                         NORTHRIDGE                CA           91324
    DIRECT MARKETING ASSOCIATION                                            1120 AVE OF THE AMERICAS                                                                                NEW YORK                  NY           10036-6700
    DIRECT MEDIA INC                                                        53 PLAIN ST STE 7                                                                                       BRAINTREE                 MA           02184
    DIRECT RESPONSE MEDIA GROUP                                             240 WYECROFT RD                                                                                         OAKVILLE                  ON           L6K 2G7      CANADA
    DIRECT SELLING ASSOCIATES                                               1667 K ST NW                                                                                            WASHINGTON                DC           20006-1660
    DIRECT SELLING EDUCATION FOUNDATION                                     1667 K ST NW                         SUITE1100                                                          WASHINGTON                DC           20006
    DIRECTIONS ON MICROSOFT                                                 135 LAKE ST S                        STE 155                                                            KIRKLAND                  WA           98033
    DIRECTLINK CAPITAL CORPORATION                                          972 YOUNGSTAM RINGSVILLE RD SE                                                                          VIENNA                    OH           44437
    DIRECTOR OF EMPLOYMENT STANDARDS           MINISTRY OF LABOUR           300 WATER ST ROBINSON PL             3RD FL S TOWER                                                     PETERBOROUGH              ON           K9J 8M5      CANADA
    DIRECTOR OF REVENUE                        SECRETARY OF STATE           PO BOX 1366                                                                                             JEFFERSON CITY            MO           65102
    DIRECTORS FINANCIAL LLC                                                 3090 BRISTOL ST STE 160                                                                                 COSTA MESA                CA           92626
    DIRECTORY SYSTEMS GROUP                                                 PO BOX 302                                                                                              MALVERN                   PA           19355
    DIRECTSAVE CANADA                                                       69 LEWIS RD                                                                                             GUELPH                    ON           N1H 1E9      CANADA
    DIRECTTV                                                                PO BOX 60036                                                                                            LOS ANGELES               CA           90060
    DIRECTV                                                                 PO BOX 105249                                                                                           ATLANTA                   GA           30348-5249
    DIRECTV LLC                                                             PO BOX 7410625                                                                                          CHICAGO                   IL           60674
    DIROCCO YOLANDA                                                         ADDRESS ON FILE
    DISABLED VETERANS NATIONAL FOUNDATION                                   1020 19TH ST NW                                                                                         WASHINGTON                DC           20036
    DISASTER RECOVERY PROFESSIONALS LLC                                     301 W PLATT ST                       STE 626                                                            TAMPA                     FL           33606
    DISASTER RECOVERY SERVICES LLC                                          2142 MCMYLER ST NW                                                                                      WARREN                    OH           44428
    DISCOUNT PLUMBING INC                                                   3020 ARIZONA AVE                                                                                        NORFOLK                   VA           23513
    DISCOVER FIN SERVICES INC CASE02 36170                                  CITY OF NORFOLK GEN DIST CT          811 E CITY HALL AVE RM 4                                           NORFOLK                   VA           23510
    DISCOVER NIMBUS MEDIA LLC                                               3651 LINDELL RD                      STE D194                                                           LAS VEGAS                 NV           89103
    DISCOVERY BENEFITS                                                      PO BOX 9528                                                                                             FARGO                     ND           58106-9528
    DISCOVERY PLAZA RETAIL PARTNERS LLC                                     5743 CORSA AVE                       STE 200                                                            WESTLAKE VILLAGE          CA           91362
    DISCOVERY SERVICE PRIVATE INVESTIGATIONS                                PO BOX 80131                                                                                            SPRINGFIELD               MA           01138
    DISNEY RESERVATION CENTER                                               PO BOX 10100                                                                                            LAKE BUENA VISTA          FL           32830-0100
    DISPATCH MEDIA GROUP                       THE COLUMBUS DISPATCH        34 S 3RD ST                                                                                             COLUMBUS                  OH           43215
    DISPUTE ANALYTICS LLC                                                   7201 WISCONSIN AVE                   STE 750                                                            BETHESDA                  MD           20814
    DISRUPTIVE ADVERTISING INC                                              384 S 400 W                          STE 200                                                            LINDON                    UT           84042
    DISTINCTIVE EVENT RENTALS                                               2220 PARAMONT AVE 102                                                                                   CHESAPEAKE                VA           23320
    DISTRIBUTEL MEDIA DISTRIBUTION INC                                      10942 WYE DR                         STE 203                                                            SAN ANTONIO               TX           78217
    DISTRICT OF COLUMBIA TREASURER                                          PO BOX 96166                                                                                            WASHINGTON                DC           20090-6166
    DIVERSEPAYMENTSCOM LLC                                                  23175 LA CADENA DR                   STE B                                                              LAGUNA HILLS              CA           92653
    DIVERSIFIED COMFORT SERVICES                                            11169 RAPP RD                                                                                           NEW MIDDLETOEN            OH           44442


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                        Name                                   Attention                            Address 1                               Address 2                           Address 3                    City           State       Zip          Country
    DIVISION OF MOTOR VEHICLES                                                     PO BOX 27412                                                                                             RICHMOND                VA              23269-0001
    DIVISION OF TAXATION NJ                 REVENUE PROCESSING CENTER              PO BOX 252                                                                                               TRENTON                 NJ              08646-0252
    DIXON HUGHES GOODMAN LLP                                                       4350 CONGRESS ST STE 900                                                                                 CHARLOTTE               NC              28209
    DJ BROADWAY LLC                                                                8950 W OLYMPIC BLVD 98                                                                                   BEVERLY HILLS           CA              90211
    DJ MASTERMIX                                                                   7 STEELE ST                                                                                              ALISTON                 ON              L9R 0E6      CANADA
    DJH ADVERTISING LLC                     DBA AARROW ADVERTISING                 5213 SETTLERS PARK DR                                                                                    VIRGINIA BEACH          VA              23464
    DK GENERAL BOOTH LLC                                                           1777 REISTERSTOWN RD                  STE 165                                                            BALTIMORE               MD              21208
    DK INTERNATIONAL LLC                                                           4311 E CORTEZ ST                                                                                         PHOENIX                 AZ              85028
    DL INVESTMENT PROPERTIES                C O DAVID GASKINS                      3242 MAIN ST                                                                                             WEIRTON                 WV              26062
    DL WILLIAMS ELECTRIC COMPANY INC                                               11630 COLUMBIA PARK DR E                                                                                 JACKSONVILLE            FL              32258
    DLA PIPER CANADA LLP                                                           STE 6000 1 FIRST CANADIAN PL          PO BOX 367 100 KING ST W                                           TORONTO                 ON              M5X 1E2      CANADA
    DLA PIPER LLP                                                                  POBOX 75190                                                                                              BALTIMORE               MD              21275
    DLA PIPER LLP US                                                               6225 SMITH AVE                                                                                           BALTIMORE               MD              21209
    DLA PIPER RUDNICK GRAY GRAY US LLP                                             1775 WIEHLE AVE                       STE 400                                                            RESTON                  VA              20190-5159
    DLM ARCHITECTS PC                       C O DAVID MAY JR                       605 THALIA POINT RD                                                                                      VIRGINIA BEACH          VA              23452
    DLM INVESTIGATIONS                                                             7489 LAKESIDE DR                                                                                         RIVERSIDE               CA              92509
    DLS INC                                                                        1425 BENTEEN AVE                                                                                         ATLANTA                 GA              30315
    DM INVESTMENT CO                        ATTN JON LEE                           4006 N MILWAUKEE AVE 203                                                                                 CHICAGO                 IL              60641
    DM3 VENTURES INC                                                               14506 ROLLING FIELDS LN                                                                                  CHESTERFIELD            VA              23832
    DM3 VENTURES INC                        DBA WHITEWOOD SOLUTIONS                PO BOX 1888                                                                                              MIDLOTHIAN              VA              23113
    DMDBD LLC                                                                      5714 80TH AVE NE                                                                                         MARYSVILLE              WA              98270
    DMK CASTLE SHOPS                                                               3600 PACIFIC AVE                                                                                         VIRGINIA BEACH          VA              23451
    DMK ELECTRICAL CONTRACTING INC                                                 2973 S MILITARY HWY                   STE 104                                                            CHESAPEAKE              VA              23323
    DMR CONSULTING GROUP INC                                                       24 SALINA AVE                         APT 1                                                              DELRAY BEACH            FL              33483
    DN AND TL LLC                                                                  16018 40TH PL S                                                                                          SEATAC                  WA              98188
    DO NOT USE BAKER AND DANIELS LLP                                               PO BOX 664091                                                                                            INDIANAPOLIS            IN              46266
    DO NOT USE ELDER BECKY                                                         ADDRESS ON FILE
    DO NOT USE EVENTS MADE EASY LLC                                                PO BOX 15521                                                                                             CHESAPEAKE              VA              23328
    DO NOT USE JEFFREY SCHUBERT                                                    ADDRESS ON FILE
    DO NOT USE MART FRANCHISE VENTURE       DBA MFV EXPOSITIONS                    210 ROUTE 4 E STE 304                                                                                    PARAMUS                 NJ              07652
    DO NOT USE NORTHWESTEL CABLE                                                   PO BOX BAG 2710                                                                                          WHITEHORSE              YUKON           Y1A 4Z8      CANADA
    DO NOT USE SHRED IT N ARMISTEAD 3801                                           PO BOX 906046                                                                                            CHARLOTTE               NC              28290-6046
    DO NOT USE YULEE STATE LLC                                                     9229 W SUNSET BLVD                    STE 310                                                            WEST HOLLYWOOD          CA              90069
    DO NOT USEDENNIS R WELCH                                                       ADDRESS ON FILE
    DO NOT USEHA BRUNO LLC DBA MFV EXPO                                            210 ROUTE 4 E                         STE 304                                                            PARAMUS                 NJ              07652
                                            C O PERCIVAL MCGUIRE COMMERCIAL REAL
    DOBYS BRIDGE LLC                        ESTATE DEVELOPMENT LLC                 4600 PARK RD STE 370                  ATTN TRENTON G GUSTATSON                                           CHARLOTTE               NC              28209
    DOC U SEARCH                                                                   PO BOX 777                                                                                               CONCORD                 NH              03302-0777
    DOCHERTY                                                                       109 MARKET ST                                                                                            PITTSBURGH              PA              15222
    DOCUMENT RETRIEVAL NETWORK              ATTN LISA SPENCER                      101 DATAFARM RD                                                                                          FALMOUTH                KY              41040
    DOCUMENT SERVE EXPRESS                                                         PO BOX 4304                                                                                              ROCK ISLAND             IL              61204-4304
    DOCUMENT SOLUTIONS INC                                                         162 FOURTH AVE N                                                                                         NASHVILLE               TN              37219
    DOCUSIGN INC                                                                   221 MAIN ST                           STE 1550                                                           SAN FRANCISCO           CA              94105
    DOCUSIGN INC                                                                   DEPT 3428                             PO BOX 123428                                                      DALLAS                  TX              75312-3428
    DOCUSIGN INC                                                                   PO BOX 735445                                                                                            DALLAS                  TX              75373-5445
    DODSON AND CHATMAN CONSTRUCTION INC                                            PO BOX 1803                                                                                              BURLINGTON              NC              27216-1803
    DODSON TIFFANY                                                                 ADDRESS ON FILE
    DOGS DESERVE BETTER INC                                                        1915 MOONLIGHT RD                                                                                        SMITHFIELD              VA              23430
                                            ATTN GABRIELA GOLSON DIRECTOR OF
    DOLEX DOLLAR EXPRESS INC                PRODUCTS                               700 HIGHLANDER BLVD STE 450                                                                              ARLINGTON               TX              76015
    DOLLAR FINANCIAL GROUP INC              DBA THE MONEY MART                     16200 HAWTHORNE BLVD                                                                                     LAWNDALE                CA              90260
    DOLLAR RENT A CAR                       ATTN W MAGUIRE                         410 AIRPORT BLVD                                                                                         PENSACOLA               FL              32503
    DOLLAR THRIFTY AUTOMOTIVE GROUP INC                                            1280 COURTNEYPARK DR E                                                                                   MISSISSAUGA             ON              L5T 1N6      CANADA
    DOLLAR THRIFTY AUTOMOTIVE GROUP INC                                            BOX 57190                             STATION A                                                          TORONTA                 ONTARIO         M5W 5M5      CANADA
    DOLPHIN CAPITAL CORP                                                           PO BOX 605                                                                                               MOBERLY                 MO              65270-0605
    DOMA TECHNOLOGIES LLC                                                          2875 SABRE ST                         STE 500                                                            VIRGINIA BEACH          VA              23452-7328
    DOMAIN PHOTOGRAPHY                                                             1000 W BROADWAY                                                                                          ANAHEIM                 CA              92805
    DOMAIN REGISTRY OF AMERICA                                                     2316 DELAWARE AVE 266                                                                                    BUFFALO                 NY              14216-2687
    DOMINGA TOMAS                                                                  ADDRESS ON FILE
    DOMINICK CURATOLA                                                              ADDRESS ON FILE
    DOMINICS OF NEW YORK                                                           1012 WASSERMAN DR                                                                                        VIRGINIA BEACH          VA              23454
    DOMINION COURIER INC                                                           4663 HAYGOOD RD                       STE 207                                                            VIRGINIA BEACH          VA              23455
    DOMINION ENERGY NORTH CAROLINA                                                 PO BOX 100256                                                                                            COLUMBIA                SC              29202-3256
    DOMINION ENERGY OHIO                                                           PO BOX 26785                                                                                             RICHMOND                VA              23261-6785
    DOMINION ENERGY WEFILE                                                         PO BOX 26543                                                                                             RICHMOND                VA              23290-0001
    DOMINION FRANCHISES                                                            718 TURNBUCKLE CT                                                                                        CHESAPEAKE              VA              23322
    DOMINION OHIO EAST                                                             PO BOX 26785                                                                                             RICHMOND                VA              23261-6785
    DOMINION PRINTERS INC                                                          2927 VIRGINIA BEACH BLVD                                                                                 VIRGINIA BEACH          VA              23452
    DOMINION REALTY ADVISORSINC                                                    5360 ROBIN HOOD RD                    STE 101                                                            NORFOLK                 VA              23513
    DOMINION SERVICE COMPANY OF RICHMOND                                           2630 GOODES BRIDGE RD                                                                                    RICHMOND                VA              23224
    DOMINION VIRGINIA POWER                                                        PO BOX 26543                                                                                             RICHMOND                VA              23290-0001
    DON A TURKLESON                                                                ADDRESS ON FILE
    DON REID PROPERTY MANAGEMENT                                                   24490 FIVE MILE RD                                                                                       REDFORD                 MI              48239
    DON RICHARDS                                                                   ADDRESS ON FILE
    DON SOO KIM                                                                    ADDRESS ON FILE
    DONAHUE PROPERTIES ASSOCIATES INC                                              4421 CARLTON CT                                                                                          PORTSMOUTH              VA              23703
    DONALD BLAKE                                                                   ADDRESS ON FILE
    DONALD E ACKER                                                                 ADDRESS ON FILE
    DONALD E MCCORKIE III DBA DM3 LLC                                              12124 MONTURA ROSA PL                                                                                    LAS VEAGAS              NV              89138
    DONALD E MCCORKLE III DBA DM3 LLC                                              12124 MONTURA ROSE PL                                                                                    LAS VEGAS               NV              89138
    DONALD L HOFFMAN                                                               ADDRESS ON FILE
    DONALD LOGAN                                                                   ADDRESS ON FILE
    DONALD R HARVEY INC                                                            3555 VETERANS MEMORIAL HWY            STE D                                                              RONKONKOMA              NY              11779
    DONALD R RHOADES                                                               ADDRESS ON FILE
    DONALDSON KELLY S                                                              ADDRESS ON FILE
    DONER G                                                                        ADDRESS ON FILE
    DONNA FLINN NEHF                                                               ADDRESS ON FILE
    DONNA HICKS TAX RETURN                                                         ADDRESS ON FILE
    DONNA J WALDEN REVOCABLE LIVING TRUST   C O ILC AND SWELL REALTY LLC           3939 OLD PALI RD                                                                                         HONOLULU                HI              96817


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    DONNA MITCHELL                                                            ADDRESS ON FILE
    DONNA RUGE AND ASSOCIATES                                                 PO BOX 1062                                                                                             PORT RICHEY             FL           34673
    DONOHOE ADVISORY ASSOCIATES LLC                                           9901 BELWARD CAMPUS DR               STE 175                                                            ROCKVILLE               MD           20850
    DONS ASPHALT PAVING AND MAINTENANCE                                       2819 ARLINGTON                                                                                          COLLINSVILLE            IL           62234
    DOOLSTER HOLDINGS LLC                                                     1915 NW AMBERGLEN PKWY               4TH FL                                                             BEAVERTON               OR           97006
    DOOR GUYS                                                                 9857 HWY 12 W                                                                                           WARMINSTER              ON           L0K 2G0      CANADA
    DOORS ON DEMAND LLC                                                       5863 HARGROVE ST                                                                                        NORFOLK                 VA           23502
    DORCHESTER DEVELOPMENTS                                                   585 RIVER AVE                                                                                           WINNIPEG                MANITOBA     R3L 2S9      CANADA
    DORI CALLAHAN                                                             ADDRESS ON FILE
    DORI ROWLAND                                                              ADDRESS ON FILE
    DORI ROWLAND TRUST                    C O PATRICK TURNER                  3650 5TH AVE 416                                                                                        SAN DIEGO               CA           92103
    DORIAN JACKSON                                                            ADDRESS ON FILE
    DORIS JONES                                                               ADDRESS ON FILE
    DORTCH SILVER LAKE LLC                                                    8487 RETREAT DR                                                                                         GRAND BLANC             MI           48439
    DORTHY NEWELL                                                             ADDRESS ON FILE
    DOS COSTAS COMMUNICATIONS CORP                                            29000 RADIO RD                                                                                          BARSTOW                 CA           92311
    DOS MUNDOS INC                                                            1701 S 55TH                                                                                             KANSAS CITY             KS           66106
    DOT818 LLC                                                                550 N BRAND BLVD 20TH FL                                                                                GLENDALE                CA           91203
    DOTDASH MEDIA INC                                                         28 LIBERTY ST                        7TH FL                                                             NEW YORK                NY           10005
    DOTY RICK                                                                 ADDRESS ON FILE
    DOUBLE P DEVELOPMENT LTD                                                  1475 COPELAND ST                                                                                        NORTH BAY               ONTARIO      P1B 3G5      CANADA
    DOUBLETREE HOTEL VAB                                                      1900 PAVILION DR                                                                                        VIRGINIA BEACH          VA           23451
    DOUG BELDEN TAX COLLECTOR                                                 601 E KENNEDY BLVD                   14TH FL                                                            TAMPA                   FL           33602-4931
    DOUG CAMPBELL                                                             ADDRESS ON FILE
    DOUGH BOYS LLC                                                            22741 THREE NOTCH RD                                                                                    CALIFORNIA              MD           20619
    DOUGLAS A BUSH                                                            ADDRESS ON FILE
    DOUGLAS AND LAURA MOORE                                                   ADDRESS ON FILE
    DOUGLAS CARPENTER                                                         ADDRESS ON FILE
    DOUGLAS PETERSON INVESTMENTS LLC      DBA PETERSON 98TH CENTRAL LLC       2325 SAN PEDRO NE                    STE 2A                                                             ALBUQUERQUE             NM           87110
    DOUGLASVILLE ASSOCIATES LLP                                               8100 ROSWELL RD STE 201                                                                                 ATLANTA                 GA           30350-2803
    DOUGS CATERING                                                            71 WAYLAND AVE                                                                                          TORONTO                 ON           M4E 3C8      CANADA
    DOVID LAX DBA ORANGE ADVANCE LLC                                          101 CHASE AVE STE 101                                                                                   LAKEWOOD                NJ           08701
    DOW BUSINESS GUIDE                                                        446 N WELLS ST 337                                                                                      CHICAGO                 IL           60610-4583
    DOW JONES AND COMPANY INC             WALL ST JOURNAL OR BARRONS          BOX 4137                                                                                                NEW YORK                NY           10261-4137
    DOWD JOHN T                                                               ADDRESS ON FILE
    DOWNTOWN DENVER EVENTS                                                    511 16TH ST                          STE 200                                                            DENVER                  CO           80202
    DOWNTOWN NORFOLK COUNCIL              ATTN GRAND ILLUMINATION PARAD       201 GRANBY ST STE 101                                                                                   NORFOLK                 VA           23510
    DOWNTOWN RENUAL LP                    ARBOR GROVE LEASING OFFICE          855 W JACKMAN ST                                                                                        LANCASTER               CA           93534
    DOWNTOWN SUPERIOR COURTHOUSE                                              191 N 1ST ST                         STE A                                                              SAN JOSE                CA           95113
    DOYLE SECURITY SYSTEMS INC                                                PO BOX 28460                                                                                            NEW YORK                NY           10087-8460
    DP PLAZA LTD                          C O COLLIERS INTERNATIONAL ITF      700 2ND ST SW                        STE 3800                                                           CALGARY                 AB           T2P 2W2      CANADA
    DPIG LLC                              C O HAMNER DEVELOPMENT COMPANY      11848 ROCK LANDING DR STE 202                                                                           NEWPORT NEWS            VA           23606
    DR BOBS THEATRICITY INC                                                   296 N WITCHDUCK RD                                                                                      VIRGINIA BEACH          VA           23462
    DR HOME IMPROVEMENTS                                                      1025 DEATON CT                                                                                          CHESAPEAKE              VA           23323
    DR JOHNNYS APPLE DECOR EKLECT                                             1941 GENERAL BOOTH BLVD                                                                                 VIRGINIA BEACH          VA           23454
    DR MARKETING INC                                                          620 VILLAGE DR                       STE ABC                                                            VIRGINIA BEACH          VA           23454
    DR MAVEL VELASCO                                                          ADDRESS ON FILE
    DRAKE ENTERPRISES                                                         213 FRANKLIN PLZ DR                                                                                     FRANKLIN                NC           28734
    DRAKE ENTERPRISES LTD                                                     500 GRAPEVINE HWY STE 402                                                                               HURST                   TX           76054-2785
    DRAKE SOFTWARE                                                            235 E PALMER ST                                                                                         FRANKLIN                NC           28734-3089
    DREAM BIG FOREVER LLC                                                     3549 MENOHER BLVD                                                                                       JOHNSTOWN               PA           15905
    DREAMLAND PRODUCTION                                                      6717 PATTERSON AVE                                                                                      RICHMOND                VA           23226
    DREHER TOMKIES SCHEIDERER LLP                                             2750 HUNTINGTON CTR                  41 S HIGH ST                                                       COLUMBUS                OH           43215
    DRINKMORE DELIVERY INC                                                    7595 A RICKENBACKER DR                                                                                  GAITHERSBURG            MD           20879-4776
    DRIVEERT                                                                  PO BOX 412362                                                                                           BOSTON                  MA           02241-2362
    DRIVERS LICENSE GUIDE COMPANY                                             1492 ODDSTAD DR                                                                                         REDWOOD CITY            CA           94063
    DRUCKER BRIAN                                                             ADDRESS ON FILE
    DRUMMOND RESEARCH LLC                                                     1452 COTTINGHAM CT W                                                                                    COLUMBUS                OH           43209
    DRYCON NASHVILLE INC                                                      102 HARTMANN DR                      STE G 301                                                          LEBANON                 TN           37087
    DS SERVICES OF AMERICA                                                    PO BOX 660579                        DBA SPARKLETTS                                                     DALLAS                  TX           75266-0579
    DS SERVICES OF AMERICA INC            DBA SPARKLETTS                      PO BOX 660579                                                                                           DALLAS                  TX           75266-0579
    DSAIR ENTERTAINMENT INC                                                   PO BOX 541895                                                                                           GRAND PRAIRIE           TX           75054
    DSEAN JONES                                                               ADDRESS ON FILE
    DSG ASSOCIATES                                                            2110 E 1ST ST 106                                                                                       SANTA ANA               CA           92705
    DSI TECHNICAL SYSTEMS INC                                                 1665 DUGALD RD                                                                                          WINNIPEG                MB           R2J 0H3      CANADA
    DSY GROUP LLC DBA SAME DAY CAPITAL                                        1997 MCDONAL AVE                                                                                        BROOKLYN                NY           11223
    DT LAND GROUP                                                             3300 DUVAL RD STE 250                                                                                   AUSTIN                  TX           78759
    DTE ENERGY 740786                                                         PO BOX 740786                                                                                           CINCINNATI              OH           45271-0786
    DTE ENERGY 740786                                                         PO BOX 740786                                                                                           CINCINNATI              OH           45274-0786

    DTG HOLDINGS INC                      DBA ACCESS RECEIVABLES MANAGEMENT   11350 MCCORMICK RD EPIII             STE 800                                                            HUNT VALLEY             MD           21031
    DTG OPERATIONS INC                                                        DEPARTMENT 2241                                                                                         TULSA                   OK           74182
    DTNTECH                                                                   11568 TRASK AVE                                                                                         GARDEN GROVE            CA           92843
    DU PHAM LEE                                                               ADDRESS ON FILE
    DUAL GRAPHICS INC                                                         370 CLIFFWOOD PARK                                                                                      BREA                    CA           92821
    DUAL MAC LTD                                                              25 COMMERCIAL DR                                                                                        LONDON                  KY           40744
    DUALITE SALES AND SERVICE INC                                             PO BOX 931330                                                                                           CLEVELAND               OH           44193
    DUANE MORRIS LLP                      ATTN PAYMENT PROCESSING             ONE LIBERTY PL                                                                                          PHILADELPHIA            PA           19103-7396
    DUCKWOOD SQUARE LLC                                                       600 S HWY 169 STE 1660                                                                                  ST LOUIS PARK           MN           55426
    DUE PROCESS ATTORNEY SERVICES                                             PO BOX 847                                                                                              EAST SETAUKET           NY           11733
    DUFF ENTERPRISES                                                          PO BOX 354                                                                                              CHATHAM                 ON           N7M 5K4      CANADA
    DUFRENE MARK                                                              ADDRESS ON FILE
    DUG AND OK ENTERPRISES INC            DBA ROCKY CREEK FOODS               2595 ROCKY CREEK RD                                                                                     MACON                   GA           31206
    DUGAN TIM                                                                 ADDRESS ON FILE
    DUHAMEL BROADCASTING ENTERPRISES                                          2827 E COLORADO BLVD                                                                                    SPEARFISH               SD           57783
    DUHAMEL BROADCASTING ENTERPRISES                                          PO BOX 1760                                                                                             RAPID CITY              SD           57709
    DUKE ENERGY                                                               PO BOX 1004                                                                                             CHARLOTTE               NC           28201-1004
    DUKE ENERGY 1003                                                          PO BOX 1003                                                                                             CHARLOTTE               NC           28201-1003



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    DUKE ENERGY 1094                                                              PO BOX 1094                                                                                                CHARLOTTE               NC           20201-1094
    DUKE ENERGY 70516                                                             PO BOX 70516                                                                                               CHARLOTTE               NC           28272-0516
    DUKE ENERGY CHARLOTTE                                                         PO BOX 1046                                                                                                CHARLOTTE               NC           28201-1046
    DULCE MONTOYA                                                                 ADDRESS ON FILE
    DULCE NANCY CUEVAS                                                            ADDRESS ON FILE
    DULCE SALINAS DBA COMM METROPLEX LLC                                          3940 ALGONQUIN DR 104                                                                                      LAS VEGAS               NV           89109
    DUNBAR DAVIS PLLC                                                             324 JACKSON AVE E                                                                                          OXFORD                  MS           38655
    DUNDAS DATA VISUALIZATION                                                     500 250 FERRAND DR                                                                                         TORONTO                 ON           M3C 3G8      CANADA
    DUNKIN DONUTS                                                                 150 DEPOT ST                                                                                               BELLINGHAM              MA           02019
    DUNLAP BENNETT AND LUDWIG PLLC                                                211 CHURCH ST SE                                                                                           LEESBURG                VA           20175
    DUPLIUM CORPORATION                                                           35 MINTHORN BLVD                                                                                           THORNHILL               ON           L3T 7N5      CANADA
    DUQUESNE LIGHT                                                                PO BOX 1930                                                                                                PITTSBURGH              PA           15230-1930
    DURHAM COUNTY TAX COLLECTOR                                                   PO BOX 30090                                                                                               DURHAM                  NC           27702-3090
    DURHAM RADIO INC                                                              1200 AIRPORT BLVD                       STE 207                                                            OSHAWA                  ON           L1J 8P5      CANADA
    DURHAM REGIONAL LOCKSMITHS                                                    497 SIMCOE ST S                                                                                            OSHAWA                  ON           L1H 4J9      CANADA
    DUSZA KATHLEEN                                                                ADDRESS ON FILE
    DUTCH PROPERTIES LLC                                                          3020 PARIS RD                                                                                              CHAIMETTE               LA           70043
    DUTCHESS COUNTY SCU                                                           PO BOX 15313                                                                                               ALBANY                  NY           12212-5313
    DUVAL ROYAL INVESTMENTS INC              C O JOYCE M CHAPPELL PROPERTY        8130 BAYMEADOW CR W STE 20                                                                                 JACKSONVILLE            FL           32256
    DUWANE E WILLIAMS                                                             ADDRESS ON FILE
    DWIGHT DYE                                                                    ADDRESS ON FILE
    DYCOM DIRECT MAIL                                                             495 BERRY ST                                                                                               WINNIPEG                MB           R3J 1N6      CANADA
    DYKSTRA NICOLLE                                                               ADDRESS ON FILE
    DYLAN RAMSEY                                                                  ADDRESS ON FILE
    DYNAMITE IMAGING INC                                                          386 GAGE AVE UNIT 2                                                                                        KITCHENER               ON           N2M 5C9      CANADA
    DYNASTY ADVISORY GROUP LLC DBA CELTIC
    FUNDING                                                                       141 W JACKSON BLVD                                                                                         CHICAGO                 IL           60604
    E AND A SOUTHEAST LIMITED PARTNERSHIP    C O EDENS AND AVANT                  1901 MAIN ST STE 900                                                                                       COLUMBIA                SC           29202
    E AND D LEGACY LLC                                                            298 MOOTS WAY                                                                                              ROCKY FACE              GA           30740
    E AND E 0416 LLC                                                              520 S VIRGIL AVE STE 301                                                                                   LOS ANGELES             CA           90020
    E AND J ELECTRIC LLC                                                          521 YOPP RD STE 214 310                                                                                    JACKSONVILLE            NC           28540
    E MYTH WORLDWIDE                                                              131B STONY CIR STE 2000                                                                                    SANTA ROSA              CA           95401
    E MYTH WORLDWIDE                                                              2235 MERCURY WAY STE 200                                                                                   SANTA ROSA              CA           95407
    E P VALLEY INVESTMENTS INC               ATTN FLOWER LOVA                     1800 LEE TREVINO                        STE 201                                                            EL PASO                 TX           79936
    E PROCESS AND INVESTIGATIONS LLC                                              9708 W 147TH AVE STE D                                                                                     CEDAR LAKE              IN           46303
    E TEXAS PEDDLER                                                               PO BOX 824                                                                                                 LUFKIN                  TX           75902
    E VENTS REGISTRATION                                                          40 TILLMAN ST                                                                                              WESTWOOD                NJ           07675
    E VENTS REGISTRATION LLC                                                      210 E ROUTE 4                           STE 307                                                            PARAMUS                 NJ           07652
    E VENTS REGISTRATION LLC                                                      40 TILLMAN ST                                                                                              WESTWOOD                NJ           07675
    EA VIDEO PRODUCTION                                                           PO BOX 65103                                                                                               VIRGINIA BEACH          VA           23467
    EADS CALDERWOOD LLC                                                           PO BOX 4067                             C O SELECT COMMERICAL PROPERTIES                                   BOISE                   ID           83711
    EAGLE IKON LLC                                                                20200 W DIXIE HWY                                                                                          MIAMI                   FL           33131
    EAGLE PRINTING AND GRAPHICS LLC                                               318 N WAYNE ST                                                                                             PIQUA                   OH           45356
    EAGLE RADIO                                                                   PO BOX 6                                                                                                   HAYS                    KS           67601
    EAGLE TECHNOLOGY MANAGEMENT INC                                               PO BOX 11100                                                                                               CEDAR RAPIDS            IA           54210-1100
    EAGLE TRIBUNE PUBLISHING COMPANY                                              100 TURNPIKE ST                                                                                            NORTH ANDOVER           MA           01845-5033
    EAGLES TALENT CONNECTION INC                                                  57 W S ORANGE AVE                                                                                          SOUTH ORANGE            NJ           07079
    EAN SERVICES LLC                         SERVICING NATIONAL CAR RENTAL        PO BOX 402334                                                                                              ATLANTA                 GA           30384-2334
    EARL CRAIN                                                                    ADDRESS ON FILE
    EARL OF SANDWICH                                                              1565 S DISNEYLAND DR                    STE 102                                                            ANAHEIM                 CA           92802
    EARL R BROWN                                                                  ADDRESS ON FILE
    EARLEY KEN                                                                    ADDRESS ON FILE
    EARTHLINK BUSINESS                                                            PO BOX 2252                                                                                                BIRMINGHAM              AL           35246-1058
    EARWORKS DIGITAL AUDIO INC                                                    5245 CLEVELAND ST                       STE 210                                                            VIRGINIA BEACH          VA           23462
    EAST BATON ROUGE SHERIFFS OFFICE         SID J GAUTREAUXII                    PO BOX 919319                                                                                              DALLAS                  TX           75391-9319
    EAST BAY PLAZA LLC                       C O ISRAM REALTY MANAGEMENT          506 S DIXIE HWY                                                                                            HALLANDALE              FL           33009
    EAST CAROLINA RADIO INC                                                       PO BOX 950                                                                                                 EDENTON                 NC           27932
    EAST COAST PROCESS SERVICE                                                    8 ALDEN CT                                                                                                 NEW CASTLE              DE           19720
    EAST COAST PUBLISHING INC                DBA TOWN PLANNER                     PO BOX 31056                                                                                               MYRTLE BEACH            SC           29588

    EAST COAST PUBLISHING INC                DBA TOWN PLANNER COMMUNITY CALENDAR PO BOX 30188                                                                                                MYRTLE BEACH            SC           29588
    EAST LYME TAX COLLECTOR                                                      PO BOX 511                                                                                                  NIANTIC                 CT           06357-0511
    EAST SIDE MINI STORAGE                                                       2465 NEWPORT AVE                                                                                            OSKALOOSA               IA           52577
    EAST TEXAS BROADCASTING                                                      PO BOX 1038                                                                                                 PARIS                   TX           75461
    EAST TEXAS PEDDLER                                                           PO BOX 824                                                                                                  LUFKIN                  TX           75902
    EAST TEXAS RADIO GROUP                                                       PO BOX 7820                                                                                                 TYLER                   TX           75711-7820
    EASTCOM DIRECTIONAL DRILLING INC                                             1424 BUXTON DR                                                                                              CHESAPEAKE              VA           23322
    EASTERN KENANSVILLE MISSIONARY BAPTIST
    ASSOCIATION INC                                                               PO BOX 591                                                                                                 WARSAW                  NC           28398
    EASTERN LOCK AND KEY CO                                                       1200 N BATTLEFIELD BLVD                 STE 104                                                            CHESAPEAKE              VA           23320
    EASTERN PROPERTY DEVELOPMENT LLC                                              1401 3RD AVE                                                                                               COLUMBUS                GA           31901
    EASTERN SHORE DEVELOPMENT                                                     PO BOX330                                                                                                  VIRGINIA BEACH          VA           23458
    EASTERN SHORE NEWS                                                            115 E CARROLL ST                                                                                           SALISBURY               MD           21801
    EASTERN SHORE POST                                                            24391 LANKFORD HWY                                                                                         TASLEY                  VA           23441
    EASTERN SURFING ASSOCIATION                                                   PO BOX 582                                                                                                 OCEAN CITY              MD           21843
    EASTERN VIRGINIA MEDICAL SCHOOL                                               PO BOX 5                                                                                                   NORFOLK                 VA           23501
    EASTFIELD ASSOCIATES LLC                                                      EASTFIELD MALL                          MAILBOX A 11 1655 BOSTON RD                                        SPRINGFIELD             MA           01129

    EASTHOM BAKERVIEW LLC                   C O LANDMARK REAL ESTATE MANAGEMENT   3800 BYRON AVE STE 112                                                                                     BELLINGHAM              WA           98229
    EASTLINK                                                                      PO BOX 8570                                                                                                HALIFAX                 NS           B3K 5M2      CANADA
    EASTLINK ADVERTISEMENT                                                        PO BOX 8660                             STATION A                                                          HALIFAX                 NS           B3K 5M3      CANADA
    EASY LAWN LLC                                                                 910 S MAIN ST                                                                                              PIQUA                   OH           45356
    EASYHOME                                C O CHARLES MORIN                     2390 E HASTINGS ST                                                                                         VANCOUVER               BC           V5L 1V5      CANADA
    EBATES PERFORMANCE MARKETING INC                                              999 PLZ DR                              STE 310                                                            SCHAUMBURG              IL           60173
    EBAY MASTERCARD SYNCHRONY BANK                                                PO BOX 530939                                                                                              ATLANTA                 GA           30353
    EBCON PROPERTIES LTD                                                          207 45485 KNIGHT RD                                                                                        CHILLIWACK              BC           V2R 3G3      CANADA
    EBERHARDT AND BARRY PROPERTY MANAGEMENT
    LLC                                                                           990 RIVERSIDE DR                                                                                           MACON                   GA           31201
    EBRAHIM AYUB                                                                  ADDRESS ON FILE


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                       Name                                     Attention                       Address 1                                 Address 2                           Address 3                     City         State        Zip          Country
    EBRO ELSA                                                                    ADDRESS ON FILE
    EBS INVESTIGATIONS                                                           POBOX 2084                                                                                               APOPKA                   FL             32704
    EC HISPANIC MEDIA                                                            1125 GOODRICH BLVD                                                                                       LOS ANGELES              CA             90022
    EC IRVINGTON FOUNDATION LLC                                                  5363 BALBOA BLVD                      STE 227                                                            ENCINO                   CA             91316
                                                 C O BRANDYWINE REAL ESTATE
    ECA ELLE NORTHWOOD PARTNERS LLC              MANAGEMENT SERVICES CORP        PO BOX 999                                                                                               CHADDS FORD              PA             19317
    ECHELON MALL MANAGEMENT OFFICE                                               1285 ECHELON MALL                                                                                        VOORHEES                 NJ             08043
    ECKHARDT RICHARD                                                             ADDRESS ON FILE
    ECO ELECTRIC LLC                                                             905 SUNRIDGE RD SW                                                                                       ALBUQUERQUE              NM             87121
    ECO MEDIA DIRECT                                                             1 24 THE E MALL                                                                                          ETOBICOKE                ON             M8W 9W5      CANADA
    ECOL LASER SERVICES                                                          2 2404 THAYER AVE                                                                                        SASKATOON                SK             S7L 6B4      CANADA
    ECOOPERATIONS LTD                                                            11 DAIRY AVE                                                                                             RICHMOND HILL            ON             L4E 4X4      CANADA
    ECOS                                                                         PO BOX 10243                                                                                             WINSTON SALEM            NC             27108
    ED KINGSBURY CARPET CLEANING LTD                                             PO BOX 523 N BAY                                                                                         NORTH BAY                ONTARIO        P1B 8J1      CANADA
    ED MANFREDI JR                                                               ADDRESS ON FILE
    EDDIE EDWARDS SIGNS INC                                                      560 WATERMAN DR                                                                                          HARRISONBURG             VA             22802
    EDDIE FICKLIN                                                                ADDRESS ON FILE
    EDDIE MOORE                                                                  ADDRESS ON FILE
    EDDIES BUS SERVICE INC                                                       3769 S MILITARY HWY                                                                                      CHESAPEAKE               VA             23323
    EDELMAN COMBS AND LATTURNER                                                  ADDRESS ON FILE

    EDELMAN COMBS LATTURNER AND GOODWIN LLC                                      20 S CLARK ST                         STE 1500                                                           CHICAGO                  IL             60603
    EDENS AND AVANT                                                              292 SO MAIN ST                                                                                           ALPHARETTA               GA             30004
    EDENS AND AVANT FINANCING LP                                                 1901 MAIN ST                          STE 900                                                            COLUMBIA                 SC             29201
    EDGE HOSTING LLC                                                             120 E BALTIMORE ST                    STE 1900                                                           BALTIMORE                MD             21202
    EDGE PUBLISHING                                                              1 219 VICTORIA ST                                                                                        KAMLOOPS                 BC             V2C 2A1      CANADA
    EDGEMARK SYSTEMS                                                             PO BOX 85080                                                                                             RICHMOND                 VA             23285-4214
    EDGEWATER MEDIA                                                              641 EDGEWATER RD                                                                                         SUDBURY                  ON             P3G 1J7      CANADA
    EDGEWATER PARTNERSHIP LP                THE POWER PLANT                      601 E PRATT ST                        6TH FL                                                             BALTIMORE                MD             21202
    EDIREX MEDIA LLC                                                             2135 CITY GATE LN                     STE 300                                                            NAPERVILLE               IL             60563
    EDISON MALL                                                                  4125 CLEVELAND AVE 154                                                                                   FORT MYERS               FL             33901
    EDISON MANAGEMENT CORP                                                       1009 LENOX DR 4                                                                                          LAWRENCEVILLE            NJ             08648
    EDISON VENTURE FUND IV LLP                                                   1009 LENOX DR 4                                                                                          LAWRENCEVILLE            NJ             08648
    EDLEN                                                                        16110 NW 13TH AVE                                                                                        MIAMI                    FL             33169-5712
    EDMONDSON LEDBETTER AND BALLARD LLP                                          999 WATERSIDE DR STE 220                                                                                 NORFOLK                  VA             23510
    EDMONTON FOOD BANK                                                           PO BOX 62061                                                                                             EDMONTON                 AB             T5M 4B5      CANADA
    EDOC PUBLISH INC                                                             5122 BOLSA AVE 104                                                                                       HUNTINGTON BEACH         CA             92649
    EDUARDO VAGAS JR                                                             ADDRESS ON FILE
    EDUCATION EQUITY INC                                                         555 RIVERGATE WAY                                                                                        SACRAMENTO               CA             95831
    EDUCATIONAL APPROVAL BOARD THE                                               4822 MADISON YARDS WAY 3RD FL                                                                            MADISON                  WI             53705
    EDUCATIONAL RESOURCES FOR CHILDREN INC                                       119B POST RD                                                                                             ENFIELD                  CT             06082
    EDWARD A PICKETT                                                             ADDRESS ON FILE
    EDWARD BOWSER AND ASSOCIATES                                                 49 IRVING ST                                                                                             WINCHESTER               MA             01890-1249

    EDWARD FAY DBA YES FINANCIAL SERVICES LLC                                    1051 HILLSBORO MILE                   APT 709E                                                           HILLSBORO BEACH          FL             33062
    EDWARD JONES                                                                 ADDRESS ON FILE
    EDWARDS HOME MAINTENANCE                                                     1308 BURLINGTON RD                                                                                       VIRGINIA BEACH           VA             23464
    EDWARDS JOHN                                                                 ADDRESS ON FILE
    EDX ELECTRONICS LIMITED                                                      14 W PATEL NAGAR                                                                                                                  NEW DELHI      110 008
    EE1040 INC                                                                   7 CAPISTRANO                                                                                             IRVINE                   CA             92602
    EFAX CORPORATE                                                               PO BOX 51873                          C O J2 GLOBAL COMMUNICATIONS INC                                   LOS ANGELES              CA             90051-6173
    EFILE ASSOCIATION OF CANADA                  ATTN STEVE WATSON               PO BOX 20040                                                                                             KELOWNA                  BC             V1Y 9H2      CANADA
    EFILE ASSOCIATION OF CANADA ASSOCIATION DE
    TED DU CANADA                                                                EAC ATC                               PO BOX 20040                                                       KELOWNA                  BC             V1Y 9H2      CANADA
    EFT PROMOTIONS INC                                                           PO BOX 88824                                                                                             DUNWOODY                 GA             30356
    EGGLESTON SMITH PC                                                           PO BOX 6189                                                                                              PORTSMOUTH               VA             23703
    EGGSPUEHLER LIMITED PARTNERSHIP II           DBA LAFAYETTE DEVELOPMENTS      20 N ST                                                                                                  DUBLIN                   OH             43017
    EIDI FAMILY PROPERTIES LLC                   DBA FINDLAY PLAZA LLC           6725 W CENTRAL AVE                    STE U                                                              TOLEDO                   OH             43617
    EIDI FAMILY PROPERTIES LLC USE FIND02        DBA FINDLAY PLAZA LLC           6725 W CENTRAL AVE STE U                                                                                 TOLEDO                   OH             43617
    EINBINDER AND DUNN LLP                                                       104 W 40TH ST FL 20                                                                                      NEW YORK                 NY             10018
    EJ SYSTEMS INC                                                               7 GREENFIELD CT                                                                                          HAWTHORN WOODS           IL             60047
    EJS ELECTRICAL SIGN SERVICE LLC                                              PO BOX 962974                                                                                            EL PASO                  TX             79996
    EKG IMAGES                                                                   312 E COLLAGE ST                                                                                         DICKSON                  TN             37055
    EKTRON INC                                                                   542 AMHERST ST                        ROUTE 101A                                                         NASHUA                   NH             03063
    EL AVISO DE OCASION INC                      DBA EL AVISO MAGAZINE           4850 GAGE AVE                                                                                            BELL                     CA             90201
    EL CREECH AND CO                             ATTN FAY CARBO                  2600 BARRETT ST                                                                                          VIRGINIA BEACH           VA             23452
    EL ECO DE VIRGINIA                                                           101 W PLUME ST                        STE 204                                                            NORFOLK                  VA             23510
    EL HISPANO                                                                   900 PARK AVE SW                                                                                          ALBUQUERQUE              NM             87102
    EL INFORMADOR DEL VALLE                                                      44 075 N JACKSON ST STE G                                                                                INDIO                    CA             92201
    EL NORTE NEWSPAPER                           ATTN MIQUEL AQUILAR             PO BOX 2181                                                                                              AUSTIN                   TX             78768
    EL PASO ELECTRIC                                                             PO BOX 650801                                                                                            DALLAS                   TX             75265-0801
    EL PASO WATER                                                                PO BOX 511                                                                                               EL PASO                  TX             79961-0511
    EL SEGUNDO CENTER BURKES INVESTMENT
    GROUP                                                                        PO BOX 5334                                                                                              BEVERLY HILLS            CA             90209
    EL TOROCOM LLC                                                               124 N 1ST ST                                                                                             LOUISVILLE               KY             40202
    ELAMMAR AND COMPANY INC                                                      3022 PETTIGREW CRESCENT                                                                                  MISSISSAUGA              ON             L5L 4X1      CANADA
    ELDEN ELECTRICAL EXHIBITION SERVICES                                         16110 NW 13TH AVE                                                                                        MIAMI                    FL             33169
    ELECTRA SIGN                                                                 398 DALY ST N                                                                                            WINNIPEG                 MB             R3L 2K6      CANADA
    ELECTRIC POWER BOARD OF CHATT                                                PO BOX 182253                                                                                            CHATTANOOGA              TN             37422-7253
    ELECTRICAL SERVICE AND DESIGN                                                545 S BIRDNECK RD                     STE 202 C                                                          VIRGINIA BEACH           VA             23451
    ELECTRONIC SYSTEMS INC                                                       369 EDWIN DR                                                                                             VIRGINIA BEACH           VA             23462
    ELEMENT K CORPORATION                                                        DEPT AT 2573                                                                                             DALLAS                   EX             75312-2573
    ELEVATED INTERNET MARKETING LLC                                              825 COLLEGE BLVD STE 102 PMB 336                                                                         OCEANSIDE                CA             92057
    ELEXICON                                                                     BOX 4466 STN A                                                                                           TORONTO                  ON             M5W 4C5      CANADA
    ELGIN COUNTRY PLUMBING                                                       17 ALMA ST                                                                                               ST THOMAS                ON             N5P 3A7      CANADA
    ELIAS JAWISH                                                                 ADDRESS ON FILE
    ELIO QUAQLIERI                               THE EYEGLASS CENTER             1365 HARTFORD AVE                                                                                        JOHNSTON                 RI             02919
    ELISABEL MEDINA                              LAGUADALUPANA PRIV SANTA ROSA   SUPERMANZANA 218 MANZANA 33                                                                              CANCÚN                   QUINTANA ROO   77518        MEXICO
    ELISABETH CRISCI                                                             921 CEDAR LN                                                                                             PEMBROKE                 ON             K8A 2G6      CANADA


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                        Name                                 Attention                              Address 1                               Address 2                           Address 3                      City         State       Zip          Country
    ELISSA COSTANZA                                                                ADDRESS ON FILE
    ELITE BUSINESS SOLUTIONS LLC                                                   1575 CANARSIE RD                                                                                         BROOKLYN                  NY            11236
    ELITE FIRE PROTECTION LTD                                                      UNIT 1 34100 S FRASER WAY                                                                                ABBOTSFORD                B.C           V2C 2C6      CANADA
    ELITE FLOORS LTD                                                               593 ST ANNES RD                                                                                          WINNIPEG                  MB            R2M 519      CANADA
    ELITE FUNDING SOURCE LLC                                                       2210 GARFIELD ST                      STE 3                                                              HOLLYWOOD                 FL            33020
    ELITE PRO CAPITAL                                                              65 STONEHEDGE DR                                                                                         NEWINGTON                 CT            06111
    ELITE SIGN AND MANUFACTURING                                                   1982 E 9800 S                                                                                            SANDY                     UT            84092
    ELITE TREE SERVICE                                                             3808 CHATHAM CIR                                                                                         NORFOLK                   VA            23513
    ELIZABETH BAKER                                                                ADDRESS ON FILE
    ELIZABETH GAUTHIER                                                             ADDRESS ON FILE
    ELIZABETH M BRADLEY                                                            ADDRESS ON FILE
    ELIZABETH PADUANI                                                              ADDRESS ON FILE
    ELIZABETH RIVER TUNNELS                                                        ADDRESS ON FILE
    ELIZABETH ROSE AYERS                                                           ADDRESS ON FILE
    ELIZABETH S MCEWAN                                                             ADDRESS ON FILE
    ELIZABETHTON NEWSPAPERS INC               ATTN ACCOUNTS RECEIVABLE             PO BOX 1960                           300 SYCAMORE ST                                                    ELIZABETHTOWN             TN            37644-1960
    ELIZABETHTOWN WATER AND GAS                                                    PO BOX 550                            CITY HALL                                                          ELIZABETHTOWN             KY            42702
    ELK ENERGY INC                                                                 172 FOREST AVE                                                                                           ESSEX                     ON            N8M 3E4      CANADA
    ELKHART COUNTY TREASURER                                                       PO BOX 116                                                                                               GOSHEN                    IN            46527-0116
    ELLA BLVD RETAIL CENTER LLC                                                    6206 WILLERS WAY                                                                                         HOUSTON                   TX            77057
    ELLIE MAE INC                                                                  4420 ROSEWOOD DREIVE                  STE 500                                                            PLEASANTON                CA            94588
    ELLIOTT PROPERTIES                        C O MARKET TOWN LLC                  1600 TENNESSEE ST                                                                                        VALLEJO                   CA            94590
    ELLIS ENTERPRISES LLC                                                          PO BOX 2352                                                                                              GREENVILLE                SC            29602
    ELLIS LEEROY                                                                   ADDRESS ON FILE
    ELMHURST SQUARE ASSOCIATES LLC            C O PERRINE AND WHEELER REAL EST     PO BOX 3578                                                                                              NORFOLK                   VA            23514
    ELMS PARK CENTER                                                               1471 LAKESHORE DR                     STE 112                                                            BOISE                     ID            83702
    ELOY CONSTRUCTION INTERIORS LLC                                                PO BOX 292236                                                                                            LEWISVILLE                TX            75029
    ELOY RODRIGUEZ                                                                 ADDRESS ON FILE
    ELSO PROPERTIES INC                                                            18 7321 VICTORIA PARK AVE                                                                                MARKHAM                   ON            L3R 2Z8      CANADA
    ELSY SIBRIAN                                                                   ADDRESS ON FILE
    ELZA HANCZ                                                                     ADDRESS ON FILE
    ELZA HANCZ USE HANC07                     DBA VAN NUYS VILLAGE                 1001 LEXINGTON RD                                                                                        BEVERLY HILLS             CA            90210
    EMAXIMATION                                                                    58 S PARK SQUARE                      STE N                                                              MARIETTA                  GA            30060
    EMERALD CITY DISPOSAL AND RECYCL                                               PO BOX 24745                                                                                             SEATTLE                   WA            98124-0745
    EMERALD COAST UTILITIES AUTHORITY                                              PO BOX 18870                                                                                             PENSACOLA                 FL            32523-8870
    EMERALD MANAGEMENT AND REALTY LTD                                              BOX 68025                             28 CROWFOOT TERRACE NW                                             CALGARY                   AB            T3G 3N8      CANADA
    EMERCHANTBROKERCOM LLC                                                         12021 WILSHIRE BLVD                   STE 626                                                            LOS ANGELES               CA            90025
    EMERGENCY ACCOUNTING INC                                                       5288 CO RD 47                                                                                            AUBURN                    IN            46706
    EMERGIFIRE LLC                                                                 PO BOX 181839                                                                                            DALLAS                    TX            75228
    EMERSON ERIC                                                                   ADDRESS ON FILE
    EMERSON NETWORK POWER                                                          PO BOX 70474                                                                                             CHICAGO                   IL            60673-0001
    EMERY COMMUNICATIONS INC                                                       4270 GIBSON DR                                                                                           TIPP CITY                 OH            45371
    EMI ENTERTAINTAINMENT WORLD INC                                                75 NINTH AVE 4TH FL                                                                                      NEW YORK                  NY            10001
    EML CAPITAL GROUP INC                                                          1512 E 36TH ST                                                                                           BROOKLYN                  NY            11234
    EMMA INC                                                                       9 LEA AVE                                                                                                NASHVILLE                 TN            37210
    EMMIS AUSTIN RADIO KDHT FM                                                     8309 N IH 35                                                                                             AUSTIN                    TX            78753
    EMPIRE ADVANCE SOLUTIONS LTD DBA METRO
    PRIME CAPITAL                                                                  220 MCDONALD AVE                                                                                         BROOKLYN                  NY            11223
    EMPIRE CAPITAL FUNDING GROUP                                                   95 W BROADWAY                                                                                            NEW YORK                  NY            10007
    EMPIRE CAPITAL SOLUTIONS LLC                                                   22340 DORADO DR                                                                                          BOCA RATON                FL            33433
    EMPIRE ENTERTAINMENT                                                           3501 HOLLAND RD                                                                                          VIRGINIA BEACH            VA            23452
    EMPIRE EVENTS AND ENTERTAINMENT                                                3501 HOLLAND RD                       STE 113                                                            VIRGINIA BEACH            VA            23452
    EMPIRE HOLDINGS INC                                                            PO BOX 1044                                                                                              EDMONDS                   WA            98020
    EMPIRE HOLDINGS INC                       INFINITE PROPERTY                    PO BOX 26861                                                                                             FEDERAL WAY               WA            98093
    EMPIRE MERCHANT GROUP                                                          1544 E 13TH ST                                                                                           BROOKLYN                  NY            11230
    EMPIRE STATE TAX PUBLISHERS                                                    13 S ST STE 215                                                                                          GENESEO                   NY            14454
    EMPIST LLC                                                                     116 N YORK ST STE 210                                                                                    ELMHURST                  IL            60126
    EMPLOYEE NAVIGATOR                                                             555 QUINCE ORCHARD RD 560                                                                                GAITHERSBURG              MD            20878
    EMPLOYER SOLUTIONS STAFFING GROUP
    PAYMENTS                                                                       PO BOX 741383                                                                                            ATLANTA                   GA            30374
    EMPLOYMENT DEVELOPMENT DEPT                                                    PO BOX 826218                                                                                            SACRAMENTO                CA            94230-6218
    EMPLOYMENT GUIDE                                                               PO BOX 34766                                                                                             NORTH KANSAS CITY         MO            64116-1116
    EMPLOYMENT NEWS                                                                17 APEX RD                                                                                               TORONTO                   ON            M6A 2V6      CANADA
    EMPLOYMENT SECURITY DEPARTMENT                                                 PAID FAMILY AND MEDICAL LEAVE         PO BOX 84249                                                       SEATTLE                   WA            98124-5549
    EMPLOYMENT SECURITY DEPT                                                       PO BOX 24928                                                                                             SEATTLE                   WA            98124
    EMPOWER GROUP PARTNERS INC                                                     366 N BROADWAY                        STE 410                                                            JERICHO                   NY            11753
    EMPOWER MARKETING INC                                                          100 10TH ST NE                        STE 103                                                            CHARLOTTESVILLE           VA            22902
    EMPYR INCORPORATED                                                             11010 ROSELLE ST                      STE 150                                                            SAN DIEGO                 CA            92121
    EMTERRA ENVIRONMENTAL REGINA                                                   12214 ROTARY AVE                                                                                         REGINA                    SK            S4M 0A1      CANADA
    EN CORRIGAN LLC DBA CORRIGAN REALTY TIC   C O CIMINELLI REAL ESTATE SERVICES   14499 N DALE MABRY HWY STE 200                                                                           TAMPA                     FL            33618
    ENABLEPATH LLC                                                                 PO BOX 531615                                                                                            ATLANTA                   GA            30353-1615
    ENBRIDGE                                                                       PO BOX 644                                                                                               SCARBOROUGH               ON            M1K 5H1      CANADA
    ENBRIDGE GAS UNION GAS                                                         PO BOX 4001 STN A                                                                                        TORONTO                   ON            M5W 0G2      CANADA
    ENCOMPASS MEDIA GROUP                                                          120 5TH AVE 7TH FL                                                                                       NEW YORK                  NY            10011
    ENCOMPASS MEDIA INC                                                            350 319 W PENDER ST                                                                                      VANCOUVER                 BC            V6B 1T3      CANADA
    ENCORE BROADCASTING LLC                                                        PO BOX 9400                                                                                              MIDLAND                   TX            79708
    ENCORE COMMERCIAL CAPITAL CORPORATION                                          3824 N ELM ST                         STE 101                                                            GREENSBORO                NC            27455
    ENDURANCE NETWORK SERVICES LLC                                                 4646 PRINCESS ANNE RD                 SUITE104                                                           VA BEACH                  VA            23462
    ENGEL CHRIS                                                                    ADDRESS ON FILE
    ENGINEERING AND TESTING SERVICES INC                                           5226 INDIAN RIVER RD                  STE 102                                                            VIRGINIA BEACH            VA            23464
    ENGINEFISH LLC                                                                 100 E MIDDLEFIELD RD                  STE 4E                                                             MOUNTAIN VIEW             CA            94043
    ENGLEWOOD LANDSCAPE SERVICE LLC                                                4168 W NATIONAL RD                                                                                       CLAYTON                   OH            45315
    ENGLISH HILLS PROPERTIES LLC                                                   PO BOX 872                                                                                               COLONIAL HEIGHTS          VA            23834
    ENH CANADA LTD                                                                 2650 PRESCOTT AND RUSSELL RD                                                                             CHUTE A BLONDEAU          ON            K0B 1B0      CANADA
    ENHANCED COMMUNICATIONS GROUPLLC          DBA BOOM MOBILE AND OR ECG           312 SE DELAWARE AVE                                                                                      BARTLESVILLE              OK            74003
    ENMAX                                                                          PO BOX 2900                           STATION M                                                          CALGARY                   AB            T2P 3A7      CANADA
    ENOVA POWER                                                                    301 VICTORIA ST S                     PO BOX 9021                                                        KITCHENER                 ON            N2G 4P1      CANADA
    ENQUIRER MEDIA                                                                 312 ELM ST                                                                                               CINCINNATI                OH            45202-2754
    ENR                                                                            201 MERRITT 7 STE 1                                                                                      NORWALK                   CT            06851


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                        Name                               Attention                        Address 1                                Address 2                           Address 3                       City        State        Zip         Country
    ENRICHED ACADEMY                                                        410 2059 CHESTERFIELD AVE                                                                                  NORTH VANCOUVER          BC           V7M 2P4      CANADA
    ENTECOM WICHITA LLC                                                     2120 N WOODLAWN                       STE 352                                                              WICHITA                  KS           67208
    ENTEGRUS POWERLINES INC                                                 PO BOX 460                                                                                                 ST THOMAS                ON           N5P 3V2      CANADA
    ENTEGRUS SERVICES INC                                                   PO BOX 70                                                                                                  CHATHAM                  ON           N7M 5K2      CANADA
    ENTERCOM COMMUNICATIONS PITTSTON                                        305 HWY 315                                                                                                PITTSTON                 PA           18640
    ENTERCOM GREENVILLE LLC                                                 25 GARLINGTON RD                                                                                           GREENVILLE               SC           29615
    ENTERCOM INDIANAPOLIS LICENSE LLC                                       9245 N MERIDIAN ST                    STE 300                                                              INDIANAPOLIS             IN           46260
    ENTERCOM KANSAS CITY LICENSE LLC                                        4935 BELINDER RD                                                                                           WESTWOOD                 KS           66205
    ENTERCOM NORFOLK LICENSE LLC                                            236 CLEARFIELD AVE                    STE 206                                                              VIRGINIA BEACH           VA           23462
    ENTERGY 61830                                                           PO BOX 61830                                                                                               NEW ORLEANS              LA           70161-1830
    ENTERGY 8106                                                            PO BOX 8106                                                                                                BATON ROUGE              LA           70891-8106
    ENTERGY LOUISIANA LLC                                                   PO BOX 8108                                                                                                BATON ROUGE              LA           70891-8108
    ENTERPRISE AND ALBANY COUNTY POST                                       PO BOX 654                                                                                                 ALTAMONT                 NY           12009
    ENTERPRISE BANK                                                         4091 MT ROYAL BLVD                                                                                         ALLISON PARK             PA           15101
    ENTERPRISE LOCKSMITHS                                                   1755 FORD BLVD                                                                                             WINDSOR                  ON           N8T 2E2      CANADA
    ENTERPRISE LOS ANGELES AREA                                             3729 TWEEDY BLVD                                                                                           SOUTH GATE               CA           90280
    ENTERPRISE MAGAZINES INC                                                1020 N BROADWAY STE 111                                                                                    MILWAUKEE                WI           53202
    ENTERPRISES GODON                                                       1040 RUE ST ROCH                                                                                           MONT TREMBLANT           QC           J8E 2Y9      CANADA
    ENTERPRISES RECORD                                                      PO BOX 9                                                                                                   CHICO                    CA           95927-0009
    ENTRAVISION COMMUNICATIONS CORPORATION                                  5700 WILSHIRE BLVD STE 250                                                                                 LOS ANGELES              CA           90036
    ENTRAVISION COMMUNICATIONS CORPORATIONS
    DBA KLYY FM KSSE FM                                                     PO BOX 843562                                                                                              LOS ANGELES              CA           90084-3562
    ENTREPRENEUR MEDIA                                                      18061 FITCH AVE                                                                                            IRVINE                   CA           92614
    ENVEST HOLDINGS LLC                                                     2101 PARKS AVE                        STE 401                                                              VIRGINIA BEACH           VA           23451
    ENVEST II LLC                                                           2101 PARKS AVE                        STE 401                                                              VIRGINIA BEACH           VA           23451
    ENVEST III LLC                                                          2101 PARKS AVE                        STE 401                                                              VIRGINIA BEACH           VA           23451
    ENVEST VENTURES I LLC                                                   2101 PARKS AVE                        STE 401                                                              VIRGINIA BEACH           VA           23451
    ENVIRO KIDS GUIDE                                                       202 9637 45 AVE                                                                                            EDMONTON                 AB           T6E 5Z8      CANADA
    ENWIN UTILITIES LTD                                                     4545 RHODES DR                                                                                             WINDSOR                  ON           N8W 5T1      CANADA
    EPATH DIGITAL LP                                                        32392 COAST HWY                       STE 200                                                              LAGUNA BEACH             CA           92651
    EPB                                                                     PO BOX 182255                                                                                              CHATTANOOGA              TN           37422-7255
    EPB FIBER OPTICS                                                        PO BOX 182251                                                                                              CHATTANOOGA              TN           37422-7251
    EPC CONSUMER CONNECT                                                    17547 VENTURA BLVD                    STE 200                                                              ENCINO                   CA           91316
    EPCOR                                                                   2345 GRAND BLVD STE 1700                                                                                   KANSAS CITY              MO           64108
    EPCOR                                                                   PO BOX 500                                                                                                 EDMONTON                 AB           T5J 373      CANADA
    EPCOT GRAPHICS                                                          3200 14TH AVE UNIT 1                                                                                       MARKHAM                  ON           L3R 0H7      CANADA
    EPICOR SOFTWARE CORPORATION                                             804 LAS CIMAS PKWY                    STE 200                                                              AUSTIN                   TX           78746
    EPIQ EDISCOVERY SOLUTIONS INC                                           777 THIRD AVE 12TH FL                 DBA EPIQ EDISCOVERY SOLUTIONS                                        NEW YORK                 NY           10017
    EPIQ EDISCOVERY SOLUTIONS INC           DBA EPIQ EDISCOVERY SOLUTIONS   PO BOX 12025 DEPT 0250                                                                                     DALLAS                   TX           75312-0250
    EPLEE AND ASSOCIATES                                                    22 E COFFEE ST STE 200                                                                                     GREENVILLE               SC           29601
    EPLUS TECHNOLOGY INC                                                    13595 DULLES TECHNOLOY DR                                                                                  HERNDON                  VA           20171

    EPNM INC DBA ELECTRICAL PRODUCTS COMPANY                                2024 5TH ST NW                                                                                             ALBUQUERQUE              NM
    EPOWER NETWORK                                                          1020 SEGOVIA CR                                                                                            PLACENTIA                CA           92870
    EQ PHOENIX LLC AND RE PHOENIX LLC AS TIC  ATTN VALANCIE JACKOSN         9601 WILSHIRE BLVD STE 560                                                                                 BEVERLY HILLS            CA           90210
    EQUIFAX CANADA INC                                                      CPPO BOX 4265                         STATION A                                                            TORONTO                  ON           M5W 5T7      CANADA
    EQUIFAX INFORMATION SERVICES                                            PO BOX 105835                                                                                              ATLANTA                  GA           30348-5835
    EQUIFAX MARKETING SERVICES                                              PO BOX 945510                                                                                              ATLANTA                  GA           30394-5510
    EQUIFAX WORKFORCE SOLUTIONS                                             4076 PAYSPHERE CIR                                                                                         CHICAGO                  IL           60674
    EQUIMAX MANAGEMENT                        ATTN CHARISMA CARTHAN         12121 WILSHIRE BLVD STE 602                                                                                LOS ANGELES              CA           90025
    EQUINITI TRUST COMPANY                                                  PO BOX 856686                                                                                              MINNEAPOLIS              MN           55485-0686
    EQUITABLE LIFE OF CANADA                                                PO BOX 1603 STN WATERLOO                                                                                   WATERLOO                 ON           N2J 4C7      CANADA
    EQUITABLE MANAGEMENT CORP                                               736 JOHNSON FERRY RD                  STE C 220                                                            MARIETTA                 GA           30068
    EQUITABLE TRUST COMPANY                                                 W KEITH KEISLING                      ONE BELLE MEADE PL                         4400 HARDING RD STE 310   NASHVILLE                TN           37205
    EQUITY ADVANCE SOLUTIONS CORP                                           2463 LONG BEACH RD                    STE 2                                                                OCEANSIDE                NY           11572
    EQUITY COMMUNICATIONS WAYV                                              BAYPORT ONE STE 100                   8025 BLACK HORSE PIKE                                                WEST ATLANTIC CITY       NJ           08232
    EQUITY INVESTMENT GROUP LLC                                             PO BOX 55232                                                                                               VIRGINIA BEACH           VA           23471-0232
    EQUITY ONE FLORIDA PORTFOLIO INC                                        PO BOX 01 9170                                                                                             NORTH MIAMI BEACH        FL           33101-9170
    EQUITY ONE INC                                                          PO BOX 01 9170                                                                                             MIAMI                    FL           33179-4902
    EQUITY ONE REALTY AND MANAGEMENT INC      ATTN DEA ETLINGER             10213 C LAKE CARROLL WAY                                                                                   TAMPA                    FL           33618
    EQUITY VENTURES                           ARNIE YAGER                   14234 207TH PL NE                                                                                          WOODINVILLE              WA           98077
    EREP MARKET PLACE I LLC                                                 515 CONGRESS AVE STE 1925                                                                                  AUSTIN                   TX           78701
    ERHARTS CATERING                                                        5241 LINCOLN AVE                      STE B1                                                               CYPRESS                  CA           90630
    ERI ECONOMIC RESEARCH INSTITUTE                                         8575 164TH AVE NE                     STE 100                                                              REDMOND                  WA           98502
    ERIC ADONA                                                              ADDRESS ON FILE
    ERIC ARANDA DBA BCC FUNDING LLC                                         111 W OCEAN AVE                       4TH FL                                                               LONG BEACH               CA           90802
    ERIC BERRY                                                              ADDRESS ON FILE
    ERIC ELDER                                                              ADDRESS ON FILE
    ERIC GATES GATEZ CONSULTING DBA GATEZ
    CONSULTING                                                              9813 DIAMOND BACK                                                                                          MCKINNEY                 TX           75071
    ERIC L MAJETTE                                                          ADDRESS ON FILE
    ERIC WYNDER                                                             ADDRESS ON FILE
    ERICA E OWENS DBA UNIQUE BACKING
    RESOURCES LLC                                                           5102 TREEHILLS PKWY                                                                                        STONE MOUNTAIN           GA           30088
    ERICA SOTO                                                              ADDRESS ON FILE
    ERICK KIDD DBA UPSIDE BUSINESS LOANS LLC                                3701 RIME VLG                                                                                              VESTAVIA HLS             AL           35216
    ERICTON BUSINESS GROUP DBA NOBLE BUSINESS
    ADVISORS                                                                9422 ASHWOOD LN                                                                                            FISHERS                  IN           46038
    ERIK VANHORN                                                            ADDRESS ON FILE
    ERIN JOYCE LAW                                                          117 E COLORADO BLVD                   STE 465                                                              PASADENA                 CA           91105

    ERIO MEDIA LLC DBA HYPER TARGET MARKETING                               528 ARIZONA AVE                       317                                                                  SANTA MONICA             CA           90401
    ERNIE DECOSTA                                                           ADDRESS ON FILE
    ERNIES                                                                  880 VIRGINIA BEACH BLVD                                                                                    VIRGINIA BEACH           VA           23451
    ERNST AND YOUNG LLP                                                     PITTSBG NTL BANK PIT 640382           PO BOX 640382                                                        PITTSBURGH               PA           15264-0382
    ERNST AND YOUNG LLP                                                     PITTSBG NTL BANK PITT 640382          PO BOX 640382                                                        PITTSBURGH               PA           15264-0382
    ERNST AND YOUNG LLP                                                     PO BOX 640382                                                                                              PITTSBURGH               PA           15264-0382
    ERNST AND YOUNG LLP                                                     PO BOX 846793                                                                                              LOS ANGELES              CA           90084-6793
    ERP OPERATING LIMITED PARTNERSHIP           DBA EQUITY RESIDENTIAL      PO BOX 11978                                                                                               NEWARK                   NJ           07101


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    ERROL SANDERS DBA THE MONEY KINGDOM                                             3705 JOSE TERRACE                                                                                         JACKSONVILLE            FL             32217
    ESBIN REALTY CORPORATION                                                        50 CUMBERLAND ST                       THIRD FL                                                           TORONTO                 ON             M4W 1J5      CANADA
    ESCAMBIA COUNTY TAX COLLECTOR                                                   PO BOX 1312                                                                                               PENSACOLA               FL             32591
    ESI INTERNATIONAL                                                               PO BOX 3597                                                                                               BOSTON                  MA             02241-3597

    ESPANOL MARKETING AND COMMUNICATIONS INC                                        108 TURQUOISE CREEK DR                                                                                    CARY                    NC             27513
    ESPANOLA HELPING HAND FOOD BANK                                                 87 CENTRE ST UNIT C                                                                                       ESPANOLA                ON             P5E 1S4      CANADA
    ESPLANADE PLAZA CO                                                              3501 SEVERN AVE                        STE 21                                                             METAIRIE                LA             70002
    ESPY PAUL                                                                       ADDRESS ON FILE
    ESQ DEPOSITION SERVICES INC                                                     PO BOX 1518                                                                                               NEW YORK                NY             10008-1518
    ESQ DEPOSITION SOLUTIONS LLC                                                    PO BOX 846099                                                                                             DALLAS                  TX             75284-6099
    ESQUIMALT TRADING                                                               893 ESQUIMALT RD                                                                                          VICTORIA                BC             V9A 3M5      CANADA
    EST A DIRE COMMUNICATION SERVICES                                               135 DE PROVENCE ST                                                                                        MORIN HEIGHTS           QB             J0R 1H0      CANADA
    ESTATE OF JACK OR MILDRED SELLERS                                               217 MCFARLAND DR                                                                                          KINGSPORT               TN             37664
    ESTATE OF ROLLAND BEGIN                  JEAN BEGIN VALLEY FLOWERS INC          645 BELFAST RD                         UNIT 7                                                             OTTAWA                  ONT.           K1G 4V3      CANADA
    ESTATE OF VIVA M FENGLER                                                        155 W CHELTENHAM RD                                                                                       SYRACUSE                NY             13205
    ESTEBAN TRINIDAD LAW PC                                                         4315 NRANCO DR STE 110                                                                                    LAS VEGAS               NV             89130

    ESTEVAN MARTINEZ DBA AGAVE ADVANTAGE LLC                                        PO BOX 22092                                                                                              PHOENIX                 AZ             85028
    ESTEY ASSOCIATES                                                                79 BURKE RD                                                                                               PETERSBOROUGH           NH             03458
    ET CAP CORP DBA HEDGESTONE CAPITAL                                              47 21 203RD ST FL 1                                                                                       BAYSIDE                 NY             11361
    ETARGETMEDIACOM                                                                 6810 LYONS TECHNOLOGY CIR              STE 160                                                            COCONUT CREEK           FL             33073
    ETHAN CONRAD                                                                    ADDRESS ON FILE
    ETOBICOKE GUARDIAN                                                              100 TEMPO AVE                                                                                             TORONTO                 ONTARIO        M8X 2X2      CANADA
    ETUKS ITORO                                                                     ADDRESS ON FILE
    EUNJEONG CHOI                                                                   ADDRESS ON FILE
    EUREKA DEVELOPMENT LLC                                                          4132 COAL HERITAGE RD                                                                                     BLUEFIELD               WV             24701
    EUREKA WATER COMPANY                                                            PO BOX 26730                                                                                              OKLAHOMA CITY           OK             73126
    EVANGEL PUBLISHING HOUSE                                                        PO BOX 189                             2000 EVANGEL WAY                                                   NAPPANEE                IN             46550
    EVANS DENNIS                                                                    ADDRESS ON FILE
    EVANS ELECT GROUP INC                                                           17420 64TH AVE E                                                                                          PUYALLUP                WA             98375
    EVANS JOHN                                                                      ADDRESS ON FILE
    EVANSVILLE COURIER AND PRESS MAILING
    ADDRESS                                                                         300 E WALNUT ST                        PO BOX 268                                                         EVANSVILLE              IN             47702-0268
    EVE GORDON RAMEK TRUST                                                          11111 KATY FWY                         STE 535                                                            HOUSTON                 TX             77079
    EVEN FINANCIAL INC                                                              43 W 24TH ST FL 5                                                                                         NEW YORK                NY             10009
    EVENT BOOTH                                                                     10 WINDEBANKS DR                                                                                          AJAX                    ON             L1S 4C3      CANADA
    EVENT STAFFING INC                                                              6052 PROVIDENCE RD                     STE 101                                                            VIRGINIA BEACH          VA             23464
    EVERGREEN CONSTRUCTION INC                                                      1100 W RIDGECREST BLVD                                                                                    RIDGECREST              CA             93555
    EVERGREEN DEVELOPMENT LLC                                                       17587 BRIDLE TRAIL RD                                                                                     GURNEE                  IL             60031
    EVERGREEN EQUITY PARTNERS DBA EVERGREEN
    COMMERCIAL CAPITAL                                                             2835 ODONNELL ST                        STE 300                                                            BALTIMORE               MD             21224-4994
                                               ATTN SCOTT GODFREY WESTERN SECURITY
    EVERGREEN MIDTOWN PLAZA LLC                BANK                                PO BOX 2508                                                                                                BILLINGS                MT             59103
    EVERGREEN PLAZA II LLC                     C O KAMG MANAGEMENT                 PO BOX 98922                                                                                               TACOMA                  WA             98496-8922
    EVERGREEN STATE INVESTMENTS LP             DBA REINER ENTERPRISES              9683 SYCAMORE TRACE CT                                                                                     CINCINNATI              OH             45242
    EVERGY 219089                                                                  PO BOX 219089                                                                                              KANSAS CITY             MO             64121-9089
    EVERGY 219915                                                                  PO BOX 219915                                                                                              KANSAS CITY             MO             64121-9915
    EVERGY 419353                                                                  PO BOX 419353                                                                                              KANSAS CITY             MO             64141-6353
    EVERLASTING CAPITAL CORP                                                       27B STERLING DR                                                                                            ROCHESTER               NH             03867-4373
    EVERSHEDS SUTHERLAND US LLP                                                    999 PEACHTREE ST                        NE STE 2300                                                        ATLANTA                 GA             30309
    EVERSIGN LLC                               DBA CONCEPT SIGNS AND GRAPHICS      4518 W O ST                                                                                                GREELY                  CO             80631
    EVERSOURCE                                                                     PO BOX 56007                                                                                               BOSTON                  MA             02205-6007
    EVIE MANSFIELD MODELING                                                        4027 FRANCIS LEE DR                                                                                        VIRGINIA BEACH          VA             23452
    EVISIBILITY INC                                                                BOX 510267                                                                                                 PHILIDELPHIA            PA             19175-0267
    EVOLUTION FINANCE INC                                                          150 SE 2ND AVE STE 300                                                                                     MIAMI                   FL             33131
    EVOLUTION INTERNATIONAL GROUP                                                  4001 S DECATUR BLVD                     37 249                                                             LAS VEGAS               NV             89103
    EVOLVE COLLABORATION                                                           2800 SKYMARK AVE                        STE 501                                                            MISSISSUAGA             ON             L4W 5A6      CANADA
    EXACT TARGET INC                                                               PO BOX 732133                                                                                              DALLAS                  TX             75373-2133
    EXACTTARGET INC DBA SALESFORCECOM INC                                          PO BOX 203141                                                                                              DALLAS                  TX             75320-3141
    EXCEL CAPITAL MANAGEMENT INC                                                   108 GREENWICH ST                        5TH FL                                                             NEW YORK                NY             10006
    EXCEL EMPLOYMENT OPTIONS                                                       5840 STERLING DR                        STE 800                                                            HOWELL                  MI             48843
    EXCEL REALTY TRUST NC                      C O CENTRO                          PO BOX 402938                                                                                              ATLANTA                 GA             30384-2938
    EXCELLENT PRINTING AND GRAPHICS LLC                                            333 HAZEL ST                                                                                               CLIFTON                 NJ             07011
    EXCELO INC                                                                     4008 LOUETTA RD STE 164                                                                                    SPRING                  TX             77388
    EXCLUSIVE COOLING LTD                                                          597 JUSTUS DR                                                                                              KINGSTON                ON             K7M 4H5      CANADA
    EXECUTIVE BOOKS                                                                206 W ALLEN ST                                                                                             MECHANICSBURG           PA             17055
    EXECUTIVE CASH AND CAPITAL LLC                                                 133 VIA PALACIO                                                                                            PALM BEACH GARDENS      FL             33418
    EXECUTIVE FRANCHISESCOM LLC                DBA EXECUTIVE FRANCHISES            4023 KENNETT PIKE STE 228                                                                                  WILMINGTON              DE             19807
    EXECUTIVE LANDSCAPING INC                                                      1436 E OLIVE RD                                                                                            PENSACOLA               FL             32514
    EXHIBITS INC                                                                   2505 GLEN CTR ST                                                                                           RICHMOND                VA             23223
    EXHIBITS USA INC                           DBA PG EXHIBITS                     3510 HIMALAYA RD                                                                                           AURORA                  CO             80011
    EXP SERVICES INC                                                               260 TOWN CENTRE BLVD STE 102                                                                               MARKHAM                 ON             L3R 8H8      CANADA
    EXPEDIA FUNDING GROUP                                                          530 N FEDERAL HWY                                                                                          BOCA ROTON              FL             53487
    EXPEDITE MEDIA GROUP                                                           19 S BROADWAY                                                                                              AURORA                  IL             60505
    EXPENSE MANAGEMENT CONSULANTS                                                  2417 LORAN CT                                                                                              VIRGINIA BEACH          VA             23451
    EXPERIAN                                                                       PO BOX 881971                                                                                              LOS ANGELES             CA             90088-1971
    EXPERIAN INFORMATION SOLUTIONS INC                                             PO BOX 841971                                                                                              LOS ANGELES             CA             90084-1971
    EXPERIAN INFORMATION SOLUTIONS INC                                             PO BOX 881971                                                                                              LOS ANGELES             CA             90088-1971
    EXPERIAN MARKETING SOLUTIONS LLC                                               475 ANTON BLVD                                                                                             COSTA MESA              CA             92626
    EXPERIAN MARKETING SOLUTIONS LLC                                               PO BOX 881971                                                                                              LOS ANGELES             CA             90088-1971
    EXPERIENCE PUBLISHING INC                                                      712710 ALLENBY WAY                                                                                         VERNON                  BC             V1T 9P2      CANADA
    EXPERIS US INC                                                                 PO BOX 905378                                                                                              CHARLOTTE               NC             28290
    EXPERTISE LLC                                                                  16501 VENTURA BLVD                      STE 400                                                            LOS ANGELES             CA             91436
    EXPLOREBIZ                                                                     15375 BARRANCA PKWY                     STE A 211                                                          IRVINE                  CA             92618
    EXPLORERTOUR INC                           CHARTER SERVICE HEAQDQUARTERS       323 GEARY ST STE 712                                                                                       SAN FRANCISCO           CA             94102
    EXPO DATA CAPTURE INC                                                          5275 S ARVILLE ST STE 348                                                                                  LAS VEGAS               NV             89118
    EXPRESS CAPITAL FUNDING LLC                                                    6420 WILSHIRE BLVD                      STE 860                                                            LOS ANGELES             CA             90048
    EXPRESS PERSONNEL SERVICES                                                     BOX 9245                                POSTAL STATION A                                                   TORONTO                 ON             M5W 3M1      CANADA


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    EXPRESS PROCESS SEVICE INC                                                       1201 N POST RD                       STE 5                                                              INDIANAPOLIS             IN            46219-4225
    EXPRESS SERVICES                                                                 PO BOX 268951                                                                                           OKLAHOMA CITY            OK            73126-8951
    EXPRESS SERVICES INC                                                             PO BOX 203901                                                                                           DALLAS                   TX            75320-3901
    EXPRESS TRANSACTION SERVICES INC                                                 615 BELMONT STE 103                                                                                     MONTREAL                 QC            H3B 2L8      CANADA
    EXPRESSCOPYCOM                                                                   14255 SW 73RD AVE                                                                                       PALMETTO BAY             FL            33158
    EXTENDED STAY AMERICA 4178                                                       3820 ORANGE PL                                                                                          ORANGE                   OH            44122
    EXTERIOR DESIGN SPECIALIST                                                       5179 CLEVELAND ST                                                                                       VIRGINIA BEACH           VA            23462
    EXTOLE INC                                                                       548 MARKET ST                        STE 39231                                                          SAN FRANCISCO            CA            94104
    EXTREME REACH CANADA ULC                                                         PO BOX 15718 STATION A                                                                                  TORONTO                  ON            M5W 1C1      CANADA
    EXTREME RODEO TOUR                                                               CAMPAIGN PROCESSING CENTRE           229 ST CLAIR ST                            STE 233                 CHATHAM                  ON            N7L 3J4      CANADA
    EYEWITNESS INVESTIGATIONS                                                        14 SUNTREE PL                        STE 104                                                            MELBOURNE                FL            32904
    EZ SHRED                                                                         3950 RHODES DR                                                                                          WINDSOR                  ON            N8W 5C2      CANADA
    EZ SIGNS                                                                         15347 S CICERO AVE                                                                                      OAK FOREST               IL            60452
    EZ TRANSPORTATION                                                                74 LEGACY DR                                                                                            MARKHAM                  ON            L3S 4B5      CANADA
    F AND N CENTER LLC                                                               3220 PINE CONE CT                                                                                       MILFORD                  MI            48381
    F INGHAM CONSTRUCTION COMPANY LIMITED                                            4790 MONTROSE RD                                                                                        NIAGARA FALLS            ONTARIO       L2H 1K5      CANADA
    FABER BRAD                                                                       ADDRESS ON FILE
    FABRICS SAVE A THON 3RD AVE INC                                                  243 W 124 ST                                                                                            NEW YORK                 NY            10027
    FACEBOOK INC                                                                     15161 COLLECTIONS CTR DR                                                                                CHICAGO                  IL            60693
    FACTORTRUST INC                                                                  PO BOX 99506                                                                                            CHICAGO                  IL            60693-9506
    FAEGRE BAKER DANIELS LLP                                                         300 N MERIDIAN ST                    STE 2700                                                           INDIANAPOLIS             IN            46204
    FAHEY EQUITIES LLC                                                               904 HWY 15 S                         STE F                                                              HUTCHINSON               MN            55350
    FAHRHALL MECHANICAL CONTRACTORS LTD                                              3822 SANDWICH ST                                                                                        WINDSOR                  ON            N9C 1C1      CANADA
    FAIRBAIRN HOLDINGS INC                                                           483 KING ST W                                                                                           CHATHAM                  ON            N7M 1G6      CANADA
    FAIRFAX ASSOCIATES LLC                                                           PO BOX 36799                                                                                            CHARLOTTE                NC            28236-6799

    FAIRFAX STATION SQUARE LIMITED PARTNERSHIP                                       3201 JERMANTOWN RD STE 700                                                                              FAIRFAX                  VA            22030
    FAIRFIELD BLOCK LTD                                                              1150 RICHARDSON ST                                                                                      VICTORIA                 BC            V8V 3C8      CANADA
    FAIRFIELD INN BY MARRIOTT                                                        4760 EUCLID RD                                                                                          VIRGINIA BEACH           VA            23462
    FAIRVIEW FORD                                                                    292 N G ST                                                                                              SAN BERNARDINO           CA            92410
    FAIRVIEW GOLF COURSE                                                             BOX 1993                                                                                                FAIRVIEW                 AB            T0H 1L0      CANADA
    FAIRVIEW LIQUOR STORE                                                            BOX 1933                                                                                                FAIRVIEW                 AB            T0H 1L0      CANADA
    FAIRVIEW PRINTING AND SILKSCREENING                                              BOX 1425                                                                                                FAIRVIEW                 AB            T0H 1L0      CANADA
    FAIRWAY GROUP                                                                    461 1 2 S COCHRAN AVE                                                                                   LOS ANGELES              CA            90036
    FAIZAN AHMED                                                                     ADDRESS ON FILE
    FALER KEVIN                                                                      ADDRESS ON FILE
    FALLS AVE RESORT                                                                 5685 FALLS AVE                                                                                          NIAGARA FALLS            ON            L2E 6WY      CANADA
    FAMILY DIRECT CAPITAL                                                            500 FOUR ROD RD                      STE 101A                                                           BERLIN                   CT            06037
    FAMILY DOLLAR STORES                       ATTN JEFF PALACIO                     10401 MONROE RD                                                                                         MATTHEWS                 NC            28105
    FAMILY SUPPORT REGISTRY                                                          PO BOX 1800                                                                                             CARROLTON                GA            30112-1800
    FAMOUS TATE SPRING HILL LLC                                                      8317 N ARMENIA AVE                                                                                      TAMPA                    FL            33604
    FANG KEUR C                                                                      ADDRESS ON FILE
    FARGY INK                                                                        RR 2 SITE 15 BOX 8                                                                                      RED DEER                 AB            T4N 5E2      CANADA
    FARHANG CONSULTING LLC                                                           5999 CEDAR MOUNTAIN DR                                                                                  RANCHO CUCAMONGA         CA            91737
    FARIBORZ NOURIAN                                                                 ADDRESS ON FILE
    FARLEYS MASONRY INC                                                              1584 REESER LN                                                                                          COOKEVILLE               TN            38501
    FARMER ED                                                                        633 E WILTSHIRE DR                                                                                      WALLINGFORD              PA            19086
    FARMERS INSURANCE EXCHANGE 894731                                                PAYMENT PROCESSING CTR               PO BOX 894731                                                      LOS ANGELES              CA            90189
    FAST AUTO LOANS INCE                                                             72990 HWY                            111                                                                PALM DESERT              CA            92260
    FAST BREAK SPORTS LLC                                                            PO BOX 30                                                                                               ELKHORN                  NE            68022
    FAST BUSINESS FINANCIAL LLC                                                      6420 WILSHIRE BLVD 860                                                                                  LOS ANGELES              CA            90048
    FAST CAPTIAL PARTNERS LLC                                                        44 WALL ST                                                                                              NEW YORK                 NY            10005
    FAST FREEDOM FUNDING LLC                                                         137 58 224 ST                                                                                           LAURELTON                NY            11413
    FAST FUNDS CAPITAL INC                                                           100 DUFFY AVE                        STE 100                                                            HICKSVILLE               NY            11801
    FAST PITCH                                                                       1990 MAIN ST STE 750                                                                                    SARASOTA                 FL            34236
    FAST SIGNS                                                                       2716 VIRGINIA BEACH BLVD                                                                                VIRGINIA BEACH           VA            23452
    FAST SIGNS                                 ATTN MELISSA                          6570 S STATE ST                                                                                         MURRAY                   UT            84107
    FAST SIGNS OF VENTURA                                                            3959 E MAIN ST                       STE A                                                              VENTURA                  CA            93003
    FAST SIGNS OF WINNIPEG                                                           UNIT 3 756 PEMBINA HWY                                                                                  WINNIPEG                 MB            R3M 2M7      CANADA
    FAST TRACK FINANCIAL LLC                                                         16735 VON KARMAN AVE                 STE 250                                                            IRVINE                   CA            92606
    FASTENAL CANADA LTD                                                              900 WABANAKI DR                                                                                         KITCHENER                ON            N2C 0B7      CANADA
    FASTSIGNS                                                                        4051 HWY 78 STE E 105                                                                                   LITHONIA                 GA            30047
    FASTSIGNS 4724                                                                   4724 VIRGINIA BEACH BLVD                                                                                VIRGINIA BEACH           VA            23462
    FASTSIGNS 5444 VAB BLVD                                                          5444 VIRGINIA BEACH BLVD             STE 104                                                            VIRGINIA BEACH           VA            23462
    FASTSIGNS BATON ROUGE                                                            8350 FLORIDA BLVD STE B                                                                                 BATON ROUGE              LA            70806

    FASTSIGNS NATIONAL ADVERTISING COUNCIL INC                                       2550 MIDWAY RD                       STE 150                                                            CARROLLTON               TX            75006-2372
    FATWALLET AND EBATES                       ATTN AMY SALVI                        FAT WALLETCOM                        100 E GRAND AVE                                                    BELOIT                   WI            53511
    FAULKNER AND GRAY                                                                PO BOX 71696                                                                                            CHICAGO                  IL            60694-1696
    FAXER TISEMENTS                                                                  ADDRESS ON FILE
    FAYETTE COUNTY PUBLIC SCHOOLS              TAX COLLECTION OFFICE                 PO BOX 55570                                                                                            LEXINGTON                KY            40555-5570
    FAYETTE NEWSPAPERS INC                                                           PO BOX 96                                                                                               FAYETTEVILLE             GA            30214
    FAYETTEVILLE PUBLIC WORKS COMMISSION                                             PO BOX 71113                                                                                            CHARLOTTE                NC            28272-1113
    FBBT US PROPERTIES LLC                                                           7978 COOPER CREEK BLVD STE 100                                                                          UNIVERSITY PARK          FL            34201
    FBJ INVESTORS INC                                                                150 W MAIN ST                        STE 1100                                                           NORFOLK                  VA            23510
    FCG FINANCE GROUP                                                                500 GRAPEVINE HWY STE 402                                                                               HURST                    TX            76054-2785
    FCHT HOLDINGS ONTARIO CORPORATION          C O FCR MANAGEMENT SERVICES           227 85 ELLESMERE RD                                                                                     TORONTO                  ON            M1R 4B9      CANADA
    FCR MANAGEMENT SERVICES LP                                                       85 ELLESMERE RD STE 227                                                                                 TORONTO                  ON            MIR 4B9      CANADA
                                               FL DEPT OF AGRICULTURE AND CONSUMER
    FDACS                                      SERVICES                              PO BOX 6700                                                                                             TALLAHASSEE              FL            32314-6700
    FDH GROUP                                                                        2220 OTAY LAKES RD 502               STE 345                                                            CHULA VISTA              CA            91945
    FEATHER PUBLISHING CO INC                                                        PO BOX B                                                                                                QUINCY                   CA            95971
    FEDERAL BAR ASSOCIATION                                                          2011 CRYSTAL DR                      STE 400                                                            ARLINGTON                VA            22202
    FEDERAL DIRECT INC                                                               95 MAIN AVE                          DEPARTMENT 1050                                                    CLIFTON                  NJ            07014
    FEDERAL EXPRESS 332                                                              PO BOX 332                                                                                              MEMPHIS                  TN            38194-4721
    FEDERAL EXPRESS 371461                                                           PO BOX 371461                                                                                           PITTSBURGH               PA            15250-7461
    FEDERAL EXPRESS 660481                                                           PO BOX 660481                                                                                           DALLAS                   TX            75266-0481
    FEDERAL EXPRESS CANADA LTD                                                       PO BOX 4626 TORONTO STN A                                                                               TORONTO                  ON            M5W 5B4      CANADA
    FEDERAL KEMPER LIFE ASSURANCE COMPANY                                            135 S LASALLE ST DEPT 8320                                                                              CHICAGO                  IL            60674-8320


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                       Name                                       Attention                             Address 1                                 Address 2                           Address 3                     City        State         Zip          Country
    FEDERAL WAGE AND LABOR LAW INSTITUTE                                                7001 W 43RD ST                                                                                            HOUSTON                  TX             77092-4439
    FEDERAL WAY                                  C O INVESTORS PROPERTY SERVICES        27042 TOWNE CENTRE DR STE 250                                                                             FOOTHILL RANCH           CA             92610
    FEDERAL WAY TOWNE SQUARE                                                            PO BOX 98922                                                                                              LAKEWOOD                 WA             98499
    FEDERATED PI                                 C O HUSTON AKINS                       4745 POPLAR AVE STE 311                                                                                   MEMPHIS                  TN             38117
    FEDERATION OF TAX ADMINISTRATORS                                                    444 N CAPITOL ST NW                    STE 348                                                            WASHINGTON               DC             20001
    FEDEX                                                                               PO BOX 7221                                                                                               PASADENA                 CA             91109-7321
    FEDEX                                                                               PO BOX 94515                                                                                              PALATINE                 IL             60094--515
    FEDEX FREIGHT 223125                                                                PO BOX 223125                                                                                             PITTSBURGH               PA             15250
                                                                                        FEDEX OFFICE CUSTOMER ADMINISTRATIVE
    FEDEX KINKOS 672085                                                                 SERVICES                               PO BOX 672085                                                      DALLAS                   TX             75267-2085
    FEDEX OFFICE 572085                          CUSTOMER ADMINISTRATIVE SERVICES       PO BOX 672085                                                                                             DALLAS                   TX             75267-2085
    FEDEX PO BOX 1140                                                                   PO BOX 1140                                                                                               MEMPHIS                  TN             38101-1140
    FEDEX TRADE NETWORKS CAN INC                                                        7075 ORDAN DR                                                                                             MISSISSAUGA              ONTARIO        L5T 1K6      CANADA
    FEED THE NEED IN DURHAM                                                             371 MARWOOD DR UNIT A                                                                                     OSHAWA                   ON             L1H 7P8      CANADA
    FEEHRER DEVELOPMENT                          DBA EXECUTIVE QUARTERS                 PO BOX 6105                                                                                               CLEVELAND                TN             37320
    FEERICK LYNCH MACCARTNEY PLLC                                                       96 S BROADWAY                                                                                             SOUTH NYACK              NY             10960
    FEITIAN TECHNOLOGIES US INC                                                         4633 OLD IRONSIDES DR                  STE 450                                                            SANTA CLARA              CA             95054
    FELDMAN ADVISORS LLC                         HOWARD M FELDMAN                       1478 BERKLEY CT                                                                                           DEERFIELD                IL             60015
    FELICIA M BOWDEN                                                                    ADDRESS ON FILE
    FELIX GONZALEZ RUIZ                                                                 ADDRESS ON FILE
    FELIX STRATER                                                                       ADDRESS ON FILE
    FENWICK AND WEST LLP                                                                PO BOX 742814                                                                                             LOS ANGELES              CA             90074-2814
    FEREN SIGNS AND AWNINGS LTD                                                         5605 STAMFORD ST UNIT2                                                                                    NIAGARA FALLS            OMTARIO        L2E 5Z9      CANADA
    FERMOS                                                                              4289 MAJEAU ST                                                                                            MONTREAL N               QC             H1H 2V7      CANADA
    FERRAEZ PUBLICATIONS OF AMERICA CORP                                                15443 KNOLL TRAIL DR                   STE 210                                                            DALLAS                   TX             75248-6916
    FERRARELLI DINO                                                                     ADDRESS ON FILE
    FERTIG AND GORDON COMPANIES INC                                                     7 N FIFTH AVE                                                                                             ARCADIA                  CA             91006
    FEST EVENTS                                                                         120 W MAIN ST                                                                                             NORFOLK                  VA             23510
    FESTIVAL AT HAMILTON LLC                     C O PARAMOUNT REALTY SERVICES INC      1195 ROUTE 70 STE 2000                                                                                    LAKEWOOD                 NJ             08701
    FESTIVAL DU VOYAGEUR INC                                                            233 BOUL PROVENCHER BLVD                                                                                  WINNIPEG                 MB             R2H 0G4      CANADA
    FETTICHA DANDAPANI                                                                  583 MORNINGTON AVE 806                                                                                    LONDON                   ON             N5Y 3E9      CANADA
    FIAT HOLDINGS INC                            ATTN RUDY DI MURO                      149 LYNX CRESCENT                                                                                         BRANDON                  MB             R7B 3R6      CANADA
    FIAT OF LA                                                                          2025 S FIGUEROA                                                                                           LOS ANGELES              CA             90007
    FIBER TECHNOLOGIES NETWORKS LLC CROWN
    CASTLE                                                                              PO BOX 32102                                                                                              NEW YORK                 NY             10087-2102

    FICKLING AND COMPANY INC                     DBA FICKLING MANAGEMENT SERVICES LLC   PO BOX 310                                                                                                MACON                    GA             31202
    FIDELITY CONSTRUCTION INC                                                           LIGHT HORSE LOOP                                                                                          VIRGINIA BEACH           VA             23456
    FIDELITY NATIONAL INFORMATION SERVICES INC                                          PO BOX 4535                                                                                               CAROL STREAM             IL             60197-4535
    FIDLER SALES LTD                                                                    1512 LAYDEN COVE WAY                                                                                      VIRGINIA BEACH           VA             23454
    FIDUCIARY REPORTING INC                                                             PO BOX 4650                                                                                               VIRGINIA BEACH           VA             23456
    FIFTH THIRD BANK                             TERICK R HINZE                         101 N MICHIGAN AVE MD H54011                                                                              BIG RAPIDS MI 49307      MI             49307
    FIFTH THIRD BANK ACH ONLY                                                           PO BOX 630900                                                                                             CINCINNATI               OH             45263-0900
    FIG CAPITAL LLC DBA AXIS ALL                                                        520 8TH AVE                            STE 1003                                                           NEW YORK                 NY             10018
    FIIZY INC DBA FINZMO                                                                12 E 49TH ST 11TH FL                                                                                      NEW YORK                 NY             10017
    FINAL ACT ENTERPRISES LLC                                                           9 NINA LN                                                                                                 WHITE PLAINS             NY             10605-4459
    FINAL TOUCH FLOORING AND INTERIORS                                                  823 OMINICA ST W                                                                                          MOOSE JAW                SASKATCHEWAN   S6H 1Y6      CANADA
    FINANCE AND COMMERCE                                                                730 SECOND AVE S                       STE 100                                                            MINNEAPOLIS              MN             55402
    FINANCEBUZZ                                                                         111 E ATLANTIC AVE STE 200                                                                                DELRAY BEACH             FL             33444
    FINANCEPAL HOLDINGS LLC                                                             17 N STATE ST                          STE 210                                                            CHICAGO                  IL             60602
    FINANCEPAL HOLDINGS LLC                      COMMUNITY TAX LLC                      17 N STATE ST STE 210                                                                                     CHICAGO                  IL             60602
    FINANCIAL ACOUNTING STANDARDS BOARD                                                 PO BOX 418272                                                                                             BOSTON                   MA             02241-8272
    FINANCIAL ADVOCATES INC                                                             120 W 5TH ST                           STE 220                                                            SANTA ANA                CA             92701
    FINANCIAL ASSIT MANAGEMENT SYSTEMS INC                                              70 CORPORATE HILLS DR                  STE 103                                                            ST CHARLES               MO             63301
    FINANCIAL EXECUTIVE INTERNATIONAL                                                   1250 HEADQUARTERS PLZ                  W TOWER 7TH FL                                                     MORRISTOWN               NJ             07960
    FINANCIAL EXECUTIVES INTERNATIONAL                                                  PO BOX 10408                                                                                              NEWARK                   NJ             07193-0408
    FINANCIAL REPORTING ADVISORS LLC                                                    100 N LASALLE ST STE 2215                                                                                 CHICAGO                  IL             60602
    FINANCIAL SERVICE CENTERS OF MISSISSIPPI                                            735 SHADY OAKS CIR                                                                                        OXFORD                   MS             38655
    FINANCIAL SKYLINE INC                                                               14410 MYFORD RD                                                                                           IRVINE                   CA             92606
    FINDLAY MARKET ASSOCIATION                                                          PO BOX 14297                                                                                              CINCINNATI               OH             45250-0297
    FINE PROPERTIES                                                                     4762 HWY 58                                                                                               CHATTANOOGA              TN             37416
    FINEST HOLDINGS INC                                                                 231 UNION ST                           PO BOX 1028                                                        ALMONTE                  ON             K0A 1A0      CANADA
    FINGERHUT                                                                           PO BOX 70281                                                                                              PHILADELPHIA             PA             60281
    FINK KEVIN                                                                          ADDRESS ON FILE
    FINLAYSON TOFFER ROOSEVELT AND LILLY LLP                                            15615 ALTON PKWY                       STE 250                                                            IRVINE                   CA             92618
    FINTEC FUNDING                                                                      3417 TUSCANY DR                                                                                           PHILADELPHIA             PA             19145
    FIORE DAN                                                                           ADDRESS ON FILE
    FIRE AND LIFE SAFETY AMERICA INC                                                    1113 CAVALIER BLVD                                                                                        CHESAPEAKE               VA             23323
    FIRE AND SAFETY CENTRE                                                              1 405 N SERVICE RD W                                                                                      SWIFT CURRENT            SK             S9H 4C8      CANADA
    FIRE FIGHTERS ASSOCIATION OF ONTARIO                                                PO BOX 1101                            31 ADELAIDE ST E                                                   TORONTO                  ON             M5C 2K5      CANADA
    FIRE SERVICE CORP                            DBA FIRE PROTECTION SERVICE            C O UNIVERSAL FUNDING GROUP            PO BOX 13115                                                       SPOKANE VALLEY           WA             99213
    FIRE SERVICE CORP                            DBA NATIONAL FIRE AND SAFETY CO        PO BOX 2173                                                                                               MISSION VIEJO            CA             92690
    FIRE SERVICES INC                                                                   PO BOX 5765                                                                                               VIRGINIA BEACH           VA             23471
    FIRE TECH SERVICES INC                                                              820 GREENBRIER CIR STE 8                                                                                  CHESAPEAKE               VA             23320
    FIREFLY LEGAL OH INC                                                                19150 S 88TH AVE                                                                                          MOKENA                   IL             60448
    FIRETEK LLC                                                                         188 LARCHMONT LN                                                                                          BLOOMINGDALE             IL             60188
    FIREWHEEL SIGNS AND GRAPHICS                                                        5250 HWY 78                            750 277                                                            SACHSE                   TX             75048
    FIRST ASSOCIATES LOAN SERVICING LLC          ATTN ACCOUNTING                        10182 TELESIS CT                       STE 300                                                            SAN DIEGO                CA             92121
    FIRST ATLANTIC RESTORATION                                                          414 S PARLIAMENT DR                                                                                       VIRGINIA BEACH           VA             23462
    FIRST AVENUE PARTNERSHIP                                                            3 RIVERVIEW SQ                         400 FIRST AVE                                                      CORALVILLE               IA             52241
    FIRST BANK CARD                                                                     PO BOX 2557                                                                                               OMAHA                    NE             68103
    FIRST CAPITAL PARTNERS LLC DBA FIRST
    FINANCIAL                                                                           201 E SANDPOINTE AVE                   STE 420                                                            SANTA ANA                CA             92707
    FIRST CENTURY BANK NA                                                               1771 N ELM ST                                                                                             COMMERCE                 GA             30529
    FIRST CITY CREDIT UNION                                                             PO BOX 86008                                                                                              LOS ANGELES              CA             90012
    FIRST COMMERCIAL MANAGEMENT                  C WHEATLAND MALL                       1150 CENTRAL AVE N                                                                                        SWIFT CURRENT            SK             S9H 4C8      CANADA
    FIRST COMMERCIAL REALTY LLC                                                         2016 JUSTIN RD STE 300                                                                                    LEWISVILLE               TX             75077
    FIRST FINANCIAL ASSET MANAGEMENT DBA
    FFAM360 CAPITAL                                                                     3091 GOVERNORS LAKE DR                 STE 500                                                            PEACHTREE CORNERS        GA             30071


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    FIRST HORIZON                              REGINA ANDERSON                       1 GLENWOOD AVE STE 800                                                                                     RALEIGH NC 27603          NC           27603
    FIRST HORIZON CC                                                                 BANKCARD CTR                            PO BOX 385                                                         MEMPHIS                   TN           38101
    FIRST INSURANCE FUNDING CORP                                                     PO BOX 66468                                                                                               CHICAGO                   IL           60666-0468
    FIRST LA BREA LLC                                                                1559 S SEPULVEDA BLVD                                                                                      LOS ANGELES               CA           90025
    FIRST MANAGEMENT INC                                                             1941 S 42ND ST STE 550                                                                                     OMAHA                     NE           68105-2982
    FIRST MIDWEST SERVICES LLC                                                       30 N GOULD STE R                                                                                           SHERIDAN                  WY           82801
    FIRST NIAGARA BANK                                                               PO BOX 514                                                                                                 LOCKPORT                  NY           14095-0514
    FIRST PREMIER FUNDING LLC                                                        217 MERRICK RD                          STE 107                                                            AMITYVILLE                NY           11701
    FIRST PRIORITY FUNDING LLC                                                       14039 SHERMAN WAY STE 201                                                                                  VAN NUYS                  CA           91405
    FIRST PRO CAPITAL INC                                                            780 FIFTH AVE S STE 200                                                                                    NAPLES                    FL           34102
    FIRST UNION LENDING LLC                                                          4900 MILLENIA BLVD                      STE F                                                              ORLAND                    FL           32839
    FIRST US FINANCE                                                                 5154 GOLDMAN AVE                                                                                           MOORPARK                  CA           93021-1760
    FIRST US FUNDING                                                                 36 36 33RD ST                           STE 306                                                            LONG ISLAND               NY           11106
    FIRST USA BANK NA                                                                PO BOX 15153                                                                                               WILMINGTON                DE           19886-5153
    FIRSTUSA BUSINESS DEVELOPMENT INC DBA
    BUSINESSONE INC                                                                  483 MANDALAY AVE                        STE 200 12                                                         CLEARWATER BEACH          FL           33767
    FISCAL RESOURCE CONSULTING INC                                                   775 PARK AVE                            STE 255                                                            HUNTINGTON                NY           11743
    FISHELS PAINT AND REMODEL                                                        7200 ZAUGG                                                                                                 MISSOULA                  MT           59802
    FISHER AND PHILLIPS LLP                                                          PO BOX 301018                                                                                              LOS ANGELES               CA           90030-1018
    FISHER BROADCASTING INC                                                          140 4TH AVE N                           STE 340                                                            SEATTLE                   WA           98109
    FISHER ZUCKER LLC                                                                21 S 21ST ST                                                                                               PHILADELPHIA              PA           19103
    FISHMAN PR                                                                       3400 DUNDEE RD                          STE 300                                                            NORTHBROOK                IL           60062
    FIST SECURITY LTD                                                                80 ESNA PARK DR UNIT 24                                                                                    MARKHAM                   ON           L3R 2R6      CANADA
    FITZGERALD STEVEN                                                                ADDRESS ON FILE
    FIVE FISH PRESS LLC                                                              146 2ND AVE S                                                                                              TWIN FALLS                ID           83301
    FIVE POINT DATA SYSTEMS DO NOT USE                                               106 N 7TH ST                                                                                               PERKASIE                  PA           18944
    FIVE POINT DATA SYSTEMS INC                                                      106 N 7TH ST                                                                                               PERKASIE                  PA           18944
    FIVE POINTS LLC                                                                  CUSHMAN AND WAKEFIELD THALHIMER         PO BOX 5160                                                        GLEN ALLEN                VA           23058
    FIVE STAR PRINTING                                                               103 10663 KING GEORGE BLVD                                                                                 SURRY                     BC           V3T 2X6      CANADA
    FIXTURES GROUP INC                                                               PO BOX 710848                                                                                              SAN DIEGO                 CA           92171
    FL DEPARTMENT OF REVENUE OUT OF STATE
    COLLECTIONS UNIT                                                                 1415 W US HWY 90                        STE 115                                                            LAKE CITY                 FL           32055
    FLA MGT LLC                                                                      1225 OCEAN PKWY                         APT 4L                                                             BROOKLYN                  NY           11230
    FLAGSTAR                                   MAUREEN E PLUMMER                     1969 44TH ST SE                                                                                            GRAND RAPIDS              MI           49508
    FLAMINGO INC                                                                     PO BOX 1868                                                                                                ALBUQUERQUE               NM           87103
    FLAMINGO LAS VEGAS                                                               3555 LAS VEGAS BLVD S                                                                                      LAS VEGAS                 NV           89109
    FLASH INVESTMENT GROUP INC                                                       490ST NICHOLAS TERRACE                  APT 51                                                             NEW YORK                  NY           10027
    FLAT FEE BUSINESS SERVICES                                                       425 LAKES TRACE                                                                                            FAIRBURN                  GA           30213
    FLATH BRIAN AND LESLIE                                                           ADDRESS ON FILE
    FLETCHER ARNOLD                                                                  ADDRESS ON FILE
    FLETCHER BRIGHT COMPANY                    C O BRIGHT PAR 3 ASSOCIATES LP        537 MARKET ST STE 400                                                                                      CHATTANOOGA               TN           37402
    FLEX REVOLUTION LLC                                                              901 YAMATO RD STE 260                                                                                      BOCA RATON                FL           33431
    FLEXCAP SOLUTIONS LLC                                                            11 OSCAR ST                             APT B                                                              STAMFORD                  CT           06906
    FLICK KENNETH B                                                                  ADDRESS ON FILE
    FLOOR COVERINGS INTERNATIONAL                                                    2200 W 94TH ST                                                                                             BLOOMINGTON               MN           55431
    FLOOR DECORATOR LLC                                                              4535 AUTO CTR WAY                       DBA FL DECORATORS CARPET ONE                                       BREMERTON                 WA           98312
    FLOOR STORE                                                                      1125 N BATTLEFIELD BLVD                 102                                                                CHESAPEAKE                VA           23320
    FLOR LINE ASSOCIATES                       ATTN PAT MICHAEL                      9401 CORTANA PL                                                                                            BATON ROUGE               LA           70815
    FLORES TECHNICAL SERVICES INC                                                    13531 FLOYD CR                                                                                             DALLAS                    TX           75243-1428
    FLORIDA ASSUMED NAME SERVICES                                                    1700 N MONROE ST                        11 209                                                             TALLAHASSEE               FL           32303
    FLORIDA ATLANTIC UNIVERSITY                                                      SSB 222 PO BOX 3091                                                                                        BOCA RATON                FL           33431-0991
    FLORIDA BAR                                                                      651 E JEFFERSON ST                                                                                         TALLAHASSEE               FL           32399-2300
    FLORIDA DEPARTMENT OF FINANCIAL SERVICES   BUREAU OF UNCLAIMED PROPERTY          PO BOX 6350                                                                                                TALLAHASSEE               FL           32314-6350
    FLORIDA DEPARTMENT OF REVENUE                                                    5050 W TENNESSEE ST                     PMB 392 4244 W TENNESSE                                            TALLAHASSEE               FL           32399-0135
    FLORIDA DEPARTMENT OF REVENUE                                                    5050 W TENNESSEE ST                                                                                        TALLAHASSEE               FL           32399-0170
    FLORIDA DEPT OF AGRICULTURE AND CONSUMER   FL DEPT OF AGRICULTURE AND CONSUMER
    SERVICES                                   SERVICES                              PO BOX 6700                                                                                                TALLAHASSEE               FL           32399
    FLORIDA DEPT OF FINANCIAL SERVICES         DIVISION OF UNCLAIMED PROPERTY        PO BOX 6350                                                                                                TALLAHASSEE               FL           32314-6350
                                               DIVISION OF CORPORATIONS
    FLORIDA DEPT OF STATE                      REGISTRATIONS                         PO BOX 6327                                                                                                TALLAHASSEE               FL           32314
    FLORIDA POWER AND LIGHT COMPANY                                                  GENERAL MAIL FACILITY                                                                                      MIAMI                     FL           33188-0001
    FLORIDA REALTY GROUP                                                             1733 W FLETCHER AVE                                                                                        TAMPA                     FL           33603
    FLORIDA REALTY INVESTERS LP                C O RMD KONOVER PROPERTY TRUST        1733 W FLETCHER AVE                                                                                        TAMPA                     FL           33612
    FLORIDA SOS DIVISION OF CORPORATION                                              2415 N MONROE ST STE 810                                                                                   TALLAHASSEE               FL           32303
    FLORIDA STATE DISBURSEMENT UNIT                                                  PO BOX 8500                                                                                                TALLAHASSEE               FL           32314-8500
    FLORIDA TIMES UNION                                                              4801 EXECUTIVE PARK CT                  STE 203                                                            JACKSONVILLE              FL           32216
    FLOW 935                                                                         211 YONGE ST STE 400                                                                                       TORONTO                   ONTARIO      M5B 2P2      CANADA
    FLOYD COUNTY TAX COMMISSIONER              ATTENTION SUMMER                      PO BOX 26                                                                                                  ROME                      GA           30162
    FLOYD PRESS                                                                      PO BOX 155                                                                                                 FLOYD                     VA           24091
    FLSPRING HILL CORTEZ LLC                                                         201 RIVERPLACE                          STE 400                                                            GREENVILLE                SC           29601
    FLUENT LLC                                                                       1052 S POWERLINE RD                                                                                        DEERFIELD BEACH           FL           33442
    FLUID BUSINESS RESOURCES                                                         1 E BROWARD BLVD                        STE 700                                                            FT LAUDERDALE             FL           33301
    FLYING HOG CYCLES INC                      C O DALE SUNDIN                       6521 MIDWAY RD                                                                                             HALTOM                    TX           76117
    FLYNN MONICA                                                                     ADDRESS ON FILE
    FM HEATING AND AIR CONDITIONING                                                  5398 COUNTY RD 90                                                                                          UTOPIA                    ON           L0M 1T2      CANADA
    FMM PROPERTIES INC                                                               PO BOX 522                                                                                                 PALOS HTS                 IL           60463
    FOCCA ANTHONY                                                                    ADDRESS ON FILE
    FOCUS BRANDS INC                                                                 200 GLENRIDGE POINT PKWY                STE 200                                                            ATLANTA                   GA           30342
    FOG CREEK SOFTWARE INC                                                           55 BROADWAY 25TH FL                                                                                        NEW YORK                  NY           10006
    FOLEY AND LARDNER LLP                                                            ONE BISCAYNE TOWER                      2 S BISCAYNE BLVD STE 1900                                         MIAMI                     FL           33131-2132
    FOLIO INVESTMENTS INC                                                            8180 GREENSBORO DR 8TH FL                                                                                  MCLEAN                    VA           22102
    FOLKLORAMA                                                                       2ND FL 183 KENNEDY ST                                                                                      WINNIPEG                  MB           R3C 1S6      CANADA
    FOLLETTS TIDEWATER BOOKSTORE                                                     TIDEWATER COMMUNITY COLLEGE             121 COLLEGE PL                                                     NORFOLK                   VA           23510
    FONCA DONATIVOS                                                                  PLZ JUAREZ NO 20                        COL CENTRO MEX DF                          CP 06500
    FOOD A RAMA                                                                      PO BOX 1939                                                                                                MANTEO                    NC           27954
    FOOD FOR THE POOR INC                                                            6401 LYONS RD                                                                                              COCONUT CREEK             FL           33073
    FOODBANK OF SOUTH EASTERN VIRGINIA                                               800 TIDEWATER DR                                                                                           NORFOLK                   VA           23504
    FOOTNOTES PRESS LLC                                                              PO BOX 400                                                                                                 FORESTVILLE               CA           95436
    FOR THE RECORD INC                         ATTN DIANE QUADE                      10760 DEMARR RD                                                                                            WHITE PLAINS              MD           20695


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                                                                                                                                 Served via First-Class Mail




                       Name                                    Attention                             Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    FORBES                                                                           PO BOX 5471                                                                                              HARLAN                  IA           51593-0971
    FORBES MAGAZINE                                                                  PO BOX 819 STN MAIN                                                                                      MARKHAM                 ON           L3P 8L3      CANADA
    FORBES REPRINTS AND LICENSING                                                    160 FIFTH AVE                                                                                            NEW YORK                NY           10011
    FORD TIMOTHY                                                                     ADDRESS ON FILE
    FORDHAM RENAISSANCE ASSOCIATES              DBA ONE FORDHAM PLAZA LLC            C O CHASE ENTERPRISES                 225 ASYLUM ST 29TH FL                                              HARTFORD                CT           06103
    FORESIGHT CONSULTING INC                                                         1755 PARK ST                          STE 200                                                            NAPERVILLE              IL           60563
    FORESIGHT MARKETING LLC                                                          450 E 96TH ST                         STE 500                                                            INDIANAPLIS             IN           46240
    FOREST HARLEM PROPERTIES LIMITED
    PARTNERSHIP                                                                      4104 N HARLEM AVE                                                                                        CHICAGO                 IL           60634
    FOREVER YOURS PHOTOGRAPHY                                                        5970 MADISON AVE                                                                                         INDIANAPOLIS            IN           46227
    FORLINI JUSTIN                                                                   ADDRESS ON FILE
    FORMFREE HOLDINGS CORP                      DBA THE ACCOUNTCHEK COMPANY LLC      POBOX 746595                                                                                             ATLANTA                 GA           30374
    FORMS AND SUPPLY INC                                                             PO BOX 563953                                                                                            CHARLOTTE               NC           28256

    FORMULA 5 CAPITAL INC DBA FORMULA FUNDING                                        5465 MOREHOUSE DR                     STE 200                                                            SAN DEIGO               CA           92121
    FORREST SEWER PUMP SERVICE INC                                                   553 S BIRDNECK RD STE 218                                                                                VIRGINIA BEACH          VA           23451-5870
    FORREST YEATTS DBA NATIONWIDE LENDING
    CLUB                                                                             331 KATHERINE SUZANNE WY                                                                                 SMYRNA                  TN           37167

    FORSYTHIA FOUNDATION                        DBA GINGKO PROPERTY MANAGEMENT LLC   PO BOX 48514                                                                                             ATLANTA                 GA           30362
    FORT MYERS BROADCASTING                                                          2824 PALM BEACH BLVD                                                                                     FORT MYERS              FL           33916
    FORT NELSON MINI STORAGE                                                         BOX 72C                                                                                                  FORT NELSON             BC           V0C 1R0      CANADA
    FORT YORK FOOD BANK                                                              797 DUNDAS ST W                                                                                          TORONTO                 ON           M6J 1V2      CANADA
    FORTINO MORAN                                                                    ADDRESS ON FILE
    FORTISBC NATURAL GAS                                                             PO BOX 6666 STATION TERMINAL                                                                             VANCOUVER               BC           V6B 6M9      CANADA
    FORTIVA HOMEDEPOT                                                                PO BOX 9001010                                                                                           LOUISVILLE              KY           40290
    FORTIVA PAYMENT PROCESSING                                                       PO BOX 790156                                                                                            ST LOUIS                MO           63179
    FORTRA LLC                                                                       11095 VIKING DR                       STE 100                                                            EDEN PRAIRIE            MN           55344
    FORTUNE COMMERCIAL MANAGEMENT LLC                                                8902 N DALE MABRY STE 200             C O RMC PROPERTY GROUP                                             TAMPA                   FL           33614
    FORTUNE FUNDING CONCIERGE                                                        1635 OLD HWY 41                       STE 112 326                                                        KENNESAW                GA           30152
    FORTUNE MAGAZINE                                                                 PO BOX 62120                                                                                             TAMPA                   FL           33662-2120
    FORTUNE MEDIA GROUP INC                                                          6250 CORAL RIDGE DR                                                                                      CORAL SPRINGS           FL           33076
    FORTUNE NEW BUSINESS VENTURES                                                    TIME AND LIFE BUILDING                ROCKEFELLER CTR                                                    NEW YORK                NY           10020
                                                CHATEAU COMMONS LLC C O FORTY FOUR
    FORTY FOUR HOLDINGS LOUISIANA LLC           HOLDINGS LOUSIANA LLC                PO BOX 6855                                                                                              MIRAMAR BEACH           FL           32550
    FORVIS LLP                                                                       910 E ST LOUIS ST                     STE 400                                                            SPRINGFIELD             MO           65806-2570
    FORWARD ENTERPRISES INC                     DBA ST VINCENT PRESS                 250 CUMBERLAND ST                     STE 100                                                            ROCHESTER               NY           14605
    FORWARD ENTERPRISES LLC                     DBA BREWER AND NEWELL PRINTING       215 TREMONT ST                                                                                           ROCHESTER               NY           14608
    FORWARD FUNDER LLC                                                               6231 AMBOY RD                                                                                            STATEN ISLAND           NY           10309
    FORWARD LEAP MARKETING LLC                                                       15333 CULVER DR STE 340 244                                                                              IRVINE                  CA           92604
    FORWARDLINE FINANCIAL LLC                                                        21700 OXNARD ST                       STE 1450                                                           WOODLAND HILLS          CA           91367
    FOSTER REPRINTS                                                                  4295 OHIO ST                                                                                             MICHIGAN CITY           IN           46360
    FOUNDERS INN                                                                     5641 INDIAN RIVER RD                                                                                     VIRGINIA BEACH          VA           23464
    FOUNTAIN WATER AND WATER PRODUCTS INC                                            540 CLARKE SIDE RD                    UNIT 19                                                            LONDON                  ON           N5V 2C7      CANADA
    FOUNTAINHEAD ADVISORY SERVICE INC                                                ONE LINCOLN PLZ APT21G                                                                                   NEW YORK                NY           10023
    FOUR ALARM FIRE LLC                                                              2704 N MALL DR 101                                                                                       VIRGINIA BEACH          VA           23452
    FOUR ALARM FIRE LLC 2288                                                         2288 SANDY WOODS LN                                                                                      VIRGINIA BEACH          VA           23456
    FOUR POINT SOLUTIONS LTD                                                         106 COLONNADE RD STE 210                                                                                 OTTAWA                  ON           K2E 7L6      CANADA
    FOUR POINTS HOLDINGS LLC                    C O GALWAY COMPANIES INC             PO BOX 45                                                                                                MCFARLAND               WI           53558
    FOURWORD                                                                         10905 100 ST                                                                                             GRANDE PRAIRIE          AB           T8V 2M9      CANADA
    FOWLER JAMES                                                                     ADDRESS ON FILE
    FOX CHAPEL LLC                                                                   PO BOX 890902                                                                                            CHARLOTTE               NC           28289-0902
    FOX PLAZALLC                                                                     2325 SAN PEDRO DR NE STE 2A                                                                              ALBUQUERQUE             NM           87110
    FOXMORE PROCESS SERVERS                     ATTN MICHAEL BEASLEY                 1235 MALL DR                                                                                             RICHMOND                VA           23235
    FOXSHIRE LIMITED PARTNERSHIP                                                     10 CORPORATE CIR                      STE 100                                                            NEW CASTLE              DE           19720
    FPAL DOMAIN HOLDINGS LLC                                                         3300 NE 188TH ST                      UNIT 415                                                           AVENTURA                FL           33180
    FPL                                                                              GENERAL MAIL FACILITY                                                                                    MIAMI                   FL           33188-0001

    FRAGOMEN DEL REY BERNSEN AND LOEWY LLP                                           75 REMITTANCE DR                      STE 6072                                                           CHICAGO                 IL           60675-6072
    FRAMED EXPRESSIONS INC                                                           3707 VIRGINIA BEACH BLVD 200A                                                                            VIRGINIA BEACH          VA           23452
    FRAN NET                                                                         ADDRESS ON FILE
    FRANCES LABADIE JACKSON                                                          ADDRESS ON FILE
    FRANCES LEE BATES                                                                ADDRESS ON FILE
    FRANCHISE AMERICA INC                                                            4638 SECRET RIVER                                                                                        PORT ORANGE             FL           32119
    FRANCHISE BUSINESS REVIEW                                                        125 BREWERY LN                        STE 5                                                              PORTSMOUTH              NH           03801-4996
    FRANCHISE CAREER CONSULTANTS                                                     4530 EDGEMERE TRACE                                                                                      MARIETTA                GA           30062
    FRANCHISE CLIQUE                                                                 710 JOHNNIE DOODS BLVD                STE 310                                                            MT PLEASANT             SC           29464-3045
    FRANCHISE CREATURE                                                               2295 S HIAWASSEE RD                   STE 311                                                            ORLANDO                 FL           32835
    FRANCHISE DIRECT DO NOT USE                                                      STE 106                               THE CAPEL BUILDING                                                 DUBLIN                               7            IRELAND
    FRANCHISE DIRECT USA INC                                                         750 HAMMOND DR BLDG 16                STE 350                                                            ATLANTA                 GA           30328
    FRANCHISE DYNAMICS LLC                                                           2131 W REPUBLIC RD                                                                                       SPRINGFIELD             MO           65807-5705
    FRANCHISE EMPORIUM                                                               PMB 147                               283 B EGG HARBOR RD                                                SEWELL                  NJ           08080-3126
    FRANCHISE GATOR LLC                                                              599 W CROSSVILLE RD                   200                                                                ROSWELL                 GA           30076
    FRANCHISE GENIUS LLC                                                             PO BOX 550562                                                                                            ATLANTA                 GA           30355
    FRANCHISE GROUP INTERMEDIATE L LLC                                               109 INNOVATION CT STE J                                                                                  DELAWARE                OH           43015-7538
    FRANCHISE INFO MALL INC                                                          22527 CRENSHAW BLVS STE 208                                                                              TORRANCE                CA           90505
    FRANCHISE LIFE                                                                   4638 SECRET RIVER                     STE 100                                                            PORT ORANGE             FL           32129
    FRANCHISE MARKET MAGAZINE                   THE VICTORIA GROUP                   150 THIRD ST SW                                                                                          WINTER HAVEN            FL           33880
    FRANCHISE OPPORTUNITIES NETWORK                                                  7840 ROSWELL RD                       BUILDING 100 STE 210                                               ATLANTA                 GA           30350
    FRANCHISE RECRUITERS                                                             3500 INNSBRUCK                        LINCOLNSHIRE CC                                                    CRETE                   IL           60417
    FRANCHISE RELATIONSHIPS PTY LTD                                                  PO BOX 233                                                                                               TOOWONG QLD                          04066        AUSTRALIA
    FRANCHISE RESOURCE COMPANY                                                       7047 E GREENWAY PKWY                  STE 250                                                            SCITTSDALE              AZ           85254
    FRANCHISE RESOURCE GROUP                                                         4525 HEDGEMORE DR                     STE K                                                              CHARLOTTE               NC           28209
    FRANCHISE SEARCH INC                                                             13 ROLLING RIDGE RD                                                                                      NEW CITY                NY           10956
    FRANCHISE SEARCH INC                                                             48 BURD ST STE 101                                                                                       NYACK                   NY           10960
    FRANCHISE SHOWCASE INC                                                           917 COOPERBEECH LN                    STE 4                                                              RADNOR                  PA           19087
    FRANCHISE SOLUTIONS CORP                                                         15 RYE ST STE 205                                                                                        PORTSMOUTH              NH           03801
    FRANCHISE SYSTEMS NETWORK                                                        5440 SILK OAK WAY STE 100                                                                                SUGAR HILL              GA           30518
    FRANCHISE TAX BOARD                                                              PO BOX 942857                                                                                            SACRAMENTO              CA           94257-0531


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                         Name                                    Attention                    Address 1                                 Address 2                           Address 3                    City        State        Zip         Country
    FRANCHISE TAX BOARD CA                                                   PO BOX 942857                                                                                              SACRAMENTO              CA           94257-0551
    FRANCHISE TIMES                                                          2808 ANTHONY LN S                                                                                          MINNEAPOLIS             MN           55418
    FRANCHISE UPDATE INC                                                     PO BOX 20547                                                                                               SAN JOSE                CA           95160-0547
    FRANCHISE USA INC                          ATTN STEVEN SCHNEIDER         7987 W 114TH TERRACE                                                                                       OVERLAND PARK           KS           66210-2602
    FRANCHISEBLAST                                                           343 CANADEL                                                                                                GATINEAU                QC           J8T 7B8      CANADA
    FRANCHISEBLAST LAVABLAST SOFTWARE INC                                    343 CANADEL                                                                                                GATINEAU                QC           J8T 7B8      CANADA
    FRANCHISECOM                                                             15 RYE ST STE 205                                                                                          PORTSMOUTH              NH           03801
    FRANCHISEFORSALECOM                                                      227 SANDY SPRINGS PL                    STE D 357                                                          SANDY SPRINGS           GA           30328
    FRANCHISEHELP HOLDINGS LLC                                               394 BROADWAY 5TH FL                                                                                        NEW YORK                NY           10013
    FRANCHISEONLINECOM                                                       2434 HUDSON RD 103                                                                                         GREER                   SC           29650
    FRANCHISEWORKSCOM LLC                                                    345 N YORK RD STE C                                                                                        HATBORO                 PA           19040
    FRANCHOICE INC                             ATTN ACCOUNTING               7500 FLYING CLOUD DR 600                                                                                   EDEN PRARIE             MN           55344
    FRANCIS CARRINGTON                                                       ADDRESS ON FILE
    FRANCIS OFFICE SUPPLY INC                                                PO BOX 723                                                                                                 PIQUA                   OH           45356
    FRANCIS P MCALEAVY III                                                   ADDRESS ON FILE
    FRANCISCO MERCADO DBA SPARTAN CAPITAL
    GROUP LLC                                                                730 BROAD ST                            STE 6                                                              CLIFTON                 NJ           07013
    FRANCISCO VALLE                                                          ADDRESS ON FILE
    FRANCISCOS TAX SERVICE                                                   PO BOX 34409                                                                                               RICHMOND                VA           23234
    FRANCISO BERILO F JUNIOR                                                 ADDRESS ON FILE
    FRANCONNECT INC                                                          11800 SUNRISE VALLEY DR                 STE 900                                                            RESTON                  VA           20191
    FRANCOTYP POSTALIA CANADA                                                82 CORSTATE AVE                                                                                            CONCORD                 ON           L4K 4X2      CANADA
    FRANDATA CORPORATION                                                     4300 WILSON BLVD                        STE 480                                                            ARLINGTON               VA           22203
    FRANFACTS INC                                                            4 BRIGHTON RD                                                                                              WEST HARTFORD           CT           06117
    FRANK AMATO                                                              ADDRESS ON FILE
    FRANK AND SHAPIRO REAL ESTATE INC                                        525 OYSTER POINT RD                     STE F                                                              NEWPORT NEWS            VA           23602
    FRANK CHAU                                                               ADDRESS ON FILE
    FRANK COLOMBINO                                                          ADDRESS ON FILE
    FRANK DELEONARDIS                                                        ADDRESS ON FILE
    FRANK G CANTY REALTY                                                     3220 LAKESHORE CT                                                                                          ORLANDO                 FL           32803
    FRANK JOSEPH                                                             ADDRESS ON FILE
    FRANK RECRUITMENT GROUP INC DBA MASON
    FRANK INTERNATIONAL                                                      PO BOX 10921                                                                                               PALATINE                IL           60055-0921
    FRANK SARDINO                                                            ADDRESS ON FILE
    FRANK SCHAEFER CONSTRUCTION INC PENSION
    PLAN                                                                     1028 BEWICKS CT                                                                                            CARLSBAD                CA           92011
    FRANKLIN COUNTY                                                          280 E BROAD ST                          2ND FL                                                             COLUMBUS                OH           4315--6314
    FRANKLIN COUNTY CHILD SUPPORT                                            PO BOX 182710                                                                                              COLUMBUS                OH           43218-2710
    FRANKLIN COUNTY SANITARY ENGIN                                           280 E BROAD ST                          RM 201                                                             COLUMBUS                OH           43215-5210
    FRANKLIN COVEY                                                           ADDRESS ON FILE
    FRANKLIN MERCHANT CAPITAL LLC                                            136 NASSAU BLVD                                                                                            WEST HEMPSTEAD          NY           11552
    FRANKLIN RENTAL ASSOCIATES                                               PO BOX 45                                                                                                  FRANKLIN                PA           16323
    FRANKLIN SECURITY BANK                                                   2809 S LYNNHAVEN RD STE 200                                                                                VIRGINIA BEACH          VA           23452
    FRANKLIN SECURITY BANK FSB                                               REFLECTIONS 1 STE 200                   2809 S LYNNHAVEN RD                                                VIRGINIA BEACH          VA           23452
    FRANKLIN SECURITY SYSTEMS INC                                            7909 BROOKFIELD RD                                                                                         NORFOLK                 VA           23518
    FRANNET                                                                  2385 CAMINO VIDA ROBLE 114                                                                                 CARLSBAD                CA           92011
    FRANTJESKOS CUSTOM PAINTING                                              4072 E GRAND RIVER AVE                                                                                     HOWELL                  MI           48843
    FRANZ LEEK                                                               ADDRESS ON FILE
    FRATERNAL FIVE ORGANIZATIONS               ATTN BILL DEWEY               9414 GROVE AVE                                                                                             NORFOLK                 VA           23503
    FRD MANSELL SQUARE LLC                                                   12201 WILSHIRE BLVD STE B                                                                                  LOS ANGELES             CA           90025
    FRED GASTON JR                                                           ADDRESS ON FILE
    FRED JOHNSON                                                             ADDRESS ON FILE
    FRED KANOS                                                               ADDRESS ON FILE
    FRED LEE COMPANY INC                                                     1153 JENSEN DR                                                                                             VIRGINIA BEACH          VA           23451-5880
    FRED PRYOR SEMINARS                                                      PO BOX 219468                                                                                              KANSAS CITY             MO           64121-9468
    FRED PRYOR SEMINARS DO NOT USE                                           PO BOX 219468                                                                                              KANSAS CITY             MO           64121
    FREDERICK H LEEDS INTERVIVOS TRUST                                       3860 CRENSHAW BLVD STE 201                                                                                 LOS ANGELES             CA           90008
    FREDERICKSBURG GENERAL DISTRICT COURT                                    PO BOX 180                                                                                                 FREDERICKSBURG          VA           22404-0180
    FREDERICO L VICK                                                         ADDRESS ON FILE
    FREE FILE ALLIANCE LLC                                                   7137 MAIN ST STE B                                                                                         CLIFTON                 VA           20124
    FREE FILE INC                                                            7137 MAIN ST STE B                                                                                         CLIFTON                 VA           20124
    FREE LANCE INVESTIGATIONS                                                232 NE LINCOLN ST                       STE A                                                              HILLSBORO               OR           97124
    FREE SPIRIT TOURS                                                        28 SUNSET CT                                                                                               WASAGA BEACH            ON           L9Z 2A9      CANADA
    FREECAUSE INC                              DBA RAKUTEN LOYALTY           1 S STATION STE 400                                                                                        BOSTON                  MA           02110
    FREEDOM COMPANY INC                                                      PO BOX 65004                                                                                                                       VA           23467
    FREEDOM FINANCIAL INC                                                    359 COBURN AVE NW                                                                                          BUFFALO                 MN           55313
    FREEDOM UNITED INC                                                       30 DEPPHINE TERRACE                                                                                        STATENISLAND            NY           10305
    FREELAND SHULL                                                           PO BOX 2249                                                                                                OXFORD                  MS           38655
    FREELAND SHULL TRUST                                                     405 GALLERIA LN                         STE C                                                              OXFORD                  MS           38655
    FREEMAN DIXON FAMILY LP                                                  2002 RICHARD JONES RD                   STE C 200                                                          NASHVILLE               TN           37215
    FREEMAN ENTERPRISES LP                     ATTN TOWN AND COUNTRY         7810 PORTLAND AVE S                                                                                        BLOOMINGTON             MN           55420
    FREESWITCH SOLUTIONS                                                     PO BOX 2531                                                                                                BROOKFIELD              WI           53008-2531
    FREMONT WEST LLC                                                         50 S JONES BLVD                         STE 100                                                            LAS VEGAS               NV           89107
    FRENCHMANS CREEK SHOPPING CENTER                                         4633 S 14TH ST                                                                                             ABILENE                 TX           79605
    FRESHDESK INC                                                            340 S LEMON AVE 7585                                                                                       LOS ANGELES             CA           91789
    FRIAUF ROBERT W                                                          ADDRESS ON FILE
    FRIEDMAN LAW FIRM PC                                                     FBO KIRKE FRANZ SZAWRONSKI
    FRIENDS OF VIRGINIA BEACH ANIMAL CONTROL                                 341 S BIRDNECK RD                                                                                          VIRGINIA BEACH          VA           23451

    FRISCO MANAGEMENT LLCPRO SILVER STAR LTD                                 ONE COWBOYS WAY STE 100                                                                                    FRISCO                  TX           75034
    FRONTIER                                                                 PO BOX 740407                                                                                              CINCINNATI              OH           46274
    FRONTIER CAPITAL GROUP LTD                                               103 NW 3RD                                                                                                 DIMMITT                 TX           79027
    FRONTIER CAPITAL GROUP LTD                                               PO BOX 99                                                                                                  DIMMITT                 TX           79027
    FRONTIER COMMUNICATIONS SERV                                             PO BOX 740407                                                                                              CINCINNATI              OH           45274-0407
    FRONTIER FC III                                                          PO BOX 66767                                                                                               ST LOUIS                MO           63166-6767
    FRONTRUNNER FOOTWEAR                                                     650 13TH ST E                                                                                              PRINCE ALBERT           SK           S6V 2W6      CANADA
    FROST NATIONAL BANK                                                      10915 PECAN PARK BLVD                                                                                      AUSTIN                  TX           78750
    FS FOOD EQUIPMENT AND OPERATING INC                                      5665 VICTORIA DR FLR 2                                                                                     VANCOUVER               BC           V5P 3W2      CANADA
    FS MANAGEMENT LLC                                                        3223 RIVER BEND DR                                                                                         HURST                   TX           76054


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    FT LAW FIRM                                 ATTORNEY FINI THOMAS             5057 KELLER SPRINGS RD                STE 300                                                            ADDISON                   TX           75001
    FTA                                                                          444 N CAPITOL ST NW                   STE 348                                                            WASHINGTON                DC           20001

    FTF EQUITY GROUP CORP DBA FINTECH FINANCE                                    1815 PUNDY AVE                                                                                           MIAMI BEACH               FL           33139
    FUENTES PROPERTIES                          C O ALEJANDRO FUENTES            1102 MCKENZIE DR                                                                                         RUSSELLVILLE              AR           72801
    FUHRMAN DON T                                                                ADDRESS ON FILE
    FULL CIRCLE INTEGRATED                                                       25422 TRABUCO RD                      STE 105 194                                                        LAKE FOREST               CA           92630
    FULL MEI INC                                                                 1683 MORNING CREST LN                                                                                    LILBURN                   GA           23454
    FULLER ANNIE                                                                 ADDRESS ON FILE
    FULLER ANNIE GM ACCT                                                         325 SIENNA DR                                                                                            CHAPIN                    SC           29036
    FULLER CONSTRUCTION CORPORATION                                              770 LYNNHAVEN PKWY                    STE 160                                                            VIRGINIA BEACH            VA           23462
    FULLERS PHOTOGRAPHY STUDIOS LLC                                              103 W LAVIELLE ST                                                                                        KIRBYVILLE                TX           75956
    FULLVIEW CONSULTING                                                          3433 MIDDLE PLANTATION QUAY                                                                              VIRGINIA BEACH            VA           23452
    FUN HOUSE                                                                    1910 ATLANTIC AVE                                                                                        VIRGINIA BEACH            VA           23453
    FUN TOURS INC                               ATTN CHIRS RAMBO                 520 NEWTOWN RD                                                                                           VIRGINIA BEACH            VA           23462
    FUND CGR LYNNHAVEN LLC                      FUND CGR LYNNHAVEN LLC           PO BOX 3288                                                                                              GREENSBORO                NC           27402
    FUND CGR LYNNHAVENSPE                       C O STEVEN D BELL AND COMPANY    PO BOX 602168                                                                                            CHARLOTTE                 NC           28260
    FUND MATE LLC                                                                613 E NEW YORK AVE 5R                                                                                    BROOKLYN                  NY           11203
    FUNDED LLC DBA FUNDED FINANCIAL                                              712 PONT CHARTRAIN DR                                                                                    LAS VEGAS                 NV           89145
    FUNDEPHANT                                                                   2 N CENTRAL AVE                       STE 1800 086                                                       PHOENIX                   AZ           85004
    FUNDERSCLOUD LLC DBA FUNDOMATE                                               5455 WILSHIRE BLVD 950                                                                                   LOS ANGELES               CA           90036
    FUNDING EXPRESS LLC                                                          131 FEDERAL HWY                       UNIT 224                                                           BOCA RATON                FL           33432
    FUNDOMATE TECHNOLOGIES INC                                                   300 CONTINENTAL BLVD                  STE 410                                                            EL SEGUNDO                CA           90245
    FUNDONOMY FINANCIAL LLC                                                      175 SW 7TH ST 1900                                                                                       MIAMI                     FL           33130
    FUNDZIO LLC                                                                  6499 N POWERLINE RD                   STE 108                                                            FORT LAUDERDALE           FL           33309
    FUTERAL AND BROOKSHIRE                                                       PO BOX 1543                                                                                              MT PLEASANT               SC           29464-1543
    FUTRELL BOBBY                                                                ADDRESS ON FILE
    FUTURE ADS LLC DBA PROPEL MEDIA LLC                                          PO BOX 31001 2225                                                                                        PASADENA                  CA           91110-2225
    FUTURE SIGNS AND GRAPHICS                                                    2215 ENGINEERS RD                     STE F                                                              BELLE CHASSE              LA           70037
    FWCJUA INC                                                                   PO BOX 91521                                                                                             CHICAGO                   IL           60693
    G A C TAXPRO INC                                                             PO BOX 15719                                                                                             COLORADO SPRINGS          CO           80935-5719
    G AND H DEVELOPERS INC                                                       PO BOX 9                                                                                                 ELIZABETHTOWN             NC           28337
    G AND M COURT REPORTERS LTD                                                  42 CHAUNCY ST                                                                                            BOSTON                    MA           02111
    G AND S FIRE EXTINGUISHER SERVICE INC                                        131 A FREAMON GRAHAM BLVD                                                                                EASTMAN                   GA           31023
    G CALVIN GLOVER AND SONS                                                     7000 S STATE ST                                                                                          MIDVALE                   UT           84047
    G E MATTHEWS INC REALTORS                                                    207 TEMPLE AVE                                                                                           COLONIAL HEIGHTS          VA           23834
    G NEIL COMPANY                                                               PO BOX 451179                                                                                            SUNRISE                   FL           33345-1179
    G STRAUSS AND COMPANY INC                                                    213 KING ST W                                                                                            KITCHENER                 ON           N2G 1B1      CANADA
    GABRIEL HENRY BARNES                                                         ADDRESS ON FILE
    GABRIEL MALINIS                                                              ADDRESS ON FILE
    GABRIELLA SNEAD                                                              ADDRESS ON FILE
    GAETANO RUGGIERO                                                             ADDRESS ON FILE
    GAGEN ED                                                                     ADDRESS ON FILE
    GAIN FCU                                                                     PO BOX 31                                                                                                BURBANK                   CA           91503
    GAINES BUS SEVICES INC                                                       5113 OLD PUGHSVILLE RD                                                                                   CHESAPEAKE                VA           23321
    GALE ANGELO JOHNSON AND PATRICK PC          ATTN JOE ANGELO                  1430 BLUE OAKS BLVD STE 250                                                                              ROSEVILLE                 CA           95747
    GALE ANGELO JOHNSON AND PRUETT PC                                            1430 BLUE OAKS BLVD                   STE 250                                                            ROSEVILLE                 CA           95747
    GALILEO CONYERS PHASE II OWNER LLC                                           PO BOX 74988                                                                                             CLEVELAND                 OH           44194-4988
    GALLAGHER BASSETT SERVICES INC                                               2850 GOLF RD                                                                                             ROLLING MEADOWS           IL           60008
    GALLARDO RUDY Q                                                              ADDRESS ON FILE
    GALLEGOS SAITATION INCORPORATED                                              PO BOX 1986                                                                                              FORT COLLINS              CO           80522
    GALLIVAN WHITE AND BOYD PA                                                   55 BEATTIE PL                         PO BOX 10589                                                       GREENVILLE                SC           29603
    GALVIN PROCESS SERVING                      C O PARTICK GALVIN               8604 TANZANITE CT                                                                                        RALEIGH                   NC           27615
    GAMMON JEANIE                                                                ADDRESS ON FILE
    GANG FINANCIAL LLC                                                           4338 WELDWOOD LN                                                                                         SYLVANIA                  OH           43560
    GAP BROADCASTING LLC                                                         PO BOX 202228                         DEPT 22802                                                         DALLAS                    TX           75320-2228
    GAPPA HOLDINGS                              DBA MANAGEMENT 2000              PO BOX 69130                                                                                             ORO VALLEY                AZ           85737
    GARAGE GIRLS LLC                            DBA CROSSFIT TIDEWATER           3804 COOK BLVD                        UNIT 21                                                            CHESAPEAKE                VA           23323
    GARBARINI KATHLEEN                                                           ADDRESS ON FILE
    GARCIA AND LOVE                                                              257 E 200 S                           STE 300                                                            SALT LAKE CITY            UT           84111
    GARDEN CITY CUSTOMS                                                          6045 PROGRESS RD                                                                                         NIAGRA FALLS              ON           L2G 7X1      CANADA
    GARDEN STATE CHECK CASHING                                                   359 LONG AVE                                                                                             HILLSIDE                  NJ           07205
    GARDNER AND MENDOZA PC                                                       2106 THOROUGHGOOD RD                                                                                     VIRGINIA BEACH            VA           23455
    GARLAND NOSEWORTHY                                                           GENERAL DELIVERY                      MAIN ST                                                            FORRESTERS POINT          NL           A0K1M0       CANADA
    GARLYNN GROUP LLC                                                            2810 E LAKE AVE E                                                                                        SEATTLE                   WA           98102
    GARNET CAPITAL                                                               500 MAMARONECK AVE                    STE 104                                                            HARRISON                  NY           10528
    GARRETT NATHAN T                                                             ADDRESS ON FILE
    GARRETT REPORTING SERVICES                                                   PO BOX 20200                                                                                             CHARLESTON                WV           25362
    GARRY MCDOUGALL ELECTRIC INC                                                 RR 4 20272 5TH CONCESSION RD                                                                             ALEXANDRIA                ON           K0C 1A0      CANADA
    GARTNER INC                                                                  PO BOX 911319                                                                                            DALLAS                    TX           75391-1319
    GARY B GRISER                                                                ADDRESS ON FILE
    GARY CALHOUN                                                                 ADDRESS ON FILE
    GARY EVANS                                                                   ADDRESS ON FILE
    GARY GIBBS                                                                   ADDRESS ON FILE
    GARY L HOLMES                                                                ADDRESS ON FILE
    GARY L RICHARDS                                                              ADDRESS ON FILE
    GARY MILLER                                                                  ADDRESS ON FILE
    GARY RICHARDS                                                                ADDRESS ON FILE
    GARY UNDERWOOD II                                                            ADDRESS ON FILE
    GARY W CASE AND CO INC                                                       307 BROOK PARK PL                                                                                        FOREST                    VA           24551
    GAS CITY FUELS LLC                          ATTN DIRK A FULTON               2158 COLUMBUS PKWY                                                                                       BENICIA                   CA           94510
    GASLAMP INVESTMENTS LLC                                                      3848 5TH AVE                          STE F                                                              SAN DIEGO                 CA           92103
    GASLIGHT FESTIVAL                                                            10434 WATTERSON TRAIL                                                                                    JEFFERSONTOWN             KY           40299
    GASTECH SOLUTIONS INC                                                        2 397 S EDGEWARE RD                                                                                      ST THOMAS                 ON           N5P 4B8      CANADA
    GASTON COUNTY TAX DEPARTMENT                                                 PO BOX 1578                                                                                              GASTONIA                  NC           28053-1578
    GATEHOUSE MEDIA NEW YORK HOLDING INC        DBA ROCHESTER BUSINESS JOURNEL   PO BOX 1051                                                                                              WILLIAMSPORT              PA           17703
    GATEHOUSE MEDIA NEW YORK HOLDINGS INC       DBA ROCHESTER BUSINESS JOURNAL   45 E AVE STE 500                                                                                         ROCHESTER                 NY           14604
    GATESTONE AND CO INC                                                         180 DUNCAN MILL RD                    STE 300                                                            TORONTO                   ON           M3B 1Z6      CANADA



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                        Name                                Attention                            Address 1                                  Address 2                           Address 3                  City        State       Zip          Country
    GATEWAY OUTDOOR ADVERTISING                                                  1300 CLAY PIKE                                                                                             NORTH HUNTINGDON      PA           15642
    GATEWAY REALTY                                                               PO BOX 310                                                                                                 RICHLANDS             VA           24641
    GATEWAY SIGNS AND SERVICE                                                    732 JOHN ST                                                                                                NORTH BAY             ON           P1B 2N3      CANADA
    GAY WILLIAM L AND BETTY L                                                    ADDRESS ON FILE
    GAZETTE COMMUNICATIONS                                                       PO BOX 511                              500 THIRD AVE SE                                                   CEDAR RAPIDS          IA           52401
    GB FINANCIAL AND CONSULTING FIRM INC                                         45 SEABROOK DR                                                                                             DANA POINT            CA           92629
    GBS MOBILITY                                                                 6100 YOUNG ST                                                                                              HALIFAX               NS           B3K 2A4      CANADA
    GC SERVICES                                                                  PO BOX 32500                                                                                               COLUMBUS              OH           43232-0500
    GC TRUSTED AGENTS INC                                                        2668 N LAS VEGAS BLVD STE 104                                                                              NORTH LAS VEGAS       NV           89030
    GCG FINANCIAL LLC                                                            3 PKWY N STE 500                                                                                           DEERFIELD             IL           60015
    GCG RISK MANAGEMENT CONSULTANTS LLC                                          THREE PKWY N 500                                                                                           DEERFIELD             IL           60015
    GCI                                                                          PO BOX 99001                                                                                               ANCHORAGE             AK           99509-9001
    GCI TRANSCRIPTION SERVICE                                                    210 BAYBERRY AVE                                                                                           EGG HARBOR TOWNSHIP   NJ           08234
    GCI TRANSCRIPTION SERVICES                                                   210 BAYBERRY AVE                                                                                           EGG HARBOR TOWNSHIP   NJ           08234-5901
    GDT BAR1 VENTURES LTD                                                        3170 MONAHAN CRES                                                                                          PRINCE GEORGE         BC           V2N 4E3      CANADA
    GE CANADA EQUIPMENT FINANCING                                                PO BOX 7446 STATION A                                                                                      TORONTO               ON           M4W 3C1      CANADA
    GE CAPITAL CREDIT                                                            PO BOX 642333                                                                                              PITTSBURGH            PA           15264-2888
    GE VFS CANADA LIMITED PARTNERSHIP                                            PO BOX 7446 STATION A                                                                                      TORONTO               ON           M5W 3C1      CANADA
    GEICO                                   C O BIKERS FOR TYKES CHKD            ONE GEICO LANDING                                                                                          VIRGINIA BEACH        VA           23454
    GEIER WASTE SERVICE LTD                                                      PO BOX 38                                                                                                  TERRACE               BC           V8G 4A2      CANADA
    GEIGER JEREMY AND ALLISON                                                    ADDRESS ON FILE
    GEISTOWN BOROUGH                                                             721 E OAKMONT BLVD                                                                                         JOHNSTOWN             PA           15904
    GEN3 MARKETING LLC                                                           PO BOX 783138                                                                                              PHILADELPHIA          PA           19178-3138
    GENERAL DISTRIBUTING CO                                                      PO BOX 2606                                                                                                GREAT FALLS           MT           59403-2606
    GENERAL ELECTRIC CAPITAL CORP                                                501 CORPORATE CENTRE DR                 STE 600                                                            FRANKLIN              TN           37067
    GENERAL LLC                                                                  8950 W OLYMPIC BLVD                     STE 129                                                            BEVERLY HILLS         CA           90211
    GENERAL TREASURER STATE OF RHODE ISLAND OFFICE OF THE RHODE ISLAND GENERAL
    UCP                                     TREASURER                            UNCLAIM PROPERTY DIVISON                50 SERVICE AVE                                                     WARWICK               RI           02886
    GENES LTD                                                                    2050 HALIFAX ST                                                                                            REGINA                SK           S4P 1T7      CANADA
    GENESEE BROOKS LLC                                                           6338 BORTLE RD                                                                                             VICTOR                NY           14564
    GENESIS CORP                            DBA GENESIS 10                       950 THIRD AVE 26TH FL                                                                                      NEW YORK              NY           10022
    GENESIS FS CARD SERVICES                                                     PO BOX 84059                                                                                               COLUMBUS              OH           31908
    GENESIS PUBLICATION INC                                                      5803 CORNELL CRES                                                                                          MISSISSAUGA           ON           L5M 5R5      CANADA
    GENESIS SQUARE PROPERTY LLC             C O WIN PROPERTY MANAGEMENT          3470 WILSHIRE BLVD 1030                                                                                    LOS ANGELES           CA           90010
    GENESYS CLOUD SERVICES INC                                                   1302 EL CAMINO REAL STE 300                                                                                MENLO PARK            CA           94025
    GENEVA PROPERTIES PTNSHP                C O GENEVA PROPERTIES LP             360 N ROBERT ST STE 510                                                                                    ST PAUL               MN           55101
    GENIUS ACADEMY TUTORS LLC                                                    5361 BLACK OAK DR                                                                                          FAIRFAX STATION       VA           22039
    GENIUS ACADEMY TUTORS LLC                                                    5361 BLACK OAK DR                                                                                          FAIRFAX               VA           22032
    GENNUSO JOSEPH                                                               ADDRESS ON FILE
    GENUENT GLOBAL LLC                                                           1400 POST OAK BLVD STE 200                                                                                 HOUSTON               TX           77056
    GEOFFREY HOESCH                                                              ADDRESS ON FILE
    GEORGANA CEPEDA                                                              ADDRESS ON FILE
    GEORGE A TOMA                                                                ADDRESS ON FILE
    GEORGE CARO                                                                  ADDRESS ON FILE
    GEORGE COLEMAN                                                               ADDRESS ON FILE
    GEORGE EGAN                                                                  ADDRESS ON FILE
    GEORGE KALB                                                                  ADDRESS ON FILE
    GEORGE L COOPER                                                              ADDRESS ON FILE
    GEORGE MARCOS AND SONS LP                                                    8989 COTSWORLD DR                                                                                          BURKE                 VA           22015
    GEORGE MASON UNIVERSITY                                                      MS 2C5 SUB II RM 1201                   4400 UNIVERSITY DR                                                 FAIRFAX               VA           22030
    GEORGE MITCHELL                                                              ADDRESS ON FILE
    GEORGE PALACIOS DBA BRANDED TS                                               1720 S PRESA ST                                                                                            SAN ANTONIO           TX           78210
    GEORGE W COLEMAN                                                             ADDRESS ON FILE
    GEORGE W MINNER JR                                                           ADDRESS ON FILE
    GEORGE WILLIAM MINNER JR                                                     ADDRESS ON FILE
    GEORGEIT M YOUNAN                                                            ADDRESS ON FILE
    GEORGETOWN DAVID                                                             3724 CHARRY DR                                                                                             BAKER                 LA           70714
    GEORGETOWN MORGAN                                                            3724 CHARRY DR                                                                                             BAKER                 LA           70714
    GEORGIA CROWN DISTRIBUTING CO           DBA MELWOOD SPRINGS WATER CO         200 GEORGIA CROWN DR                                                                                       MCDONOUGH             GA           30253
    GEORGIA DEPARTMENT OF LABOR                                                  PO BOX 740234                                                                                              ATLANTA               GA           30374-0234
    GEORGIA DEPARTMENT OF REVENUE                                                PO BOX 740239                                                                                              ATLANTA               GA           30374-0239
    GEORGIA DEPARTMENT OF REVENUE                                                PROCESSING CTR                          PO BOX 740239                                                      ATLANTA               GA           30374-0239
    GEORGIA DEPARTMENT OF REVENUE                                                PROCESSING CTR                          PO BOX 740317                                                      ATLANTA               GA           30374-0317
    GEORGIA DEPARTMENT OF REVENUE           CENTTRAL COLLECTION SECTION          1800 CENTURY BVD NE STE 9100                                                                               ATLANTA               GA           30345-3205
    GEORGIA DEPARTMENT OF REVENUE UNCLAIMED
    PROPERTY PROGRAM                        UNCLAIMED PROPERTY DEPARTMENT        4125 WELCOME ALL RD                     STE 701                                                            ATLANTA               GA           30349
    GEORGIA DEPT OF LABOR                                                        148 ANDREW YOUNG INT BLVD               STE 794                                                            ATLANTA               GA           30303
    GEORGIA DEPT OF REVENUE PROCESSING
    CENTER                                                                       PO BOX 740239                                                                                              ATLANTA               GA           30374-0239
    GEORGIA INCOME TAX DIVISION                                                  PO BOX 740397                                                                                              ATLANTA               GA           30374-0397
    GEORGIA NATURAL GAS                                                          PO BOX 105445                                                                                              ATLANTA               GA           30348-5445
    GEORGIA POWER                                                                ADDRESS ON FILE
    GEORGIAN MOBILE SIGNS INC                                                    53 CHURCHILL DR UNIT 3                                                                                     BARRIE                ON           L4N 8Z5      CANADA
    GEORGIAN SPORTS AND ENTERTAINMENT       O A BARRIE COLTS                     555 BAYVIEW DR                                                                                             BARRIE                ON           L4N 8Y2      CANADA
    GEORGIE SUSOEFF                                                              ADDRESS ON FILE
    GERALD B CRAWFORD II                                                         ADDRESS ON FILE
    GERALD DR AND SHARON M HETTICH                                               ADDRESS ON FILE
    GERALD E FUERST CLERK OF COURTS                                              CIVIL CLERK 1ST FL JUSTICE              1200 ONTARIO ST                                                    CLEVELAND             OH           44113
    GERALD H PRYOR                                                               ADDRESS ON FILE
    GERALD M MOORE AND SON INC                                                   15442 MERRY CAT LN                      PO BOX 1137                                                        EXMORE                VA           23350
    GERALD PRYOR ACCOUNTS                                                        217 S MADISON AVE                                                                                          DOUGLAS               GA           31533
    GERALD WATSON DBA WATSON GROUP HOLDINGS
    LLC                                                                          233 S WACKER DR 84TH FL                                                                                    CHICAGO               IL           60606
    GERARD JEAN                                                                  ADDRESS ON FILE
    GERENTEAM CAPITAL INC                                                        650 WARRENVILLE RD                      STE 100                                                            LISLE                 IL           60532
    GERON DAVID                                                                  ADDRESS ON FILE
    GERRITY RETAIL FUND 2 INC               DBA BETHEL GRF2 LLC                  973 LOMAS SANTA FE DR                                                                                      SOLANA BEACH          CA           92075
    GERRITY RETAIL FUND 2 INC DO NOT USE    DBA BETHEL GRF2 LLC                  973 LOMAS SANTA FE DR                                                                                      SOLANA BEACH          CA           92075
    GERRY CAMPBELL                                                               852 DANFORTH AVE                                                                                           TORONTO               ON           M4J 1L7      CANADA


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    GES EXPOSITOIN SERVICES                                                         7050 LINDELL RD                                                                                            LAS VEGAS                 NV           89118-4702
    GESCHICKTER SMITH ENTERPRISES LLC           DBA JTG RACING LLC                  7201 CALDWELL RD                                                                                           HARRISBURG                NC           28075
    GET MOTIVATED SEMINARS INC                                                      4710 EISENHOWER BLVD B 5                                                                                   TAMPA                     FL           33634
    GETBUSY USA CORPORATION SMARTVAULT                                              720 N POST OAK RD STE 300                                                                                  HOUSTON                   TX           77024
    GETTY IMAGES                                                                    601 N 34TH ST                                                                                              SEATTLE                   WA           98103
    GEUS CITY OF GREENVILLE                                                         2810 WESLEY ST                                                                                             GREENVILLE                TX           75401-4159
    GFC ATLANTIC ASSOCIATES LLC                                                     3325 GARFIELD AVE                                                                                          COMMERCE                  CA           90040
    GFIVE INDUSTRIES LLC                        C O KVLSM LLP ANTHONY J VIOLA       415 CROSSWAYS PARK DR STE C                                                                                WOODBURY                  NY           11797-2061
    GGP LIMITED PARTNERSHIP APACHE              DBA APACHE MALL LLC                 SDS 12 1495PO BOX 86                                                                                       MINNEAPOLIS               MN           55486-1495
                                                DBA THE MALL IN COLUMBIA BUSINESS
    GGP LIMITED PARTNERSHIP COLUMBIA BUSINESS   TRUST                               SDS 12 2738 PO BOIX 86                                                                                     MINNEAPOLIS               MN           55486-2738
    GGP LIMITED PARTNERSHIP GOVERNORS SQ        DBA GOVERNORS SQUARE MALL LLC       SDS 12 1495PO BOX 86                                                                                       MINNEAPOLIS               MN           55486-1495
                                                DBA THE WOODLANDS MALL ASSOCIATES
    GGP LIMITED PARTNERSHIP THE WOODLANDS       LLC                                 SDS 12 3053PO BOX 86                                                                                       MINNEAPOLIS               MN           55486-3053
    GGP NATICK TRUST                            DBA NATICK MALL LLC                 SDS 12 3111 BOX 86                                                                                         MINNEAPOLIS               MN           55486-3111
    GGPL PRIME LLC COASTLAND CENTER             DBA COASTLAND CENTER LLC            SDS 12 1495PO BOX 86                                                                                       MINNEAPOLIS               MN           55486-1495
    GGPLP LLC LYNNHAVEN MALL                    DBA LYNNHAVEN MALL LLC              7903 SOLUTION CTR                                                                                          CHICAGO                   IL           60677-7009
    GGPLP LLC MAINE MALL                        DBA GGP MAINE MALL LLC              SDS 12 1495PO BOX 86                                                                                       MINNEAPOLIS               MN           55486-1495
    GGPLP REAL ESTATE INC                                                           SDS 12 2473                             PO BOX 86                                                          MINNEAPOLIS               MN           55486
    GGPLP REIT SERVICES LLC                                                         SDS 12 1495                             PO BOX 86                                                          MINNEAPOLIS               MN           55486-1495
    GHADIALY MAJEED                                                                 ADDRESS ON FILE
    GHAZI DAKIK                                                                     ADDRESS ON FILE
    GHAZI DAKIK                                                                     ADDRESS ON FILE
    GHIA CRUZ                                                                       ADDRESS ON FILE
    GHP HOLDINGS LLC                                                                217 S MADISON AVE                                                                                          DOUGLAS                   GA           31533
    GIBRALTAR MANAGEMENT CO INC                 ATTN ANNE FLORENCE                  150 WHITE PLAINS RD STE 400                                                                                TARRYTOWN                 NY           10591
    GIBSON BUILDING SUPPLIES                                                        924 GIBSONS WAY                         PO BOX 167                                                         GIBSONS                   BC           V0N 1V0      CANADA
    GIDEON OFISI                                                                    ADDRESS ON FILE
    GIG KYRIACOU                                                                    246 N PASS AVE                                                                                             BURBANK                   CA           91505
    GIGMASTERSCOM INC                                                               9 BROOKSIDE PL STE E                                                                                       REDDING                   CT           06896
    GILBERT E COPELAND SR                                                           ADDRESS ON FILE
    GILLEN STICKLE AND ASSOCIATES                                                   227 W FAYETTE ST                                                                                           SYRACUSE                  NY           13202
    GILMAN AND CIOCIA INC                       MR TED FINKELSTEIN                  1311 MAMARONECK AVE                                                                                        WHITE PLAINS              NY           10605
    GILSTRAP GREG                                                                   ADDRESS ON FILE
    GIMBAL CAPITAL INC                                                              8502 E CHAPMAN AVE                      STE 375                                                            ORANGE                    CA           92869
    GINA BERNSTEIN                                                                  ADDRESS ON FILE
    GINA P WILLIAMS                                                                 ADDRESS ON FILE
    GINGERICH SUSAN                                                                 ADDRESS ON FILE
    GIOVANNIS SIGNS                                                                 ADDRESS ON FILE
    GIUSEPPE TURRICIANO DBA NEWBRIDGE
    MERCHANT CAPITAL LLC                                                            2146 73RD ST                                                                                               BROOKLYN                  NY           11204
    GIVITI HALL                                                                     ADDRESS ON FILE
    GIVORG SIMON                                                                    ADDRESS ON FILE
    GLADES COURT PROPERTIES LP                                                      834 RIDGE AVE                                                                                              PITTSBURGH                PA           15212
    GLAPO CORP                                  C O ADVANTIS                        PO BOX 890692                                                                                              CHARLOTTE                 NC           28289-0692
    GLASSDOOR INC                                                                   100 SHORELINE HWY BLDG A                                                                                   MILL VALLEY               CA           94941
    GLASSDOOR INC                               DEPARTMENT 3436                     PO BOX 123436                                                                                              DALLAS                    TX           75312-3436
    GLASSICAL CREATIONS                         DBA CBM 3492                        1517 S SEPULVEDA BLVD                                                                                      LOS ANGELES               CA           90025
    GLEIM PUBLICATIONS                                                              4201 NW 95TH BLVD                                                                                          GAINESVILLE               FL           32606
    GLEN RNELSON STEVEN A NELSON PTR                                                ADDRESS ON FILE
    GLENDA JAMES REAL ESTATE BROKERAGE INC                                          120 WELLINGTON RD                       STE 200                                                            LONDON                    ON           N6B 2K6      CANADA
    GLENDA KENNEDY                                                                  ADDRESS ON FILE
    GLENDA KINCAID                                                                  ADDRESS ON FILE
    GLENN HEALY                                                                     ADDRESS ON FILE
    GLENN SALLIE                                                                    ADDRESS ON FILE
    GLENWOOD NORTH DUKE CO LLC                                                      9525 BIRKDALE CROSSING DR STE 200                                                                          HUNTERSVILLE              NC           28078
    GLENWOOD PLAZA LLC                                                              600 OLD COUNTRY RD STE 435                                                                                 GARDEN CITY               NY           11530
    GLOBAL ADJUSTMENT SERVICE                                                       34590 COUNTY LINE RD STE 3              PO BOX 399                                                         YUCAIPA                   CA           92399
    GLOBAL BUSINESS FINANCE CORPORATION                                             4544 KINGS GRANT DR                                                                                        MEMPHIS                   TN           38125
    GLOBAL COMMUNICATIONS EFAX CORPORATE                                            EFAX CORPORATE                          PO BOX 51873                                                       LOS ANGELES               CA           90051-6173
    GLOBAL COMPUTER SUPPLIES                                                        PO BOX 5000                                                                                                SUWANEE                   GA           30024
    GLOBAL CONNECT PRO INC                                                          1201 N ORANGE ST                        STE 7268                                                           WILMINGTON                DE           19801
    GLOBAL CROSSING TELECOMM                                                        PO BOX 741276                                                                                              CINCINNATI                OH           45274-1276
    GLOBAL FINANCIAL SERVICES                                                       PO BOX 856460                                                                                              LOUISVILLE                KY           40285-6460
    GLOBAL FUNDING GRP INC                                                          445 BROAD HALLOW RD                     25                                                                 MELVILLE                  NY           11747

    GLOBAL HOLDINGS LLC DBA BANKCARD ALLIANCE                                       PO BOX 20030                                                                                               HARTFORD                  CT           06123
    GLOBAL INVESTIGATIVE AND MANAGEMENT
    SOLUTIONS                                                                       5576 NORBECK RD A 173                                                                                      ROCKVILLE                 MD           20853
    GLOBAL MERCHANT CASH INC DBA WALL ST
    FUNDING                                                                         64 BEAVER ST                            STE 415                                                            NEW YORK                  NY           10004
    GLOBAL SECURITY SERVICES                                                        1003 W FOURTH ST                                                                                           DAVENPORT                 IA           52802
    GLOBAL TALK RADIO                                                               406 AMAPOLA AVE                                                                                            TORRANCE                  CA           90501
    GLOBAL WIDE MEDIA INC                                                           2945 TOWNSGATE RD STE 350                                                                                  WESTLAKE VILLAGE          CA           91361
    GLOBALINX DATA CENTERS LLC                                                      1632 CORPORATE LANDING PKWY                                                                                VIRGINIA BEACH            VA           23454
    GLOBE CORP STAY INTERNATIONAL                                                   PO BOX 632272                                                                                              CINCINNATI                OH           45263-2272
    GLOBELEND CAPITAL                                                               1111 PARK CENTRE BLVD                   STE 425                                                            MIAMI GARDENS             FL           33169-5349
    GLOBENET INVESTMENTS INC DBA GLOBENET
    CAPITAL GROUP                                                                   9938 BOLSA AVE STE 212                                                                                     WESTMINSTER               CA           92683
    GLOBRITE ELECTRIC CO LTD                                                        50 JULIA ST                                                                                                THORNHILL                 ONTARIO      L3T 4R9      CANADA
    GLOBUS EDITION SL                         PRODUCTION AND SHIPPING DEPT          RAUCHGASSE 41 TOP 1                                                                                        VIENNA                                 A-1120       AUSTRIA
    GLORIA PLASCENCIA                                                               ADDRESS ON FILE
    GLOUCESTER COUNTY                                                               6489 MAIN ST                                                                                               GLOUCESTER                VA           23061
    GLOUCESTER MATTHEWS GAZETTE JOURNAL                                             PO BOX 2060                                                                                                GLOUCESTER                VA           23061
    GLOUSESTER ARTS ON MAIN INC                                                     5680 B MAIN ST                                                                                             GLOUSESTER                VA           23061
    GLOW THE EVENT STORE                                                            461 WINDMILL RD                                                                                            DARTMOUTH                 NS           B3A 1J9      CANADA
    GM FUNDING LLC                                                                  196 TRUMBULL ST STE 511                 DBA GENERAL MERCHANT FUNDING                                       HARTFORD                  CT           06103
    GM FUNDING LLC DBA GENERAL MERCHANT
    FUNDING                                                                         150 TRUMBULL ST                         4TH FL GENERAL MERCHANT FUNDING                                    HARTFORD                  CT           06103


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    GM REALTY OF BANGOR LLC                                                       1195 ROUTE 70 STE 2000                                                                                  LAKEWOOD                 NJ           08701
    GMA CONCRETE DESIGN                                                           526 SPRUCEWOOD TERR                                                                                     WILLIAMSVILLE            NY           14221
    GO CONTRACTING LLC                                                            701 OAKVIEW DR                                                                                          AUBREY                   TX           76227
    GOAL COMMERCIAL INC                                                           PO BOX 46312                                                                                            TAMPA                    FL           33646
    GODADDYCOM                                                                    14455 N HAYDEN RD STE 219                                                                               SCOTTSDALE               AZ           85260
    GODDARD DARRELL                                                               ADDRESS ON FILE
    GODFREY GROUP THE                                                             4102 S MIAMI BLVD                                                                                       DURHAM                   NC           27703
    GODS PANTRY FOOD BANK INC                                                     1685 JAGGIE FOX WAY                                                                                     LEXINGTON                KY           40511-1084
    GODSEY LAND AND DEVELOPMENT                                                   429 GODSEY RD                                                                                           BRISTOL                  TN           37620
    GODWIN LISA                                                                   ADDRESS ON FILE
    GOIN POSTAL                                                                   1437 SAMES CLUB DR                                                                                      CHESAPEAKE               VA           23320
    GOKAPITAL INC                                                                 2150 CORAL WAY                       STE 1B                                                             MIAMI                    FL           33145
    GOLD COAST LIMOUSINES                                                         8711 WYMAN DR                                                                                           TINLEY PARK              IL           60487
    GOLD MARKETING AGENCY INC                                                     PO BOX 1301 106 NELSON DR                                                                               BLAKESLEE                PA           18610
    GOLDBERG RANDI                                                                ADDRESS ON FILE
    GOLDEN AND CARDONA LOYA LLP                                                   3130 BONITA RD                       STE 200B                                                           CHULA VISTA              CA           91910
    GOLDEN EAGLE MGMT SVCS                                                        12214 HEACOCK ST                                                                                        MORENO VALEEY            CA           92557
    GOLDEN ENTROPY MARKETING INC                                                  17547 VENTURA BLVD                   STE 200                                                            ENCINO                   CA           91316
    GOLDEN GLOBAL CAPITAL LLC                                                     5409 108TH ST 1B                                                                                        CORONA                   NY           11368
    GOLDEN MILE FUNDING LLC                                                       400 THIRD AVE                        STE 315                                                            KINGSTON                 PA           18704
    GOLDEN ONE CREDIT UNION                                                       PO BOX 15318                                                                                            SACRAMENTO               CA           95851
    GOLDEN PHOENIX SOLUTIONS                                                      80 5001 62 ST                                                                                           BEAUMONT                 AB                        CANADA
    GOLDEN WEST INVESTMENT PROPERTIES LLC   ATTN ASPEN MANAGEMENT                 18751 VENTURA BLVD STE B 100                                                                            TARZANA                  CA           91356
    GOLDING GARY                                                                  ADDRESS ON FILE
    GOLDMAN DANIEL                                                                ADDRESS ON FILE
    GOLDSTEIN AND PECK                                                            1087 BROAD ST                                                                                           BRIDGEPORT               CT           06604
    GOLDSTEIN FAIRCHILD LLC                 DBA SOLANO STORAGE CENTER             PO BOX 459                                                                                              WALNUT CREEK             CA           94597
    GOLDSTON WILLIAM                                                              ADDRESS ON FILE
    GOLF SHORE ASSOCIATES LLC                                                     6067 B 17TH ST E                                                                                        BRADENTON                FL           34203
    GOLOMB AND HONIK PC                                                           1515 MARKET ST                       STE 1100                                                           PHILADELPHIA             PA           19102
    GOMEZ                                                                         ADDRESS ON FILE
    GOMEZ GABRIEL                                                                 ADDRESS ON FILE
    GOMEZ INVESTMENTS LLC DBA AFFLUENT
    BUSINESS CAPITAL                                                              30083 WALES CT                                                                                          MENIFEE                  CA           92584
    GONGIO INC                                                                    265 CAMBRIDGE AVE                    STE 60717                                                          PALO ALTO                CA           94306
    GONZALES ALBERTO                                                              ADDRESS ON FILE
    GONZO COMMUNICATIONS                                                          30021 TOMAS ST STE 300                                                                                  RANCHO SANTA MARGARITA   CA           92688
    GOOD GROUND FAMILY CHURCH                                                     49 JOHNSTON AVE                                                                                         COHOES                   NY           12047
    GOOD LORRAINE                                                                 50 SAUGER CRES                                                                                          THOMPSON                 MB           R8N1B6       CANADA
    GOOD MORNING SUNSHINE                   C O WILLIAM PROCTOR                   129 1413 SUNSHINE CST HWY 101                                                                           GIBSONS                  BC           V0N 1V5      CANADA
    GOOD TIMES BUS SERVICE LLC                                                    5192 CLEVELAND ST                                                                                       VIRGINIA BEACH           VA           23462
    GOODMAN AND COMPANY LLP                                                       PO BOX 3247                                                                                             NORFOLK                  VA           23455
    GOODWILL OF THE COASTAL EMPIRE INC      DBA GOODWILL SOUTHEAST GEORGIA        7220 SALLIE MOOD DR                                                                                     SAVANNAH                 GA           31406
    GOODWIN PROCTER LLP                     COUNSELLORS AT LAW                    EXCHANGE PL                                                                                             BOSTON                   MA           02109
    GOODYEAR                                                                      PO BOX 9001006                                                                                          LOUISVILLE               KY           40290
    GOOGLE ADWORDS                                                                1600 AMPHITHEATRE PKWY                                                                                  MOUNTAIN VIEW            CA           94043
    GOOGLE INC                                                                    DEPT 33654                           PO BOX 39000                                                       SAN FRANCISCO            CA           94139
    GOOGLE INC                                                                    PO BOX 39000                         DEPT 33654                                                         SAN FRANCISCO            CA           94139-3181
    GOOGLE INC                                                                    ROYAL BANK OF CANADA                 PO BOX T56117                              POSTAL STATION A        TORONTO                  ON           M5W 4L1      CANADA
    GOOSE REAL ESTATE                                                             5 ASPEN RD                           PO BOX 669 STNB                                                    GOOSE BAY                NL           A0P 1C0      CANADA
    GORDON AND REES                                                               1111 BROADWAY STE 1700                                                                                  OAKLAND                  CA           94607
    GORDON AND REES CLIENT TRUST ACCT NJ                                          101 JOHN KENNEDY PKWY                                                                                   SHORT HILLS              NJ           07078
    GORDON AND REES LLP                                                           275 BATTERY ST 20TH FL                                                                                  SAN FRANCISCO            CA           94111
    GORDON JACK                                                                   ADDRESS ON FILE
    GORDON REES SCULLY MANSUKHANI LLP                                             18 COLUMBIA TURNPIKE STE 220                                                                            FLORHAM PARK             NJ           07932
    GORWAY GROUP INCORPORATED                                                     495 OCONNOR DR                                                                                          KINGSTON                 ON           K7P 1J9      CANADA
    GOVERNMENT OF ALBERTA                   TAX AND REVENUE ADMINISTRATION        9811 109 ST                                                                                             EDMONTON                 AB           T5K 2L5      CANADA
    GOVERNMENT OF SASKATCHEWAN                                                    PO BOX 200                           2350 ALBERT ST                                                     REGINA                   SK           S4P 2Z6      CANADA
    GOWLING WLG CANADA LLP IN TRUST                                               100 KING ST W 1600                                                                                      TORONTO                  ON           M5X 1G5      CANADA
    GP BURLINGTON LLC                       ATTN SHARON WILSON JAGER MGMT         610 OLD YORK RD STE 220                                                                                 JENKINTOWN               PA           19046
    GP STRATEGIES CORPORATION                                                     70 CORPORATE CTR                     11000 BROKEN LAND PKWY STE 200                                     COLUMBIA                 MD           21044
    GPATZ LLC                                                                     3075 SPALDING CT                                                                                        CUMMING                  GA           30040
    GR FINANCIAL AND TAX SERVICES LTD       C O LIBERTY TAX SERVICE               5 3415 17 AVE SE                                                                                        CALGARY                  AB           T2A 0R3      CANADA
    GRACE LAW APC                                                                 1958 SUNSET CLIFFS BLVD                                                                                 SAN DIEGO                CA           92107
    GRADCO LIMITED PARTNERSHIP                                                    1349 BRICE RD                                                                                           REYNOLDSBURG             OH           43068
    GRADCO LTD                                                                    995 GOODALE BLVD                                                                                        COLUMBUS                 OH           43212
    GRADE A AIR COOLING AND HEATING                                               6693 HAPPY ISLES DR                                                                                     LAS VEGAS                NV           89156
    GRAF BUSINESS SOLUTIONS INC                                                   8067 RED JASPER LN                   STE 334                                                            DELRAY BEACH             FL           33446
    GRAFTON BUFFA GROUP LLC                                                       PO BOX 2059                                                                                             YORKTOWN                 VA           23692
    GRAHAM DATA SUPPLIES LLC                                                      PO BOX 2901                                                                                             AMARILLO                 TX           79105
    GRAHAM GP                                                                     PO BOX 12489                                                                                            KNOXVILLE                TN           37912
    GRAHAM LIMITED PARTNERSHIP                                                    1775 GRAHAM AVE                      STE 201                                                            HENDERSON                NC           27536
    GRAHAM PLAZA LLC                                                              6150 PARKLAND BLVD                   STE 250                                                            MAYFIELD HTS             OH           44124
    GRAND AFFAIRS                                                                 2036 PLEASURE HOUSE RD                                                                                  VIRGINIA BEACH           VA           23455
    GRAND AVENUE CENTER INC                                                       577 BROADWAY STE C                                                                                      MASSAPEQUA               NY           11758
    GRAND FALLS REALTY CO LTD                                                     PO BOX 223                                                                                              GRAND FALLS WINDSOR      NL           NL A2A 2J7   CANADA
    GRAND OAKS INVESTMENTS LLC                                                    PO BOX 338                                                                                              DULAC                    LA           70353
    GRAND PRICE SUPERMARKET                                                       12955 GRAND RIVER AVE                                                                                   DETROIT                  MI           48227
    GRAND RIVER AND WYOMING LLC             ATTN CHRISTINA ORAHA                  30407 W THIRTEEN MILE RD                                                                                FARMINGTON HILLS         MI           48334
    GRAND RIVER MUSTANGS                                                          PO BOX 441                                                                                              FERGUS                   ON           N1M 3E2      CANADA

    GRANDVIEW VILLAGE SHOPS 888 LLC         C O KESSINGER HUNTER AND COMPANY LC   2600 GRAND BLVD STE 700                                                                                 KANSAS CITY              MO           64108
    GRANGER PAMELA L                                                              ADDRESS ON FILE
    GRANITE STATE MECHANICAL SERVICES LLC                                         PO BOX 1521                                                                                             MERRIMACK                NH           03054
    GRANT D HACKETT                                                               ADDRESS ON FILE
    GRANT MILLER DBA MILLER MEDIA LLC                                             21972 TOBARRA                                                                                           MISSION VIEJO            CA           92692
    GRANT MURRAY PROPERTY MANAGEMENT LLC                                          150 N MCPHERSON CHURCH RD            STE A                                                              FAYETTEVILLE             NC           28303
    GRANT THORNTON LLP                                                            1717 MAIN ST                         STE 1800                                                           DALLAS                   TX           75201-4657
    GRANT THORNTON LLP                                                            33562 TREASURY CTR                                                                                      CHICAGO                  IL           60694-3500


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                       Name                                  Attention                          Address 1                            Address 2                                 Address 3                     City         State       Zip          Country
    GRANT THORNTON LLP                                                         TYSONS EXECUTIVE PLZ II                  2010 CORPORATE RIDGE STE 400                                       MCLEAN                   VA            22102
    GRANVILLE HOLDINGS INC                                                     1810 AVE RD                              STE 301                                                            TORONTO                  ON            M5M 3Z2      CANADA
    GRASSROOTS NEWS                                                            24 1635 BURROWS AVE                                                                                         WINNIPEG                 MB            R2X 3B5      CANADA
    GRAVES AND PALMERTREE PLLC               ATTORNEY AT LAW                   2446 CAFFEY ST STE 1A                                                                                       HERNANDO                 MS            38632
    GRAVITY FUNDING LLC                                                        38 FRANLIN ST                                                                                               ISLIP                    NY            11751
    GRAY DB CPA PC                                                             737 B LITTLE NECK RD                                                                                        VIRGINIA BEACH           VA            23452
    GRAY PLANT MOOTY MOOTY AND BENNETT PA                                      500 IDS CTR                              80 S 8TH ST STE 500                                                MINNEAPOLIS              MN            55402-3796
    GRAYCON GROUP LTD                                                          STE 19 319 10TH AVE                                                                                         CALGARY                  ALBERTA       T2R 0A5      CANADA
    GREALAND CORPORATION                                                       PO BOX 1157                                                                                                 GRAND RAPIDS             MI            49501-1157
    GREAT AMERICA FINANCIAL SERVICES
    CORPORATION                                                                PO BOX 660831                                                                                               DALLAS                   TX            75266-0831
    GREAT AMERICAN FRANCHISE EXPO INC                                          12601 OLD CUTLER RD                                                                                         CORAL GABLES             FL            33156
    GREAT LAKES COMPUTER                                                       DEPT 78274                               PO BOX 78000                                                       DETROIT                  MI            48278-0274
    GREAT LAKES DEVELOPMENT INC                                                1800 N I 35 E                            STE 200                                                            CARROLLTON               TX            75006
    GREAT LAKES TAX SERVICE INC                                                1977 LEXINGTON DR                                                                                           PERRYSBURG               OH            43551
    GREAT SCOTT BROADCASTING                                                   20200 DUPONT BLVD                                                                                           GEORGETOWN               DE            19947
    GREAT SOUTHERN OWNER LLC                                                   PO BOX 1450                                                                                                 COLUMBUS                 OH            43216
    GREAT SOUTHERN SC HOLLYWOOD VIDEO        C O CASTO ATTN KRISTANE MURRAY    PO BOX 1450                                                                                                 COLUMBUS                 OH            43216
    GREAT SOUTHERN SHOPPERS CITY INC         C O CASTO                         PO BOX 1450                                                                                                 COLUMBUS                 OH            43216
    GREATER INDIANAPOLIS CHAMBER OF COMMERCE
    INC                                      DBA INDY CHAMBER                  111 MONUMENT CIR                         STE 1950                                                           INDIANAPOLIS             IN            46204
    GREATER MEDIA                                                              78 VERONICA AVE                                                                                             SOMERSET                 NJ            08873
    GREATER PHILADELPHIA MINORITY BUSINESS
    STRATEGIC                                ALLIANCE                          105 N 22ND ST                                                                                               PHILADELPHIA             PA            19103

    GREATER ROCHESTER CHAMBER OF COMMERCE                                      150 STATE ST                             STE 400                                                            ROCHESTER                NY            14814-1300
    GREATER SUDBURY POLICE ALARM PROGRAM                                       190 BRADY ST                                                                                                SUDBURY                  ON            P3E 1C7      CANADA
    GREATER SUDBURY UTILITIES                                                  500 REGENT STREETPO BOX 250                                                                                 SUDBURY                  ON            P3E 4P1      CANADA
    GREATER TALENT NETWORK INC                                                 437 FIFTH AVE                                                                                               NEW YORK                 NY            10016
    GREATER TAMPA BAY CHAMBER OF COMM                                          PO BOX 420                                                                                                  TAMPA                    FL            33601-0420
    GREATER WASHINGTON C OF C                                                  910 17TH ST NW                           STE 1150                                                           WASHINGTON               DC            20006
    GREATER YORK CHAMBER                                                       PO BOX 97                                                                                                   YORK                     SC            29745
    GREATLAND CORPORATION                                                      PO BOX 1157                                                                                                 GRAND RAPIDS             MI            49501-1157
    GREEN CANE PROPERTY LLC                                                    PO BOX 6673                                                                                                 GRAND RAPIDS             MI            49516
    GREEN CLYDE                                                                ADDRESS ON FILE
    GREEN JEFFREY                                                              ADDRESS ON FILE
    GREENBERG TRAURIG PA                                                       450 S ORANGE AVE                         STE 650                                                            ORLANDO                  FL            32801
    GREENBERGTRAURIG                                                           54 STATE ST                              6TH FL                                                             ALBANY                   NY            12207
    GREENBRIER AUDIO AND VIDEO                                                 4205 BAINBRIDGE BLVD                                                                                        CHESAPEAKE               VA            23324
    GREENE AND ASSOCIATES                                                      3501 E DESERT BROOM WAY                                                                                     PHOENIX                  AZ            85044
    GREENGATE PROPERTY MANAGEMENT INC                                          1209 WOODROW AVE                         AUITE A 1                                                          MODESTO                  CA            95350
    GREENLIGHT ACCEPTANCE                                                      261 N UNIVERSITY DR                      STE 500                                                            PLANATATION              FL            33324
    GREENLINK FINANCIAL LLC                                                    16808 ARMSTRONG AVE                      STE 220                                                            IRVINE                   CA            92606
    GREENSHADES SOFTWARE                                                       7020 A C SKINNER PKWY                    STE 100                                                            JACKSONVILLE             FL            32256
    GREENSLATE LOANS INC                                                       24 BROOKDALE DR                                                                                             CHERRY HILL              NJ            08034
    GREENSPOON MARDER LLP                                                      100 W CYPRESS CREEK RD                   STE 700                                                            FORT LAUDERDALE          FL            33309
    GREENVILLE NEWS                                                            305 S MAIN ST                                                                                               GREENVILLE               SC            29601
    GREENWATER CAPITAL INC                                                     1901 S HARBOUR CITY BLVD                 STE 806                                                            MELBOURNE                FL            32901
    GREENWOOD ARCHER INCORPORATED             C O FREDERICK AND TAMARA GIBBS   640 MT VERNON LN                                                                                            DUNCAN                   SC            29334
    GREER HUGH R AND BRENDA                                                    ADDRESS ON FILE
    GREGG THEODORE A                                                           ADDRESS ON FILE
    GREGORY A BIANCO                                                           ADDRESS ON FILE
    GREGORY M SKANNAL DBA JUNK OUT HAULING                                     528 IDALIA RD SW                                                                                            RIO RANCHO               NM            87124
    GREGORY QUAIL DBA FOCUS GROUP FINANCIAL
    LLC                                                                        144 KINGS HWY                            STE 205                                                            DOVER                    DE            19901
    GREGORY S ABBOTT                                                           ADDRESS ON FILE
    GREGORY W WHEELER AS ATTORNEY FOR
    MATTHEW BALL                                                               3 PARK ST SECOND FL                                                                                         LEOMINSTER               MA            01453
    GREWAL DALBIR                                                              ADDRESS ON FILE
    GREYHOUND COURIER EXPRESS                                                  BAG 2888                                 STATION M                                                          CALGARY                  AB            T2P 4P2      CANADA
    GREYSTONE LEGAL ASSOCIATES PC                                              2313 E CARSON ST                                                                                            PITTSBURGH               PA            15203
    GRIFFIN VALLEY RANCH                                                       PO BOX 789                                                                                                  COCHRANE                 AB            T4C 1A9      CANADA
    GRIFFITH REAL ESTATE SERVICES                                              PO BOX 5974                                                                                                 VIRGINIA BEACH           VA            23471
    GRISHAM KNIGHT HOOPER AND JAMES                                            ADDRESS ON FILE
    GROEN WASTE SERVICES                                                       PO BOX 9001154                                                                                              LOUISVILLE               KY            40290-1154
    GRONSBELL CHARLIE                                                          ADDRESS ON FILE
    GROOT RECYCLING AND WASTE SERVICES INC                                     2500 LANDMEIER RD                                                                                           ELK GROVE VILLAGE        IL            60004
    GROSS MENDELSOHN AND ASSOCIATES PA                                         1801 PORTER ST STE 500                                                                                      BALTIMORE                MD            21230
    GROUCHO PRODUCTIONS                                                        21 POPLAR PLAN RD                                                                                           WESTPORT                 CT            06880
    GROUP GURU LLC                                                             338 RENNIE AVE 1                                                                                            VENICE                   CA            90291-2648
    GROUP PICCIONI                                                             1010 80TH AVE                                                                                               LASALLE                  QUEBEC        H8R 4B7      CANADA
    GROUPE SOLUTIONS COLLECT                                                   309 560 HENRI BOURASSA                                                                                      MONTREAL                 QC            H3L 1P4      CANADA
    GROWTHCIRCLE LLC                                                           590 MEANS ST NW                          STE 200                                                            ATLANTA                  GA            30318
    GRUBB PRINTING AND STAMP CO                                                3303 AIRLINE BLVD STE 1G                                                                                    PORTSMOUTH               VA            23701
    GRUPO ESTRELLA LLC                                                         2929 FLOYD ST                                                                                               BURBANK                  CA            91504-2504

    GS MORTGAGE SECURITIES CORP PACIFIC QKC                                    2340 COLLINS AVE STE 700                 DBA GSMS 2014 GC26 W KAAHUMANU AVE                                 MIAMI BEACH              FL            33139
    GSC LIMITED DBA GREYSTONE CAPITAL                                          303 MERRICK RD                           STE 200                                                            LYNBROOK                 NY            11563
    GSD VERMILYEA                             DBA HEART OF THE VILLAGE         11620 KISMET RD                                                                                             SAN DIEGO                GA            92128
    GSH RELOCATION SERVICES                                                    4560 S BLVD                              STE 300                                                            VIRGINIA BEACH           VA            23452
    GSI MOTORS                                                                 4801 STOCKON BLVD A                                                                                         SACRAMENTO               CA            95820
    GSM MECHANICAL                                                             845 101 AVE                                                                                                 LAVAL                    QC            H7W 4B6      CANADA
    GSU EMPOWEING COMMUNITIES                                                  500 REGENT ST                            PO BOX CP 250                                                      SUDBURY                  ON            P3E 4P1      CANADA
    GT CONCEPTS                                                                4 MASTERS GREEN CRESCENT                                                                                    BRAMPTON                 ON            L7A 3K2      CANADA
    GT SIGN COMPANY LLC                                                        PO BOX 1602                                                                                                 BRYAN                    TX            77806
    GTE FLORIDA                                                                PO BOX 31122                                                                                                TAMPA                    FL            33631-3122
    GTT AMERICAS LLC                                                           PO BOX 842630                                                                                               DALLAS                   TX            75284-2630
    GUADALUPE RUBIO                                                            ADDRESS ON FILE
    GUANACOS RADIO GROUP                                                       7825 TUCKERMAN LN                        STE 211                                                            POTOMAC                  MD            20854


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    GUARANTEED SUBPOENA SERVICE INC           C O TRAUTMAN REAL ESTATE               261 E LIVINGSTON AVE A                                                                                   COLUMBUS                OH             43215
    GUARD INSURANCE GROUP                                                            PO BOX 7640                                                                                              PHILADELPHIA            PA             19101-7640
    GUARDIAN ALARM                                                                   2996 DEZIEL DR                                                                                           WINDSOR                 ON             N8W 5H8      CANADA
    GUARDIAN PRINTING                                                                1050 E WHITTIER BLVD                  STE 100                                                            LA HABRA                CA             90631
    GUARDIAN WYANDOTTE CTR                                                           1160 GOODALE BLVD                                                                                        COLUMBUS                OH             43212
    GUBRUD THERESA                                                                   ADDRESS ON FILE
    GUERRERO LLC                                                                     825 W CHICAGO AVE                                                                                        CHICAGO                 IL             60642
    GUIDEBOOK INC                                                                    460 S CALIFORNIA AVE                  STE B1                                                             PALO ALTO               CA             94306
    GUIDESTAR DIRECT CORP DBA CARNEY DIRECT
    MARKETING                                                                        15510 ROCKFIELD BLVD                  STE A                                                              IRVINE                  CA             92618

    GUILDFORD TOWN CENTRE LIMITED PARTNERSHIP                                       2695 GUILDFORD TOWN CENTRE                                                                                SURREY                  BC             V3R 7C1      CANADA
    GUILLERMO CABALLERO                                                             ADDRESS ON FILE
    GUINCO                                                                          5073 MARTIN LUTHER KING FWY                                                                               FORT WORTH              TX             76119
    GUL NAZ BHATTI                                                                  454 DELAWARE AVE                                                                                          ALBANY                  NY             12209
    GULF INVESTIGATIONS LTD CO                                                      PO BOX 2549                                                                                               ROCKPORT                TX             78381
    GULF POWER                                                                      PO BOX 830660                                                                                             BIRMINGHAM              AL             35283-0660
    GULFCO LEASING LLC                                                              PO BOX 21                                                                                                 PALOS PARK              IL             60464
    GUN MI KIM                                                                      ADDRESS ON FILE
    GUNTER CRABB                                                                    ADDRESS ON FILE
    GUPTE PRAMOD                                                                    ADDRESS ON FILE
    GUS AND ZOE SARAVANOS LIVING TRUST                                              350 HARBOR PASSAGE                                                                                        CLEARWATER              FL             33767
    GUTTER WORKS LLC                                                                630 PROSPERITY WAY                                                                                        CHESAPEAKE              VA             23320
    GV STADIUM GATEWAY LLC                                                          3440 FLAIR DR                          LOCKBOX SERVICES 348428                                            LOS ANGELES             CA             90084-8428
    GVC INC DBA HYLENDER                                                            100 CRAIG RD STE 205                                                                                      MANALAPAN               NJ             07726
    GWEN GUZINSKI                                                                   ADDRESS ON FILE
    GYAM LLC                                                                        11 BROADWAY                            STE 334                                                            NEW YORK                NY             10004
    H AND B ASSOCIATES INC                                                          6039 FAIR VALLEY DR                                                                                       CHARLOTTE               NC             28226
    H AND G LLC                                                                     52 E 15TH AVE                                                                                             COLUMBUS                OH             43201
    H AND H HOLDINGS                                                                348 LEES MILL RD                                                                                          FOREST PARK             GA             30297
    H AND H PROPERTIES LLC                                                          7129 OAKMAN BLVD                                                                                          DEARBORN                MI             48126-1829
    H AND J KAZEMAINI LLC                                                           211 E IMPERIAL HWY 100                                                                                    FULLERTON               CA             92835
    H AND K PROPERTIES LLC                                                          3712 RINGGOLD RD 351                                                                                      CHATTANOOGA             TN             37412
    H AND N CORPORATION                       D B A CUISINE AND COMPANY             2648 QUALITY CT                                                                                           VIRGINIA BEACH          VA             23454
    H AND T PROPERTIES LLC                                                          PO BOX 42535                                                                                              PHOENIX                 AZ             85028-2535
    H E B LP                                                                        646 S FLORES ST                                                                                           SAN ANTONIO             TX             78204
    H M A ENTERPRISES SEATAC                                                        COLLECTION ACCT 016 509310             PO BOX 0513447                                                     LOS ANGELES             CA             90051-3447
    H NACHBAR                                                                       ADDRESS ON FILE
    H RAY BAKER                                                                     ADDRESS ON FILE
    H SHEPHERD AND ASSOCIATES INC                                                   PO BOX 339                                                                                                DELAWARE                OH             43015-0339
    H17D ENTERPRISES LLC                                                            539 W COMMERCE ST 1036                 SBA VALENT PARTNERS                                                DALLAS                  TX             75208
    HA BRUNO LLC                                                                    210 ROUTE 4 E                          STE 304                                                            PARAMUS                 NJ             07652
    HAB BPT                                                                         PO BOX 21810                                                                                              LEHIGH VALLEY           PA             18002-1810
    HAB DLT                                                                         BERKHEIMER                             PO BOX 25153                                                       LEHIGH VALLEY           PA             18002-5153
    HABITAT FOR HUMANITY OF GREATER GARLAND
    INC                                                                             1110 MAIN ST                                                                                              GARLAND                 TX             75040
    HACHETTE BOOK GROUP                                                             PO BOX 8828                                                                                               BOSTON                  MA             02114-8828
    HADDAD MUFEED                                                                   ADDRESS ON FILE
    HAGEDORN MARK                                                                   ADDRESS ON FILE
    HAHN HURONIA HOLDINGS                                                           PO BOX 22                                                                                                 MIDLAND                 ON             L4R 4K6      CANADA
    HAIRSTON INVESTORS LLC                    ATTN CHRISTY LIOS 2ND FL              8 INDUSTRIAL WAY E                                                                                        EATONTOWN               NJ             07724
    HAKEEM INGRAM                                                                   ADDRESS ON FILE
    HALBERSTADT GREGG                                                               ADDRESS ON FILE
    HALEY GENE ACH                                                                  3146 HWY 128                                                                                              LONSDALE                AR             72087
    HALFZ LLC                                 DBA C SQUARED SOCIAL                  5700 E FRANKLIN RD STE 150                                                                                NAMPA                   ID             83687
    HALIFAX MARRIOT HARBOURFRONT                                                    1919 UPPER WATER ST                                                                                       HALIFAX                 NS             B3J 3J5      CANADA
    HALL AND ASSOCIATES                                                             1010 MARKET ST STE 402                                                                                    CHATTANOOGA             TN             37402
    HALL AUTOMOTIVE                                                                 3152 VIRGINIA BEACH BLVD                                                                                  VIRGINIA BEACH          VA             23452
    HALL BEN                                                                        ADDRESS ON FILE
    HALL COUNTY TAX COMMISSIONER                                                    PO BOX 1579                                                                                               GAINESVILLE             GA             30503
                                              AS AGENT FOR LAGUNA VILLAGE INVESTORS
    HALL EQUITIES GROUP                       LLC                                   1855 OLYMPIC BLVD STE 300                                                                                 WALNUT CREEK            CA             94596
    HALL FAMILY PARTNERSHIP                                                         PO BOX 4773                                                                                               CHATTANOOGA             TN             37405
    HALL GRAPHIC DESIGN                                                             5704 OAK TERRACE DR                                                                                       VIRGINIA BEACH          VA             23464
    HALL MIRIAM                                                                     ADDRESS ON FILE
    HALL NANCY                                                                      ADDRESS ON FILE
    HALL OF FAME REPORTING LLC                                                      4543 GARLAND RD                        STE 101                                                            BENSALEM                PA             19020

    HALL REALTY SERVICE INC                   CBO FBO LAGUNA VILLAGE INVESTORS LLC   PO BOX 3557                                                                                              WALNUT CREEK            CA             94598
    HALLMARK BUSINESS EXPRESSIONS             ACCOUNTS RECEIVABLE                    121 S 8TH ST STE 700                                                                                     MINNEAPOLIS             MO             55402
    HALS JOHN                                                                        ADDRESS ON FILE
    HAM MIDVALE LLC                                                                  PO BOX 15662                                                                                             PHOENIX                 AZ             85060
    HAMADAY MS KEN                                                                   ADDRESS ON FILE
    HAMILTON ADVANCE INC DBA BRIDGE
    CONSOLIDATION                                                                    30 BROAD ST                           STE 1201                                                           NEW YORK                NY             10004
    HAMILTON ANGELA                                                                  ADDRESS ON FILE
    HAMILTON ARCHER NICHOLAS                                                         ADDRESS ON FILE
    HAMILTON BULLDOGS HOCKEY CLUB LP                                                 101 YORK BLVD                                                                                            HAMILTON                ON             L8R 3L4      CANADA
    HAMILTON COUNTY TRUSTEE                                                          625 GEORGIA AVE                       RM 210                                                             CHATTANOOGA             TN             37402-1494
    HAMILTON DWYER AND CO PC                                                         PO BOX 6189                                                                                              PORTSMOUTH              VA             23703
    HAMILTON KARISSA R                                                               ADDRESS ON FILE
    HAMILTON PLACE MALL                                                              2100 HMAILTON PL BLVD                 STE 100                                                            CHATTANOOGA             TN             37421
    HAMILTON UTILITIES CORPORATION                                                   PO BOX 2249 STATION LCD 1                                                                                HAMILTON                ONT.           L8N 3E4      CANADA
    HAMMETT HEATH                                                                    ADDRESS ON FILE
    HAMNER DEVELOPMENT COMPANY                C O OF HAMNER DEVELOPMENT CO           739 THIMBLE SHOALS BLVD                                                                                  NEWPORT NEWS            VA             23606
    HAMNER REALTY CORP                                                               11848 ROCK LANDING DR                 STE 202                                                            NEWPORT NEWS            VA             23606
    HAMOUNT INVESTMENTS LTD                   C O MARK CROWE                         2458 DUNDAS ST W UNIT 9                                                                                  MISSISSAUGA             ON             L5K 1R8      CANADA
    HAMPTON BAY DAYS                                                                 34 WINE ST                            STE A                                                              HAMPTON                 VA             236609
    HAMPTON CITY TREASURER                                                           PO BOX 3800                                                                                              HAMPTON                 VA             23663-3800


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    HAMPTON CUP REGATTA                                                         PO BOX 3148                                                                                              HAMPTON                 VA           23663
    HAMPTON EVENT MAKERS                      ATTN BLACK BEARD                  756 SETTLERS LANDING RD                                                                                  HAMPTON                 VA           23669
    HAMPTON INN                                                                 201 STEPHENSON AVE                                                                                       SAVANNAH                GA           31405
    HAMPTON INN CORYDON                                                         2455 LANDMARK AVE                                                                                        CORYDON                 IN           47112
    HAMPTON INN EXECUTIVE CENTER BOSTON
    NATICK                                    ATTN JENNA BRODERICK              319 SPEEN ST                                                                                             NATICK                  MA           01760
    HAMPTON PARKS AND RECREATION                                                22 LINCOLN ST                                                                                            HAMPTON                 VA           23669
    HAMPTON ROADS CHAMBER OF COMME                                              500 E MAIN ST 700                                                                                        NORFOLK                 VA           23510
    HAMPTON ROADS CHAPTER AMERICAN PAYROLL
    ASSOCIATION                               C O VERLIE MEDFORD                222 MONROE AVE                                                                                           NEWPORT NEWS            VA           23608
    HAMPTON ROADS HISPANIC CHAMBER OF
    COMMERCE                                                                    12650 MCMANUS BLVD STE 204                                                                               NEWPORT NEWS            VA           23602
    HAMPTON ROADS HVAC SERVICE INC                                              377 GAINSBOROUGH RD                                                                                      VIRGINIA BEACH          VA           23462
                                              DBA NORTH AMERICAN SAND SOCCER
    HAMPTON ROADS SOCCER COUNCIL              CHAMPIONSHIPS                     2276 RECREATION DR                                                                                       VIRGINIA BEACH          VA           23456
    HAMPTON ROADS TRANSIT                                                       PO BOX 2096                                                                                              NORFOLK                 VA           23501
    HAMPTON ROADS UTILITY BILLING SYSTEM                                        PO BOX 1453                                                                                              NORFOLK                 VA           23501-1453
    HANCOCK AND PALMER LLC                                                      519 FOREST PKWY                       STE 100                                                            FOREST PARK             GA           30297
    HANCOCK DANIEL AND JOHNSON PC                                               4701 COX RD STE 400                                                                                      GLEN ALLEN              VA           23060
    HANCOCK DEMPSEY AND EVERETT LLP                                             519 FOREST PKWY                       STE 100                                                            FOREST PARK             GA           30297
    HANDUM GROUP                                                                2913 EL CAMINO REAL                   406                                                                TUSTIN                  CA           92782-8036
    HANDY ELECTRIC OF FLORIDA INC                                               338 SW 4TH CT                                                                                            DANIA BEACH             FL           33004
    HANDYMAN CONNECTION                                                         108 215 MORRISH RD                                                                                       SCARBOROUGH             ON           M1C 1E9      CANADA
    HANK WERNER DBA ARLINGTON PARTNER                                           9 HARBOUR PONT DR                                                                                        NORTHPORT               NY           11768
    HANOVER GENERAL DISTRICT COURT                                              PO BOX 176                                                                                               HANOVER                 VA           23069
    HANOVER INSURANCE CO                                                        PO BOX 580045                                                                                            CHARLOTTE               NC           28258-0045
    HANRAHAN INVESTIGATIONS INC                                                 4413 ROOSEVELT RD                     110                                                                HILLSIDE                IL           60162
    HANSON SIGN COMPANY INC                                                     PO BOX 928                                                                                               SILVERDALE              WA           98383
    HAPPY CORNER CHURCH OF THE BRETHREN                                         7037 UNION RD                                                                                            CLAYTON                 OH           45315
    HAQHI LINDA LANE                                                            ADDRESS ON FILE
    HARBOR SIGNS INC                                                            850 N UNION ST                                                                                           STOCKTON                CA           95205-4152
    HARBOUR LAND INVESTMENTS LLC                                                PO BOX 748                                                                                               TUSTIN                  CA           92781
    HARD RESULTS LLC                                                            PO BOX 28991                                                                                             ST LOUIS                MO           63132
    HARDWARE BROS LLC                         C O MJ KELLY REALTY CORP          2147 ARDMORE BLVD                                                                                        PITTSBURGH              PA           15221
    HARELIK LAW GROUP PC DBA WESTGATE LAW                                       16444 PARAMOUNT BLVD                  STE 205                                                            PARAMOUNT               CA           90723
    HARESH PATHAK                                                               ADDRESS ON FILE
    HARKNESS GEORGENE                                                           300 CUSTER RD 270 353                                                                                    PLANO                   TX           75075
    HARMIN SERVICES NO 1 INC                                                    PO BOX 1009                                                                                              BOERNE                  TX           78006
    HARMON HOLDINGS                           ATTN RICK PAULOSKI                6045920 1A ST SW                                                                                         CALGARY                 ALBERTA      T2H 0G3      CANADA
    HARMONY UNLIMITED                                                           154 CEDAR RD                                                                                             POQUOSON                VA           23662
    HARNIK MANAGEMENT LLC                                                       3850 OTTAWA LN                                                                                           COOPER CITY             FL           33026
    HARPOOTLIAN PA RICHARD A                                                    ADDRESS ON FILE
    HARRAHS LAS VEGAS                                                           3475 LAS VEGAS BLVD S                                                                                    LAS VEGAS               NV           89109
    HARRELSON HAYES AND GUYTON LLC            THE OAKLAND BLDG                  200 OAKLAND AVE                                                                                          ROCK HILL               SC           29730
    HARRIET ANN DOAK                                                            ADDRESS ON FILE
    HARRINGTON GRAPHICS                                                         1411 AIR RAIL AVE                                                                                        VIRGINIA BEACH          VA           23455
    HARRINGTON HOPPE AND MITCHELL                                               ADDRESS ON FILE
    HARRIS ANNIE                                                                ADDRESS ON FILE
    HARRIS BEACH PLLC                                                           99 GARNSEY RD                                                                                            PITTSFORD               NY           14534
    HARRIS III JOSEPH H                                                         ADDRESS ON FILE
    HARRIS INTERACTIVE                                                          161 SIXTH AVE                                                                                            NEW YORK                NY           10013
    HARRIS JIM AND JULIE                                                        ADDRESS ON FILE
    HARRIS ORIGINALS OF NORFOLK               ATTN J HARRIS                     145 SYCAMORE AVE                                                                                         ISLANDIA                NY           11749
    HARRIS PUBLICATIONS INC                                                     1115 BROADWAY                                                                                            NEW YORK                NY           10010
                                              DBA HARRISON AND BATES PROPERTY
    HARRISON AND BATES INCORPORATED           MANAGEMENT                        7200 GLEN FOREST DR                   STE 200                                                            RICHMOND                VA           23226
    HARRY C MATTHEWS                                                            ADDRESS ON FILE
    HARRY DAGLAS                                                                ADDRESS ON FILE
    HARSCH INVESTMENT PROPERTIES LLC          D B A HIP WILLOWBROOK LLC         1430 SW BROADWAY STE 100                                                                                 PORTLAND                OR           97201
    HARSH INVESTMENT PROPERTIES               ATTN STEPH KOTKINS                1121 SW SALMON ST STE 500                                                                                PORTLAND                OR           97205-2022
    HART ENTERTAINMENT                                                          43 GURNEY CRESCENT                                                                                       TORONTO                 ON           M6B 1S9      CANADA
    HARTE HANKS SHOPPERS INC                  NORTHERN CALIFORNIA DIVISION      PO BOX 1149                                                                                              BREA                    CA           92822-1149
    HARTFORD CAPITAL LLC                                                        382 E ROCKAWAY RD                                                                                        HEWLETT                 NY           11557
    HARTMAN MANAGEMENT                                                          16010 BARKERS POINT LN                STE 175B                                                           HOUSTON                 TX           77079
    HARTMAN TAX SERVICE INC                                                     2814 DURMONT CT                                                                                          ANNAPOLIS               MD           21401
    HARVEY DONALD R INC                                                         3555 VETERANS MEMORIAL HWY            STE D                                                              RONKONKOMA              NY           11779
    HARVEY G ERSHIG                                                             ADDRESS ON FILE
    HARVEY LINDSAY COMMERCIAL REAL ESTATE                                       999 WATERSIDE DR                      STE 1400                                                           NORFOLK                 VA           23510
    HARVIN DAVID                                                                ADDRESS ON FILE
    HASAN ISLAIH DBA FUNDING TOWER LLC                                          3750 LAS VEGAS BLVD                                                                                      LAS VEGAS               NV           89158
    HASSAAN PATTERSON DBA HDP ENTERPRISES
    CORP                                                                        7 PATTERSON AVE                                                                                          NEW YORK                NY           11550
    HATHAWAY DEBBIE                                                             ADDRESS ON FILE
    HATHORIAN INC                                                               WAIPAHU SHOPPING PLZ                  94300 FARRINGTON HWY C 05                                          WAIPAHU                 HI           96797
    HAUSER HOLDINGS INC                                                         200A 4201 4 AVE                                                                                          WHITEHORSE              YT           Y1A 5A1      CANADA
    HAVEL FLOOR COVERING INC                                                    6684 DIXIE HWY                                                                                           CLARKSTON               MI           48346

    HAVKINS ROSENFELD RITZERT AND VARRIALE LLP                                  1065 AVENUES OF THE AMERICAS          STE 800                                                            NEW YORK                NY           10018
    HAWAII COMMISSIONER OF SECURITIES                                           335 MERCHANT ST                       RM 203                                                             HONOLULU                HI           96813
    HAWAII DEPARTMENT OF TAXATION                                               PO BOX 259                                                                                               HONOLULU                HI           96809-0259
    HAWAII DEPARTMENT OF TAXATION DO NOT USE                                    ON LINE
    HAWAIIAN GARDENS LAKEWOOD RETAIL VIIILLC   C O ATHENA MANAGEMENT INC        16795 VON KARMAN AVE                  STE 200                                                            IRVINE                  CA           92606
    HAWAIIAN PRO AC LLC                                                         240 KIHAPAI ST                                                                                           KAILUA                  HI           96734
    HAYDEN CORPORATION                                                          419 S COLLEGE RD                      STE 43                                                             WILMINGTON              NC           28403
    HAYDEN HASKINS                                                              ADDRESS ON FILE
    HAYGOOD CENTER LLC                                                          1250 CAROLINE ST NE STE 220                                                                              ATLANTA                 GA           30307
    HAYGOOD STORAGE CO LLC                                                      4850 HAYGOOD RD                                                                                          VIRGINIA BEACH          VA           23455
    HAYLEY WYRICK AND LUCAS WARD                                                ADDRESS ON FILE
    HAYNES AND BOONE LLP                                                        PO BOX 841399                                                                                            DALLAS                  TX           75284-1399


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                         Name                                 Attention                                Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    HAYNES CHRIS                                                                       ADDRESS ON FILE
    HAYWARD HALL OF JUSTICE                                                            24405 AMADOR ST                                                                                          HAYWARD                 CA           94544
    HAYZLETT GROUP INC                                                                 4912 S TECHNOPOLIS DR                                                                                    SIOUX FALLS             SD           57106
    HBF SHERWOOD LLC                                                                   1948 E SANTA FE                                                                                          OLATHE                  KS           66062
    HBPA                                                                               PO BOX 15287                                                                                             CHESAPEAKE              VA           23328
    HCCM                                                                               3000 2ND ST N                                                                                            MINNEAPOLIS             MN           55411
    HCD DALLAS CORPORATION OMNI LAS COLINAS
    HOTEL                                                                              4001 MAPLE AVE STE 500                                                                                   DALLAS                  TX           75219
    HCH LAZERMAN INC                                                                   278 BATHURST ST                                                                                          TORONTO                 ON           M5T 2S3      CANADA
    HCH LAZERMAN INC                                                                   278 BATHURST ST                                                                                          TORONTO                 ONTARIO      M5T 2S3      CANADA
    HDF INVESTMENTS INC                                                                6600 LOST HORIZON                                                                                        AUSTIN                  TX           78759
    HDI                                                                                102 S TEJON ST                        STE 1200                                                           COLORADO SPRINGS        CO           80903
    HE MEI REAL ESTATE                        MING DE WANG                             547 JANETTE AVE                                                                                          WINDSOR                 ON           N9A 4Z6      CANADA
    HEADS UP SPRINKER SYSTEMS INC                                                      3716 COOK BLVD                                                                                           CHESAPEAKE              VA           23323
    HEADSETSCOM INC                                                                    211 AUSTIN ST                                                                                            SAN FRANCISCO           CA           94109
    HEADWAY CORPORATE STAFFING SERVICES                                                PO BOX 785381                                                                                            PHILADELPHIA            PA           19178-5381
    HEALTH ADVOCATE SOLUTIONS INC                                                      PO BOX 200603                                                                                            DALLAS                  TX           75320-0603
    HEALTH NET                                                                         PO BOX 60515                                                                                             CITY OF INDUSTRY        CA           91716-0515
    HEALTHKEEPERS HMO                         ATTENTION CASHIER                        PO BOX 580494                                                                                            CHARLOTTE               NC           28258-0494
    HEALTHKEEPERS INC COBRA HMO               ATTENTION CASHIER                        PO BOX 17499                                                                                             BALTIMORE               MD           21297-1499
    HEARTLAND COMMERCIAL FUNDING INC                                                   211 W WACKER DR                       3RD FL                                                             CHICAGO                 IL           60606
    HEATHER M STONE                                                                    ADDRESS ON FILE
    HEB GROCERY COMPANY LP                                                             H E B SHOPPING CTR DEVELOPMENT        ATTN SHOPPING CTR DEVELOPMENT              PO BOX 839955           SAN ANTONIO             TX           78283-3955
    HEB HOUSTON CHILDRENS FESTIVAL                                                     1915 COMMONWEALTH STE 300                                                                                HOUSTON                 TX           77006
    HEBERT ASSOCIATES                                                                  95 STATE ST                           STE 809                                                            SPRINGFIELD             MA           01103
    HEBERT SCOTTY                                                                      ADDRESS ON FILE
    HECTOR BERMUDEZ CAINS                                                              ADDRESS ON FILE
    HECTOR MONTALVO                                                                    ADDRESS ON FILE
    HEDEEN MARK                                                                        ADDRESS ON FILE
    HEDRICK TONY                                                                       ADDRESS ON FILE
    HEER KULBIR                                                                        ADDRESS ON FILE
    HEIBERG GARBAGE AND RECYCLING                                                      PO BOX 22069                                                                                             PORTLAND                OR           97269-2069
    HEIDI JEFFREYS RDR CRR                    UNITED STATES COURT REPORTER             600 GRANBY ST                         RM 217                                                             NORFOLK                 VA           23510
    HEIDI N MILLER DBA HNM LAW LLC IOLTA                                               PO BOX 26273                                                                                             WAUWATOSA               WI           53226
    HELEN FERRER DBA H AND J CAPITAL GROUP                                             7419 PARK SPRING CR                                                                                      ORLANDO                 FL           32835
    HELEN I RYAN                                                                       ADDRESS ON FILE
    HELEN THOMPSON MEDIA                                                               8035 BROADWAY                                                                                            SAN ANTONIO             TX           78209
    HELICOPTER TRANSPORT SERVICES INC                                                  701 WILSON POINT RD                   MARTIN STATE AIRPORT BOX E                                         BALTIMORE               MD           21220
    HELP DESK CHAPTER SOUTHERN VIRGINIA INC                                            4880 COX RD STE 103                                                                                      GLEN ALLEN              VA           23060
    HELP SYSTEMS LLC                                                                   NW 5955                               PO BOX 1450                                                        MINNEAPOLIS             MN           55485-5955
    HELPING HANDS                                                                      5369 SHALLEDON DR                                                                                        VIRGINIA BEACH          VA           23462
    HELPS HERE PREMIUM PUBLISHING CORP                                                 958 COXWELL AVE                                                                                          TORONTO                 ON           M4C 3G3      CANADA
    HEMAR ROUSSO AND HEALD LLP                                                         15910 VENTURA BLVD                    12TH FL                                                            ENCINO                  CA           91436
    HEMMERT PLUMBING INC                                                               221 WOOD ST                                                                                              PIQUA                   OH           45356
    HENDERSON SHOPPING CENTER LLLP                                                     26135 MUREAU RD 200                                                                                      CALABASAS               CA           91302
    HENDERSON SHOPPING VILLAGE LLLP           C O MAURY ABRAMS LLC                     26135 MUREAU RD                       STE 200                                                            CALABASAS               CA           91302
    HENDERSON TAX ADMINISTRATOR                                                        PO BOX 671                                                                                               HENDERSON               KY           42419
    HENDON PROPERTIES LLC                     C O HENDON CENTERVILLE LLC               PO BOX 538086                                                                                            ATLANTA                 GA           30353-8086
    HENGER CARL                                                                        ADDRESS ON FILE
    HENRY BROWN                                                                        ADDRESS ON FILE
    HENRY SANDRA                                                                       ADDRESS ON FILE
    HENRY STAUDER                                                                      ADDRESS ON FILE
    HENRY WASTE DISPOSAL INC                                                           PO BOX 640                                                                                               COVENTRY                RI           02816
    HENSON ROBINSON COMPANY                                                            PO BOX 13137                                                                                             SPRINGFIELD             IL           62791-3137
    HERALD AND TRIBUNE                                                                 PO BOX 277                                                                                               JONESBOROUGH            TN           37659
    HERALD SUN DURHAM                                                                  ADDRESS ON FILE
    HERES THE SCOOP                                                                    BAY 402 2903 KINGSVIEW BLVD                                                                              AIRDRIE                 AB           T4A 0C4      CANADA
    HERITAGE GROWTH FUND LA COUNTY LLC                                                 3705 W PICO 1744                                                                                         LOS ANGELAS             CA           90019
    HERITAGE SIGN COMPANY INC                                                          1747 E AVE Q STE E3                                                                                      PALMDALE                CA           93550
    HERITAGE SPE LLC                                                                   PO BOX 50497                          GROUP 62                                                           WOBURN                  MA           01815
    HERMAN BILLIE                                                                      ADDRESS ON FILE
    HERNAN ALEXIS MORAN MERCADO DBA MERCADO
    EXPERTS LLC                                                                        12543 BARBARRA ANN ST                                                                                    NORTH HOLLYWOOD         CA           91605
    HERNDON FELICIA                                                                    ADDRESS ON FILE
    HERO WASHING                                                                       273 DOON MILLS DR                                                                                        KITCHENER               ON           N2P 2R8      CANADA
    HERON RIDGE GOLF CLUB                                                              2973 HERON RIDGE DR                                                                                      VIRGINIA BEACH          VA           23456
    HEROUX RAYMOND                                                                     ADDRESS ON FILE
    HERRICK FEINSTEIN LLP                                                              2 PARK AVE                                                                                               NEW YORK                NY           10016
    HERRING LESLIE                                                                     1432 HEAD OF RIVER RD                                                                                    CHESAPEAKE              VA           23322
    HESTER PROCESS SERVICE                    C O DONNA HESTER                         5015 GRAVELBROOK DR                                                                                      RICHMOND                VA           23234
    HETEM HASSAN                                                                       ADDRESS ON FILE
    HEWITT JOHN                                                                        ADDRESS ON FILE
    HEWITT SR DANIEL J                                                                 ADDRESS ON FILE
    HEWLETT PACKARD COMMERICAL REPAIRS                                                 PO BOX 73528                                                                                             HOUSTON                 TX           77273
    HEWLETT PACKARD COMPANY                                                            PO BOX 101149                                                                                            ATLANTA                 GA           30392-1149
    HEYWARD WHETSELL ASSOCIATES                                                        142 SEASPRAY AVE                                                                                         PALM BEACH              FL           33480
    HFX BROADCASTING INC                                                               5527 COGSWELL ST                                                                                         HALIFAX                 NS           B3J 1R2      CANADA
    HGI VIRGINIA BEACH TOWN CENTER                                                     252 TOWN CTR DR                                                                                          VIRGINIA BEACH          VA           23462
    HH TAX SERVICES INC                                                                803 UNIVERSITY BLVD APT 208                                                                              JUPITER                 FL           33458
    HHFS LLC                                                                           18880 EASTWOOD DR                                                                                        CHAFRIN FALLS           OH           44023
    HI TECH CAPITAL LLC                                                                46 ROBERTSVILLE RD                                                                                       MARLBORO                NJ           07746
    HI TECH CONSTRUCTION AND HOME
    IMPROVEMENTS                                                                       43 BONNA ST                                                                                              BEACON HILLS            CT           06403
    HI TECH CONSTRUCTION CA                                                            415 LARKIN DR                                                                                            BENICIA                 CA           94510
    HI TECH ELECTRIC                                                                   2230 W WINTON AVE                                                                                        HAYWARD                 CA           94545
    HI TECH INVESTMENTS                                                                390 LAXDAL RD                                                                                            WINNIPEG                MB           R3R 0W4      CANADA
    HI THERE MEDIA INC                                                                 1425 CORMORANT DR                     STE 201                                                            ANCASTER                ON           L9G 4V5      CANADA
                                              DBA HIBU INC MID ATLANTICHIBU INC PACIFIC
    HIBU INC                                  HIBU INC WEST                             PO BOX 660052                                                                                           DALLAS                  TX           75266-0052


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    HIBU INC DO NOT USE                                                             210 RXR PLZ                                                                                             UNIONDALE                NY           11556
    HICKMAN PAULA                                                                   ADDRESS ON FILE
    HICKORY PROPERTY INC                                                            1648 MEMORIAL DR                                                                                        BURLINGTON               NC           27215
    HIDDEN VALLEY PROMOTIONS LLC                                                    8621 JACKSBORO HWY                                                                                      LAKESIDE                 TX           76135
    HIGH CLASS CLEANING SERVICES                                                    11 GILGORM RD                                                                                           BRAMPTON                 ON           L6X 4P5      CANADA
    HIGH DESERT AIR DUCTOR INC                                                      120 E CHURCH AVE                     STE A                                                              RIDGECREST               CA           93555
    HIGH DRAW PARTNERS INC DBA VENTURELYNK
    CAPITAL                                                                         VENTURELYNK                          183 SOUNDVIEW DR                                                   PORT WASHINGTON          NY           11050
    HIGH FIVE INC DBA PRINTECH                                                      1452 S MANHATTAN AVE                                                                                    FULLERTON                CA           92831
    HIGH JUMP FUN ZONE                                                              15570 NC HWY 94N                                                                                        ROPER                    NC           27970
    HIGH LIFE LIMOUSINE                                                             664 PRINCESS ANNE RD                                                                                    VIRGINIA BEACH           VA           23457
    HIGH PLACES SERVICES                                                            1217 W WILSON                                                                                           PAHRUMP                  NV           89048
    HIGH TOP QUALITY LLC DBA PMG BUSINESS
    CAPITAL                                                                         401 JONQUIL LN                                                                                          MELBOURNE                FL           32901

    HIGHER EDUCATION COORDINATING COMMISSION                                        PRIVATE CAREER SCHOOLS               3225 25TH ST SE                                                    SALEM                    OR           97302
    HIGHLAND CAPITAL MANAGEMENT SERVICES                                            300 CRESCENT CT STE 700                                                                                 DALLAS                   TX           75201
    HIGHRIZE ENT INC                                                                3099 W PASADENA                                                                                         FLINT                    MI           48504
    HIGINIO FLORES IV                                                               2117 LEOPARD                                                                                            CORPUS CHRISTI           TX           78408
    HILDA MILNER                                                                    ADDRESS ON FILE
    HILL CHRISTAN                                                                   ADDRESS ON FILE
    HILL FRANK TRENT                                                                ADDRESS ON FILE
    HILL JASON M                                                                    ADDRESS ON FILE
    HILLCREST CORP                                                                  PO BOX 723                                                                                              WHITEVILLE               NC           28472
    HILLCREST PLAZA LIMITED PART                                                    580 W GERMANTOWN PIKE                STE 200                                                            PLYMOUTH MEETING         PA           19462
    HILLSBOROUGH COUNTY TAX COLLECTOR                                               PO BOX 30012                                                                                            TAMPA                    FL           33630-3012
    HILLSBOROUGH COUNTY WATER DEPARTMENT                                            925 E TWIGGS ST                                                                                         TAMPA                    FL           33602
                                               C O KESTENBERG RABINOWICZ AND
    HILLSIDE PLAZA                             PARTNERS LLP                         2797 JOHN ST                                                                                            MARKHAM                  ON           L3R 2Y8      CANADA

    HILLSIDE PLAZA INVESTMENT                  C O SAMUEL PROPERTY MANAGEMENT LTD   1120 FINCH AVE W STE 801                                                                                TORONTO                  ON           M3J 3H7      CANADA
    HILTON GARDEN INN                          VIRGINIA BEACH TOWN CENTER           252 TOWN CTR DR                                                                                         VIRGINIA BEACH           VA           23462
    HILTON GARDEN INN KITTY HAWK                                                    5353 N VIRGINIA DARE TRAIL                                                                              KITTY HAWK               NC           27979
    HILTON NYAMAYARO                                                                35 160 RITTENHOUSE RD                                                                                   KITCHENER                ON           N2E 3G7      CANADA
    HILTON QUEBEC                                                                   1100 RENE LEVESQUE E                                                                                    QUEBEC CITY              QC           G1R 4P3      CANADA
    HILTON VIRGINIA BEACH OCEANFRONT                                                3001 ATLANTIC AVE                                                                                       VIRGINIA BEACH           VA           23451
    HIMELFARB PROSZANSKI LLP                                                        480 UNIVERSITY AVE STE 1401                                                                             TORONTO                  ON           M5G 1V2      CANADA
    HINCKLEY SPRING WATER COMPANY                                                   PO BOX 1888                                                                                             BEDFORD PARK             IL           60499-1888
    HINDLIN BROADCASTING LLC                   DBA WVXX SELECTA 1050 AM             700 MONTICELLO STE 301                                                                                  NORFOLK                  VA           23510
    HINT CREATIVE                                                                   10 W 100 S 708                                                                                          SALT LAKE CITY           UT           84101
    HIPS DONT LIE DANCE COMPANY                                                     1107 110 MARINE PARADE DR                                                                               ETOBICOKE                ON           M8V 0A3      CANADA
    HIREOLOGY                                                                       640 N LASALLE DR STE 650                                                                                CHICAGO                  IL           60654
    HISPANIC CHAMBER METRO ORLANDO                                                  315 E ROBINSON ST                    STE 465                                                            ORLANDO                  FL           32801
    HISPANIC COLLEGE FUND INC                                                       1300 L ST NW STE 975                                                                                    WASHINGTON               DC           20005
    HISPANIC COMMUNICATIONS LLC                DBA LA VOZ HISPANA                   51 ELM ST STE 307                                                                                       NEW HAVEN                CT           06510
    HISPANIC LEADERSHIP FORUM                                                       1269 TREEFERN DR                                                                                        VIRGINIA BEACH           VA           23451
    HISPANIC PUBLISHING ASSOCIATES                                                  6355 NW 36TH ST                                                                                         MIAMI                    FL           33166
    HISPANIC TRENDS                                                                 999 PONCE DE LEON BLVD               STE 600                                                            CORAL GABLES             FL           33134
    HISPANIC WEALTH                                                                 300 OLD ALABAMA RD                   STE 119 491                                                        ALPHARETTA               GA           30022-8555
    HISPANOFEST INC                                                                 1904 W LAKE ST                                                                                          MELROSE PARK             IL           60160
    HLA SOLUTIONS GROUP LLC                    DBA GENIUS REFERRALS                 5138 DOVE TREE ST                                                                                       ORLANDO                  FL           32811
    HMSA                                                                            PO BOX 29810                                                                                            HONOLULU                 HI           96820-2210
    HNL BOCTOR HOLDINGS INC                    DBA ACCOUNTING PRACTICE SALES        9257 SIERRA COLLEGE BLVD STE B                                                                          ROSEVILLE                CA           95661
    HO CHUNGMAN                                                                     ADDRESS ON FILE
    HO LONG                                                                         ADDRESS ON FILE
    HO RETAIL PROPERTIES I LP                                                       PRINCE KUHIO PLZ                     111 E PUAINAKO ST                                                  HILO                     HI
    HOBBS DONNIE AND ANNETTE                                                        ADDRESS ON FILE
    HOBIES SPORTS LTD                                                               186 1 2 CHARLOTTE ST                                                                                    PETERSBOROUGH            ON           K9J 2T8      CANADA
    HOFFMANN BROTHERS HEATING AND AIR
    CONDITIONINGIN                                                                  1025 HANLEY INDUSTRIAL CT                                                                               ST LOUIS                 MO           63144
    HOK SHI CHAN                                                                    ADDRESS ON FILE
    HOKE COUNTY TAX COLLECTOR                                                       PO BOX 217                                                                                              RAEFORD                  NC           28376-0217
    HOLDSWORTH FREDERIC G                                                           9 APPLEWOOD RD                                                                                          PELHAM                   NH           03076
    HOLECHECK BRIAN                                                                 3018 TEAL BEACH ST                                                                                      LAS VEGAS                NV           89117
    HOLIDAY INN                                                                     4100 PRESIDENTIAL BLVD                                                                                  PHILADELPHIA             PA           19131
    HOLIDAY INN AT THE PLAZA KANSAS CITY                                            ONE E 45TH ST                                                                                           KANSAS CITY              MO           64111
    HOLIDAY INN EXECUTIVE CENTER                                                    5655 GREENWICH RD                                                                                       VIRGINIA BEACH           VA           23462
    HOLIDAY INN SEATAC AIRPORT                                                      17338 INTERNATIONAL BLVD                                                                                SEATTLE                  WA           98188
    HOLIDAY INN SELECT MISSISSAUGA                                                  2565 ARGENTIA RD                                                                                        MISSISSAUGA              ON           L5N 5V4      CANADA
    HOLIDAY INN TORONTO MARKHAM                                                     7095 WOODBINE AVE                                                                                       MARKHAM                  ONTARIO      L3R 1A3      CANADA
    HOLIDAY INN WINNIPEG                                                            1330 PEMBINA HWY                                                                                        WINNIPEG                 MB           R3T 2B4      CANADA
    HOLIDAY TRAV L PARK                                                             1075 GENERAL BOOTH BLVD                                                                                 VIRGINIA BEACH           VA           23451
    HOLLAND AND HART LLP                                                            PO BOX 8749                                                                                             DENVER                   CO           80201
    HOLLAND AND KNIGHT                                                              PO BOX 936937                                                                                           ATLANTA                  GA           31193
    HOLLAND BOARD OF PUBLIC WORKS                                                   625 HASTINGS AVE                                                                                        HOLLAND                  MI           49423-5427
    HOLLAND TROY                                                                    ADDRESS ON FILE
    HOLLIDAY RENTALS                           I C O HOLLIDAY HARDWARE              1938 SPRING GARDEN ST                                                                                   GREENSBORO               NC           27403
    HOLLINGER MIKE                                                                  ADDRESS ON FILE
    HOLLOMAN SETH                                                                   ADDRESS ON FILE
    HOLLY CENTER LLC                                                                PO BOX 144                                                                                              COLUMBUS                 NJ           08022
    HOLLY M LACA                                                                    ADDRESS ON FILE
    HOLMAN ANNETTE                                                                  ADDRESS ON FILE
    HOLMAN DALE                                                                     ADDRESS ON FILE
    HOLMAN NANCY                                                                    ADDRESS ON FILE
    HOLMANS PHOTOGRAPHY STUDIO                                                      1917 LASKIN RD                       STE 111                                                            VIRGINIA BEACH           VA           23454
    HOLMES BRETT LYNN                                                               ADDRESS ON FILE
    HOLMES JESSICA LORENE                                                           ADDRESS ON FILE
    HOLMES SHANNON                                                                  ADDRESS ON FILE
    HOLT RUN CENTER LLC                                                             3895 STONEBRIDGE LN                                                                                     DUBLIN                   OH           43017


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                                                                                                                              Served via First-Class Mail




                        Name                                    Attention                         Address 1                                Address 2                           Address 3                    City        State       Zip          Country
    HOLYFIELD CURTIS                                                               3421 AUDUBON RD                                                                                         DETROIT                 MI           48224-2746
    HOLYOKE MALL COMPANY LP                    THE CLINTON EXCHANGE                4 CLINTON SQUARE                                                                                        SYRACUSE                NY           13202
    HOME DEPOT CREDIT SERVICES                                                     PO BOX 78011                                                                                            PHOENIX                 AZ           85062
    HOME FORECLOSURE FINANCIAL DBA ABSOLUTE
    CONSULTANT GROUP                                                               10061 RIVERSIDE DR                   STE 819                                                            TOLUCA LAKE             CA           91602
    HOME PAINTERS TORONTO                                                          3 WHITEHORSE RD UNIT 8                                                                                  TORONTO                 ON           M3J 3G8      CANADA
    HOME POWER SYSTEMS LLC                     DBA COMMERCIAL POWER SYSTEMS        1127 CORPORATE DR E                                                                                     FARMINGTON              NY           14425-7570
    HOME RUN CAPITAL                                                               1741 E 10 ST                                                                                            BROOKLYN                NY           11223
    HOME TOWN PROFIT INC                                                           950 FRANKLIN BLVD 33082                                                                                 CAMBRIDGE               ON           N1R 8R8      CANADA
    HOMESITE INSURANCE COMPANY                                                     PO BOX 912470                        DBA HOMESITE INSURANCE                                             DENVER                  CO           80291-2470
    HOMETOWN REFERRALS LLC                                                         1049 E NORVELL BRYANT HWY                                                                               HERNANDO                FL           34442
    HONDA OF THE DESERT                                                            68025 KYLE RD                                                                                           CATHEDRAL CITY          CA           92234
    HONEYWELL LIMITED                                                              PO BOX 9370                          STN A                                                              TORONTO                 ON           M5W 3M2      CANADA
    HONGWEN SHE                                                                    12821 WOLF SNARE DR                                                                                     FRISCO                  TX           75035
    HONIGMAN LLP                                                                   2290 FIRST NATIONAL BUILING          660 WOODWARD AVE                                                   DETROIT                 MI           48226-3506
    HONOR AND REMEMBER INC                                                         PO BOX 16834                                                                                            CHESAPEAKE              VA           23328
    HOPCO LTD                                                                      2829 E DUBLIN GRANVILLE RD                                                                              COLUMBUS                OH           43231-4037
    HOPE HOUSE MINISTRIES                      C O GEORGE FREDERICK                PO BOX 190173                                                                                           SAN ANTONIO             TX           78220
    HORIZON BACKGROUND SCREENING                                                   12460 CRABAPPLE RD                   STE 202 271                                                        ALPHARETTA              GA           30004-6386
    HORIZON HAMPTON ROADS INC                                                      2529 VIRGINIA BEACH BLVD 200                                                                            VIRGINIA BEACH          VA           23452
    HORIZON INVESTMENT GROUP LLC                                                   3442 KENWOOD BLVD                                                                                       TOLEDO                  OH           43606
    HORIZON UTILITIES CORPORATION                                                  PO BOX 2249 STN LCD1                                                                                    HAMILTON                ON           L8N 3E4      CANADA
    HORNER NATASHA                                                                 ADDRESS ON FILE
    HORNTHAL RILEY ELLIS AND MALAND LLP        ATTORNEYS AT LAW                    PO BOX 220                                                                                              ELIZABETH CITY          NC           27907-0220
    HOSPICE OF ALAMANCE                                                            914 CHAPEL HILL RD                                                                                      BURLINGTON              NC           27215
    HOT SAUCE HEATING AND AIR LTD                                                  2158053 ONTARIO LIMITED              900 HOPKINS ST UNIT 2                                              WHITBY                  ON           L1N 6A9      CANADA
    HOT SPRINGS VILLAGE VOICE                                                      PO BOX 8508                                                                                             HOT SPRINGS VILLAGE     AR           71910
    HOTCHKISS MICHELLE                                                             400 STANTON DR                                                                                          LAFAYETTE               IN           47905
    HOTCHSTEIN BRANDON                                                             ADDRESS ON FILE
    HOULE BILL                                                                     ADDRESS ON FILE
    HOULE ELECTRIC LIMITED                                                         3735 MYRTLE ST                                                                                          BURNABY                 BC           V5C 4E7      CANADA
    HOULE ELECTRIC LIMITED                                                         6050 N FRASER WAY                                                                                       BURNABY                 BC           V5J 0H1      CANADA
    HOULIHAN LOKEY FINANCIAL ADVISORS INC                                          10250 CONSTELLATION BLVD 5TH FL                                                                         LOS ANGELES             CA           90067
    HOUPT RAEANN                                                                   ADDRESS ON FILE
    HOUSEHOLD CREDIT SERVICES                                                      PO BOX 88000                                                                                            BALTIMORE               MD           21288-0001

    HOUSING COMMISION OF ANNE ARUNDEL COUNTY                                       PO BOX 817                                                                                              GLEN BURNIE             MD           21060
                                               C O SPECTRUM CATERING CONCESSIONS
    HOUSTON CHILDRENS FESTIVAL                 AND EVENTS                          PO BOX 7130                                                                                             THE WOODLANDS           TX           77387
    HOUSTON HISPANIC CHAMBER OF COMMERCE                                           1801 MAIN ST                         STE 1075                                                           HOUSTON                 TX           77002
    HOUSTON HISPANIC FORUM                                                         4635 SW FWY                          STE 360                                                            HOUSTON                 TX           77027
    HOWARD ALEXANDER DAVIS                                                         ADDRESS ON FILE
    HOWARD COUNTY DIRECTOR OF FINANCE                                              PO BOX 37237                                                                                            BALTIMORE               MD           21297
    HOWARD KEISHA AND HUTSON JEFF                                                  ADDRESS ON FILE
    HOWARD NGUYEN                                                                  ADDRESS ON FILE
    HOWARD S SCHLESINGER REVOCABLE TRUST
    SHARE TRUST 1                                                                  SHARE TRUST 1                        161 TELEVISION HILL RD                                             HOT SPRINGS             AR           71913
    HOWAT COLIN                                                                    ADDRESS ON FILE
    HOWROYD WRIGHT EMPLOYMENT AGENCYINC        DBA APPLEONE EMPLOYMENT SERVICES    PO BOX 29048                                                                                            GLENDALE                CA           91209-9048
    HOY                                                                            PO BOX 4474                                                                                             CHICAGO                 IL           60680-4474
    HOY CONSTRUCTION INC                                                           3495 PROGRESS RD                                                                                        NORFOLK                 VA           23502
    HOY EN DELAWARE LLC                                                            105 DEPOT ST                                                                                            GEORGETOWN              DE           19947
    HR COACH LLC                                                                   31563 TRAMORE CR                                                                                        MENIFEE                 CA           92584
    HR COMMUNICATIONS                                                              PO BOX 62562                         SCOTTOWN PLZ                                                       SURREY                  BC           V3V 7V6      CANADA
    HR DOWNLOADS                                                                   195 DUFFERIN AVE                     STE 500                                                            LONDON                  ON           N6A 1K7      CANADA
    HR DOWNLOADS INC                                                               195 DUFFERIN AVE STE 500                                                                                LONDON                  ON           N6A 1K7      CANADA
    HRA PROPERTY MANAGEMENT INC                                                    PO BOX 930184                                                                                           WIXOM                   MI           48393
    HRC INVESTORS                              C O HAMNER DEVELOPMENT COMPANY      11848 ROCK LANDING DR STE 202                                                                           NEWPORT NEWS            VA           23606
    HRE 500 GRAPEVINE HWY LLC                                                      PO BOX 54577                                                                                            HURST                   TX           76054
    HRE FUND III LP                            DBA RCC CROSSROADS LLC              6806 PARAGON PL STE 120                                                                                 RICHMOND                VA           23230
    HRI EASTON COMMONS LP                                                          2975 RENGE3NT BLVD                   PO BOX 202710                                                      IRVING                  TX           75320
    HRSD                                                                           PO BOX 71092                                                                                            CHARLOTTE               NC           28272-1092
    HRSD 37097                                                                     PO BOX 37097                                                                                            BOONE                   IA           50037-0097
    HRSD WASTEWATER TREATMENT                                                      PO BOX 1651                                                                                             NORFOLK                 VA           23501
    HRUBS                                                                          PO BOX 37097                                                                                            BOONE                   IA           50037-0097
    HS BRANDS INTERNATIONAL                                                        6375 S PECOS RD                      STE 218                                                            LAS VEGAS               NV           89120
    HSBC BANK USA                                                                  PO BOX 4657                                                                                             CAROL STREAM            IL           60197
    HSBC BUSINESS SOLUTIONS                                                        PO BOX 5237                                                                                             CAROL STREAM            IL           60197
    HSBC BUSINESS SOLUTIONS OFFICEMAX                                              PO BOX 5237                                                                                             CAROL STREAM            IL           60197
    HSN                                                                            PO BOX 530905                                                                                           ATLANTA                 GA           30353
    HSP EPI ACQUISITION LLC                    DBA ENTERTAINMENT                   6553 SOLUTION CTR                                                                                       CHICAGO                 IL           60677-6005
    HTH INC                                                                        711 JACKSON AVE                                                                                         WINTER PARK             FL           32789
    HUANGS INVESTMENT LLC                                                          800 W 6TH ST 6TH FL                  STE 600                                                            LOS ANGELES             CA           90017
    HUB CITY RADIO                                                                 PO BOX 1930                                                                                             ABERDEEN                SD           57402-1930
    HUB INTERNATIONAL INSURANCE SERVICES                                           PO BOX 5345                                                                                             RIVERSIDE               CA           92517
    HUBBARD ROOFING INC                                                            800 S DOWNING ST                                                                                        PIQUA                   OH           45356-3822
    HUDGINS REAL ESTATE                                                            3201 PACIFIC AVE                                                                                        VIRGINIA BEACH          VA           23451
    HUDSON CAPITAL SOLUTIONS LLC                                                   59 LYNBROOK AVE                                                                                         STATEN ISLAND           NY           10309
    HUDSON COOK LLP                                                                7037 RIDGE RD                        STE 300                                                            HANOVER                 MD           21076-1343
    HUDSON COOK LLP                                                                7037 RIDGE RD STE 300                                                                                   HANOVER                 MD           21076
    HUDSON COOK LLP USE HUDS10                                                     7037 RIDGE RD                        SUITE300                                                           HANOVER                 MD           21076-1343
    HUDSON EQUITIES NY INC DBA HUDSON
    FINANCING                                                                      3148 E TREMONT AVE                   STE 201                                                            BRONX                   NY           10461
    HUDSON FINANCIAL GROUP DBA FAST CAPITAL
    FINANCING                                                                      185 SW 7TH ST                        STE 3609                                                           MIAMI                   FL           33130
    HUDSON ROCKY                                                                   ADDRESS ON FILE
    HUDSONS BAY COMPANY                        ATTN LIXIA HOU                      698 LAWRENCE AVE W 1ST FL                                                                               TORONTO                 ONTARIO      M6A 3A5      CANADA
    HUETHER ROBERT                                                                 ADDRESS ON FILE
    HUGGLER IV PETER                                                               4211 CAMDEN AVE                                                                                         DALLAS                  TX           75206


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                                                                                                                                  Exhibit D
                                                                                                                            Served via First-Class Mail




                       Name                                  Attention                          Address 1                                Address 2                           Address 3                      City        State       Zip          Country
    HUGHES AND SON INC                                                           PO BOX 367                                                                                              CRYSTAL LAKE              IL           60039-0367
    HUGHES ESQ MICHAEL C                                                         2198 E CAMELBACK                     STE 300                                                            PHOENIX                   AZ           85016
    HUGHES IV WALTER L                                                           42 AMY CT                                                                                               BRICKTOWN                 NJ           08724
    HUGHES STEVE                                                                 ADDRESS ON FILE
    HUGHES TRAVIS                                                                ADDRESS ON FILE
    HUGO A DERAS                                                                 ADDRESS ON FILE
    HUGO GASCA                                                                   ADDRESS ON FILE
    HUGO MARTINEZ                                                                ADDRESS ON FILE
    HUHT PROPERTIES LIMITED                                                      666 COLBY DR                                                                                            WATERLOO                  ON           N2V 1A2      CANADA
    HUHT PROPERTIES LTD                                                          666 COLBY DR                                                                                            WATERLOO                  ON           N2V 1A2      CANADA
    HUMAN DESIGN                                                                 105 GRAND AVE 3D                                                                                        BROOKLYN                  NY           11205
    HUMBLE INVESTIGATIONS LLC                                                    1113 S RANGE AVE                     STE 110 126                                                        DENHAM SPRINGS            LA           70726
    HUMBLE ISD                                                                   PO BOX 4020                                                                                             HOUSTON                   TX           77210
    HUME MARTIN S                                                                ADDRESS ON FILE

    HUME SMITH GEDDES GREEN AND SIMMONS LLP                                      54 MONUMENT CIR                      4TH FL                                                             INDIANAPOLIS              IN           46204-2996
    HUNT LESLIE RAE                                                              ADDRESS ON FILE
    HUNT PRISCILLA                                                               ADDRESS ON FILE
    HUNTER CAROLINE HOLDING LLC                                                  845 WS 17TH ST                                                                                          FORT LAUDERDALE           FL           33315
    HUNTER II ENTERPRISE                                                         12601 PERIMETER RD                                                                                      DALLAS                    TX           75228
    HUNTING CREEK RETAIL LLC                                                     1303 HIGHTOWER TRL                   STE 201                                                            ATLANTA                   GA           30350-2919
    HUNTINGTON DEBT HOLDINGS LLC                                                 1965 SHERIDAN DR STE 200                                                                                BUFFALO                   NY           14223
    HUNTON AND WILLIAMS                                                          PO BOX 405759                                                                                           ATLANTA                   GA           30384-5759
    HUNTON ANDREWS KURTH LLP                                                     951 E BYRD ST                        RIVERFRONT PLZ E TOWER                                             RICHMOND                  VA           23219
    HUNTSTA SHOPS LLC                                                            6 GRACE AVE 300                                                                                         GREAT NECK                NY           11021
    HUNTSVILLE HOCKEY ASSIST CLUB                                                CANADA SUMMIT CENTRE                 20 PARK DR                                                         HUNTSVILLE                ON           L3R 5M1      CANADA
    HUNTSVILLE HOCKEY ASSIST CLUB                                                CANADA SUMMIT CENTRE                 20 PARK DR                                                         HUNTSVILLE                ON           P1H 1P5      CANADA
    HURLEY AND ASSOCIATES                                                        244 N COLLEGE AVE                                                                                       INDIANAPOLIS              IN           46202-3702
    HURT MIKE                                                                    ADDRESS ON FILE
    HUSCH AND EPPENBERGER LLC                                                    PO BOX 790379                                                                                           ST LOUIS                  MO           63179
    HUSCH BLACKWELL                                                              PO BOX 790379                                                                                           SAINT LOUIS               MO           63179
    HUSCH BLACKWELL SANDERS LLP                                                  PO BOX 790379                                                                                           ST LOUIS                  MO           63179
    HUSEN MIQDAS                                                                 ADDRESS ON FILE
    HUTCHINS ERWIN L                                                             ADDRESS ON FILE
    HUTSON TALENT AGENCY                                                         35 BURTIS ST                                                                                            PORTSMOUTH                VA           23702
    HVAC INC                                                                     101 3RD ST                                                                                              BRISTOL                   TN           37620
    HYATT KEY WEST RESORT AND MARINA                                             601 FRONT ST                                                                                            KEY WEST                  FL           33040
    HYBRID MEDIA SERVICES LLC                                                    357 MAIN ST 2ND FL                                                                                      ARMONK                    NY           10504
    HYDRO ONE BRAMPTON                                                           175 SANDALWOOD PKWY W                                                                                   BRAMPTON                  ONTARIO      L7A 1E8      CANADA
    HYDRO ONE NETWORKS INC                                                       PO BOX 4102 STN A                                                                                       TORONTO                   ON           M5W 3L3      CANADA
    HYDRO OTTAWA                                                                 3025 ALBION RD N                     PO BOX 8700                                                        OTTAWA                    ONTARIO      K1G 3S4      CANADA
    HYDRO QUEBEC                                                                 CP 11022 SUCC CENTRE VILLE                                                                              MONTRÉAL                  QC           H3C 4V6      CANADA
    HYLAND CARPET ONE                                                            250 LORNE ST                                                                                            SUDBURY                   ON           P3C 4P7      CANADA
    HYPERSPACE COMMUNICATIONS INC                                                8480 E ORCHARD RD                    STE 6600                                                           GREENWOOD VILLAGE         CO           80111
    I MARK EVENTS INC                                                            BAY 24 3710 WESTWINDS DR NE                                                                             CALGARY                   AB           T3J 5H3      CANADA
    IAM VENTURES LLC                                                             2241 STATE ST                        358                                                                NEW ALBANY                IN           47150
    IAN WILSON LARMORE FOUNDATION                                                5709 OAK TERRACE DR                                                                                     VIRGINIA BEACH            VA           23464
    IANS SIGNS AND SERVICES                                                      8416 S W 208TH ST                                                                                       CUTLER BAY                FL           33189
    IBBOTSON STEVE                                                               150 3015 5TH AVE NE                                                                                     CANMORE                   ALBERTA      T2A 6T8      CANADA
    IBERIA PARISH TAX COLLECTOR                                                  300 IBERIA ST STE 120                                                                                   NEW IBERIA                LA           70560
    IBM                                       ATLANTA LOCKBOX                    PO BOX 740867                                                                                           ATLANTA                   GA           30374-0867
    IBM COPORATION                                                               PO BOX 643600                                                                                           PITTSBURGH                PA           15264-3600
    IBTISAM ATTISHA                                                              ADDRESS ON FILE
    ICBC BROADCAST HOLDINGS INC                                                  PO BOX 9446                                                                                             JACKSON                   MS           39286-9446
    ICBC BROADCAST HOLDINGS INC WJMI FM                                          731 S PEAR ORCHARD DR                STE 27                                                             RIDGELAND                 MS           39157
    ICC ENTERPRISES                                                              2025 GLEN ELLYN RD                                                                                      GLENDALE HEIGHTS          IL           60139
    ICE ART INC                                                                  507 CENTRAL DR                                                                                          VIRGINIA BEACH            VA           23454
    ICE CREAM TRUCKSCOM                                                          4540 S COMMERCE DR                                                                                      MURRAY                    UT           84107
    ICE MORTGAGE TECHNOLOGY INC                                                  PO BOX 7410442                                                                                          CHICAGO                   IL           60674-0042
    ICE SYSTEMS INC                                                              PO BOX 11126                                                                                            HAUPPAUGE                 NY           11788
    ICIMS INC                                                                    29348 NETWORK PL                                                                                        CHICAGO                   IL           60673-1294
    ICLE                                                                         PO BOX 1885                                                                                             ATHENS                    GA           30603-1885
    ICR LLC                                                                      761 MAIN AVE                                                                                            NORWALK                   CT           06851
    ICS COURIER                               ATT LINDA                          300 TALBOT ST W                                                                                         AYLMER WEST               ON           N5H 3H4      CANADA
    ICU INVESTIGATIONS                                                           4002 HWY 78                          STE 530                                                            SNELLVILLE                GA           30039
    ID ANALYTICS                                                                 PO BOX 748681                                                                                           LOS ANGELES               CA           90074-8681
    IDAHO DEPARTMENT OF FINANCE                                                  800 PARK BLVD                        STE 200                                                            BOISE                     ID           83712
    IDAHO POWER                                                                  PO BOX 34966                                                                                            SEATTLE                   WA           98124-1966
    IDAHO POWER                                                                  PO BOX 5381                                                                                             CAROL STREAM              IL           60197
    IDAHO SECRETARY OF STATE                  OFFICE OF THE SECRETARY OF STATE   450 N 4TH ST                         PO BOX 83720                                                       BOISE                     ID           83720-0080
    IDAHO STATE TAX COMMISSION                                                   PO BOX 83784                                                                                            BOISE                     ID           83707-3784
    IDAHO STATE TREASURERS OFFICE             UNCLAIMED PROPERTY PROGRAM         304 N 8TH ST                         STE 208                                                            BOISE                     ID           83702-5834
    IDAHO STATE TREASURERS OFFICE UNCLAIMED
    PROP                                      UNCLAIMED PROPERTY PROGRAM         304 N 8TH ST STE 208                                                                                    BOISE                     ID           83702
    IDAXCOM                                                                      5301 ROBIN HOOD RD                   STE 136                                                            NORFOLK                   VA           23513
    IDEA MARKETING CORP                                                          36 GRENADIER CRES                                                                                       THORNHILL                 ON           L4J 7V8      CANADA
    IDEAL FUNDING                                                                333 PRINCETON CT                                                                                        SHREWSBURY                NJ           07702
    IDEAL JANITORIAL SERVICES                                                    800 STEELES AVE W                    STE B10 184                                                        THORNHILL                 ON           L4J 7L2      CANADA
    IDEAL NETWORK SOLUTIONS INC                                                  PO BOX 48753                                                                                            TAMPA                     FL           33646
    IDEAL PURE WATER                                                             PO BOX 70                                                                                               BOYS TOWN                 NE           68010
    IDEAOLOGY                                                                    4223 GLENCOE AVE                     STE A 127                                                          MARINA DEL REY            CA           90292
    IDEAWORKS ADVERTISING                                                        5411 AVENIDA ENCINAS STE 240                                                                            CARLSBAD                  CA           92008
    IDENT MARKETING LLC                                                          5694 MISSION CTR RD                  STE 602 205                                                        SAN DIEGO                 CA           92108
    IDENTITY SOLUTIONS LLC                                                       2001 TIMBERLOCH PL 500                                                                                  THE WOODLANDS             TX           77380
    IDERA                                                                        2950 N LOOP FWY W                    STE 700                                                            HOUSTON                   TX           77092
    IDOLOGY INC                                                                  2018 POWERS FERRY RD SE              STE 720                                                            ATLANTA                   GA           30339
    IDRIVE INTERACTIVE LLC                                                       3909 HARTZDALE DR                    STE 907                                                            CAMP HILL                 PA           17011
    IFLOODED SERVICES INC                                                        17B ROSELLE ST                                                                                          MINEOLA                   NY           11501
    IFUNDDAILY LLC DBA LENDTEK                                                   101 MOORE AVE                                                                                           OCEANSIDE                 NY           11572


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